     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 1 of 429




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA




KURDISTAN VICTIMS FUND, A NON-
PROFIT 501(C)(3) FOUNDATION,
            United States of America

SHAKHWAN ABDULRAHMAN
United States

SHAKHWAN ABDULRAHMAN
United States
AS REPRESENTATIVE OF JIHAN TAHA
ABDULRAHMAN, DECEASED
                                        Case No. ___________________1:24-cv-
MAKI REVEND                                             00278
          Berlin, Germany;

            AND

JOHN DOES 1-5000.



                                             JURY TRIAL DEMANDED
                    Plaintiffs

            v.

KURDISTAN REGIONAL GOVERNMENT
(“KRG”),
     1532 16th St NW
     Washington, DC 20036;

MASOUD BARZANI (“MASOUD”),
    1532 16th St NW
    Washington, DC 20036;

MASROUR BARZANI,
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 2 of 429




      1532 16th St NW
      Washington, DC 20036;

WAYSI BARZANI,
    1532 16th St NW
    Washington, DC 20036;

MULLA “BABO” MUSTAFA BARZANI,
    Erbil, Kurdistan, Iraq;

JEYRA MOHAMAD KHALED
     Erbil, Kurdistan, Iraq

KATJA VRECAR BARZANI
     Erbil, Kurdistan, Iraq

AREEN MASROUR BARZANI,
         Erbil, Kurdistan, Iraq;

SARWAR PEDAWI,
    Erbil, Kurdistan, Iraq;

LAAWEEN (LAWIN) PEDAWI,
    Dubai;

KARIM SINJARI,
     Erbil, Kurdistan, Iraq;

JOHNATHON R. MOORE
     New York City and East Hampton, NY

JOE R. REEDER
      Washington, DC

VALERIE CUPP
    Washington, DC

JULIE MAI SANFORD
     Stafford, Virginia

LAURA GEHO HARRIS
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 3 of 429




       Washington, DC


BAYAN SAMI ABDUL RAHMAN,
    Erbil, Kurdistan, Iraq;

TREEFA AZIZ,
     1532 16th St NW
     Washington, DC 20036;

ENTIFADH KAMAL QANBAR
          6062 Burnside Landing Drive
          Burke, Virginia 22015;

AFAN
ARFAN SALEH OMAR SHERWANI,
    Virginia;

OMAR S. BARZANI,
    9716 Windburn Drive
    Plano, TX 75025-5418;

DINDAR ZEBARI,
     Erbil, Kurdistan, Iraq;

AZIZ AHMAD,
          Erbil, Kurdistan, Iraq;

ASHTI HAWRAMI,
     London, England, United Kingdom;

BAZ KARIM AL-BARZANJI
          Erbil, Kurdistan, Iraq;


MAHMOOD KARIM AL-BARZANJI
    Erbil, Kurdistan, Iraq;
GHAFOOR KHOSHNAW
            Erbil, Kurdistan Iraq;

AMEER SAADALLAH RASHEED
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 4 of 429




              Erbil, Kurdistan, Iraq;




DASKO SHERWANI
    Washington, DC

HAYMAN QUASSI
    Washington DC

HAMZA SALIM
     Washington DC

KAMAL KIRKUKI,
    Erbil, Kurdistan, Iraq;

JAFAR AMINKI,
     Erbil, Kurdistan, Iraq;

ZAHEEM ALI,
    Erbil, Kurdistan, Iraq;

AZAD BARWARI,
     Erbil, Kurdistan, Iraq;

HOSHYAR ZEBARI,
    Erbil, Kurdistan, Iraq;

SAYRAN SABER MUSTAFA BARZANI,
    Erbil, Kurdistan, Iraq;

LINA BARZANI,
     United States of America;

DILSHAD BARZANI,
     Erbil, Kurdistan, Iraq;

SIRWAN BARZANI,
     Erbil, Kurdistan, Iraq;
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 5 of 429




NIHAD BARZANI,
     Erbil, Kurdistan, Iraq;

SIDAD BARZANI,
     Erbil, Kurdistan, Iraq;

SIHAD BARZANI
          Erbil, Kurdistan, Iraq;

HIKMAT BAMARNI,
    3875 B Plaza Drive
    Fairfax, VA 22030;

SHIMAL JAWHAR SALIN,
     Kurdistan, Iraq;

NIZAR HANNA NASRI,
          Kurdistan, Iraq;

DILSHAD YOUSEF,
     Erbil, Kurdistan, Iraq;

ISMAT ARGOSHI,
     Erbil, Kurdistan, Iraq;

BARZAN HERSHA or HERISH RASH,
    Kurdistan, Iraq;

AZAD GERMARI,
     Duhok, Kurdistan, Iraq;

“SHALAWO,”
          Address unknown

RABEA BARZANI,
    Erbil, Kurdistan, Iraq;

GHALIB RABEA BARZANI,
    Erbil, Kurdistan, Iraq;
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 6 of 429




RUBAR S. SANDI,
    9300 Belle Terre Way
    Potomac, MD 20854;

HIMAL JAWHAR SALIN,
          Kurdistan, Iraq;

DILAL ABBAS,
     Kurdistan, Iraq;

AHMAD KURDU NORI,
         Nuremberg, Germany

MAHMOOD AGAHA,
        Kurdistan, Iraq;

HAMELA GARDI,
    Kurdistan, Iraq;

DILSHAD HASSAN NAJAR,
          Kurdistan, Iraq

SAAD ALDOSKI
      Kurdistan, Iraq

BLEND ALDOSKI
      Kurdistan, Iraq

JOSEPH TEICHMEULLER,
     Germany;

U.S. PUBLIC OFFICIAL #1,
      Erbil, Kurdistan, Iraq;

U.S. PUBLIC OFFICIAL #2,
            Erbil, Kurdistan, Iraq;


                                Defendants.
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 7 of 429




                                  AMENDED COMPLAINT

1.     This Amended Complaint is filed pursuant to Federal Rule of Civil Procedure Rule 15

(a)(1)(B); and is accompanied by a redline comparison with the original complaint pursuant to

the Standing Order, United States District Judge Randolph D. Moss, paragraph 7.

2.     This civil action is instituted to recover damages from the Defendants, jointly and

severally, including Barzani family members and family members by marriage, many of whom

are kept secret from public view, and others known and unknown and not named as Defendants,

who as individuals acting in some feigned, artificial, connived, or imitated official capacity of

the Defendant Iraqi Kurdistan Regional Government but knowingly lacking objective legal

reasonableness or untethered to any statute or law or authorization of legal rules clearly

established at times of such unlawful acts, unlawfully conspired, confederated, constituted, and

agreed together and with each other to commit heinous offenses against the Plaintiffs and against

the United States, in ways made more definite below to violate certain laws, treaties, and

conventions, through a coldly-efficient transnational criminal organization, corruption scheme,

and conspiracy of crimes, continuing to this day, enabled and elidedaided by their Washington

representatives, and which in injuring Plaintiffs and others criminally degrades, desecrates,

derides, and violates the “norm of international character accepted by the civilized world.” See

Kiobel v. Royal Dutch Petroleum Co., 569 U.S. 108, 133 S. Ct. 1659, 185 L. Ed. 2d 671 (2013).

3.     Defendants as individuals engaged in and do engage in unlawful means, each of whom

had conduct, knowledge, and intent, and each of whom is aware of the criminal enterprise’s

contumacious conduct and has some participation in the operation of the enterprise itself, and

with orchestrated intent to enrich themselves and further the object of the criminal enterprise,

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 8 of 429




and are directly responsible for various related heinous criminal activities, having the same or

similar intents, results, accomplices, victims, or methods of commission or otherwise are

interrelated by distinguishing characteristics and are not isolated incidents, knowingly violating

basic human principles and international norms including, but not limited to, atrocity crimes;

indiscriminate violence; arson; claims for murder; attempted murder; genocide; abduction;

hostage taking and kidnapping; torture and other cruel, inhuman, or degrading treatment or

punishment; collaboration with terrorist organizations; prolonged arbitrary detention;

extrajudicial killing; enforced disappearance; cruel, inhuman, or degrading treatment; crimes

against humanity; theft; drug trafficking; counterfeiting; defrauding the United States

Government and others; financial crimes; identify theft and access device fraud, mail fraud, wire

fraud; laundering of monetary instruments; engaging in transactions with the proceeds of

specified unlawful activity; acts involving perjury, false statements and declarations;

comprehensive computer data theft and destruction; obstruction of justice; bribery and

facilitation payments; deprivation of income and employment; willful concealment of tax data;

tax fraud and tax perjury; immigration fraud and immigration perjury; and in violation of the

Torture Victim Protection Act of 1991, the Alien Tort Statute of 1789, and other laws and

statutes of the United States and the law of nations and international treaties, agreements, and

conventions more fully set forth herein; and conspiracy to commit all above criminal acts; and

did fraudulently and through material misrepresentations gain control for personal enrichment

over money that was property of the Defendant Iraqi Kurdistan Regional Government.

Defendants’ acts were all carried out with mens rea (carried out acts that had substantial effects

on the perpetration of a specific crime) and actus reus (substantially assisting the act of crimes).

.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 9 of 429




4.     Defendants are not ordinary, and do not stand accused of routine misdeeds. Their crimes

are serious violations of U.S. law and, undermine American economic and national security.,

and provide substantial means for Defendants to torture, murder, and otherwise injure Plaintiffs.

5.      Defendants, as well as others known and unknown, are “persons” within the meaning of

18 U.S.C. § 1961(3) who conducted the affairs of the Barzani Continuing Criminal Enterprise.

(“BCCE”). The Barzani Continuing Criminal Enterprise is an association-in-fact within the

meaning of 18 U.S.C. § 1961(4) consisting of Defendants, including each of their employees,

agents, contractors, servants, and Barzani family members and family members by marriage, and

others named and unnamed.

6.      The Barzani Continuing Criminal Enterprise falls within the meaning of 18 U.S.C. §

1961(4) and consists of a group of “persons” associated together for the common purpose of: (i)

accumulating wealth for the Enterprise’s leadership, through both legal and illegal means; (ii)

concealing and refusing to report the criminal activity of its members; (iii) preventing its

members’ victims, including member victims, from reporting crimes to governmental authorities

and/or cooperating with governmental authorities; (iv) preventing witnesses of its members’

crimes from cooperating with governmental authorities; and (v) engaging in punitive harassment

campaigns against perceived enemies, including victims and witnesses who cooperate with

governmental authorities. To achieve their common goals, and to harm Plaintiffs, Defendants

hid and do hide the Enterprise’s crimes from the public, from governmental authorities, and from

Plaintiffs, and prevented or attempted to prevent others, often violently or lethally, including but

not limited to Plaintiffs, from approaching governmental authorities regarding Defendants’

horrendous crimes.




                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 10 of 429




7.      For two centuries, the United States Supreme Court has affirmed that domestic law of the

United States recognizes the law of nations. See, e.g., Banco Nacional de Cuba v. Sabbatino,

376 U.S. 398, 423, 84 S. Ct. 923, 11 L. Ed. 2d 804 (1964). Sosa v. Alvarez-Machain, 542 U.S.

692, at 730 (2004). The United States Supreme Court and the Court of Appeals for the District

of Columbia have both affirmed, “The Court is bound by the law of nations which is a part of the

law of the land.” THE NEREIDE, BENNETT, MASTER, 13 U.S. 388, 3 L. Ed. 769 (1815).

Also, Ali v. Rumsfeld, 649 F.3d 762 (D.C. Cir. 2011). Under international law, “every treaty in

force is binding upon the parties to it and must be performed by them in good faith.” See Vienna

Convention on the Law of Treaties, Article 26; and Vienna Convention on the Law of Treaties

between States and International Organizations or between International Organizations. A

treaty enters into force for a State after, inter alia, it has provided its consent to be bound by the

treaty. Treaties, international agreements, and conventions, each entered into by the sovereign

Republic of Iraq of which the Defendant Iraqi Kurdistan Regional Government is a subordinate

system and institution, and intergovernmental organizations like the United Nations, are all

examples      of   public    international    law     knowingly,     willfully,   repeatedly,     and

contemptouslycontemptuously violated, disobeyed, and dishonored by Defendants to harm

Plaintiffs.

8.      The complained of acts occurred at a time when Defendant Masoud Barzani was

President of the Defendant Iraqi Kurdistan Regional Government, and after; when Defendant

Masrour Barzani was General Director of the KRG Security Protection Agency and formerly

Director of the Intelligence and Security Agency (the successor agency to Parastin) and later the

first Chancellor of the Iraqi KRG’s Security Council, and subsequently and at present time is the

Prime Minister of Iraqi Kurdistan, the presiding and actual head of government and head of the

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 11 of 429




responsible executive power, and a United States person for the entire period of the criminal

enterprise; and when Defendant Waysi Barzani was, and before, and continues as the Director of

the Iraqi KRG Intelligence and Security Agency, and Director General of Counter Terrorism

(CTD), a part of the Iraqi Kurdistan Region Security Council (KRSC) and a unit of the Iraqi

Kurdistan Regional Government – a provincial government deliberately operated by Defendants

as a government of men and not a government of laws, with powers both devolved from the

federal national Iraq state and self-ascribed, and offices which Defendants have used and do use

as an instrument of crime. “[C]riminal conduct is not part of the necessary functions performed

by public officials.” See United States v. Isaacs, 493 F.2d 1124, 1144 (7th Cir. 1974). That is

especially so when the willful acts of substantive crimes, fraudulent behavior, policies of

deception, perpetual lawlessness, placing Defendants’ financial self-interest, profiteering, and

corruption on a grand scale above the public welfare, and imperious perversion of the

administration of justice – all rooted in Defendants’ self-serving ethos – require criminal intent,

as have Defendants’ tortious acts to injure Plaintiffs.

9.      It is impossible to overstate Defendants’ extreme culpability. As but one example,

Defendants engaged in depraved acts of deliberate indifference in effectively offering up their

Iraqi Kurdish countrymen as human sacrifices to a designated terrorist organization. Transacting

quantitatively significant business with terrorists at the cost of innocent human lives, while

repugnant to most, was and is business as usual for the Barzani regime in Iraqi Kurdistan, where

Defendants by dissembling have continually avoided and evaded responsibility for their crimes.

Plaintiffs have each been directly and concretely harmed by the Defendants’ egregiously

unlawful conduct, scheme, and criminal conspiracy, not by mistake or accident, and by

Kurdistan courts lacking and absent the judicial guarantees which are recognized by the District

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 12 of 429




Court of the District of Columbia as “indispensable by civilized peoples.” See Cabrera v.

Islamic Republic of Iran, Civil Action No. 19-3835 (JDB) (D.C. Jan. 27, 2023).

10.       At all times, Defendants, a force unrestrained by rules or laws, to further their own

personal political agenda, and believing themselves to be above the law, placed their own serial

criminal and other illegitimate interests, financial enrichment, and political power above the

national security interests of the United States, the safety of American lives and others in the

Middle East, including Plaintiffs, and the governmental interests of and political, economic, and

security conditions conducive to a peaceful Kurdish civil society, democracy, and modern state

advancing the interests, ideals, and aspirations of all Kurdish citizens.

11.     “By knowingly providing substantial assistance,” (See Atchley v. AstraZeneca UK Ltd.,

22 F.4th 204, 210 (D.C. Cir. 2022), Defendants’ conduct knowingly supported Islamic State’s

violent global terrorist campaign and acts against Americans in Iraq, Afghanistan, and Syria.

Defendants’ conduct knowingly translated directly into substantial numbers of terrorists,

weapons, and bombs that the Islamic State and the Islamic Revolutionary Guard Corps (IRGC)

(two groups formerly identified as complicit with Hamas, officially the Islamic Resistance

Movement, in the massacre of Americans and others in Israel in October, 2023, including

beheading of babies and the use of inhuman and barbaric sexual violence against women and

children. The founding Hamas Covenant spells out clearly Hamas’s genocidal intentions, and is

branded by the United States as “a genocidal terrorist organization, worse than ISIS”, and in

which Iran “was complicit”. Hamas' violent nature has been noted in several federal court

decisions. See In re Abu Marzook, 924 F.Supp. 565 (S.D.N.Y. 1996) (recounting numerous

incidents of Hamas terrorism against civilians in the Mideast), U.S. v. One 1997 E35 Ford

Van, 50 F.Supp.2d 789 (N.D.Ill.1999) (describing Hamas' covert financial transactions in the


                                                 48
         Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 13 of 429



U.S.),     (D.D.C.   2000), Eisenfeld    v.   Islamic   Republic     of   Iran, 172    F.Supp.2d     1

(D.D.C.2000), Mousa v. Islamic Republic of Iran, 238 F.Supp.2d 1 (2001), Weinstein v. Islamic

Republic of Iran, 184 F.Supp.2d 13 (D.D.C.2002)See In re Abu Marzook, 924 F.Supp. 565

(S.D.N.Y. 1996) (recounting numerous incidents of Hamas terrorism against civilians in the

Mideast), U.S. v. One 1997 E35 Ford Van, 50 F.Supp.2d 789 (N.D.Ill.1999) (describing Hamas'

covert financial transactions in the U.S.), (D.D.C. 2000), Eisenfeld v. Islamic Republic of Iran,

172 F.Supp.2d 1 (D.D.C.2000), Mousa v. Islamic Republic of Iran, 238 F.Supp.2d 1 (2001),

Weinstein v. Islamic Republic of Iran, 184 F.Supp.2d 13 (D.D.C.2002), and used to harm

Plaintiffs and to kill and injure Americans in Iraq, Afghanistan, and Syria. Terrorist sponsors’

material support can be a substantial factor in a given terrorist attack even without a direct link

between the support and the particular attack at issue. See, e.g., Sotloff v. Syrian Arab Republic,

525 F. Supp. 3d 121, 139 (D.D.C. 2021). As the District Court of the District of Columbia

noted, the Islamic Revolutionary Guard Corps (“IRGC”) is “the primary driver of Iran’s terror

activities.” See Cabrera v. Islamic Republic of Iran, Civil Action No. 19-3835 (JDB) (D.C. July

19, 2022). IRGC, also called Sepah or Pasdaran, is a multi-service primary branch of the Iranian

Armed Forces, performs government functions for Iran, and is an instrumentality of that

government.

12.       The Circuit Court for the District of Columbia held that “defendant[s] must be generally

aware of [their] role as part of an overall illegal or tortious activity at the time [they] provide

assistance.” (See Atchley v. AstraZeneca UK Ltd., 22 F.4th 204, 210 (D.C. Cir. 2022). “There

is no specific intent requirement.” Id. at 221. A "defendant need not be generally aware of its

role in the specific act that caused the plaintiff's injury; instead, it must be generally aware of its

role in an overall illegal activity from which the act that caused the plaintiff's injury was


                                                  48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 14 of 429




foreseeable," whether Defendant gave assistance “indirectly or indirectly,” Id. at 221, and over a

significant duration.”   Id at 224. (See Honickman, 6 F.4th at 496 (emphasis in original)

(citing Halberstam, 705 F.2d at 477, 488).(See Honickman, 6 F.4th at 496 (emphasis in original)

(citing Halberstam, 705 F.2d at 477, 488). Through abundant classified and highly informative

U.S. and Allied intelligence provided by U.S. government agents and officials to the leadership

of the Iraqi Kurdistan Regional Government and its predecessors in Peshmerga, including

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and others, and the guidance

of their retained Washington D.C. counsel, lobbyists, and representatives acting within the scope

of their employment or office, and widely circulated media reports, and public designations of

these organizations as foreign terrorist organizations, Defendants were appreciably and

unambiguously more than “generally aware” they were engaged in illegal activity, and were

knowledgeable of public, classified, and unclassified U.S. Government and United Nations

reports extensively documenting both the Iranian Government’s role in terrorism against

America and American interests and the primary mission of IRGC, ISIS, and Hamas to engage in

terrorist acts.   At all times relevant, Defendants retained legal counsel, lobbyists, and

compensated staff representatives in Washington D.C. to provide legal, national and economic

security information, contemporaneous executive branch policy guidance, and legislative policy

guidance.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and other

subordinates, held and do hold frequent and documented informative briefings and consultations

with U.S. Government officials, including senior officers of the U.S. Departments of State and

Defense and other federal departments and agencies and the National Security Council staff, of

the U.S. military and intelligence services, of the U.S. Embassy in Iraq, including the United

States Ambassador, of the U.S. Consulate in Erbil, and even with the President of the United

                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 15 of 429




States and other officials of the Executive Office of the President, and with Members of

Congress and their staffs.

13.    Defendant Masrour Barzani’s awareness of Defendants’ criminality and illegal

activity immeasurably exceeds “generally aware.” He is American-educated and appreciably

informed and knows Defendants were engaged in illegal activity. He holds a bachelor’s degree

with honors in International Studies and a master’s degree in Peace and Conflict Resolution from

a prestigious Washington D.C. university, is the recipient of countless documented U.S.

Government policy, intelligence, and law briefings from high-level United States government

officials, including classified briefings of and access to detailed national security intelligence and

sensitive national defense information by the agencies that comprise the United States

Intelligence Community and the United States Departments of State and Defense, and the laws,

rules, and agreements governing its usage, and has knowledge, skill, experience, training, and

education beyond the ordinary lay person about U.S. law and policy. Defendant Masrour

Barzani is a “United States Person”, as defined in 18 U.S.C. § 2331(2) and 8 U.S.C. §

1101(a)(22), “a person who, though not a citizen of the United States, owes permanent allegiance

to the United States” – and yet through his willful, knowing, and abundant criminal and tortious

acts has shown no allegiance to the United States. Defendants Masoud Barzani, Waysi Barzani,

and other co-conspirators are also recipients of countless documented U.S. Government policy,

intelligence, and law briefings and sensitive information. Numerous public declaration filings by

Defendant Iraqi Kurdistan Regional Government with agencies of the U.S. Government also

affirm Defendants received substantial continuing legal guidance and assistance from

representatives and former senior U.S. Government officials of the United States.




                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 16 of 429




14.         The United States Congress specifically excluded so-designated foreign terrorist

organizations from the definition of “military force,” 18 U.S.C. § 2331(4), (6), and none of the

Defendants’ criminal and conspiratorial acts were or are acts-of-war.

15.       “Terrorism is the modern-day equivalent of the bubonic plague: it is an existential

threat.” U.S. v. Mehanna, 735 F.3d 32, at 40 (1st Cir. 2013). Plaintiffs separately claim

elsewhere herein that Defendants be held directly liable for acts of international terrorism they

did not merely aid, but themselves committed, and were “a substantial factor in the sequence of

events that led to [Plaintiffs’] injuries and that those injuries” were “reasonably foreseeable or

anticipated as a natural consequence of [defendants'] conduct.” (See Atchley v. AstraZeneca UK

Ltd., 22 F.4th 204, 226(D.C. Cir. 2022) (quoting Owens v. Republic of Sudan (Owens III), 864

F.3rd 751, 794, (D.C. Cir. 2017).

16.       Defendants’ conduct occurred against the backdrop of several decades of al-Qaeda,

Islamic State, and IRGC history as a globalized terrorist campaign in which such designated

foreign terrorist organizations needed Defendants’ money to kill and injure Americans, and to

affect such conduct by mass destruction, assassination, and kidnapping to achieve violent

political ends and further the Barzani Continuing Criminal Enterprise. Defendants knew they

were dealing with al-Qaeda, al-Qaeda-in-Iraq, the Islamic State, and IRGC because the people

and entities that Defendants interacted with held themselves out as representatives of these

terrorist organizations, and concealed their actions in part because they knew the U.S. and other

governments considered such actions to be illegal.

17.      The Court of Appeals for the District of Columbia Circuit characterized and defined

torturer: “[F]or purposes of civil liability, the torturer has become – like the pirate and slave

trader before him – hostis humani generis, an enemy of all mankind” (See Tel-Oren v. Libyan

                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 17 of 429




Arab Republic, 726 F. 2d 774 (CADC 1984) Tel-Oren v. Libyan Arab Republic, 726 F. 2d 774

(CADC 1984)). Applying the definition given by the Court of Appeals, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani, and their agents and representatives including

Barzani family members and family members by marriage, as torturers are each “an enemy of

all mankind.”

18.      The United States Supreme Court declared, “We think courts should require any claim

based on the present-day law of nations to rest on a norm of international character accepted by

the civilized world and defined with a specificity comparable to the features of the 18th-century

paradigms we have recognized.” (See Sosa v. Alvarez-Machain, 542 U.S. 692, 124 S. Ct. 2739,

159 L. Ed. 2d 718 (2004)). Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

their co-conspirator agents, representatives, servants, collaborators, and co-conspirators,

including Barzani family members and family members by marriage, have, in their unbridled

pursuit of power and their expansive illicit transnational Continuing Criminal Enterprise, and

unfailingly hiding behind the cloak of the authority and misapplied protections of their

authoritarian government offices, and lacking legal reasonableness, and exceeding the outer

limits of lawful authority of any official KRG office, consistently, knowingly, and willfully

failed to comport with and did act in contravention and abuse of “a norm of international

character accepted by the civilized world” and the law of nations.

19.     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani acted in concert with

and exercised command responsibility over other subordinate members of the Defendant Iraqi

Kurdistan Regional Government and the indistinguishably complementary Kurdistan Democratic

Party (“KDP”) political organization, which these Defendants simultaneously controlled and

directed, to plan, carry out, and cover up the extrajudicial killing, extrajudicial exile, hostage

                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 18 of 429




taking and kidnapping, enforced disappearance, and torture of and other grievous crimes against

the Plaintiffs. Further, Defendants failed to prevent or punish the violations of international law,

Iraq law, Kurdistan law, United States law, and international treaties, agreements, and

conventions committed by their subservient subordinates, agents, and representatives, including

the Barzani family members and members of the family by marriage. Under international law,

Iraq law, Kurdistan law, and United States law, Defendants are liable to Plaintiffs for the injuries

Plaintiffs suffered.

20.      “It is undisputed that genocide itself is a violation of international law.” See, e.g., Tel-

Oren v. Libyan Arab Republic, 726 F.2d 774, 791 n. 20 (D.C.Cir.1984) (Edwards, J., concurring)

Tel-Oren v. Libyan Arab Republic, 726 F.2d 774, 791 n. 20 (D.C.Cir. 1984) (Edwards, J.,

concurring); accord Abelesz, 692 F.3d at 675-76 Abelesz, 692 F.3d at 675-76 (collecting

authority).

21.       The Court of Appeals of the District of Columbia Circuit “adopted the definition of

genocide set forth in the Convention on the Prevention of the Crime of Genocide.” See Philipp

v. Federal Republic of Germany, 894 F.3d 406, 411 (D.C. Cir. 2018). The Convention defines

genocide as any of five "acts committed with intent to destroy, in whole or in part, a national,

ethnical, racial or religious group." These five acts include killing members of the group,

causing them serious bodily or mental harm, imposing living conditions intended to destroy the

group, preventing births, and forcibly transferring children out of the group. Victims are targeted

because of their real or perceived membership of a group, not randomly. The convention further

criminalizes "complicity, attempt, or incitement of its commission." Member states [including

the Republic of Iraq] are prohibited from engaging in genocide and obligated to pursue the

enforcement of this prohibition. All perpetrators are to be tried regardless of whether they are


                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 19 of 429




private individuals, public officials, or political leaders with sovereign immunity.” These are the

criminal acts of Defendants Masoud Barzani and Masrour Barzani, and their co-conspirator

agents and representatives, including Barzani family members and family members by marriage,

in aiding and abetting and enabling the killing, harming and destroying of Yazidi people, and

creating conditions of life calculated to bring about their physical destruction as a group.

22.     During the 2005 United Nations World Summit, heads of state and government accepted

the responsibility of every state to protect its population from four crimes: genocide, war crimes,

crimes against humanity, and ethnic cleansing. The first three crimes are legally defined in

various international legal documents, such as the 1948 Convention on the Prevention and

Punishment of the Crime of Genocide, the obligations under which bind Iraq and its

instrumentalities are owed erga omnes and erga omnes partes, the 1949 Geneva Conventions and

their 1977 Additional Protocols, and the 1998 Rome Statute of the International Criminal Court.

("Although the United States has not joined the International Criminal Court, U.S. law

recognizes the definition of crimes against humanity as stated in the Rome Statute." See Ofisi v.

BNP PARIBAS, SA, 278 F. Supp. 3d 84, n.16 (D.C. 2017). Also Almog v. Arab Bank, PLC, 471

F.Supp.2d 257, 275 n.23 (E.D.N.Y. 2007).) The Convention on the Prevention and Punishment

of the Crime of Genocide (CPPCG), or the Genocide Convention, is an international treaty that

criminalizes genocide and obligates state parties to pursue the enforcement of its prohibition.

The Convention defines genocide as any of five “acts committed with intent to destroy, in whole

or in part, a national, ethnical, racial or religious group.” These five acts include killing members

of the group, causing them serious bodily or mental harm, imposing living conditions intended to

destroy the group, preventing births, and forcibly transferring children out of the group. Victims

are targeted because of their real or perceived membership of a group, not randomly. The

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 20 of 429




convention further criminalizes “complicity, attempt, or incitement of its commission.” Member

states are prohibited from engaging in genocide and obligated to pursue the enforcement of this

prohibition. All perpetrators are to be tried regardless of whether they are private individuals,

public officials, or political leaders with sovereign immunity. Their status as international

crimes is based on the universal belief that the acts associated with them affect the core dignity

of human beings, both in times of peace and in times of war. Acts of genocide, as a matter of

law and morality, are distinct from other violations of international law and are sanctioned and

perpetuated by the Defendant Iraqi Kurdistan Regional Government – though there is often a

close connection between all such acts – including the serious and ongoing violations of

international law associated therewith, including grave breaches of numerous international

treaties and agreements, and other crimes against humanity. Defendants’ acts and omissions are

genocidal in character, as they are committed with the requisite specific intent (dolus specialis)

to destroy, in whole or in part, including the purposeful targeted elimination of Yazida culture

and identify, Yazidis in Kurdistan as a part of the Iraqi Kurdistan Region’s broader territorial,

racial and ethnicalethnic group.

23.      The acts of Defentants’ genocide of Yazidi in Sinjar are all attributable to Defendants

Masoud Barzani and Masrour Barzani, who as long-established leaders of the Defendant Iraqi

Kurdistan Regional Government knew or should have reasonably known, of the jus cogens

character of the prohibition of genocide and the erga omnes and erga omnes partes character of

the obligations owed by states, including Iraq and Defendant Kurdistan Regional Government,

under the Genocide Convention.

24.      Defendants Masoud Barzani and Masrour Barzani, and their co-conspirator agents and

representatives, including Barzani family members and family members by marriage, failed to

                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 21 of 429




prevent genocide, facilitated genocide, and committed genocide on non-combatant civilians of

minority ethnicity, including the shooting of children and those who posed no imminent threat, in

manifest violation of the Genocide Convention, and who have also violated and are continuing to

violate its other fundamental obligations under the Genocide Convention, including by failing to

prevent or punish the direct and public incitement to genocide. Defendants acts and omissions

meet the legal definition of genocide, as contained in the Genocide Convention, and are aimed at

not just simply the killing of innocent people and the destruction of their livelihoods but a

systematic effort to empty Kurdistan of its Yazidi people. Entire multi-generational families

have been wiped out completely and thousands displaced. Further, Defendants knowingly and

willfully, directly and indirectly, failed in their governmental duties for protection of civilians

and upholding legal and humanitarian obligations.

25.    Defendants’ acts included killing members of the Yazidi populace, causing serious bodily

or mental harm to members of the Yazidi group, deliberately inflicting on the Yazidi group

conditions of life calculated to bring about its physical destruction in whole or in part, imposing

measures intended to prevent births within the Yazidi group, forcibly transferring children of the

group to another group, and subjecting thousands of Yazidis to physical violence, abuse,

humiliation, severe ill-treatment, serious beatings, and other outrages to personal dignity, and

trapped tens of thousands of Yezidis on Iraq’s Mt. Sinjar with no food or water. The Yazidi

victims of the Barzani-orchestrated genocide were and are deliberately targeted – not randomly –

because of their real or perceived membership in an ethnical, racial or religious group protected

under the Convention.

26.        Because most Yazidis continue to live under the very same political sphere that

orchestrated their massacre and enslavement – the Barzani Continuing Criminal Enterprise

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 22 of 429




controlling the Defendant Iraqi Kurdistan Regional Government – most live in tents in refugee

camps dotting the Kurdistan region controlled by the Defendant Iraqi Kurdistan Regional

Government and in constant fear that another genocide may soon take place, even though ISIS

has largely, but not entirely, been vanquished. As internally displaced persons, thousands of

Yazidis remain at grave and immediate risk of continuing and further acts of genocide as Yazidi

people have sought refuge in refugee facilities across Kurdistan, creating overcrowded,

undignified, unhygienic, unsafe, and impoverished conditions.

27.           Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, their agents,

representatives, servants, collaborators, and co-conspirators, including Barzani family members

and family members by marriage, and others known and unknown, have knowingly and

willfully, directly and indirectly, planned, schemed, orchestrated, aided and abetted, conspired,

financed, and committed multitudinous crimes, including acts and omissions, in each of these

four criminal categories, only partially delineated herein.

28.     Atrocity crimes, constituting crimes of hate and violent crimes of the state and state-like

organizations orchestrated against citizens as a means to destroy and to gain or attain power, are

the wanton barbarous acts of Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and

their servile agents and representatives, including Barzani family members and family members

by marriage, in their transnational Barzani Continuing Criminal Enterprise. The White House-

led interagency Atrocity Prevention Task Force broadly defines atrocities as “widespread,

intentional violence against civilians, including genocide, war crimes, crimes against humanity

and ethnic cleansing.” Executive Order 13729, issued by the President of the United States,

further defines atrocities “as large scale and deliberate attacks on civilians, and includes acts

falling within the definition ‘genocide’ as defined in international law and under U.S. domestic

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 23 of 429




statute,” and declares “preventing mass atrocities and genocide is a core national security interest

and a core moral responsibility of the United States.”       The United Nations defines atrocity

crimes as: “… the most serious crimes against humankind. Their status as international crimes

is based on the belief that the acts associated with them affect the core dignity of human beings,

in particular the persons that should be most protected by States, both in times of peace and in

times of war. However, the victims targeted by acts of genocide, crimes against humanity …

differ.” The United Nations further states, “Apart from the moral and ethical responsibility to

protect populations at risk of atrocity crimes, both individually and collectively, there are also

well-established legal obligations to do so. Such obligations can be found in the Convention on

the Prevention and Punishment of the Crime of Genocide, an instrument of international law

acceded to by the Republic of Iraq in 1959 and in force in Kurdistan since that time, in

international human rights and humanitarian law, and in customary law of nations and

international law.    International courts and tribunals have also cited these obligations and

clarified their specific content.”

29.        Torturers and those who commit genocide are now fairly viewed, like pirates, as

"common enemies of all mankind and all nations have an equal interest in their apprehension and

punishment.” See Kiobel v. Royal Dutch Petroleum, 569 U.S. at 129, 131, 133 S. Ct. 1659 133

S. Ct. 1659 (Breyer, J. concurring in judgment) (2013).

30.      Most significantly egregious of the multitude and breadth of heinous crimes committed

and being committed by slavishly submissive individuals under the command of, or in

collaboration with foreign terrorist organizations, and/or by Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, their agents, representatives, servants, and Barzani family

members and family members by marriage, and others known and unknown, in their continuing

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 24 of 429




decades-long (and not sporadic), enterprise-wide pattern of unlawful activity and corruption in

their transnational criminal network are:

                      (a)     Murder of a United States agent

                      (b)     U.S. Immigration Fraud and Perjury

                      (c)     Extrajudicial murders and enforced disappearances

                      (d)     Genocide and human rights abuses

                      (e)     Torture of a U.S. citizen

                      (f)     Illegal exile of Kurdish citizens

                      (g)     International narcotics trafficking

(The United States Supreme Court defined “pattern”, quoting Congress: “[C]riminal conduct

forms a pattern if it embraces criminal acts that have the same or similar purposes, results,

participants, victims, or methods of commission, or otherwise are interrelated by distinguishing

characteristics and are not isolated events.” (See Sedima, SP RL v. Imrex Co., 473 U.S. 479, 105

S. Ct. 3275, 87 L. Ed. 2d 346 (1985))

31.    In all instances Defendants were and are a substantial factor in the sequence of events that

caused the plaintiffs’ injuries, there was and is reasonable connection between the acts or

omissions of the Defendants and the damage which Plaintiffs have suffered, and Plaintiffs’

injuries were and are reasonably foreseeable or anticipated as a natural consequence of the

defendants’ conduct. (See Estate of Parhamovich v. The Syrian Arab Republic, No. 17-cv-61

(GMH) (D.C. Dec. 28, 2022); Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 66 (D.D.C.

2010)28, 2022); Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 66 (D.D.C. 2010)).

[Defendants’]“full knowledge of the greater background conspiracy is not necessary.” (See U.S.

v. Okoronkwo, 46 F.3d 426, 433 (5th Cir. 1995))

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 25 of 429




32.     The John Doe Plaintiffs; and the Kurdish Victims Fund, a national non-profit 501(c)(3)

charitable foundation, incorporated in the United States; and Maki Revend, an individual; and

Shakhwan Abdulrahman, individually and as representative of Jihan Taha Abdulrahman,

deceased, hereby institute this civil action for compensatory and punitive damages for torts for a

continuing pattern of unlawful activity in violation of international and domestic law and claim

relief against Defendants for compensable injuries sustained as a result. The alleged wrongful

behavior can reasonably be expected to recur. Plaintiffs claim compensatory and punitive

damages for crimes against humanity for their own mental pain and suffering and claims of

torture and crimes against humanity on behalf of their decedent relatives. Torture victims of the

Barzani regime, or their relatives, never received the redress, reparation and rehabilitation they

are entitled to under international law, treaty, and convention.

33.     Plaintiffs bring claims of torture and crimes against humanity for their own mental pain

and suffering in witnessing the Yazidi (Êzidîs) Massacre. Plaintiffs also bring claims of torture

and crimes against humanity on behalf of their decedent relatives.

34.      This Complaint refers to Confidential Human Sources and U.S. Public Official #1 and

U.S. Public Official #2 and/or their families in Iraqi Kurdistan and beyond, and foreseeable

witnesses, who face grave, specific, and targeted implicit and expressed retributive policies, and

statements and disparagement, and threats to their safety and lives, including incitement to

violence, which are not imaginary nor wholly speculative, and of which Defendants have a long

and well-documented demonstrated history, are likely to suffer largely irreversible retaliation,

retribution, and other intimidation measures and further human rights abuses and violence, even

murder, and grave threats to the integrity of this proceeding, at the hands of the Barzani

Continuing Criminal Enterprise if their identities become public, and thus are listed

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 26 of 429




anonymously herein, the identify of whom is known to Plaintiffs’ counsel. (Title 18, United

States Code, Sections 2332(a)(1), 2 and 3551 et seq.) Protecting their identities is also essential

to advance the compelling interests of ensuring a fair trial free from outside influence and

untainted by harassment, intimidation, and threats directed towards or murder of or enforced

disappearance of witnesses and other trial participants. Courts not only have the power, but the

duty, to “protect their processes from prejudicial outside interferences” and to ensure a fair trial.

See Sheppard v. Maxwell, 384 U.S. 333, 363 (1966).



                                            PARTIES

                                             Plaintiffs

35.        Plaintiff Kurdistan Victims Fund: The Kurdistan Victims Fund is a not-for-profit

501(c)(3) charitable foundation incorporated in the United States for the benefit of Kurdish

victims.

36.     Plaintiff Shakhwan Abdulrahman: Shakhwan Abrulrahman acting individually, is an

American citizen presently residing in the United States.

37.     Plaintiff Shakhwan Abdulrahman: Shakhwan Abdulrahman, residing in the United

States, as Representative of Jihan Taha Abdurahman, Deceased.

38.     Plaintiff Maki Revend: Maki Revend acting individually, is a German citizen presently

residing in Berlin, Germany. He is of Iraqi Kurdish origin.

39.          Plaintiffs John Does 1-5000: On their own behalf and on behalf of their deceased

relatives.



                                             Defendants
               (Collectively, the Barzani Continuing Criminal Enterprise Defendants)
                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 27 of 429




40.      Defendant Kurdistan Regional Government: The Defendant Kurdistan Regional

Government, a subordinate subsidiary subdivision provincial governate and instrumentality of

the Republic of Iraq, self-identified in written submission to the United States Government as the

same as the Kurdistan Democratic Party, a political party, at Erbil, Kurdistan, Iraq, and operating

from an office located at 1532 16th St NW, Washington, DC 20036.

41.     Defendant Masoud Barzani (AKA Mas'ud Barzani , Massoed Barzani, Massoud

Barzani, Massud Barsani, Massud Barzani, Masud Barsani, Masud Barzani, Masúd

Barzání, Masʿūd Barzānī, Mesud Barzani, Mesud Barzanî, Mesut Barzani, Mesûd Barzanî,

Mesûd Berzanî, Məsud Barzani, and Serok Barzani): Masoud Barzani is an individual, a

citizen of Iraq, born August 16, 1946 in the Republic of Mahabad, Iran, is the former President

of the Defendant Iraqi Kurdistan Regional Government, current President of the ruling Kurdistan

Democratic Party, is an individual residing at Erbil, Kurdistan, Iraq, and operating from an office

located at 1532 16th St NW, Washington, DC 20036.

42.      Defendant Masrour Barzani (AKA Masrur Barzani, Masrūr Bārzānī, Mesrur

Barzani, and Mesrûr Barzanî): Masrour Barzani is an individual, son of Defendant Masoud

Barzani, a citizen of Iraq, born March 02, 1969, is the Prime Minister of Defendant Iraqi

Kurdistan Regional Government and Chancellor of its Kurdistan Regional Security Council, a

leader of the Kurdistan Democratic Party, is an individual with U.S. permanent residence status

and therefore a “United States Person”, residing at Erbil, Kurdistan, Iraq, and operating from an

office located at 1532 16th St NW, Washington, DC 20036.

43.      Defendant Waysi Barzani: Waysi Barzani possessing Iraq citizenship identity card

#00802544 issued July 27, 2016, is an individual, son of Defendant Masoud Barzani, a citizen of

Iraq, is the Director of the Defendant Iraqi Kurdistan Regional Government Intelligence and

                                                48
        Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 28 of 429




Security Agency, and Director General of Counter Terrorism (CTD), a part of the Kurdistan

Region Security Council (KRSC), a unit of the Defendant Iraqi Kurdistan Regional Government,

is an individual residing at Erbil, Kurdistan, Iraq, and operating from an office located at 1532

16th St NW, Washington, DC 20036.

44.       Defendant Mulla “Babo” Mustafa Barzani: Mulla “Babo” Mustafa Barzani, the

youngest son of Defendant Masoud Barzani, is an individual American citizen residing at Erbil,

Kurdistan, Iraq.

45.      Defendant Jeyra Mohamad Khaled:               Jeyra Mohamad Khaled, an individual and

Barzani mother and owner of sham or front corporations in the United States, and residing in

Erbil, Kurdistan, Iraq.

46.      Defendant Katja Vrecar Barzani:          Katja Vrecar Barzani, an individual, wife of

Defendant Mustafa “Babo” Barzani, and owner of sham or front corporations in the United

States, and residing in Erbil, Kurdistan, Iraq.

47.     Defendant Areen Masrour Barzani. Areen Barzani, is an individual, is a “United States

person”, is a son of Masrour Barzani, and resides in Erbil, Kurdistan, Iraq.

48.     Defendant Sarwar Pedawi: Sarwar Pedawi, is an individual, a “United States Person” (a

green card holder), as defined in 18 U.S.C. § 2331(2) and 8 U.S.C. § 1101(a)(22), “a person who,

though not a citizen of the United States, owes permanent allegiance to the United States”, is the

Founder and Chairman of North Light Holding, based in Iraq and the U.A.E. North Light’s

interests include ICT, various industrial sectors, healthcare, free economic zones and distribution

networks. He is the Founder and Chairman of the Ster Group, based in the Kurdistan Region of

Iraq.   He is economic advisor to the President of the Defendant Iraqi Kurdistan Regional

Government, and oversees financial elements of the Barzani Continuing Criminal Enterprise,

                                                  48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 29 of 429




counterfeiting of cigarettes and pharmaceuticals, has dual Iraq and Netherlands citizenship, and

is an individual residing at Erbil, Kurdistan, Iraq and in Dubai, United Arab Emirate.

49.    Defendant Laaween (Lawin) Pedawi: Laaween (Lawin) Pedawi is an individual, with

Dutch citizenship, brother of Defendant Sarwar Pedawi, residing in Dubai., United Arab

Emirate..

50.   Defendant Karim Sinjari (Sinjiri): Karim Sinjari (Sinjiri) is a former Minister of Interior

of the Defendant Iraqi Kurdistan Regional Government, former Chief of Staff to Defendant Iraqi

KRG President Masoud Barzani, and presently Senior Advisor to the President of Defendant

Iraqi Kurdistan Regional Government. He is an individual holding SwedenSwedish citizenship,

residing at Erbil, Kurdistan, Iraq.

51.    Defendant Jonathon R. Moore: Defendant Jonathor R. Moore is an individual, and an

attorney licensed to practice in Washington, D. C. and New York, and is attorney of record for

Mansour Barzani, Masrour Barzani, Muksi Barzani, Mulla “Babo” Mustafa Barzani, and Waysi

Barzani in Washington DC, and corporate officer or agent of numerous Barzani-owned sham or

front corporations. He resides in East Hampton, N.Y.

52.    Defendant Joe R Reeder: Defendant Joe R. Reeder is an individual, a former United

States Secretary of the Army, and is a practicing attorney with the law firm of Greenberg

Traurig, LLP in Washington, D. C., and is, or was, attorney of record for Defendant Masrour

Barzani.

53.    Defendant Valerie Cupp: Defendant Valerie Cupp is an individual and administrator of

properties and manager and corporate officer of front corporations for the Barzani Continuing

Criminal Enterprise.




                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 30 of 429




54.    Defendant Julie Mai Sanford:         Defendant Julie Mai Sanford is an individual and

administrator of properties and manager and corporate of front corporations for the Barzani

Continuing Criminal Enterprise in Washington, D. C. She resides in Stafford, Virginia.

55.     Defendant Laura Geho Harris: Defendant Laura Geho Harris is an individual and

administrator of properties and manager and corporate officer of front corporations for the

Barzani Continuing Criminal Enterprise in Washington, D.C.

56.    Defendant Bayan Sami Abdul Rahman: Bayan Sami Abdul Rahman is an individual,

a United Kingdom citizen, and is senior advisor to Kurdistan Prime Minister Masrour Barzani

for foreign affairs and climate change, is an individual residing in Erbil, Kurdistan, Iraq, and was

previously from 2015 until August 1, 2023, located in Washington ,D.C. as the High

Representative of the Defendant Iraqi Kurdistan Regional Government and a compensated

representative of Masoud Barzani and Masrour Barzani and other Iraqi KRG officials, acting

within the scope of her office or employment actively advocating Barzani interests including

disinformation and deception at the highest levels of the U.S. government, before agencies and

officials of the Government of the United States, influencing U.S. financial and military

assistance to the Defendant Iraqi Kurdistan Regional Government. She reported to Masrour

Barzani and helped push Barzani/Defendant Iraqi Kurdistan Regional Government talking points

with American policymakers, actively advocating for the Defendant Iraqi Kurdistan Regional

Government’s interests in Washington, D.C. and with a network of influencers coordinated and

pushed their positions and priorities at the highest levels of the United States government. She

represented the interests of these foreign entities and principals, issued public written and oral

communications and position statements on their behalf to the American public and to elected

and appointed U.S. government officials, agencies, and departments, and was employed as

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 31 of 429




spokesperson in the United States for the Barzani’s, operating from an office located at 1532

16th St NW, Washington, DC 20036. She was previously a journalist, High Representative of

the Defendant Iraqi Kurdistan Regional Government to the United Kingdom, and a member of

the Kurdistan Democratic Party Leadership Council.

57.   Defendant Treefa Aziz: Treefa Aziz, is an individual and a resident of the United States

since 1977, a United States citizen, a knowledgeable law-trained member of the Virginia Bar,

and a long-time representative of and for the Barzani’s. As of August 1, 2023 she is the

designated and employed representative of the Defendant Iraqi Kurdistan Regional Government

and Masoud Barzani and Masrour Barzani, and other Defendant Iraqi KRG officials, acting

within the scope of her office or employment, actively advocating Barzani interests including

disinformation and deception at the highest levels of the U.S. government, before agencies and

officials of the Government of the United States, influencing U.S. financial and military

assistance to the Defendant Iraqi Kurdistan Regional Government. She has represented and does

represent the interests of these foreign principals, issues written and oral communications and

position statements on their behalf to the American public and to elected and appointed U.S.

government officials, agencies, and departments, and is a compensated spokesperson in the

United States for the Barzani’s, with offices located at 1532 16th St NW, Washington, DCD.C.

20036. She recently served as a senior advisor to the Defendant Iraq KRG Prime Minister,

Masrour Barzani, in Erbil. Previously, she worked in the United States Congress for a member

of the House Appropriations Committee, and was previously the Kurdistan Democratic Party

(KDP) Representative to the United States. She holds a Juris Doctorate from the Washington

College of Law at American University in Washington, D.C.




                                              48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 32 of 429




58.   Defendant Afan Saleh Omar Sherwani: Afan Saleh Omar Sherwani, is an individual, is

a representative, agent, business agent, and financial agent for Defendant Masrour Barzani, a

foreign principal, in the United States, though has not submitted a registration statement with the

U. S. Attorney General pursuant to the statutory requirements of the Foreign Agents Registration

Act, is an individual with U.S. permanent residence status and therefore a “United States

Person”, residing in Virginia.

59.    Defendant Omar S. Barzani: Omar Barzani is an individual whose current address is

9716 Windburn Drive, Plano, TX 75025, is principal officer of Barzani Charitable Foundation,

5111 Greenville Avenue, Dallas, TX 75206.

60.     Defendant Entifadh Kamal Qanbar (AKA Entifadh Qanbar, Entfaidh Qanbar,

Entifaoh K Qanbar, Entifah Qanbar, Entifadh K Qua Bar, Entifadfh K Qanbar, Etifadh

K Qanbar) is an individual born in Iraq, is a United States citizen since 1999, residing at 6062

Burnside Landing Drive, Burke, Virginia 22015, self-declared he is “presently leading an

advocacy campaign that was approved by Kurdish Prime Minister [Defendant] Masrour

Barzani.” He has served as Senior National Security Advisor for the Iraqi Parliament, the

Deputy Military Attache for the Embassy of Iraq in Washington, DC,D.C., Spokesman to

Member of the Iraqi Governing Council, Director of the Iraqi National Congress Foundation, and

and a Special Envoy for the United Iraqi Alliance. He is the founder and president and director

of two purported non-profit organizations, Future Foundation, whose legal charitable status of

the Internal Revenue Service appears questionable, and Kurdish Protection Action Committee

(KPAC). He self-describes as “rendering services for Council of Ministers Kurdistan Regional

Government,” an entity controlled by Defendant Masrour Barzani. In 2023, he led an advocacy




                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 33 of 429




campaign that was approved by Defendant Iraqi Kurdistan Regional Government Prime Minister

Masrour Barzani.

61.     Defendant Dindar Zebari: Dindar Zebari is an individual, and is the Defendant Iraqi

Kurdistan Regional Government’s Coordinator for International Advocacy with responsibility to

communicate policy clarifications primarily to human rights forums and panels of multilateral

treaty forums, residing in Erbil, Kurdistan, Iraq.

62.    Defendant Aziz Ahmad: Aziz Ahmad is an individual, and is Deputy Chief of Staff to

Defendant Iraqi Kurdistan Regional Government Prime Minister Masrour Barzani, chief contact

for lobbyists including those in the United States, formerly Assistant to the Chancellor of the

Defendant Iraqi Kurdistan Regional Government Security Council, formerly holding positions in

the Defendant Iraqi Kurdistan Regional Government Department of Foreign Relations, residing

in Erbil, Kurdistan, Iraq.

63.    Defendant Ashti Hawrami, PhD: Ashti Hawrami, Ph.D. is an individual, was Minister

for Natural Resources and Assistant Prime Minister for Energy Affairs in the Defendant Iraqi

Kurdistan Regional Government, was previously an oil executive and was an engineer in the

Iraqi National Oil Company. He resides in London, England, United Kingdom.

64.    Defendant Baz Karim Al-Barzanji: Baz Karim Al-Barzanji is an individual, owner of

record and operator of KAR Group and KAR Refinery in Erbil, residingwho with his brother

Defendant Mahmoud Karim Al-Barzanji for and in partnership with the Barzani Continuing

Criminal Enterprise and Defendant Iraqi Kurdistan Regional Government conduct illegal oil

trading, mostly in the north of Iraq, and facilitates money laundering of the BCCE, and resides in

Erbil, Kurdistan Iraq., Dubai, and Turkey. Baz Karim Al Barzanji employs multiple U.S. persons

including a former U. S. Government Official.

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 34 of 429




65.    Defendant Mahmoud Karim Al-Barzanji: Mahmoud Karim Al-Barzanji is an

individual and a partner with his brother Defendant Baz Karim Al-Barazanji in the oil refinery

who for and in partnership with the Barzani Continuing Criminal Enterprise and Defendant Iraqi

Kurdistan Regional Government conducts illegal oil trading, mostly in the central part of Iraq,

and facilitates money laundering of the BCCE..

66.     Defendant Ghafoor Khoshnaw: Ghafoor Khoshnaw is an individual, citizen of Iraq

possessing a Caribbean island nation passport, owner orof record and operator of Khoshnaw

Group in Erbil, residing in Erbil, Kurdistan, Iraq. He is husband to coconspirator Defendant

Hamela Gardi, President, Region Trade Bank for Investment and Finance (aka “RT Bank”), in

Iraqi Kurdistan.    He oversees cigarette counterfeiting business, smuggles cigarettes, and

participates in money laundering for the Barzani Continuing Criminal Enterprise in partnership

with Defendant Masrour Barzani.

67.     Defendant Ameer Saadallah Rasheed: Ameer Saadallah Rasheed is an individual, a

United States citizen, owner of record and operator of Renos Company in Erbil, residing in Erbil,

Kurdistan, Iraqand fronts for Shinika, a front corporation of the Barzani Continuing Criminal

Enterprise in its fraudulent contracts with the U.S Defense Logistics Agency of the U.S.

Department of Defense. He resides in Kurdistan.

68.    Defendant Dasko Shirwani. Defendant Dasko Shirwani is an individual, U.S. citizen,

employed as Director of Outreach for the Washington, D.C. office of the Iraqi Kurdistan

Regional Government, and resides in the Washington, D.C. area.

69.    Defendant Kamal Kirkuki: Kamal Kirkuki is an individual, formerly Defendant Iraqi

Kurdistan Regional Government speaker of parliament and former Kirkuk governor, residing in

Erbil, Kurdistan, Iraq.

                                                 48
        Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 35 of 429




70.      Defendant Jafar Aminki: Jafar Aminki is an individual, senior official in Kurdistan

Democratic Party, is a member of KDP intelligence services, and resides in Erbil, Kurdistan,

Iraq.

71.      Defendant Zaheem Ali: Zaheem Ali is an individual, a senior official in the Kurdistan

Democratic Party, and resides in Erbil, Kurdistan, Iraq.

72.     Defendant Azad Barwari: Azad Barwari is an individual, and resides in Erbil, Kurdistan

Iraq.

73.     Defendant Hoshyar Zebar: Hoshyar Zebar is an individual, uncle of Masoud Barzani,

was formerly the Deputy Prime Minister, Minister of Finance, and Minister of Foreign Affairs of

the Republic of Iraqi where he was a member of the executive committee of the Iraqi National

Congress, its Presidential Council, and Iraqi Governing Council. He was a member of KDP’s

Central Committee as well as its Political Bureau. He previously directed KDP foreign relations

and represented the party in the United States and United Kingdom, and resides in Erbil,

Kurdistan, Iraq.

74.       Defendant Sayran Saber Mustafa Barzani: Sayran Saber Mustafa Barzani is an

individual, a spouse of Masrour Barzani, a “United States person” by virtue of permanent

resident status, and resides in Erbil, Kurdistan, Iraq.

75.     Defendant Lina Sirwan Barzani: Lina Barzani may be a fictitious person of the Barzani

Continuing Criminal Enterprise. It is believed she is an individual born on June 22, 1994 in

Arlington, VA, publicly represents herself as Chairman and CEO at Lina Holding and Vice

President of J.P. Morgan (though J.P. Morgan does not list her in its global employee

directory)..). She is the purported daughter of Sirwan Saber Mustafa Barzani (billionaire owner

of Kurdistan telecommunications monopoly Korek Telecom Co., CS Ltd. and nephew of

                                                  48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 36 of 429




Masoud Barzani)), and an American citizen alleged to be managing assets gained from the

Barzani Continuing Criminal Enterprise in the United States and internationally, residing at

address(es) unknown in Virginia and/or New York.

76.      Defendant Dilshad Barzani: Dilshad Barzani, brother of and “right hand man” to

Defendant Masoud Barzani, was Kurdistan Democratic Party representative to Germany and

Europe, is an individual after fleeing Germany now residing in Erbil, Kurdistan, Iraq, and is a

major beneficiary of the fruits of the Barzani Continuing Criminal Enterprise.

77.    Defendant Sirwan Barzani: Sirwan Barzani is nephew of Masoud Barzani, billionaire

owner of a Kurdistan telecommunications monopoly Korek Telecom Co., CS, is an individual

residing in Erbil, Kurdistan, Iraq.

78.    Defendant Nihad Barzani: Nihad Barzani is an individual, brother of Masoud Barzani

and uncle of Masrour Barzani, reporting to Masrour Barzani, who directs the illicit drug

manufacture and distribution operations of the Barzani Continuing Criminal Enterprise, and

resides in Erbil, Kurdistan, Iraq.

79.    Defendant Sidad Barzani: Sidad Barzani is an individual, occupies a senior leadership

position in Kurdistan Democratic Party headquarters, residing at Erbil, Kurdistan, Iraq.

80.    Defendant Sihad Barzani: Sihad Barzani is an individual, holds the rank of General in

the Defendant Iraqi Kurdistan Regional Government Peshmerga military forces, residing at

Erbil, Kurdistan, Iraq.

81.     Defendant Hikmat Bamarni: Hikmat Bamarni is an individual, a U.S. citizen, and is

Director of the Kurdistan Democratic Party Seventh Branch (USA and Canada), officing at 3875

B Plaza Drive, Fairfax, VA 22030.




                                                48
        Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 37 of 429




82.       Defendant Shimal Jawhar Salin: Shimal Jawhar Salin is an individual who for the

Barzani Continuing Criminal enterprises manages the counterfeiting of pharmaceuticals and

cigarettes, and resides in Kurdistan, Iraq.

83.        Defendant Dilshad Yousef: Dilshad Yousef is an individual and is the head of a

Defendant Iraqi Kurdistan Regional Government Asayish security force based in Erbil, is a

hitman for the Barzani Continuing Criminal Enterprise, residing in Erbil, Kurdistan, Iraq.

84.     Defendant Ismat Argoshi: Ismat Argoshi is an individual and who is the head of Security

Asayesh, the Kurdish security organization, is a hitman for the Barzani Continuing Criminal

Enterprise, residing in Erbil, Kurdistan, Iraq.

85.      Defendant Barzan Hersha Rash: Barzan Hersha Rash is an individual and a Kurdish

Democratic Party (KDP) hitman, a hitman for the Barzani Continuing Criminal Enterprise,

residing in Kurdistan, Iraq.

86.      Defendant Azad Germari: Azad Germari is an individual who is the Director of the

Office of Intelligence for the Iraqi Kurdistan Province of Duhok, is a hitman for the Barzani

Continuing Criminal Enterprise, and resides in Duhok, Kurdistan, Iraq.

87.     Defendant “Shalawo”: “Shalawo” is an individual, whose current address is unknown.

88.     Defendant Rabea Barzani: Rabea Barzani is an individual, an uncle of Masrour Barzani,

residing in Erbil, Kurdistan, Iraq.

89.      Defendant Ghalib Rabea Barzani: Ghalib Rabea Barzani is an individual, residing in

Erbil, Kurdistan, Iraq.

90.     Defendant Raber Barzani: Raber Barzani is an individual, residing in Erbil, Kurdistan,

Iraq.




                                                  48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 38 of 429




91.    Defendant Ghalib Raber Barzani: Ghalib Raber Barzani is an individual, residing in

Erbil, Kurdistan, Iraq.

92.     Defendant Rubar S. Sandi: Rubar S. Sandi is an American citizen, an individual of

Kurdish origin residing at 9300 Belle Terre Way, Potomac, MD 20854. He is currently an

executive of TDS Global Solutions Inc. registered in Washington DC, D.C. and Chairman of

TSG Global Holdings Inc. registered in the British Virgin Islands.

93.    Defendant Dilal Abbas: Dilal Abbas is an individual, residing in Kurdistan, Iraq.

94.     Defendant Ahmad Kurdu Nori: Ahmad Kurdu Nori is an individual, whose current

address is unknown.

95.     Defendant Mahmood Agaha: Mahmood Agaha is an individual, whose current address

is unknown.

96.    Defendant Hamela Gardi: Hamela Gardi is an individual, residing in Kurdistan, Iraq.

She is President, Region Trade Bank for Investment and Finance (aka “RT Bank”), in Iraqi

Kurdistan and wife of BCCE coconspirator Defendant Ghafoor Khoshnaw.

97.     Defendant Afan Saleh Omar Sherwani: Afan Saleh Omar Sherwani is an individual

whose current address is in Northern Virginia.

98.    Defendant Dilshad Hassan Najar: Dilshad Hassan Najar is an individual, residing in

Kurdistan, Iraq.

98.    Defendant Saad Aldoski: Saad Aldoski is an individual who for the Barzani Continuing

Criminal Enterprise manages and partners in the counterfeiting of U.S. cigarettes and alcohol

products, and resides in Kurdistan, Iraq and Dubai. He also operates Duty Free in Erbil which

accommodates and sells counterfeit U.S. products. He carries an Eastern European passport.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 39 of 429




99.     Defendant Blend Aldoski:          Blend Aldoski is an individual who for the Barzani

Continuing Criminal Enterprise manages and partners in the counterfeiting of U.S. cigarettes and

alcohol products, and resides in Kurdistan, Iraq, and Dubai. He operates Duty Free in Erbil

which accommodates and sells counterfeit U.S. products.

100.       Defendant Joseph Teichmueller: Joseph Teichmueller is an individual residing in

Germany.

101.       Defendant U.S. Public Official #1: U.S. Public Official #1 is an individual, an

American citizen, who as a senior United States government official and official of the Coalition

Provisional Authority – Iraq, possessed substantial influence over foreign military sales and

foreign military financing and assistance to Iraqi Kurdistan, and retired United States military

official residing at Erbil, Kurdistan, Iraq.

102.       Defendant U.S. Public Official #2: U.S. Public Official #2 is an individual, an

American citizen, who as a senior United States government official and official of the Coalition

Provisional Authority – Iraq, possessed substantial influence over foreign military sales and

foreign military financing and assistance to Iraqi Kurdistan, and retired United States military

official whose current address is Erbil, Kurdistan, Iraq.



                                  JURISDICTION AND VENUE

103.    Plaintiffs have suffered severe injury in fact. These injuries were and are caused by the

intentional and knowing conduct of the Defendants. The requirements of Article III standing are

familiar: First, the plaintiff must have suffered an injury in fact— – an invasion of a legally

protected interest which is (a) concrete and particularized, and (b) actual or imminent, not

conjectural or hypothetical. Second, there must be a causal connection between the injury and

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 40 of 429




the conduct complained of – the injury has to be fairly traceable to the challenged action of the

defendant, and not the result of the independent action of some third party not before the court.

Third, it must be likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision. United States v. Windsor, 570 U.S. 744, 133 S.Ct. 2675, 2685-86, 186

L.Ed.2d 808 (2013)). Plaintiffs satisfy all requirements of standing.

104.    With respect to Plaintiff Kurdish Victims Fund, this Court has previously stated:

“Even in the absence of injury to itself, an association may have standing solely as the

representative of its members.” Warth v. Seldin, 422 U.S. 490, 511 (1975). “The association

must allege that its members, or any one of them, are suffering immediate or threatened injury as

a result of the challenged action of the sort that would make out a justifiable case had the

members themselves brought suit.,” Sierra Club v. Morton, 405 U.S. 727, 731-734 (1972) as

Plaintiffs do in the instant complaint. Black's Law Dictionary define association as “The act of a

number of persons who unite or join together for some special purpose or business.” In Hunt v.

Washington State Apple Advertising Commission, the Supreme Court set forth the criteria for

associational standing. 432 U.S. 333. Under the so-called Hunt test, a plaintiff at the motion to

dismiss stage must plausibly allege or otherwise offer facts sufficient to permit the reasonable

inference (1) that the plaintiff has at least one member who “would otherwise have standing to

sue in [her] own right;” (2) that “the interests” the association “seeks to protect are germane to

[its] purpose;” and (3) that “neither the claim asserted nor the relief requested requires the

participation of [the] individual members in the lawsuit.” Id. at 343. (See Public Citizen, Inc. v.

Trump, Civil Action No. 2017-0253 (D.D.C. 2018). The Kurdish Victims Fund meets the

requirements for standing.



                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 41 of 429




105.           “The D.C. Circuit has translated the requirement into a single question: ‘did the

[defendant]'s actions materially increase the probability of injury?’” Huddy v. FCC, 236 F.3d

720, 722 (D.C.Cir.2001). Huddy v. FCC, 236 F.3d 720, 722 (D.C.Cir. 2001). All of Plaintiffs’

injuries are “the consequence of the defendants' actions...." Warth v. Seldin, 422 U.S. 490, 504-

05, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975). Actual injury is “fairly traceable to the alleged illegal

action and likely to be redressed by a favorable court decision.” See Equal Rights Ctr. v. Post

Props., Inc., 633 F.3d 1136, 1138 (D.C. Cir. 2011). None of defendants’ acts were “acts of war”

as defined in 18 U.S.C. § 2331(4).

106.     This court has federal question jurisdiction pursuant to 28 U.S.C. § 1331; and subject

matter and personal jurisdiction pursuant to the Torture Victim Protection Act of 1991; 28

U.S.C. 1350; 18 U.S.C. § 1961 et seq.; the Anti-Terrorism Act, 18 U.S.C.§ 2333 et seq.; the

Alien Tort Statute of 1789, 28 U.S.C. 1350; and the Torture Act, 28 U.S.C. § 1350 note §

2(a)(1)-(2).

107.    In general, the Judiciary has a responsibility to decide cases properly before it, even those

it “would gladly avoid.” Cohens v. Virginia, 6 Wheat. 264, 404, 5 L.Ed. 257 (1821).” Cohens v.

Virginia, 6 Wheat. 264, 404, 5 L.Ed. 257 (1821). Supreme Court precedents have identified a

narrow exception to that rule, known as the “political question” doctrine. See, e.g., Japan

Whaling Assn. v. American Cetacean Soc., 478 U.S. 221, 230, 106 S.Ct. 2860, 92 L.Ed.2d 166

(1986)See, e.g., Japan Whaling Assn. v. American Cetacean Soc., 478 U.S. 221, 230, 106 S.Ct.

2860, 92 L.Ed.2d 166 (1986). The present matter involves no “political question” and presents

no nonjusticiable political questions; and thus, this court has jurisdiction of the matters raised

herein. See Zivotofsky Ex Rel. Zivotofsky v. Clinton, 566 U.S. 189, 132 S. Ct. 1421, 182 L. Ed. 2d

423 (2012). There is no danger of inadvertent interference with foreign relations. See Flatow v.


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 42 of 429




Islamic Republic of Iran, 999 F. Supp. 1, at 16 (D.C. 1998). Defendants’ beliefs, conduct, and

assertions notwithstanding, they are not above the law. Defendant Masrour Barzani is a “United

States person”, and "No man in this country is so high that he is above the law.” See United

States v. Lee, 106 U. S., at 220 (1882) United States v. Lee, 106 U. S., at 220 (1882).

108.      Acknowledging “a defendant must have minimum contacts with the forum reflecting

‘some act by which [it] purposefully avails itself of the privilege of conducting activities within

the forum,’” this Court has personal jurisdiction over the Defendants because their extensive

forum contacts are all squarely related to Plaintiffs' claims. (See Atchley v. AstraZeneca UK

Ltd., 22 F.4th 204, 210 (D.C. Cir. 2022), (quoting Hanson v. Denckla, 357 U.S. 235, 253, 78

S.Ct. 1228, 2 L.Ed.2d 1283 (1958) Hanson v. Denckla, 357 U.S. 235, 253, 78 S.Ct. 1228, 2

L.Ed.2d 1283 (1958)).

109.    This Court has personal jurisdiction over the Defendants because the Alien Tort

Statute, also called the Alien Tort Claims Act (ACTA), 28 U.S.C. § 1350, provides “the district

courts shall have jurisdiction over any civil action by an alien for a tort only, committed in

violation of the law of nations or treaty of the United States.” Two conditions must exist for this

Court to have subject matter jurisdiction under the ATCA. First, Plaintiffs must be aliens. Most

of the Plaintiffs are citizens of Iraq; Plaintiff Maki Revend, motivated by relentless debilitating

fear of and deadly threats and acts by Defendants, has renounced his Iraq citizenship and

accepted German citizenship and residence; and are thus aliens. Second, the tortious conduct

Plaintiffs allege must have been committed in violation of the law of nations or a treaty to which

the United States is a signatory. In fact, nothing more than a violation of the law of nations is

required to invoke jurisdiction under the ATCA. See Tel-Oren v. Libyan Arab Republic, 726

F.2d at 774, 779 (D.C. Cir. 1984) (Edwards, J. concurring.)     In addition, the actions Plaintiffs

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 43 of 429




allege are violations of the law of nations. Courts have held that torture, summary execution,

crimes against humanity and cruel, inhuman and degrading treatment are acts that violate

international law; therefore, they meet the ATCA’s criterion that Plaintiffs’ claims violate the

law of nations. See FIS, 993 F. Supp. at 4, 8; Xuncax, 886 F. Supp. 162. The Torture Act

establishes federal jurisdiction and liability for "[“[a]n individual who, under actual or apparent

authority, or color of law, of any foreign nation ... subjects an individual to torture ..."…” 28

U.S.C. § 1350 note § 2(a)(1)-(2).

110.    In committing these tortious acts against Plaintiffs, Defendants knowingly, willingly, and

substantially violated treaties, as defined by the Vienna Convention on the Law of Treaties:

                    (a)   Article 2(a): “treaty” means an international agreement concluded

                    between States in written form and governed by international law, whether

                    embodied in a single instrument or in two or more related instruments and

                    whatever its particular designation;

                    (b) Article 2 (b): “ratification”, “acceptance”, “approval” and “accession”

                    mean in each case the international act so named whereby a State establishes

                    on the international plane its consent to be bound by a treaty;

                    (c) Article 2(g): “party” means a State which has consented to be bound by

                    the treaty and for which the treaty is in force;

                    (d) Article 18: A State is obliged to refrain from acts which would defeat the

                    object and purpose of a treaty when: (a) it has signed the treaty or has

                    exchanged instruments constituting the treaty subject to ratification,

                    acceptance or approval, until it shall have made its intention clear not to

                    become a party to the treaty; or (b) it has expressed its consent to be bound

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 44 of 429




                    by the treaty, pending the entry into force of the treaty and provided that such

                    entry into force is not unduly delayed.

                    (e) Article 27: A party may not invoke the provisions of its internal law as

                    justification for its failure to perform a treaty.

                    (f) Article 29: …a treaty is binding upon each party in respect of its entire

                    territory.

111.       This Court has personal jurisdiction over the Defendants because Defendants had

contacts constituting purposeful activity with the District of Columbia and/or the United States.

See International Shoe Company v. Washington, 326 U.S. 310, 316 (1945), and could have

anticipated being brought into court here. See World-wide Volkswagon Corp. v. Woodson, 444

U.S. 286, 297 (1980). At all times relevant, Defendants had “continuous and systematic”

contacts between themselves and the District, a staffed office with continuous operations in the

District, retained lobbyists, representatives, and counsel in the District, and through the acts of its

authorized agents, which give rise to general jurisdiction over Defendants as they traveled to the

United States. See Helicopteros Nacionales de ColumbiaColombia v. Hall, 466 U.S. 408, 416

(1984).

112.      This Court has personal jurisdiction over all the Defendants because the Alien Tort

Statute enacted as part of the Judiciary Act in 1789 provides jurisdiction for the federal courts to

hear lawsuits regarding torts “committed in violation of the law of nations.".” 28 U.S.C. § 1350.

See Doe v. Exxon Mobil Corp., 654 F.3d 11 at 29 (D.C. Cir. 2011). “The Alien Tort Statute in

its entirety states ‘[t]he district courts shall have original jurisdiction of any civil action by an

alien for a tort only, committed in violation of the law of nations or a treaty of the United States.’

28 U.S.C. § 1350.      The Torture Act establishes federal jurisdiction and liability for ‘[a]n

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 45 of 429




individual who, under actual or apparent authority, or color of law, of any foreign nation ...

subjects an individual to torture ...’ 28 U.S.C. § 1350 note § 2(a)(1)-(2)”. Doe v. Exxon Mobil

Corp., 393 F. Supp. 2d 20, at 22 (D.C. 2005).

113.      This Court has personal jurisdiction over all the Defendants because the “aiding and

abetting liability is well established under the Alien Tort Statute” enacted as part of the Judiciary

Act in 1789, “that the principle of aiding and abetting liability is well established in customary

international law, and that the mens rea and actus reus requirements are those set out by the

Nuremberg Tribunals and the international courts created by the United Nations, which reflect

the standard under federal common law.” See Doe v. Exxon Mobil Corp., 654 F.3d 11 at 15

(D.C. Cir. 2011).      Federal courts have relied on international criminal law norms in

establishing the content of the law of nations. See, e.g., Khulumani, 504 F.3d at 270

(Katzmann, J., concurring); Kadic, 70 F.3d at 241-43; see also Sosa, 542 U.S. at 762-63, 124

S.Ct. 2739 (Breyer, J., concurring) the content of the law of nations. See, e.g., Khulumani, 504

F.3d at 270 (Katzmann, J., concurring); Kadic, 70 F.3d at 241-43; see also Sosa, 542 U.S. at 762-

63, 124 S.Ct. 2739 (Breyer, J., concurring). The Court of Appeals for the District of Columbia

has acknowledged it is “guided by our recognition of established and fundamental principles of

international law.” See FTC v. Compagnie de Saint-Gobain-Pont-a-Mousson, 636 F.2d 1300,

1304 (D.C. Cir. 1980). On September 28, 2016, Congress enacted the Justice Against Terrorism

Act (“JASTA”), which expands ATA civil liability to reach "“any person who aids and abets, by

knowingly providing substantial assistance [to], or who conspires with the person who

committed such an act of international terrorism.".” 18 U.S.C. § 2333(d)(2).

114.     Authorities and sources set forth in instant Complaint confirm that aiding and abetting

and material support or resources liability is clearly established in the law of nations and


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 46 of 429




consequently such liability is available in this Court.     18 U.S.C. 2339A defines the term

"material support or resources" to mean currency or other financial securities, financial services,

lodging, training, safehouses, false documentation or identification, communications equipment,

facilities, weapons, lethal substances, explosives, personnel, transportation, and other physical

assets, except medicine or religious materials.

115.    This Court has personal jurisdiction over all the Defendants because “As to the extent of

liability, once the conspiracy has been formed, all its members are liable for injuries caused by

acts pursuant to or in furtherance of the conspiracy. A conspirator need not participate actively

in or benefit from the wrongful action in order to be found liable. He need not even have

planned or known about the injurious action, as in the case of the getaway driver in Davidson

[Davidson v. Simmons, 203 Neb. 804, 280 N.W.2d 645 (1979)],Davidson v. Simmons, 203 Neb.

804, 280 N.W.2d 645 (1979)], so long as the purpose of the tortious action was to advance the

overall object of the conspiracy.” In “civil conspiracy”, “a conspirator can be liable even if he

neither planned nor knew about the particular overt act that caused injury, so long as the purpose

of the act was to advance the overall object of the conspiracy.” See Halberstam v. Welch, 705

F.2d 472, at 481 (D.C. Cir. 1983).

116.    With respect to conspiracy, the Supreme Court further stated: “Secrecy and concealment

are essential features of successful conspiracy. The more completely they are achieved, the more

successful the crime. Hence the law rightly gives room for allowing the conviction of those

discovered upon showing sufficiently the essential nature of the plan and their connections with

it, without requiring evidence of knowledge of all its details or of the participation of others.”

See Blumenthal v. United States, 332 U.S. 539, at 557.

        14.    117.       This Court has personal jurisdiction over the Defendants in that the

                                                  48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 47 of 429




Torture Victim

 Protection Act (“TVPA”), Pub. L. No. 102-256, 106 Stat. 78 (1992) (codified as 28 U.S.C. §

1350 note), does provide subject matter jurisdiction because Plaintiffs did exhaust, or were

obstructed in exhausting, local Kurdistan legal remedies, in that such remedies are neither

credible nor available as there is no fair administration of justice, before seeking relief in a

United States court. The TVPA states “a court shall decline to hear a claim ... if the claimant has

not exhausted adequate and available remedies in the place in which the conduct giving rise to

the claim occurred.” 28 U.S.C. § 1350, note 2 (emphasis added). “Adequate and available

remedies” indisputably do not exist for the Plaintiffs in Iraqi Kurdistan, the “place in which the

conduct giving rise to the claim occurred.” Plaintiffs cannot find relief in any Defendant Iraqi

Kurdistan Regional Government tribunal, which are manifestly unjust and oppressive, due to the

legacy highly documented (by agencies of the United States Government and the United Nations,

and in many contemporaneous public accounts) of an incorrigibly corrupt judiciary, political

obstruction, systemic intimidation, administrative sabotage, illicit and arbitrary interference, an

absence of judicial independence, deploying instruments of oppression, an absence of

accountability or transparency, infliction of harm or injury unjustifiable by any government

interest, deliberate indifference to and deprivation of due process and rights of Iraq constitutional

law, lacking all protection of the individual against arbitrary action of government and the

exercise of power against the individual without any reasonable justification in the service of a

legitimate governmental objective, with no reasonable access to documents for purposes of

discovery, with magistrates closely aligned with and politically beholden to the Defendants who

politicize legal disputes, and where Defendants invent their own judicial standards and contort

facts to their liking – all to a degree that would shock the contemporary conscience. The

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 48 of 429




European Union Agency for Asylum reports Defendant Iraqi Kurdistan Regional Government

“Judges are frequently appointed based on partisanship rather than merit or independence.”

“There is an overall mistrust in the criminal justice system in Kurdistan with respect to the lack

of effective investigations and the atmosphere of impunity, particularly regarding attacks on

media professionals.” The Defendant Iraqi Kurdistan Regional Government judiciary does not

resolve cases of abuse filed by civilians against the Defendant Iraqi Kurdistan Regional

Government and its officials, leaders, associates, and subordinates, and any pursuit of remedies

against the Defendants in Iraqi Kurdistan would be futile and presents a substantial and serious

real threat of severe, even deadly, physical or mental harm reprisals against those raising the

allegations. Examples of such, and as detailed elsewhere herein, is the two-year torture of

American citizen Sidqi Bradosti in a Defendant KRG prison, as straightforwardly acknowledged

by a judge of the court. The District Court of the District of Columbia has made it clear that

“exhaustion is a prudential doctrine that should be applied flexibly and not when further pursuit

of remedies is futile.” See Doe v. Exxon Mobil Corp., 393 F. Supp. 2d 20, 29 (D.C. 2005);

Cutler v. Hayes, 818 F.2d 879, 890-91 (D.C.Cir. 1987).

118.    Because the TVPA is not a jurisdictional statute, a failure to comply with its requirements

will not preclude a U.S. court from hearing a claim under it. See Al-Odah v. United States, 321

F.3d 1134, 1146 (D.C. Cir. 2003) (Randolph concurring). (See also Abiola v. Abubakar, 267 F.

Supp. 2d 907,910 (N.D. 1112003.)) The statute provides a cause of action for damages to

“anyone who suffered torture anywhere in the world at the hands of any individual acting under

the law of any foreign nation.” Id. Further, any case brought under the TVPA will also arise

under federal law and jurisdiction can then be based on 28 U.S.C.- .16 - § 1331, which expressly

grants general federal question jurisdiction. Id.

                                                    48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 49 of 429




119.    This Court “must assume the truth of facts plausibly alleged in plaintiffs' … Complaint

and draw all reasonable inferences in plaintiffs' favor.” See Atchley v. AstraZeneca UK Ltd., 22

F.4th 204, 210 (D.C. Cir. 2022). Owens v. BNP Paribas, S.A. (Owens IV), 897 F.3d 266, 272

(D.C. Cir. 2018).   See Atchley v. AstraZeneca UK Ltd., 22 F.4th 204, 210 (D.C. Cir. 2022).

Owens v. BNP Paribas, S.A. (Owens IV), 897 F.3d 266, 272 (D.C. Cir. 2018).

120.     This Court has personal jurisdiction over the Defendants because they are individual,

non-state defendants that have been and are doing business in Washington, D.C., and operate in

concert as an operative criminal conspiracy with an element of pecuniary gain and economic and

physical threat and injury, and have a registered address at 1532 16th St NW, Washington, DC,

where at all times relevant a staff was and is employed, are not immune from suit, are not

relieved of responsibility under law, can point to no statute, decree, order, resolution, or

comparable evidence of sovereign authorization for any of the actions in question, and are

subject to this Court’s jurisdiction. See 515 F.3d 1279 (D.C. Cir. 2008), 115 F.3d 1020 (D.C.

Cir. 1997), and Paul Rusesabagina, et al. v The Republic of Rwanda, et al. (Civil Case No. 22-

469(RJL), U.S.D.C.D.C March 16, 2023).

        15.   The Foreign Sovereign Immunities Act (FSIA), 28 U.S.C. §§ 1602 et seq., does

not provide immunity for Defendants. A foreign state is “presumptively immune from the

jurisdiction of United States courts.” Saudi Arabia v. Nelson, 507 U.S. 349, 355, 113 S.Ct. 1471,

123 L.Ed.2d 47 (1993). However, and indisputably, Iraqi Kurdistan is not a foreign state.

121.     The Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C. §§ 1602 et seq., does not

provide immunity for Defendants. The Supreme Court said, “We hold that the FSIA does not

govern the determination of petitioner's immunity from suit.” Samantar v. Yousuf, 560 U.S. 305,

130 S. Ct. 2278, 2282, 176 L. Ed. 2d 1047 (2010). A foreign state is “presumptively immune


                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 50 of 429




from the jurisdiction of United States courts.” Saudi Arabia v. Nelson, 507 U.S. 349, 355, 113

S.Ct. 1471, 123 L.Ed.2d 47 (1993). However, Defendant Iraqi Kurdistan and its officers are not

immune as a foreign state under FSIA because of its continuing criminal enterprise as set forth

herein. This Court has declared, “Under the Foreign Sovereign Immunity Act, 28 U.S.C. § 1604,

a foreign state, including its instrumentalities,” which Defendant Iraqi Kurdistan Regional

Government is, “is immune from suit in state or federal court unless the case falls within an

express statutory exception. See Fritz v. Islamic Republic of Iran, Civil Action No. 2015-0456

(D.D.C. 2018), citing Kz`lburn v. Socialist People ’s Libyan Arab Jamahiriya, 376 F.3d 1123, 1

126 (D.C. Cir. 2004). The instant complaint details numerous and extensive express enumerated

statutory exceptions.

122.    Plaintiffs do not dispute that sitting heads of state (i.e. Presidents and Prime Ministers) of

nation states are entitled to immunity in United States courts and, with some exception,

categorically immune from suit in American courts. See Lewis v. Mutond, 918 F.3d 142, 145

(D.C. Cir. 2019).See Lewis v. Mutond, 918 F.3d 142, 145 (D.C. Cir. 2019). Nor do Plaintiffs

dispute that “It is undisputed that under the FSIA, the Kurdistan Region qualifies as a foreign

state. Therefore, it is given the presumption of immunity unless an exception can be

demonstrated with some facts…”          MINISTRY OF OIL OF THE REPUBLIC OF IRAQ v.

1,032,212 BARRELS OF CRUDE OIL, Civil Action No. G-14-249 (S.D. Tex. Jan. 7, 2015). The

facts herein constitute comprehensive criminal and commercial conduct subject to exceptions

enumerated in the FSIA statute, where Defendants were not acting under the auspices or lawful

authority of a state but only as private individuals.

123.     However, neither Defendant Masoud Barzani nor Defendant Masrour Barzani nor any

Defendant is, or has ever been, a “sitting head of a nation state”, their persistent and knowingly

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 51 of 429




deceptive misrepresentations, declarations, and prior claims of sovereignty notwithstanding. As

the United States Supreme Court pointed out, “‘[s]overeignty’ is a term … much abused.” See

Boumediene v. Bush, 553 U.S. 723, 2252, 128 S. Ct. 2229, 171 L. Ed. 2d 41 (2008). First,

Defendant Masoud Barzani, at present, holds no provincial regional presidential or prime

ministerial position, within the subdivision governate of the nation state of the Republic of Iraq

or any nation state.    Second, provincial Iraqi Kurdistan is indisputably not a nation state.

Loosely and inconclusively demarcated, and with boundary lines unclearly defined, fluid, and

imprecise, “Kurdistan”, land of the Kurds, is an ill-defined geographic area existing within the

borders of four nation states: Iraq, Syria, Turkey and Iran.       These four nation states are

sovereign, whereas the Iraqi Kurdistan provincial governorate, located within and a subdivision

of the Republic of Iraq – where Defendants Masoud Barzani and Masrour Barzani and Waysi

Barzani, and many co-conspirators, hold limited regional government executive positions – is

indisputably not a nation state. Third, customary international law recognizes a nation state, and

not a geographical or political subdivision within a nation state, as deserving immunity for the

head of that nation state.

124.    Iraqi Kurdistan enjoys an asymmetrical federalism; the boundaries separating Kurdistan

from the rest of Iraq were not clearly defined and there is a substantial contested area between

Kurdistan and the rest of Iraq. Second, it was never established who was included in the

population of Kurdistan, because Saddam Hussein had moved many Arabs into the region and

the Kurds wanted them removed; Article 140 of the Iraq constitution provided for a process to

establish who belonged in the region, but the process was never implemented. Further, the

financial autonomy of the Kurdistan region was always tenuous. The issue hinges on control

over Kurdistan’s abundant oil and gas reserves, and to a lesser extent on control over custom


                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 52 of 429




duties on imports into Kurdistan from neighboring countries, most importantly Turkey. All three

issues remain unresolved to this day. Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani, each of whom did at times relevant occupy the senior-most regional government

positions of executive authority of the Defendant Iraqi Kurdistan Regional Government, a

constitutionally recognized autonomous regional government within the Republic of Iraq, the

federal parliamentary sovereign state. The federal Republic of Iraq did not appoint them to these

positions of executive command authority and they do not report to the Republic of Iraq. In this

constitutional arrangement, the federal state discharges minimal to no practical governmental

function; nor does the federal state exercise control over the Defendant Iraqi Kurdistan Regional

Government's operations, administration, legislation, judiciary, policing, or military; nor is the

Defendant Iraqi Kurdistan Regional Government in general compliance with federal Republic of

Iraq government goals, mandates, laws, and rules. The Defendant Iraqi Kurdistan Regional

Government is virtually free of and persistently challenges, including via armed combat, or

countermands intermittent and irregular efforts of Iraq to exercise any federal government

control.

125.       The Foreign Sovereign Immunities Act (FSIA) establishes a default rule granting foreign

sovereigns immunity from the jurisdiction of United States courts. See 28 U.S.C. § 1604;

Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 13 (D.C.Cir.2015).See 28 U.S.C. § 1604;

Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, 13 (D.C.Cir.2015). That baseline grant of

immunity, however, is subject to a number of exceptions. See 28 U.S.C. §§ 1605-07; see also id.

§ 1604. Moreover, the non-commercial tort “exception to the FSIA does not apply to any claim

arising out of malicious prosecution, abuse of process ..., misrepresentation, [or] deceit,” id. §

1605(a)(5)(B). See MacArthur Area Citizens Ass’n v. Republic of Peru, 809 F.2d 918, 921 (D.C.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 53 of 429




Cir.) (citation omitted), modified 823 F.2d 606 (D.C. Cir. 1987). MacArthur Area Citizens Ass’n

v. Republic of Peru, 809 F.2d 918, 921 (D.C. Cir.) MacArthur Area Citizens Ass’n v. Republic of

Peru, 809 F.2d 918, 921 (D.C. Cir.) (citation omitted), modified, 823 F.2d 606 (D.C. Cir. 1987),

823 F.2d 606 (D.C. Cir. 1987).

126.     While the FSIA “establishes a general rule granting foreign sovereigns immunity from

the jurisdiction of United States courts,” there are “a number of exceptions” to that rule that

apply here. See Mohammadi v. Islamic Republic of Iran, 782 F.3d 9, Case 1:22-cv-00245-RJL

Document 17-1 Filed 06/11/22 Page 14 of 33 9 13–14 (D.C. Cir. 2015). Should the court

determine Iraqi Kurdistan is a sovereign state, Plaintiffs herein produce evidence that the

exception applies.   Bell Helicopter Textron, Inc. v. Islamic Republic of Iran, 734 F.3d 1175,

1183 (D.C. Cir. 2013). Once Plaintiffs make this showing, “the sovereign bears the ultimate

burden of persuasion to show the exception does not apply.” Id.

127.    Defendants might contend that the FSIA itself obligates a plaintiff to exhaust domestic

remedies before attempting to bring suit against a foreign sovereign (which Plaintiffs do not

herein do and Defendants are not a foreign sovereign) in United States courts. The Court of

Appeals for the District of Columbia Circuit, however, has held that the FSIA itself imposes no

exhaustion requirement. See Simon v. Republic of Hungary, 812 F.3d 127, 148 (D.C. Cir.

2016); See Simon v. Republic of Hungary, 812 F.3d 127, 148 (D.C. Cir. 2016); Chabad, 528

F.3d at 948-49; accord Abelesz, 692 F.3d at 678 Chabad, 528 F.3d at 948-49; accord Abelesz,

692 F.3d at 678.

128.    In the FSIA, the Congress enacted a “comprehensive framework for resolving any claim

of sovereign immunity.” Republic of Austria v. Altmann, 541 U.S. 677, 699, 124 S.Ct. 2240,

159 L.Ed.2d 1 (2004)Republic of Austria v. Altmann, 541 U.S. 677, 699, 124 S.Ct. 2240, 159


                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 54 of 429




L.Ed.2d 1 (2004). The purpose of the FSIA was “to free the Government from . . . case-by-case

diplomatic pressures.” Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. at 488, 103 S.Ct.

1962, 76 L.Ed.2d 81 (1983) Verlinden B.V. v. Cent. Bank of Nigeria, 461 U.S. at 488, 103 S.Ct.

1962, 76 L.Ed.2d 81 (1983) The statute effectuates this purpose by “set[ting] forth ‘the sole and

exclusive standards to be used in resolving questions of sovereign immunity raised by foreign

states before Federal and State courts in the United States.’” MacArthur, 809 F.2d at 919”

MacArthur, 809 F.2d at 919 (emphasis added) (quoting H.R. Rep. 94-1487, at 12.)                 Iraqi

Kurdistan is indisputably not a foreign state., but is a subordinate part thereof. Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani have no absolute immunity, and their

criminal conduct falls outside the outer perimeter of any lawfully empowered official

responsibilities. FSIA does not immunize criminal conduct. “No officer of the law may set that

law at defiance with impunity.” United States v. Lee, 106 U.S. 196, 220 (1882).

129.       Nonetheless, should the Defendant Iraqi Kurdistan Regional Government or its

Defendant officials incorrectly assert that such sovereign immunity is applicable, the FSIA

terrorism exception strips immunity from a foreign state that “specifically instructs” a terrorist

organization to carry out an attack and from a foreign state that “only provides general support,

but was not involved with the” specific act. See Kilburn v. Socialist People’s Libyan Arab

Jamahiriya, 376 F.3d 1123, 1128 (D.C. Cir. 2004)). Under the causation standard imposed by

the FSIA, a plaintiff need not establish but-for causation and instead may articulate a claim by

showing (1) the defendant’s actions were “a ‘substantial factor’ in the sequence of events that led

to the plaintiff’s injury; and (2) the plaintiff’s injury was “‘reasonably foreseeable or anticipated

as a natural consequence’ of the defendant’s conduct.” See Owens v. BNP Paribas, SA, 897 F.3d

266, 794 (D.C. Cir. 2018). Further, this Court has held “Political assassinations ordered by

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 55 of 429




foreign states outside their territory, however, are not valid acts of state.” See Flatow v. Islamic

Republic of Iran, 999 F. Supp. 1, at 24 (D.C. 1998).

130.    With respect to Defendant Masoud Barzani, no longer an official of the Defendant Iraqi

Kurdistan Regional Government since 2017, the United States Supreme Court held that a former

official is not covered by the FSIA. See Samantar v. Yousuf, 560 U.S. 305, 130 S. Ct. 2278, 176

L. Ed. 2d 1047 (2010). Former Presidents of Defendant Iraqi Kurdistan Regional Government

enjoy no special conditions on their criminal and civil liability. The Supreme Court also held

that the term “agency or instrumentality” in the FSIA does not refer to natural persons, such as

individual government officials. Id. at 2286-87.

131.      “The fact that a person who committed an act which constitutes a crime under

international law acted as Head of State or responsible Government official does not relieve him

or her of responsibility under international law.” See U.N. International Law Commission,

Principles of International Law Recognized in the Charter of the Nürnberg Tribunal and in the

Judgment of the Tribunal, in Report of the International Law Commission on its Second Session,

5 June to 29 July 1950, (Document A/1316), reprinted in II YEARBOOK OF INTERNATIONAL

LAW COMMISSION 1950, 374, 375 U.N. Doc. A/CN. 4/SER.A/1950/Add. 1 (Jun. 6, 1957)

(“PRINCIPLE III) “The fact that a person who committed an act which constitutes a crime

under international law acted as Head of State or responsible Government official does not

relieve him from responsibility under international law.” See U.S. Department of Defense Law

of War Manual, 2015, p. 1150.

132.    “The official position of any accused person, whether as Head of State or Government or

as a responsible Government official, shall not relieve such person of criminal responsibility nor

mitigate punishment.” See U.S. Department of Defense Law of War Manual, 2015, p. 1150.

                                                48
        Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 56 of 429




133.     Acting pursuant to orders does not relieve a person of responsibility. The International

Law Commission has declared:

         “The fact that a person acted pursuant to orders of his or her Government or of a superior
         does not relieve that person from responsibility under international law, provided it was
         possible in fact for that person to make a moral choice.” See U.S. Department of Defense
         Law of War Manual, 2015.

The standard for Defendants’ liability for criminal acts exceeds that for civil liability of those

acts.

134.     The Supreme Court has been equally clear on federal court jurisdiction regarding treaties.

“It is a general principle of construction with respect to treaties that they shall be liberally

construed, so as to carry out the apparent intention of the parties to secure equality and

reciprocity between them.” Geofroy v. Riggs, 133 U.S. 258, 10 S. Ct. 295, 33 L. Ed. 642 (1890).

With relevance in the instant matter, with respect to another “Convention” the Supreme Court

said it is “a multilateral treaty to which approximately 160 countries, including the United States.

. . are signatories. As a ratified treaty, [it] has the status of federal law.” “[T]reaties are

recognized by our Constitution as the supreme law of the land.” Breard v. Greene, 523 U.S.

371, 118 S. Ct. 1352, 140 L. Ed. 2d 529 (1998) Breard v. Greene, 523 U.S. 371, 118 S. Ct.

1352, 140 L. Ed. 2d 529 (1998). U.S. Constitution, Article VI, clause 2 (all treaties shall be

supreme law of the land). Defendants have abused and dishonored treaties as set forth herein

with impunity and reckless abandon to, knowingly and willfully, criminally and tortiously harm

Plaintiffs.

135.      Further, although “[t]he text of § 1605A(a)(1) does not expressly address attempts to

commit acts” such as extrajudicial killing, courts in this District have concluded that injuries

“resulting from ‘deliberate’ attempts to kill fall within the scope” of the terrorism exception. See


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 57 of 429




Cabrera v. Islamic Republic of Iran, Civil Action No. 19-3835, 81 (JDB) (D.C. Jan. 27, 2023);

Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 58 (D.C. 2019); accord Gill v. Islamic

Republic of Iran, 249 F. Supp. 3d 88, 99 (D.D.C. 2017).

136.      Defendants have purposefully directed tortious activity at residents of this forum.

Plaintiffs’ claims arise out of, and relate to, Defendants’ long-running conspiracy to cause pain

and sow terror in the United States injuring Plaintiffs. Plaintiffs are not the only link between

Defendants and the forum; rather, Defendants’ tortious conduct also forms the necessary

connection. Defendants have repeatedly, purposefully, knowingly, and willingly defrauded

businesses of the United States; Defendants have repeatedly, purposefully, knowingly, and

willingly defrauded the United States Government; and Defendants have repeatedly and

expressly intended to affect the United States and its economic, military, and national security

interests and the conduct of U.S. foreign policy and U.S. citizens through their violent, incessant,

and expansive criminal conspiracy conduct. This tortious and criminal conduct by Defendants

has provided the means for Defendants to damage Plaintiffs.

137.    Pursuant to 28 U.S.C. § 1391(b)(1), venue is proper in the United States District Court

for the District of Columbia because the Defendant’s principal place of business in the United

States is in the District of Columbia, where Defendants for all times relevant have and do

maintain an office and employed staff, and because a substantial part of the events or omissions

giving rise to Plaintiffs’ claims occurred in this District.

138.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331, 18 U.S.C. §

2333(d), and 18 U.S.C. § 2338, as a civil action brought by citizens of the United States who

have been killed, maimed, injured or otherwise harmed by reason of acts of international

terrorism at a depth of self-enriching evil beyond horrific; to also include foreign nationals

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 58 of 429




pursuant to 28 U.S.C. 1350 harmed by the Barzani Continuing Criminal Enterprise operating

worldwide, including in the United States; and their estates, survivors, and heirs.

139.    This court has subject matter jurisdiction because “The district courts shall have original

jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of

nations or a treaty of the United States.” 28 U. S. C. § 1350. (See Sosa v. Alvarez-Machain, 542

U.S. 692, 124 S. Ct. 2739, 159 L. Ed. 2d 718 (2004)).

140.    This court has subject matter jurisdiction pursuant to 28 U.S. C. § 1331; 28 U.S.C. §§

1391(b), and (d); 28 U.S.C. § 2331; 18 U.S.C. § 2333(d); and, 18 U.S.C. § 2334(a), as a civil

action brought by citizens of the United States who have been killed or injured by reason of acts

of international terrorism, and their estates, survivors, and heirs.

141.    Defendants are subject to personal jurisdiction pursuant to 18 U.S.C. § 2334(a), and Fed.

R. Civ. P. 4(k).

142.    As explained in greater detail below, and upon information and belief, and at all times

relevant hereto, Defendants’ conduct had a substantial nexus to the United States and to

Washington DC,, D.C., including by virtue of repeated and systematic use of U.S. dollar

transactions and banks in the United States to pay, conspire with, and aid and abet terrorists or to

launder proceeds from such transactions. Defendants thereby purposefully availed themselves of

U.S. jurisdiction to commit the tortious acts described in the Complaint, which enabled ISIS (the

terrorist extremist group Islamic State in Iraq and al-Sham (“ISIS” a.k.a. “ISIL” a.k.a. “IS” a.k.a.

“Islamic State”)) and IRGC (Islamic Revolutionary Guard Corps), a unit of the Government of

Iran, to carry out terrorist attacks that killed or harmed U.S. citizens and foreign national

Plaintiffs in Iraqi Kurdistan and elsewhere, and further a global covert influence campaign,

thereby injuring Plaintiffs. “Iran is a major state sponsor of global terrorism, and particularly of

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 59 of 429




terrorism against the United States.”     “The IRGC is ‘the primary driver of Iran’s terror

activities.’” “The IRGC protects Iran’s regime and attempts to impose its clerical regime on

other Muslim nations throughout the Middle East, providing military forces, directing much of

Iran’s economy, and implementing a global campaign of terrorist activity.” See Cabrera v.

Islamic Republic of Iran, Civil Action No. 19-3835 (JDB) (D.C. Jan. 27, 2023). The United

States designated Iran as a state sponsor of terrorism in 1984, and that designation has remained

in place ever since. (The U.S. government often designates one element of a terrorist group

before the group itself, like the IRGC’s Qods Force (designated as an SDGT organization in

2007) and its parent group, the IRGC (designated in 2017)). (See Cabrera v. Islamic Republic of

Iran, Civil Action No. 19-3835 (JDB) at 17 (D.C. Jan. 27, 2023).)

143.    The Islamic State of Iraq and Syria, or ISIS, is a Sunni Islamist militant group known for

documented extreme violence and radical interpretation of Islamic law. It emerged from the

remnants of the al-Qaeda terrorist group in Iraq and is also known as the Islamic State, ISIL or

Daesh. “Al-Qaeda provided significant operational support to the Taliban in planning and

authorizing terrorist attacks” against Americans in Afghanistan. See Cabrera, et al. v. Islamic

Republic of Iran, 2022 WL 2817730, at 9 (D.D.C. July 19, 2022).

144.       To carry out their operative transnational criminal enterprise conspiracy, upon

information and belief, and at all times relevant hereto, Defendants purposefully made and do

make U.S. dollar payments to terrorist and sanctioned intermediaries and others and wired funds

through U.S. banks for money laundering purposes.

145.    Defendants knew that their strategy to generate hard-to-trace off-the-books cash sources

through uncontrolled slush funds for their illicit transactions caused U.S. dollar, cash-based

protection payments to terrorists. Defendants knew that terrorists craved access to U.S. dollars,

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 60 of 429




most of all the American cash that was the currency of choice for terrorists worldwide.

Numerous United States government reports alerted Defendants, and their Washington D.C.

agents, representatives, attorneys, and advisors, that bulk U.S. dollar cash payments and

associated cash smuggling were a key strategy to route payments to terrorists.

146.     Confidential Human Sources #1 and #2, who have direct clandestine access to senior

ranking Barzani subordinates, from the previously impenetrable inner circle of Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, confirm that numerous other payments in

furtherance of their conspiracy with ISIS and IRGC and others were made in U.S. dollars.

International U.S. dollar banking transfers are cleared through financial institutions that deal in

U.S. dollars in the United States, known as intermediary banks.

147.       By routinely and purposefully engaging in U.S. dollar-denominated transactions

Defendants, upon information and belief, and at all times relevant hereto, purposefully availed

themselves of the benefit of doing business in the United States.

148.      Defendants are also subject to personal jurisdiction given their participation in a

conspiracy with ISIS and IRGC, whose actions were at all relevant times directed at the United

States, including the killing of Americans.

149.    First, Defendants, upon information and belief, and at all times relevant hereto, and ISIS

and IRGC were in an operative conspiracy to provide material support to foreign terrorist

organizations (“FTOs”) in violation of U.S. criminal law, namely, 18 U.S.C. § 2339B. (“A

conspiracy by its very nature is a secretive operation, and it is a rare case where all aspects of a

conspiracy can be laid bare in court with the precision of a surgeon’s scalpel.” (See United

States v. Jackson, 335 F.3d 170, 180 (2d Cir. 2003) (internal quotation marks omitted)) As with

the other elements of a conspiracy, “a defendant’s knowledge of the conspiracy and his

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 61 of 429




participation in it with criminal intent may be established through circumstantial evidence.” See

United States v. Gordon, 987 F.2d 902, 906–07 (2d Cir. 1993).

150.      Second, Defendants, upon information and belief, and at all times relevant hereto,

participated in that conspiracy by making millions of dollars in transactions with ISIS and IRGC,

which allowed ISIS and IRGC to carry out terrorist attacks and engage in other unlawful acts.

151.     Third, ISIS’s and IRGC’s terrorist attacks were expressly directed at the United States.

In one representative instance, in August 2014, ISIS broadcasted its beheading of U.S. journalist

James Foley, and threatened the life of another American journalist, Steven Sotloff, if President

Obama did not end military operations in Iraq. Tellingly, the beheading videos of both Foley

and Sotloff (in September 2014) were titled “Message to America” and “A Second Message to

America,” respectively. ISIS stated that its killing of Sotloff was specifically in response to U.S.

airstrikes targeting it in Iraq.

152.      Fourth, Defendants knew that they were dealing with the Islamic State and IRGC,

because the people and entities that Defendants interacted with held themselves out as

representatives of these terrorist organizations and because it was common knowledge in Iraqi

Kurdistan, that their payments were being used to support terrorist activities and affiliates. Al-

Qaeda, serving as a global network and umbrella group that organized the anti-American terrorist

campaigns of its branches (like al-Qaeda-in-Iraq) and affiliates or allies (like the Taliban) -

which in effect merged with ISIS in Iraq, subsequently (the court found) “provided significant

operational support to the Taliban in planning and authorizing terrorist attacks against Americans

in Afghanistan.” See Cabrera, et al. v. Islamic Republic of Iran, 2022 WL 2817730, at *9

(D.D.C. July 19, 2022).




                                                48
        Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 62 of 429




153.     Through al-Qaeda’s global network, al-Qaeda terrorists enjoyed a force-multiplier effect

by establishing links with other like-minded organizations around the globe, and the resultant

terrorist interconnectivity, changed the nature of terrorism. At all times, al-Qaeda emphasized

unity with other Islamists – as long as they sought to attack America. Under this approach, al-

Qaeda’s strategy was to use its money, polyterrorists, and good offices to try to build bridges and

otherwise unite Islamists who targeted Americans in order to expel the U.S. from the Middle

East.    Al-Qaeda’s doctrinal emphasis on unity, and the cooperation with other terrorists

demanded by it, served al-Qaeda’s programmatic interests by positioning al-Qaeda as the leader

of an anti-American vanguard, facilitating cooperation with potential Islamist allies who might

otherwise be enemies (like the IRGC).

154.     Beyond paying al-Qaeda-in-Iraq, the Islamic State, and IRGC directly, Defendants also

knew that their partners, consultants, and subcontractors were using the money they received

through their illicit transactions with Defendants to flow through Defendants’ money to terrorists

on Defendants’ behalf. With respect to the Iraqi Kurdistan corruption economy – meaning the

economy concerning illicit transactions in IraqIraqi Kurdistan – that practice was an open secret

in the Iraqi and Syrian areas that were contested by al-Qaeda, al-Qaeda-in-Iraq, the Islamic State,

and IRGC, and was communicated repeatedly to firms operating (or transporting goods) there.

When Defendants paid their crooked local partners, consultants, and subcontractors for

“security” in that environment, they knew full well where the money was going. Given what the

Barzani regime knew about the payments it was making, the operating environment in Iraq, and

the sophistication of the FTOs’ protection-money schemes, it is certain that the Barzani regime’s

money ultimately ended up in the hands of violent terrorists.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 63 of 429




155.      Defendants simultaneously kept secret their knowledge of the transactions that were

instrumental in financing attacks on Americans in Iraq, Afghanistan, and Syria. Defendants did

so even when they had affirmative legal obligations requiring disclosure to the U.S. government,

among others. By fraudulently concealing such transactions with foreign terrorist organizations

(FTOs) when Defendants had a duty to share what it knew, Defendants also provided vital

operational aid to the functioning of al-Qaeda’s, al-Qaeda-in-Iraq’s and Islamic State’s activities

– independent of the U.S. dollars that Defendants paid such FTOs – by depriving the U.S.

government of actionable intelligence and accurate information, which prevented U.S. military,

intelligence, diplomatic, and law enforcement pressure that would otherwise make it harder for

the terrorists to extract comparable value from their activities in Iraqi Kurdistan, and harm

Plaintiffs.

156.     Defendants’ payments funded attacks by al-Qaeda, al-Qaeda-in-Iraq, the Islamic State,

and IRGC that were acts of “international terrorism.” 18 U.S.C. § 2333(a). At all relevant times,

the United States designated al-Qaeda, al-Qaeda-in-Iraq, the Islamic State, and IRGC as FTOs,

which reflected their status as four of the world’s deadliest terrorist groups. Since the start of

U.S.-led humanitarian efforts in Iraq, Syria, and Afghanistan following 9/11, each FTO’s core

purpose has been to expel Americans from Iraq, Syria, and Afghanistan and overthrow Iraq’s and

Afghanistan’s then-existing U.S.-backed democratic governments, - which mission succeeded in

Afghanistan in August 2021. To date, al-Qaeda, al-Qaeda-in-Iraq, the Islamic State, and IRGC

have collectively killed, or helped kill, well more than 2,500 U.S. service members and wounded

roughly 30,000 more, primarily in Iraq and Afghanistan, but also in Syria and other countries in

the Middle East, Europe, Asia, and Africa. Defendants’ payments helped finance those attacks.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 64 of 429




157.    Plaintiffs’ allegations are not speculative nor implausible. They are based on Confidential

Human Source witnesses, who have direct clandestine access to senior ranking Defendant Iraqi

Kurdistan Regional Government and KDP officials, with direct and indirect knowledge of the

alleged facts; unclassified and declassified military and intelligence agency reporting; U.S.

diplomatic and military cables; Congressional fact finding; U.S. executive branch reports to

Congress; internal U.S. executive branch reports, documents, and papers; personal witness

knowledge of U.S. executive branch and military persons; papers and communiques of the Iraqi

Kurdistan Regional Government and its principals; submissions of the Defendant Iraqi Kurdistan

Regional Government to agencies of the United States government; United Nations and

Financial Action Task Force reports; media accounts; and Plaintiffs’ recollections.

158.    In September 2014, ISIS spokesperson Shaykh Abu Muhammad Al-Adnani ash-Shami

gave a speech entitled “Indeed, Your Lord is Ever Watchful,” in which he explicitly spelled out

the anti-American objectives of the ISIS movement, stating, for example:

               “O Allah, America, France, and their allies transgressed against
               us. They came with their legions to fight us out of their enmity for
               your religion. They prevent us from establishing your religion and
               your hudūd (fixed punishments), and ruling by what you revealed.
               O Allah, you know our weakness. We have no way to deal with
               their airplanes. O Allah, you have said what is true, ‘So do not
               weaken and do not grieve, and you will be superior if you are
               [true]. O Allah, we have believed in you and relied upon you. You
               are sufficient for us and the best disposer of affairs. O Allah,
               America and its allies disbelieve in you and associate partners
               with you.”

A leading terrorism expert testified before the Subcommittee on Counterterrorism and

Intelligence of the U.S. House of Representatives Committee on Homeland Security that the

“U.S. military has ostensibly become a primary target for the Islamic State.”


                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 65 of 429




159.    ISIS’s and IRGC’s overt acts targeted the United States and U.S. citizens. Defendants

conspired with ISIS and IRGC to target, torture, and kill American citizens. As a result of the

conspiracy between Defendants and ISIS and IRGC, ISIS’s and IRGC’s overt acts targeting the

United States and U.S. citizens, including Plaintiffs, are attributable to Defendants.

160.     This Court has jurisdiction because acts or omissions in furtherance of the criminal

offense occurred within Washington, D.C. See 18 U.S.C. § 3237. The United States Department

of the Treasury is a federal government agency located in Washington, D.C. Through its Office

of Foreign Assets Control (“OFAC”), also located in Washington, D.C., the United States

Department of the Treasury administered and enforced economic and trade sanctions against

certain foreign countries, including Iran, as well as individuals and entities associated with those

countries. OFAC was empowered to grant or deny license applications for the export or re-

export of U.S. goods to Iran.

161.     Further, the United States Department of Commerce is a federal government agency

located in Washington, D.C. Through its Patent and Trademark Office (“PTO”), the United

States Department of Commerce grants U.S. patents and registers trademarks, administers and

enforces trademarks and trademark infringement, protects new ideas and investments in

innovation and creativity, and enforces intellectual property infringement, including patent

infringement, trademark counterfeiting, copyright piracy, and trade secret theft which cause

significant financial losses for American right holders and legitimate businesses around the

world. In its most pernicious forms, as accomplished by Defendants’ criminal acts, intellectual

property infringement endangers the public and harms American workers whose livelihoods are

tied to America’s innovation-driven sectors.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 66 of 429




162.         Further, the United States Department of Health and Human Services is a federal

government agency located in Washington D.C. Through its Food and Drug Administration

(“FDA”), the United States Department of Health and Human Services is responsible for

protecting public health by ensuring products intended for human use are safe and effective,

including human pharmaceutical and biological products, medical devices, and tobacco products,

and to protect human exposure to drugs that may be counterfeit, stolen, contaminated, or

otherwise harmful – as are the counterfeit products of the Barzani Continuing Criminal

Enterprise.

162.        As explained in greater detail below, and upon information and belief, and at all times

relevant hereto, Defendants’ conduct had a substantial nexus to the United States and to

Washington, D.C., including by virtue of repeated and systematic use of U.S. dollar transactions

and banks in the United States to pay, conspire with, and aid and abet terrorists. Defendants

thereby purposefully availed themselves of U.S. jurisdiction to commit the tortious acts

described in the Complaint, which enabled ISIS to carry out terrorist attacks that killed U.S.

citizens in Syria, Iraq, and Libya, thereby injuring Plaintiffs.

164.         To carry out their conspiracy, upon information and belief, and at all times relevant

hereto, Defendants, and their agents, representatives, and collaborators, purposefully made U.S.

dollar payments to terrorist intermediaries and others that were wired through the United States.

Indeed, Defendants’ “preferred option” for paying terrorists was to make “bank transfer[s] in

USD,” which were designed to avoid detection by Defendants’ auditors and governmental

entities.

165.        Upon information and belief, and at all times relevant hereto, Defendants communicated

that in furtherance of their conspiracy with ISIS payments were made in U.S. dollars.

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 67 of 429




166.     In addition, upon information and belief, and at all times relevant hereto, Defendants

regularly used email accounts serviced by U.S.-based email service providers, to coordinate and

carry out elements of their partnership with ISIS.         U.S.-based email service providers are

considered more secure than non-U.S.-based providers.

167.    Upon information and belief, and at all times relevant hereto, Defendants are also subject

to personal jurisdiction given their participation in a conspiracy with ISIS, whose criminal and

tortious actions were at all relevant times directed at the United States.

168.     Upon information and belief, and at all times relevant hereto, Defendants’ conduct

occurred within the District of Columbia and the extraterritorial jurisdiction of the United States

in conspiring to provide material support to terrorists. The offenses occurred in part within the

United States, the offenses occurred in and affected interstate and foreign commerce, and the

defendants conspired with enemies of the United States. Based on these contacts with the United

States, the Court has jurisdiction over the Defendants and the subject matter of this action.

169.      An official, employee, or agent of a foreign state designated as a state sponsor of

terrorism ... while acting within the scope of his or her office, employment, or agency shall be

liable to a United States national or the national’s legal representative for personal injury or

death caused by acts of that official, employee, or agent for which the courts of the United States

may maintain jurisdiction under [28 U.S.C. § 1605(a)(7)] for money damages which may include

economic damages, solatium, pain, and suffering, and punitive damages if the acts were among

those described in [§ 1605(a)(7)]. 28 U.S.C. § 1605 note. Defendants at times relevant have

been and are agents and collaborators and co-conspirators of an instrument of a foreign state –

the Islamic Republic of Iran, not provincial Defendant Iraqi Kurdistan Regional Government –

designated as a state sponsor of terrorism.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 68 of 429




170.    Upon information and belief, and at all times relevant hereto, Defendants from, through,

and by their Washington D.C. office and their Fairfax Virginia office and through and by their

appointed, deputized, designated, and closely supervised Washington D.C. representatives and

employed staff, have repeatedly and recurrently violated requirements of the Foreign Agents

Registration Act (FARA) which establishes a registration, reporting (of accurate and complete

information), and disclosure regime for agents of foreign principals (which includes foreign non-

government individuals and entities) so that the U.S. government and the people of the United

States are truthfully informed of the source of information and the identity of persons attempting

to covertly and overtly influence U.S. public opinion, policy, and law. Persons subject to the

requirements of FARA have a legal duty and among other things are required to submit periodic

registration statements containing truthful information about their activities and the income

earned from them. Specifically, in part:

               FARA states that “[n]o person shall act as an agent of a foreign
               principal unless he has filed with the Attorney General a true and
               complete registration statement.” 22 U.S.C. § 612(a). Disclosure
               of the required information allows the United States Government
               and the American people to evaluate the statements and activities
               of such persons in light of their function as foreign agents.

By fraudulently making a false and misleading statement of a material fact and omitting to state a

material fact necessary to make the statements made, and disregarding, concealing, and masking

a mountain of incriminating evidence in periodic registration statements required to be filed and

other required documents, records, and oral representations, which did not, in reasonable detail,

accurately and fairly reflect truths, with the intent to deceive and defraud, and thereby

improperly influencing the conduct of United States officers and officials, and to promote and

conceal their ongoing transnational criminal schemes, Defendants, especially co-conspirator


                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 69 of 429




Defendants Bayan Sami Abdul Rahman, Treefa Aziz, and Hikmat Bamarni, as individuals

demonstrated reckless, purposeful, knowing, and willful disregard for the truth in public

declarations and filings with agencies of the United States Government. Defendants and their

Washington, DC-based agents, representatives, advisors, consultants, and attorneys falsified and

caused to be falsely stated and certified and submitted or caused to be submitted by the

Washington D.C. office of the Defendant Iraqi Kurdistan Regional Government and by its

Defendant Iraqi KRG Washington representatives and employed staff, and by the Fairfax,

Virginia office of the Kurdistan Democratic Party representative, designated, appointed,

empowered, and directed by and reporting to Defendants Masoud Barzani and Masrour Barzani,

and its retained Washington D.C. consultants and advisors functioning under their direction, did,

with intent to promote, manage, establish, carry on, and facilitate the promotion, management,

establishment, and carrying on of one and more unlawful activities, repeatedly, knowingly, and

purposefully contained untruthful, fabricated, incomplete, deceptive, misleading, fictitious, and

mendacious information, at a time contemporaneous with the Barzani continuing criminal

enterprise and by trick, scheme, and device did cover up and knowingly failed to disclose and

fraudulently concealed material facts and adverse information and failed to disavow their

wrongful conduct and misrepresented the truth about the Barzani Continuing Criminal Enterprise

in furtherance of the conspiracy and to effect the illegal object thereof, issuance and submission

thereof to the executive branch of the United States Government taking place in the District of

Columbia and elsewhere and published in English and targeting a United States audience as part

of a broad, premeditated, and calculated effort to covertly and overtly influence, distract, and

shape public perceptions of Defendants Masoud Barzani and Masrour Barzani and their

subordinates in the United States and around the world, and engaging in an act, practice, and

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 70 of 429




course of conduct which operated and would operate as a fraud and deceit upon an official

person, and with the intent to impede, obstruct, mislead, deceive, defraud, or influence the

foreign and military policy, opinion, and law decision-making of the Government of the United

States and citizens of the United States who relied on said filings to be truthful, and took

substantial actions domestically that aided and abetted violations of treaties, conventions, and

law, including collaboration with officially designated terrorist organizations, all at all times

relevant hereto and in furtherance of the Barzani continuing criminal enterprise and were major

factors responsible for the acts complained of herein.       Based on these actions repetitively

occurring and originating, over a period of years, and at all times relevant, within the District of

Columbia, the Court has jurisdiction over the Defendants and the subject matter of this action.

Upon information and belief, and at all times relevant hereto, the true names and capacities,

whether governmental or otherwise, of additional prospective Defendants are unknown to

Plaintiffs at this time. When the true names and capacities of all said Defendants have been

ascertained, Plaintiffs will move to amend this Complaint accordingly.

171.    The United State of America, through its Department of State, does not accord

official diplomatic mission or consular status to the Defendant Iraqi Kurdistan Regional

Government office in Washington D.C. nor grant diplomatic privileges and immunities to its

Washington D.C. office representatives, employees, and advisors.

172.    Upon information and belief, and at all times relevant hereto, Defendants inclusive, and

unknowns, are responsible, criminally, and/or in some other actionable manner, for the events

and happenings hereinafter referred to, and caused injuries and damages proximately thereby to

Plaintiffs John Does 1-5,000 as hereinafter alleged.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 71 of 429




173.    At all times relevant herein, Defendants, and each of them, acting as individuals, were the

agents, servants, partners, representatives, associates, and employees of and co-conspirators with

each and every other Defendant, including Barzani family members and family members by

marriage, and were acting within the course and scope of their agency, partnership, agreement,

association, and employment, and, to the extent permitted by law, are jointly and severally liable.

174.      The United States Supreme Court has held that “a conspiracy may exist even if a

conspirator does not agree to commit or facilitate each and every part of the substantive offense.”

See Salinas v. United States, 522 U.S. 52, 63 (1997). The 3rd Circuit Court of Appeals

emphasized that “one who opts into or participates in a conspiracy is liable for the acts of his [or

her] co-conspirators … even if the defendant did not personally agree to do, or conspire with

respect to, any particular element.” See Smith v. Berg, 247 F. 3rd 532, 537 (3rd Cir. 2001).

175. The United States Supreme Court also held that "“an overt act of one partner may be the act

of all without any new agreement specifically directed to that act." .” See United

States v. Kissel, 218 U.S. 601, 608 United States v. Kissel, 218 U.S. 601, 608.

176.    The United States Supreme Court further held that “The criminal intent to do the act is

established by the formation of the conspiracy. Each conspirator instigated the commission of

the crime. The unlawful agreement contemplated precisely what was done. It was formed for the

purpose. The act done was in execution of the enterprise. The rule which holds responsible one

who counsels, procures, or commands another to commit a crime is founded on the same

principle. That principle is recognized in the law of conspiracy when the overt act of one partner

in crime is attributable to all.” See Pinkerton v. United States, 328 U.S. 640, 66 S. Ct. 1180, 90

L. Ed. 1489, at 647 (1946).




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 72 of 429




177.     Plaintiffs' claims meet the Supreme Court's "“touch and concern"” test with sufficient

force to displace the general presumption against jurisdiction over extraterritorial claims, first

articulated in Kiobel v. Royal Dutch Petrol. Co., and, therefore, the Court has jurisdiction over

Plaintiffs' ATS claims. 569 U.S. 108, 124-25, 133 S.Ct. 1659, 185 L.Ed.2d 671 (2013).

Additionally, the D.C. Circuit has held that corporations can be liable under the ATS. See Doe I

v. Nestle USA, Inc., 766 F.3d 1013, 1022 (9th Cir. 2014); Flomo v. Firestone Nat'l Rubber Co.,

LLC, 643 F. 3d 1013, 1017-21 (7th Cir. 2011); Doe v. Exxon Mobil Corp., 654 F.3d 11, 57 (D.C.

Cir. 2011), vacated on other grounds, 527 F. App'x 7 (D.C. Cir. 2013); Romero v. Drummond

Co., Inc., 552 F.3d 1303, 1315 (11th Cir. 2008).



                 DEFENDANTS’ MINIMUM STATUTORY VIOLATIONS

178.    By reason of the conduct alleged herein, the criminal and civil violations of

U.S. federal law, Presidential Executive Orders having force of law, and regulations, and treaties,

agreements, conventions, and international laws, knowingly or recklessly, directly or indirectly,

committed or caused to be committed by Defendants Masoud Barzani, Masrour Barzani, and

Waysi Barzani, and their co-conspirators, agents, representatives, servants, Barzani family

members and family members by marriage, are inordinately extensive in number, scope, depth,

breadth, magnitude, gravity, continuity, longevity, and criminal severity, and danger to the

economic and national security interests of the United States and its citizens, and injured

Plaintiffs, have repeatedly, purposefully, knowingly, and in furtherance of multiple international

and transnational criminal schemes and to effect its illegal objects, including supportive acts of

international terrorism that killed and injured Plaintiffs named and unnamed, in a continuing

series of overt acts and violations which undermined the rule of law and violated the law of

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 73 of 429




nations, treaties, agreements, and conventions, and at a minimum the following distinct U.S.

federal statutory provisions, the criminal violations condoned, taken, and being taken, directly

and indirectly, by the Defendants of each have provided the means for Defendants to injure

Plaintiffs:

                   (a)         18 U.S.C. 2339C(a)(1)(B) – Financing Terrorism: The Barzani
                   Continuing Criminal Enterprise is in the global business of financing its own
                   terrorism and that of its co-conspirators.

                   (b)          21 U.S.C. 848 – Continuing Criminal Enterprise: The Barzani
                   Continuing Criminal Enterprise is a global continuing criminal enterprise that
                   has committed or caused to be committed a legion of felonies involving
                   hundreds of people on a global scale and obtained for itself and its partners in
                   the Barzani Continuing Criminal Enterprise billions of dollars. The Barzani
                   family wealth obtained from their criminal enterprise is currently estimated
                   to be in excess of US$100 billion dollars.

                   (c)           31 U.S.C. 3729 – False Claim Act: The Barzani Continuing
                   Criminal Enterprise has repeatedly overcharged the United States by billing
                   for “Ghost personnel”, presented false invoices for jet fuel supplied to the
                   U.S. military in Iraq, and created false records of the disposition of U.S.
                   property and materiel.

                   (d)          18 U.S.C. 2332d – Financial Transactions: Masrour Barzani, a
                   permanent resident alien of the United States, has engaged in financial
                   transactions and suspicious financial structures with Iran and other
                   designated terrorist states and organizations, subjecting him to ten years in
                   prison for each transaction – of which transactions there have been hundreds,
                   if not thousands.

                   (e)        18 U.S.C. 2339A – Providing Material Support to Terrorists: The
                   Barzani Continuing Criminal Enterprise has been doing business with, and
                   providing material support to designated terrorist organizations for decades,
                   including the Islamic State of Iraq (ISIS).

                   (f)       18 U.S.C. 1203; 18 U.S.C. 2332(b)(2); 18 U.S.C. 1114; 18 U.S.C.
                   1116 – Hostage taking resulting in death; Conspiracy to Murder United
                   States Citizens Outside the United States; Protection of Officers and
                   Employees of the United States; Murder … of Internationally Protected

                                               48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 74 of 429




          Persons: Masoud Barzani, Masrour Barzani and Waysi Barzani directing the
          Barzani Continuing Criminal Enterprise kidnapped and murdered an official
          of the United States in Balay, Iraqi Kurdistan. He was beaten to death, and
          his lifeless body was left in Barzan Creek, in the village of Barzan (a town
          controlled by the Barzani Continuing Criminal Enterprise) in November,
          2021. This kidnapping and murder was done with the express purpose of
          compelling the Government of the United States to act in a manner dictated
          by the Barzani Continuing Criminal Enterprise and to thereby financially
          benefit and perpetuate the Barzani Continuing Criminal Enterprise, all to the
          detriment of Plaintiffs.

          (g)         18 U.S.C. 1958 – Murder for hire: As identified by Confidential
          Human Source number #2, who has direct clandestine access to senior
          ranking Iraqi KRG government officials, the Barzani Continuing Criminal
          Enterprise under the direction of Masoud Barzani, Masrour Barzani, and
          Waysi Barzani, during the past several decades and continuing to the present
          time, have paid as agents of the Barzani Continuing Criminal Enterprise and
          of the Iraqi KRG Parastin to carry out the extrajudicial murder directives of
          Masoud Barzani, Masrour Barzani, and Waysi Barzani, Defendants Karim
          Sinjari, Sidad Barzani, Sirwan Barzani, Fazel Mirani (a U.S. citizen) (AKA
          Fathal Mirini, Fadal Mirani), Herish (Hersha) Rash, Dilshad Hassan Najar,
          Ismat Argoshi, Ahmad Kurdu Nori, Wahid Bakukusi, Barzan Kassab, Azad
          Germari, Azad Germavi, Adil Butani, Ferset Sonofai, Wahid Kuvili, Rajab
          Germavi, Reco Warmavi, Subhi Male, Subhi Bedouin, Faisal Rustinki,
          Shukri Hetti, Muhsin Siari, Abu Enter, Peace Kucher, Shepherd Kucher,
          Shepherd Sindi, Mahdi Boti, Ahmed Kocher ,Tahsin Kemeki, Adib Sindi,
          Muhammad Rashid Spindari ,Sami Bedouin ,Hakim Kurmei, Khalid Hazani,
          Shihab Remaini, Agid Doski, Karim Hatuti, Mislih Germavi, Abucurc
          Germavi, Salim Korean, Saeed Bamerni, Kamiran Sindi, Muhsin Siari,
          Kovan Kocher Zedki, Muhammad Mirza Zakhoyi, Masud Chalki, Persian
          Jesus Silvanei, Segvan Jamil, Abu Serko, Ferhan Korean, Kamiran Mufti,
          Mahdi Boti, Abdulsitar Sonami, Hamza Kocher, Sheikh Seo Mizuri ,Nizar
          Muhammad, SelimAdib Sindi, Khalid Hamzani, Abuzero Zakho, Aziz
          Weysi, Ismet Orei, Hikmet Son, Kemal Kurmeyi, Salah Mirani, Saeed
          Shingali, Ramadan Kocher, Ahmad Hava, Badal Bendi, Ekrem Kovili,
          Chavu Kovili, Ashur Goran, Muhyiddin Miziri, Jamal Finished, Meki Tayib
          Amedi, Shawkat Barbhari, Saeed Ahmed Bewab, Selim Zebari, Kharib
          Akrei, Muhammad Suleiman Sulaymaniyah, Siamend Sulaymaniyah, Behcet
          Avdel, Azad Majid Boti, Newzad Boti Doski, Khalil ShaxiMuhammad
          Sa’don, Bijar Khilbishi, Naji Karbili, Abdullah Bani Mizuri, Herbi Korean,

                                     48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 75 of 429




          Ibrahim Hamid Pedayi, Bashir Muhammad Tahir, Etrushi, Abdulaziz
          Etrushi, Hamid Abdlwahid Bendi, Naji Banki Doski, Hamid Emer Sindori,
          Shihab Mullah Saeed Rekani, Feroq Hetti, Ibrahim Kocher, Meawy Shilani,
          Dilo Mizo Akrei, Nazim Mirad Ebo Riş, Bapir Abdulqadir Bagheri, Yonis
          Bagheri, Badal Bagheri, Muhammad Amin, Sorchi, Ahmed Osman, Kamiran
          Sinduri, Nezhet Haley, Ali Teter Nerwei, Naji Ahmed Bedihi, Sheikh Elo,
          Emer Orei, Ali Ewni, Sarbest Tirwanishi, Sarbest Babiri, Babekr Zebari,
          Zeim Ali,, Fahmi Salman, Abdullah Salih, Dilzar Nuri Abbas Shingali, Ilmi
          Hassan Mizur, Jamal Quasim, United Tribuns mafia, Baval Talibani,
          “Shalawo”, and Sheikh Zanna to murder, attempt to murder, enforced
          disappearance, and/or torture in excess of five thousand John Doe Plaintiffs
          and members of their families located in the United States and in many
          nations of the world, including the nations of the European Union, and
          nations in the Middle East.

          (h)           18 U.S.C.§§ 1116(a), 1116(c), and 1111(b) – Murder of an
          Internationally Protected Person.    The Barzani Continuing Criminal
          Enterprise did in 2021 murder, by means of physical beating, a U.S
          Government agent employee, an internationally protected person.

          (i)         18 U.S.C. 1956 – Laundering Money: The Barzani Continuing
          Criminal Enterprise has for decades been laundering money that is the
          proceeds of unlawful activity including drug dealing, trading with designated
          terrorist organizations, arms trading, counterfeiting U.S. brand
          pharmaceuticals, alcohol, and tobacco. Much of the laundered money passes
          through U.S. banks and U.S. properties.

          (j)          18 U.S.C. 641 – Stealing from the United States: The Barzani
          Continuing Criminal Enterprise acting through the Iraqi Kurdistan Regional
          Government that it controls knowingly enrich themselves by embezzling,
          stealing, obtaining by fraud, and otherwise without authority knowingly
          converting to the use of any person other than the rightful owner and
          intentionally misapplying, property and money that was owned by, and was
          under the care, custody, and control of the United States Government, that is,
          foreign aid and military assistance funds, converts to its own use and the use
          of others without authority money and property of the United States
          Government and agencies and departments thereof. The Barzani’s receive
          “Ghost Money” by inflating the number of fighting Iraqi Kurdistan
          Peshmerga soldiers supported by the United States and diverting arms and
          other military equipment supplied by the United States received by Barzani’s

                                     48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 76 of 429




          to ISIS and Iran’s IRGC, U.S.-designated terrorist organizations and
          combatant enemies of the United States, in violation of U.S. law.

          (k)          22 U.S. C. § 2778 – Arms Export Control Act – The Barzani
          Continuing Criminal Enterprise did broker and attempt to broker multiple
          illicit weapons deals, including other materials constituting “defense articles”
          on the United States Munitions List, in knowing violation of the Arms Export
          Control Act, and among other acts traveled to meetings with Iranian
          representatives and received and passed documentation needed to secure the
          deals; and subsequently lied to United States diplomatic, intelligence, and
          law enforcement agents about that conduct.

          (l)        28 U.S.C. § 1350 note § 2(a)(1)-(2) – The Torture Act establishes
          federal jurisdiction and liability for “[a]n individual who, under actual or
          apparent authority, or color of law, of any foreign nation . . . subjects an
          individual to torture . . .”; Torture is defined to include acts specifically
          intended to inflict severe physical or mental pain or suffering. (It does not
          include such pain or suffering incidental to lawful sanctions.) The statute
          applies only to acts of torture committed outside the United States. The
          Barzani Continuing Criminal Enterprise routinely tortures its enemies,
          including Plaintiffs, to advance the objects of its conspiracy.

          (m)         18 U.S.C. § 2340A. defines “Torture” as “an act committed by a
          person acting under the color of law specifically intended to inflict severe
          physical or mental pain or suffering (other than pain or suffering incidental to
          lawful sanctions) upon another person within his custody or physical
          control.” 18 U.S.C. § 2340(1).

            18 U.S.C. § 2340A provides as follows: (a) Offense. – Whoever outside
            the United States commits or attempts to commit torture shall be fined
            under this title or imprisoned not more than 20 years, or both, and if death
            results to any person from conduct prohibited by this subsection, shall be
            punished by death or imprisoned for any term of years or for life. (b)
            Jurisdiction. – There is jurisdiction over the activity prohibited in
            subsection (a) if – (1) the alleged offender is a national of the United
            States; or (2) the alleged offender is present in the United States,
            irrespective of the nationality of the victim or alleged offender. (c)
            Conspiracy. – A person who conspires to commit an offense under this
            section shall be subject to the same penalties (other than the penalty of
            death) as the penalties prescribed for the offense, the commission of which
            was the object of the conspiracy.
                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 77 of 429




          (n)            28 U.S.C. §1350 – Extrajudicial Killing. Killings constitute
          “tort[s] ... committed in violation of the law of nations or a treaty of the
          United States” under the Alien Tort Statute, 28 U.S.C. §1350, in that they
          were in violation of customary international law prohibiting extrajudicial
          killings as reflected, expressed, defined and codified in multilateral treaties
          and other international instruments, international and domestic judicial
          decisions, and other authorities. The many killings were not authorized by a
          judgment pronounced by a regularly constituted court affording all the
          judicial guarantees which are recognized as indispensable by civilized
          peoples.

          (o)          18 U.S.C. §1091 – Genocide. The horrific crimes of genocide
          perpetrated against Plaintiffs described herein, whether in time of peace or
          war, with specific intent to destroy, in whole or substantial part, an ethnic or
          religious group, by killing members, causing serious bodily injury, causing
          permanent impairment through torture or similar techniques, subjects the
          group to conditions of life that are intended to cause the physical destruction
          of that group in whole or in part, imposes measures intended to prevent births
          within the group, or transfers by force children of that group, has committed
          genocide. The Defendants knowingly and willfully, directly and indirectly,
          with malice and forethought, conspired and aided and abetted in genocide of
          the non-combatant Yazidi religious minority of Kurdistan, for which the
          criminal punishment may be death or life imprisonment. The U.S. Supreme
          Court held “The international-law norm against genocide, for example,
          imposes obligations on all actors. Acts of genocide thus violate the norm
          irrespective of whether they are committed privately or in concert with the
          state.” See Jesner v. Arab Bank, PLC, 138 S. Ct. 1386, 200 L. Ed. 2d 612,
          584 U.S. (2018). The U.S. Supreme Court further held “The international-
          law norm against genocide, for example, imposes obligations on all actors.
          Acts of genocide thus violate the norm irrespective of whether they are
          committed privately or in concert with the state. See Convention on the
          Prevention and Punishment of the Crime of Genocide, Art. II, Dec. 9, 1948,
          102 Stat. 3045 (defining "genocide" as "any of the following acts committed
          with intent to destroy, in whole or in part, a national, ethnical, racial or
          religious group"); see also 18 U.S.C. § 1091(a). See Jesner v. Arab Bank,
          PLC, 138 S. Ct. 1386, 200 L. Ed. 2d 612, 584 U.S. (2018).

          (p)       28 U.S.C. §1350 – Crimes Against Humanity. The crimes against
          humanity perpetrated against Plaintiffs described herein constitute “tort[s] …
          committed in violation of the law of nations or a treaty of the United States”
          under the Alien Tort Claims Act, 28 U.S.C. §1350, in that they constituted a
                                    48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 78 of 429




          violation of customary international law as part of the “the law of nations.”
          The acts of torture, arbitrary detention, rape and other inhumane acts alleged
          herein constitutes crimes against humanity under customary international
          law. These acts were committed in the context of a widespread and
          systematic attack against a civilian population. These acts were instigated
          and/or directed by Defendants and their subordinates, agents and/or co-
          conspirators in the Iraqi Kurdistan Regional Government and the
          indistinguishable complementary KDP forces. Defendants and their
          subordinates and/or co-conspirators sought to conceal and cover up these
          acts. Further, Defendants failed to prevent abuses or punish the perpetrators.

          (q)          22 USC Ch. 108 – Gross Violations of Internationally Recognized
          Human Rights. The term ‘‘gross violations of internationally recognized
          human rights’’ has the meaning given that term in section 502B(d)(1) of the
          Foreign Assistance Act of 1961 (22 U.S.C. 2304(d)(1). The Global
          Magnitsky Human Rights Accountability Act prohibits the conduct and
          myriad violations by the Barzani Continuing Criminal Enterprise, and of
          Iraqi Kurdistan Prime Minister Masrour Barzani specifically, and authorizes
          the President to impose economic sanctions and deny entry into the United
          States to any foreign person identified as engaging in human rights abuse or
          corruption. (1) is responsible for extrajudicial killings, torture, or other gross
          violations of internationally recognized human rights committed against
          individuals in any foreign country who seek – (A) to expose illegal activity
          carried out by government officials; or (B) to obtain, exercise, defend, or
          promote internationally recognized human rights and freedoms, such as the
          freedoms of religion, expression, association, and assembly, and the rights to
          a fair trial and democratic elections; (2) acted as an agent of or on behalf of a
          foreign person in a matter relating to an activity described in paragraph (1);
          (3) is a government official, or a senior associate of such an official, that is
          responsible for, or complicit in, ordering, controlling, or otherwise directing,
          acts of significant corruption, including the expropriation of private or public
          assets for personal gain, corruption related to government contracts or the
          extraction of natural resources, bribery, or the facilitation or transfer of the
          proceeds of corruption to foreign jurisdictions; or (4) has materially assisted,
          sponsored, or provided financial, material, or technological support for, or
          goods or services in support of, an activity described in paragraph (3). The
          term ‘‘gross violations of internationally recognized human rights’’ has the
          meaning given that term in section 502B(d)(1) of the Foreign Assistance Act
          of 1961 (22 U.S.C. 2304(d)(1). Such an individual is no longer eligible for
          admission to the United States and any issued visa or other documentation

                                       48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 79 of 429




          shall be revoked in accordance with section 221(i) of the Immigration and
          Nationality Act (8 U.S.C. 1201(i)).

          (r)          8 U.S.C. § 666 – Theft from Programs Receiving Federal Funds
          and Bribery: The Barzani Continuing Criminal Enterprise participates in
          contracts and programs funded by the United States Government and submits
          false documents to obtain money for its participation. Money obtained by the
          Barzani’s by fraud from the United States Government exceeds millions of
          dollars each year. Money fraudulently received from the United States
          Government by the Barzanis is then partially used to bribe or otherwise
          improperly influence and covertly recruit and pay U.S. officials acting in
          their official capacity, to act for and to the benefit of and beneficial to foreign
          principals of the Iraqi Kurdistan Regional Government and the Barzani
          Continuing Criminal Enterprise, and to undermine the efforts of the
          Department of Defense to lawfully contract overseas. Additionally,
          Confidential Human Sources number #1 and #8, who have direct clandestine
          access to senior ranking KRG government officials, have witnessed the
          repeated falsification, directed by Masrour Barzani, of fictitious Peshmerga
          personnel records submitted to United States foreign military partner
          capacity building financing programs for financial reimbursement of
          thousands of non-existent Peshmerga soldiers. The United States subsidizes
          Peshmerga salaries nearly a quarter billion dollars annually, issuing these
          funds through the KRG Ministry of Peshmerga Affairs, controlled by
          Masrour Barzani, much of which disappears to the Barzani Continuing
          Criminal Enterprise. Many Peshmerga, especially those who do not serve
          Masrour Barzani’s personal political agenda or hail from his tribe, have not
          received their salaries.

          (s)        18 U. S. C. § 201(c)(1)(A) – Illegal Gratuity. The “illegal gratuity
          statute,” which prohibits giving “anything of value” to a present, past, or
          future public official “for or because of any official act performed or to be
          performed by such public official.” Inducements and gratuities were given
          because of the U.S. public officials’ official positions to provide favorable
          treatment and influence U.S. contracts and policies.

          (t)        22 U.S.C. § 611 – Failure to File Required Registration Statement:
          Representatives of the Barzani Continuing Criminal Enterprise, including but
          not limited to corrupted officials of the United States Government acting in
          their official capacity, acted for the benefit of and beneficial to foreign
          principals of the Defendant Iraqi Kurdistan Regional Government and the
          Barzani Continuing Criminal Enterprise and corruptly publicly supported
                                       48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 80 of 429




          certain beneficial policies, repeatedly failed to file a required registration
          statement as an agent of a foreign principal with the Attorney General of the
          United States.

          (u)         18 U.S.C. 1959 – Violent Crimes in Aid of Racketeering: The
          Barzani Continuing Criminal Enterprise as part of its vast criminal operations
          for decades has engaged in, and continues to engage in, murder, threats of
          murder, kidnapping, robbery, bribery, and dealing in illegal controlled
          substances. These criminal operations are defined as “Racketeering Activity”
          in 18 U.S.C. 1961 and perpetrators are subject to the death penalty.

          (v)        18 U.S.C. 1621 – Perjury: Masrour Barzani, in his applications to
          the United States Citizenship and Immigration Services (USCIS), to which
          he swore an oath to the United States, to obtain the permanent resident status
          that he presently holds, with premeditated deceit and a knowledge of the
          falsity (See Forbes v. INS, 48 F.3d 439, 442 Forbes v. INS, 48 F.3d 439,
          442), and with misrepresentations which were material as they had a natural
          tendency to influence the decisions of the USCIS [then INS],” (See Kungys
          v. United States, 485 U.S. 759, 772, 108 S.Ct. 1537, 99 L.Ed.2d 839 (1988)
          Kungys v. United States, 485 U.S. 759, 772, 108 S.Ct. 1537, 99 L.Ed.2d 839
          (1988)), and was aided by a co-conspirator, was fraudulently or unlawfully
          obtained in that he willfully and knowingly committed or caused to be
          committed perjury on the forms that he signed attesting to his truthfulness,
          and filed. In answering the question: “Have you ever … ordered… incited,
          assisted or otherwise participated in the killing of any person because of race,
          religion, nationality, ethnic origin or political opinion? Masrour Barzani’s
          answer of “NO” was false. Further, his declared purpose of asylum was and
          is materially false; at the time his father was ruling Iraqi Kurdistan so his
          submitted fear argument justifying asylum was false, and thus constitutes
          asylum fraud. (United States law generally renders such a person forever
          inadmissible for entry to the United States.)

          (w)        18 U.S.C. 371 – Immigration, Conspiracy to Defraud the United
          States: Masrour Barzani conspired with a citizen of the United States
          (Confidential Human Source #7) to report relevant immigration information
          on his immigration application that did not happen. Masrour Barzani also
          conspired with senior officers and officials of the U.S. Departments of State
          and Defense and of United States military units, U.S. Agency for
          International Development, and others, to defraud the United States.



                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 81 of 429




          16668(x)            18 U.S.C. 1958 (a) – Travel In or Use of Foreign
          Commerce or cause another to do so with the intent that a murder be
          committed in violation of the laws of the United States as consideration for
          the receipt of, or as consideration for a promise or agreement to pay,
          anything of pecuniary value. Defendants Masoud Barzani, Masrour Barzani,
          and Waysi Barzani used and caused others to use facilities of foreign
          commerce, including international telecommunications, and with the intent
          that murder be committed in violation of the laws of Iraq, Iraqi Kurdistan,
          and the United States in exchange for a promise of money or other pecuniary
          compensation.

          (y)        18 U.S.C. 371 and 3551 et seq. – Conspiracy to Defraud the United
          States, the Foreign Account Tax Compliance Act (FATCA). Masrour
          Barzani, as a resident alien (a green card holder) is required by statute, as a
          term of such granted status, to follow the same tax laws as U.S. citizens and
          must report worldwide income from all sources, that is, income from both
          within and outside the United States, must report financial assets outside the
          United States, and must disclose foreign bank accounts and other offshore
          international assets & investments. Masrour Barzani willfully and criminally
          conspired to impede, impair, obstruct and defeat the lawful governmental
          functions of the Internal Revenue Service in the ascertainment, computation,
          assessment and collection of revenue, specifically, failing to comply with
          FATCA, in an effort to defraud the United States, increase illicit wealth, and
          use wealth to injure Plaintiffs. Defendant Masrour Barzani had the funds to
          pay his U.S. tax liabilities.

          (z)          26 U.S.C. § 720 – Attempt to evade or defeat tax: Masrour
          Barzani and other Barzani family members knowingly attempted to evade or
          defeat any tax due the United States and signed, filed, and caused to be filed
          false and fraudulent or elected to not file U.S. tax documents, knowing
          it/them to be false and fraudulent, and failed to properly and honestly comply
          with his legal and substantial tax obligations as a United States person.
          Failure to pay proper taxes enriches the criminal enterprise which directly
          provided the means for Defendants to commit these criminal acts to harm
          Plaintiffs. Defendant Masrour Barzani and other Barzani family members
          had the funds to pay his U.S. tax liabilities.

          (aa)      18 U.S.C. 371 – Conspiracy to Defraud the United States: Masoud
          Barzani, Masrour Barzani, and Waysi Barzani conspired with Public Official
          #1 and Public Official #2 who were officers of the United States operating in
          Iraq. The purpose of the conspiracy was to impair, obstruct, and defeat the
                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 82 of 429




          lawful functions of United States officers of the U.S. Department of State
          and the United States Department of Defense in the solicitation, award,
          procurement, supervision and payment contracts, licenses, permits,
          concessions, and other forms of licensure issued by or facilitated by the
          United States Government and the Iraqi Kurdistan Government. It was a
          purpose of the conspiracy to defraud the United States of its right to the
          conscientious, loyal, faithful, disinterested, and unbiased services, decisions,
          actions and performance of duties by Defendants Public Official #1 and
          Public Official #2 in their official capacities as officers in the United States
          Military operating in Iraq, free from corruption, partiality, improper
          influence, bias, dishonesty, and fraud in the approval, award, funding and
          supervision of contracts with the Iraqi Kurdistan Regional Government
          controlled by Defendants Masoud Barzani, Masrour Barzani, and Waysi
          Barzani and their subordinate co-conspirators in the Barzani Continuing
          Criminal Enterprise.

          (bb)       15 U.S. Code § 78dd–1 The Foreign Extortion Prevention Act
          (FEPA) –which enables criminal prosecution of foreign officials who solicit
          and receive bribes, including payments, gifts, or even offers of “anything of
          value” to an official for the purpose of influencing the official or otherwise
          “securing any improper advantage” in obtaining, retaining or directing
          business. In order to make money to provide means to harm Plaintiffs,
          Defendants bribed and criminally induced U.S. Public Official #1 and U.S.
          Public Official #2 and others.

          (cc)           18 U.S.C. 201 (b)(1)(A) and (C) and (b)(2)(A) and (C) –
          Conspiracy to Commit Bribery. The defendants, and others known and
          unknown, willfully and knowingly, directly and indirectly, combined,
          conspired, confederated, and agreed with each other to commit bribery of a
          United States government employee in performance of official duties.

          (dd)       18 U.S.C. 1519 – Falsification of Records with Intent to Influence
          Immigration Decision: Defendant Masrour Barzani, assisted by Confidential
          Human Source #14, who has direct clandestine access to senior ranking Iraqi
          KRG government officials, who did willingly and knowingly make and did
          cause to be made materially false, fictitious, misleading, and fraudulent
          statements and representations in the matter within the jurisdiction of the
          executive branch of the Government of the United States, and filed or
          caused to be filed a false document with the US. Immigration and
          Naturalization Service and USCIS with the intent to influence the
          investigation and proper administration of his application for permanent
                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 83 of 429




          resident status in the United States when he was actually inadmissible at the
          time of admission but for the fraud or misrepresentation. Defendant Rubar S.
          Sandi, an American citizen, aided and abetted and facilitated the fraudulent
          falsification and misrepresentation of immigration documents for Defendant
          Masrour Barzani with intent to untruthfully influence the U.S. Immigration
          and Naturalization Service (predecessor agency to USCIS) decision to grant
          Defendant Masrour Barzani permanent resident status (a green card).
          Defendant Masrour Barzani, aided and abetted by Defendant Rubar Sandi,
          [1] misrepresented or concealed some fact; [2] the misrepresentation and
          concealment was willful; [3] the fact was material; and [4] Defendant
          Masrour Barzani procured United States person status as a result of the
          misrepresentation and concealment. See Kungys v. United States, 485 U.S.
          759, 767, 108 S. Ct. 1537, 99 L. Ed. 2d 839 (1988), holding that 8 U.S.C. §
          1101(f)(6) “denominates a person to be of bad moral character on account of
          having given false testimony if he has told even the most immaterial of lies
          with the subjective intent of obtaining immigration or naturalization benefits”
          Kungys, 485, U.S. 759, 767 (1988).

          (ee)        31 U.S.C. § 3729 – False Claims, with Intent to Influence a Tax
          Decision: Defendant Masrour Barzani, as chairman of the Barzani Charity
          Foundation and as part of the Barzani Continuing Criminal Enterprise, and
          his subordinates, including Omar Barzani as the Fund’s principal officer,
          who acting under direction of Masrour Barzani as Fund chairman committed
          or caused to be committed perjury on submitted Internal Revenue Service
          forms, as described in more detail below, conspired to fraudulently obstruct
          the federal tax function, and with premeditated deceit, fraudulently or
          unlawfully obtained, as a benefit to the Barzani Continuing Criminal
          Enterprise to avoid U.S. taxes, a charitable non-profit tax designation and
          treatment in that he/they knowingly and with deliberate disregard of the
          clearly delineated requirements of law falsely declared or caused to be falsely
          declared to the Internal Revenue Service, and knowingly failed to disclose
          the defendant’s noncompliance with a statutory, regulatory, or contractual
          requirement, while omitting critical qualifying information, including making
          actionable misrepresentation and providing materially false information by
          answering NO to the following questions: (a) Did the organization maintain
          an office, employees, or agents outside of the United States?; (b) Did the
          organization have aggregate revenues or expenses of more than $10,000 from
          grantmaking, fundraising, business, investment, and program service
          activities outside the United States, or aggregate foreign Investments valued
          at $100,000 or more?; (c) Did the organization report on Part IX, column

                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 84 of 429




          (A), line 3, more than $5,000 of grants or other assistance to or for any
          foreign organization?; (d) Did the organization report on Part IX, column
          (A), line 3, more than $5,000 of aggregate grants or other assistance to or for
          foreign individuals?; (e) At any time during the calendar year, did the
          organization have an interest in, or a signature or other authority over, a
          financial account in a foreign country (such as a bank account, securities
          account, or other financial account)?; and knowingly and willfully failed to
          disclose officers, directors, and trustees. See Universal Health Servs. Inc. v.
          U.S. ex rel. Escobar, 136 S. Ct. 1989, 2001 (2016).

          (ff)       50 U.S.C. 1701, et seq: International Emergency Economic Powers
          Act (IEEPA) – Defendants as part of the Barzani Continuing Criminal
          Enterprise, conspired, brokered, attempted to broker, and traded in Iran oil in
          willful violation of the U.S. sanctions against Iran and the prohibitions of
          Emergency Economic Powers Act; and brokered deals for sanctioned Iran oil
          and other goods and services, contrary to the national security, foreign
          policy, and economic security interests of the United States;              and
          subsequently lied to U.S. diplomatic, intelligence, security, and law
          enforcement agents about that conduct. Properties purchased, owned, or
          controlled by Defendants through shell companies or other vehicles is
          property which constitutes or is derived from proceeds traceable to violations
          of IEEPA and other criminal violations.

          (gg)       22 U.S.C. 2778 – Export of Arms to Iran and ISIS: The Barzani
          Continuing Criminal Enterprise has traded in arms with Iran and its IRGC
          and ISIS and made false reports of its transactions to the United States.
          Defendants Masoud, Masrour Barzani, and Waysi Barzani, and others, are
          subject to penalties of $1,000,000 fines and 20 years imprisonment for each
          of their multiple and continuing violations of the statute.

          (hh)         18 U.S.C 2339B – Knowingly and Intentionally Combine,
          Conspire, Confederate, and Agree to Knowingly and Unlawfully Provide
          Support and Resources to a Foreign Terrorist Organization. The Barzani
          Continuing Criminal Enterprise conspired to and has provided property,
          personnel, intelligence, services, and other material support to a designated
          foreign terrorist organization, namely the Islamic State of Iraq and the
          Levant, knowing that the organization was a designated terrorist
          organization, and knowing that the organization had engaged in and was
          engaging in terrorist activity as that term is defined in Title 8, United States
          Code, Section 1182(a)(3)(B), and knowing that the organization had engaged
          in and was engaging in terrorism as that term is defined in Title 22, United
                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 85 of 429




          States Code, Section 2656f( d)(2), resulting in thousands of deaths and untold
          numbers of people being tortured.

          (ii)      21 U.S.C. 1901-1906 – Foreign Narcotics Traffickers: The Barzani
          Continuing Criminal Enterprise is a significant foreign narcotics trafficker
          that threatens the national security, foreign policy, and economy of the
          United States and whose criminal operations subject its members to the
          imprisonment and sanctions of 21 U.S.C. 1906.

          (jj)        18 U.S.C. 1952 – Interstate and Foreign Travel or Transportation
          in Aid of Racketeering Enterprises: The Barzani Continuing Criminal
          Enterprise is engaged in unlawful interstate and foreign commerce
          distributing proceeds of unlawful activities, and committing crimes of
          violence to further its unlawful activities. The unlawful activities include, but
          are not limited to, promoting and managing counterfeiting of cigarettes,
          pharmaceuticals, and alcohol; promoting and managing the unlawful
          manufacture, sale and distribution of methamphetamine; promoting and
          managing the distribution and sale of cocaine; providing arms and aid to
          designated terrorist organizations and terrorist states including ISIS and Iran
          and its IRGC; and paying bribes and financial or favoritism inducements to
          and otherwise corrupting officials of the United States.

          (kk)       18 U. S. C. § 1952 – Violation of the Travel Act. The Travel Act
          makes it unlawful to use any facility in interstate commerce to distribute the
          proceeds of an unlawful activity.         The Barzani Continuing Criminal
          Enterprise and its lead principals, particularly Masoud Barzani and Masrour
          Barzani, have repeatedly and frequently traveled to the United States, and
          engaged in interstate and foreign commerce, and used and do use facilities in
          interstate or foreign commerce, including the instrumentalities of mail,
          telecommunications, wire transfers, or interstate or foreign travel, with intent
          to (1) distribute the proceeds of any unlawful activity; and (2) commit any
          crime of violence to further any unlawful activity; or (3) otherwise promoted,
          managed, established, carried on, or facilitated the promotion, management,
          establishment, or carrying on, of any unlawful activity, including bribery of
          U.S. officials. The definition of "unlawful activities" also includes certain
          specific violations of federal law, including money laundering offenses
          under the Money Laundering Control Act and violations of certain financial
          reporting requirements of the Bank Secrecy Act as amended by the USA
          Patriot Act. A "facility in interstate or foreign commerce" could include
          anything that crosses state or national borders, including

                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 86 of 429




          telecommunications, and that the defendant used a facility of commerce "for
          the purpose of facilitating the unlawful activity".

          (ll)      18 U.S.C. 2320 – Trafficking in Counterfeit Goods: The Barzani
          Continuing Criminal Enterprise trades in counterfeit goods using counterfeit
          marks in connection with the counterfeit goods, including counterfeit drugs,
          pharmaceuticals, and tobacco products.

          (mm)          26 U.S.C. 7201 – Attempt to Evade or Defeat Tax: Masrour
          Barzani is a permanent resident of the United States, and is required to pay
          U.S. taxes on his worldwide income. Masrour Barzani has knowingly and
          willfully attempted to evade and defeat a substantial part of the income tax
          due and owing to the United States for multiple tax years, continuing to the
          present time in that he signed, filed, and caused to be filed fraudulent and
          false, or willfully and knowingly failed to file, U.S. Individual Income Tax
          Returns, Form 1040, and other forms, knowing the returns or omissions to be
          false and fraudulent. Defendant Masrour Barzani had the funds to pay his
          U.S. tax liabilities.

          (nn)        21 U.S. Code § 848 – Continuing Criminal Enterprise – crimes
          which are undertaken by such person in concert with five or more other
          persons with respect to whom such person occupies a position of organizer, a
          supervisory position, or any other position of management, and (B) from
          which such person obtains substantial income or resources.” Section 408(a)
          [21 U. S. C. § 848(a)] provides that any person who engages in a continuing
          criminal enterprise shall upon conviction for that offense be sentenced to a
          term of imprisonment for not less than 10 years and up to life . . . . If the
          person engages in this activity subsequent to one or more convictions under
          this section, he shall receive a penalty of not less than 20 years’
          imprisonment.

          (oo)        18 U.S. Code § 2314 – Transportation of Stolen Monies – forbids
          the transfers in foreign commerce any securities or money, knowing the same
          to have been stolen, converted or taken by fraud; or devising any scheme or
          artifice to defraud, or for obtaining money or property by means of false or
          fraudulent pretenses, representations, or promises.

          (pp)       Public Law 113-54, incorporated in numerous U.S. Codes –
          Defendants’ repeating criminal violations of the Federal Food, Drug, and
          Cosmetic Act and the Drug Supply Chain Security Act (DSCSA) of 2013,
          enabled    Defendants’ widespread illicit prescription pharmaceutical

                                     48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 87 of 429




                   manufacturing and distribution.           Criminal actor defendants’ illicit
                   pharmaceutical supply chain – from raw materials, to active ingredients, to
                   initially processed products, to finished products, to repackaged products,
                   finally to patient delivery – is inherently dangerous to human life, producing
                   counterfeit substandard medicines.

                   (qq)       18 U.S. Code § 1956 - Laundering of monetary instruments and
                   numerous related statutes and regulations and treaties – forbids knowing that
                   the property involved in a financial transaction represents the proceeds of
                   some form of unlawful activity and conducting or attempts to conducting
                   such a financial transaction which in fact involves the proceeds of specified
                   unlawful activity, to promote the unlawful activity or to conceal or disguise
                   the nature, location, source, ownership, or control of the proceeds, or to avoid
                   transaction reporting requirements of State or Federal Law. Section 1956
                   outlaws four kinds of laundering including concealment, structuring, and tax
                   evasion, in which the BCCE Defendants engage.

                   (rr)       42 U.S. Code § 1985 - Conspiracy to interfere with civil rights and
                   related statutes and regulations and treaties – engaging in and causing acts in
                   the United States whereby another is injured in his person or property and
                   deprived by force, intimidation, or threat of having and exercising rights and
                   privileges guaranteed by the U.S. Constitution and federal statutes.




                                  STATEMENT OF FACTS

179.    The criminal activities of Masoud Barzani, Masrour Barzani, Waysi Barzani, and their

agents, associates, representatives, servants, employees, collaborators, co-conspirators, and

Barzani family members and family members by marriage, and others known and unknown, in

the Barzani Continuing Criminal Enterprise, at all times relevant to the conduct described in this

Statement of Facts, conducted with impunity, and unfailingly as individuals hiding behind the

cloak of the authority and contrived protections of their authoritarian government offices and




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 88 of 429




appointments, were undertaken to provide the substantial money and resources needed to cause

injury to the named Plaintiffs herein and to the John Doe Plaintiffs.

180.      The defendants’ utterly lawless conduct as described herein has concretely and

foreseeably damaged the Plaintiffs.



           A CORRUPT REGIME OF CONCEALMENT, DISINFORMATION,

                    FALSE REPRESENTATIONS, AND DEFAMATION

181. Since at least 2007 and continuing to the present time, and on-going, and at all times
relevant hereto, and not as an act of war, within the District of Columbia and elsewhere, the

Barzani Continuing Criminal Enterprise (BCCE), a transnational criminal organization, using its

vast wealth and the skill of lawyers it engages in the United States and elsewhere in the world,
has been successful in orchestrating a corrupt regime of concealment of its political and financial
affairs involving large volumes of cash proceeds totaling tens of millions of dollars or more,
including the laundering of narcotics and counterfeiting proceeds in order to evade detection.
The skill of its lawyers in evading lawful financial reporting requirements to disclose true parties
in interest owning assets and their willingness to facilitate their concealment regime through an
intricate web of real estate assets, private investment accounts, obscured ownership structures,
and anonymous shell and front companies, and IOLTA accounts has been instrumental in its
success to date. The types of Defendants’ real estate assets fall into five broad categories in
numerous states: land/buildings, business facilities, retail spaces, agriculture, and residential
properties. The Defendants' properties were involved in or are traceable to property involved in
money laundering transactions or attempted money laundering transactions.” See U.S. v. All

Assets Held at Bank Julius Baer & Co., 571 F. Supp. 2d 1, (D.C. 2008). For example, attorneys

and their agents working for the BCCE routinely file false or misleading certification documents
to government agencies. The depth and extent of perfidy knows no bounds and includes false

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 89 of 429




documents and false representations in judicial proceedings. In one such example, on March 7,
2024, Defendant Joe R. Reeder, an attorney at law with the law firm of Greenberg Traurig
practicing in this Court, and who previously served as United States Secretary of the Army, and
registered pursuant to the Foreign Agents Registration Act as Greenberg Traurig LLP’s lobbyist
for defendant Iraqi Kurdistan Regional Government filed a pleading in the instant case entitled
Memorandum of Law in Support of Motion to Set a Common Complaint Response Due Date for
All Defendants. In his pleading Mr. Reeder, as an advocate, deliberately and voluntarily
facilitating and furthering a deceptive pattern of disinformation, fabrications, and untruths of
Defendant Masrour Barzani, Barzani family members and family members by marriage, and the
Barzani Continuing Criminal Enterprise and its agents and representatives, and with malicious
intention to cause Constitutional or other injury, made the following representations which are
false, misleading, malicious, and libel and slander Plaintiff Maki Revend, which “constitutes a
breach of professional ethics and invites disrespect for the integrity of the court” (See Wheat v.
United States, 486 U.S. 153, 108 S. Ct. 1692, 100 L. Ed. 2d 140 (1988), quoting United States v.
Dolan, 570 F.2d 1177, 1184 (3d Cir. 1978), and which violate Federal Rule of Civil Procedure
11(b)(3):

       A.“The sole named individual plaintiff, Maki Revend, is a German national who, having
       been criminally convicted and also enjoined by German courts from disparaging
       members of defendant Prime Minister Barzani’s family, now seeks to use this Court as
       his latest political platform.”

       B. “The complaint alleges an array of wild and unbelievable misconduct against this

       strong and longstanding U.S. ally, including atrocity crimes, genocide, murder, and

       other heinous and unspeakable acts. (Compl. 1–2, at ¶ 2.). The allegations are

       reckless, inflammatory, untrue, and utterly meritless. They are a blatant attempt at

       seeking political redress through the court system. The allegations do not belong in this

       Court or any other.”
                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 90 of 429




182.    Contrary to Defendants’ baseless, unsubstantiated, inexact, exaggerated, and hyperbolic

characterizations of “wild and unbelievable” and “patently insubstantial claims” (See Tooley v.

Napolitano, 586 F.3d 1006 (D.C. Cir. 2009)) and presentment of conjecture and speculation as

evidentiary support for assertions “ask[ing] the court to ‘pile conjecture on conjecture’” (See

West v. Lynch, 845 F.3d 1228, 1237 (D.C. Cir. 2017)), the complaint alleges copious facts and

“contain[s] sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face’” and “factual content that allows the court to draw the reasonable inference that the

defendant[s] [are] liable for the misconduct alleged,” See Christopher Eric Fite LLC v.

Internal Revenue Service, Civil Action No. 2016-0728 (D.D.C. 2016), citing Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 556, 570) (citation omitted), that

would permit a reasonable jury to find for the Plaintiffs. Defendants’ deliberate efforts to

obfuscate the very cause of action and falsely paint and distort the instant case as “seeking

political redress” is a blatant mischaracterization, using “sweeping statements” in its motion to

evoke nonjusticiable political questions on issues of import to the U.S. foreign policy and

impede or falsely influence and create a cumulative effect on the fair administration of justice

by this Court, in what very clearly reflects bad faith by Defendants' attorneys in trying to use

the judicial process to frame a public narrative. “In the landmark case of Baker v. Carr, the

Supreme Court provided its most comprehensive discussion on the application of the [political

question] doctrine. Recognizing that the attributes of the political question doctrine ‘diverge,

combine, appear, and disappear in seeming disorderliness’ in various settings, the Court set out

to illuminate the ‘contours’ of the doctrine.” See Alperin v. Vatican Bank, 410 F.3d 532 (9th

Cir. 2005).    “Addressing foreign affairs specifically, Baker cautioned against ‘sweeping

statements’ that imply all questions involving foreign relations are political ones.” Id. at 544.

                                                  48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 91 of 429




(citing Baker, 369 U.S. at 211, 82 S.Ct. 691 (citing Oetjen v. Cent. Leather Co., 246 U.S. 297,

302, 38 S.Ct. 309, 62 L.Ed. 726 (1918)

183. The Supreme Court identified factors which require dismissal because the case cannot be

resolved without making policy determinations that are clearly for nonjudicial discretion. None

of these factors delineated by the Court are “inextricably” present in the instant case and thus the

case is justiciable. See Baker v. Carr, 369 U.S. 186, 217, 82 S. Ct. 691 (1962). Plaintiffs

acknowledge “The political question doctrine presents a narrow exception to the judiciary's

responsibility to decide cases properly before it.” See Zivotofsky Ex Rel. Zivotofsky v. Clinton,

566 U.S. 189, 132 S. Ct. 1421, 1427, 182 L. Ed. 2d 423 (2012). However, “The political

question doctrine” deals with “political questions,” not merely “political cases.” See MINISTRY

OF OIL OF THE REPUBLIC OF IRAQ v. 1,032,212 BARRELS OF CRUDE OIL, Civil Action

No. G-14-249 (S.D. Tex. Jan. 7, 2015), citing Baker, 369 U.S. at 217. The doctrine “excludes

from judicial review those controversies which revolve around policy choices and value

determinations constitutionally committed for resolution to the halls of Congress or the confines

of the Executive Branch.” See Japan Whaling Ass'n v. Am. Cetacean Society, et. al., 476 U.S.

221, 230, 106 S. Ct. 2860 (1986).

       The Supreme Court spoke clearly:

               “Unless one of these formulations is inextricable from the case at bar, there

       should be no dismissal for nonjusticiability on the ground of a political question's

       presence. The doctrine of which we treat is one of ‘political questions,’ not one of

       ‘political cases.’ The courts cannot reject as ‘no law suit’ a bona fide controversy as to

       whether some action denominated ‘political’ exceeds constitutional authority. The cases

       we have reviewed show the necessity for discriminating inquiry into the precise facts and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 92 of 429




        posture of the particular case, and the impossibility of resolution by any semantic

        cataloging.” Baker, 369 U.S. at 217.


184.    The Supreme Court distinguished the political question doctrine from subject matter

jurisdiction. Id. at 202. It held that the District Court possessed subject matter jurisdiction, that

the case was not a non-justiciable political question, and remanded. Id. at 237. The Supreme

Court has stated, “It is error to suppose that every case or controversy which touches foreign

relations lies beyond judicial cognizance.” Baker, 369 U.S. at 211. Nothing in the instant case

revolves “around policy choices and value determinations constitutionally committed for

resolution to the halls of Congress or the confines of the Executive Branch.” The complaint

allegations are unambiguously not “political questions” or “political allegations” nor do they

require political or policy determinations, but are plainly allegations of crimes – crimes not born

of public policy authorities, which are an exception. The analysis called for by Baker requires

more than a generalization that an issue implicates foreign relations, because not “every case or

controversy which touches foreign relations lies beyond judicial cognizance.” Baker, 369 U.S. at

211. A court “cannot shirk this responsibility merely because [its] decision may have significant

political overtones.” See Japan Whaling Ass’s v. Am. Cetacean Society, et. al., 476 U.S. 221,

230, 106 S. Ct. 2860 (1986). “Courts in the United States have the power, and ordinarily the

obligation, to decide cases and controversies properly presented to them.” Alperin v. Vatican

Bank, 410 F.3d 532, 539 (9th Cir. 2005).


185.    To have standing to sue in federal court, the Supreme court has made it clear a plaintiff

must allege “such a personal stake in the outcome of the controversy as to warrant his invocation

of federal-court jurisdiction and to justify exercise of the court's remedial powers on his behalf.”


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 93 of 429




See Warth v. Seldin, 422 U.S. 490, 498-499, 95 S.Ct. 2197, 45 L.Ed.2d 343 (1975), quoting

Baker v. Carr, 369 U.S. 186, 204. Plaintiffs do allege such a personal stake in the outcome of

the controversy as to warrant their invocation of federal-court jurisdiction and to justify exercise

of the court's remedial powers on their behalf. The Plaintiffs have “suffered an ‘injury in fact’ –

an invasion of a legally protected interest which is (a) concrete and particularized, and (b) actual

or imminent, not conjectural or hypothetical.” See Lujan v. Defenders of Wildlife, 504 U.S. 555,

560, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992)


186.    In fact, the “factual” allegations concerning Plaintiff Maki Revend are a knowing and

willful, deliberate and voluntary, deceitful and deceptive attempt to discredit him, are blatantly

and manifestly false and unpersuasive, are literally, deliberately, and factually untrue, are

“particularly reprehensible” (See Gertz v. Robert Welch, Inc., 418 U.S. 323, 376, 94 S. Ct. 2997,

41 L. Ed. 2d 789 (1974), and at the present time Mr. Revend is under 24-hour police protection

in Berlin after multiple attempts by the Barzani Continuing Criminal Enterprise to kill him and

his family. Allegations concerning the instant Complaint are also without merit and are

constructed on entirely fictitious and frivolous assertions, a farcical arc of attempts to mislead

and misinform this Court and which are attributable to vindictiveness and fail as a matter of law.

Mr. Reeder was required to do more than simply not misinform; he also had an affirmative

obligation to inform – a duty of trial advocacy to convey correct and complete             material

information to this Court. “Counsel may not bury their heads in the sand and thereafter make

affirmative proclamations about what occurred above ground. In such cases, ignorance is not

bliss—it is sanctionable.” “An attorney's right to free speech while litigating an action is

extremely circumscribed.” See King v. Whitmer, 505 F. Supp. 3d 720 (E.D. Mich. 2020).

Mezibov v. Allen, 411 F.3d 712, 717, 720-21 (6th Cir. 2005) (quoting Gentile v. State Bar of
                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 94 of 429




Nev., 501 U.S. 1030, 1071, 111 S.Ct. 2720, 115 L.Ed.2d 888 (1991)). As the Sixth Circuit

explained in Mezibov:

               “It is not surprising that courts have thus far been reluctant to allow the First

       Amendment to intrude into the courtroom. At first blush, the courtroom seems like the

       quintessential arena for public debate, but upon closer analysis, it is clear this is not, and

       never has been, an arena for free debate.... An attorney's speech in court and in motion

       papers has always been tightly cabined by various procedural and evidentiary rules…”



187. “It is not acceptable to support a lawsuit with opinions… which were ‘inexact,’

‘exaggerate[ed],’ and ‘hyperbole.’ Nor is it acceptable to use the federal judiciary as a political

forum to satisfy one's political agenda. Such behavior by an attorney in a court of law has

consequences.” “[Defendants'] counsel advanced claims that were also not well-grounded in fact,

as demonstrated by [his] (i) failure to present any evidentiary support for factual assertions; (ii)

presentment of conjecture and speculation as evidentiary support for factual assertions; (iii)

failure to inquire into the evidentiary support for factual assertions…” See King v. Whitmer, 505

F. Supp. 3d 726.

188. Plaintiff Maki Revend has no history of breaking the law or of arrest or conviction for any

criminal act. Mr. Reeder did “at a minimum express, state, and imply a verifiably false fact

about [Plaintiff Revend].” See Zimmerman v. Al Jazeera America, LLC, 246 F. Supp. 3d 257,

276 (D.C. 2017). His statement fell into no privileged category of speech. The Supreme Court

declared, “practices long accepted by ethical lawyers is that under no circumstance may a lawyer

either advocate or passively tolerate a client’s giving false testimony” … and “in no sense means

a lawyer can honorably be a party to or in any way give aid to presenting known perjury.” “No

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 95 of 429




system of justice worthy of the name can tolerate a lesser standard.” See Nix v. Whiteside, 475

U.S. 157, 174, 106 S. Ct. 988, 89 L. Ed. 2d 123, (1986). The Supreme Court further opined, “To

a wide and deep extent, the law depends upon the disciplined standards of the profession and

belief in the integrity of the courts.” (See Schware v. Board of Bar Examiners of NM, 353 U.S.

232, 77 S. Ct. 752, 1 L. Ed. 2d 796 (1957). Defendant Reeder, as an experienced advocate of the

law firm of Greenberg Traurig, injured and insulted the integrity of this Court by knowingly

presenting false statements and demonstrating an appalling and tragic absence of credibility. Mr.

Reeder’s statements, with a deliberate disregard for the truth and failure to look beyond apparent

prejudices and political beliefs in said motion strongly suggests improper motive, and did not

conform to any particular code of legal ethics. Defendant Reeder is not “an ordinary citizen”

(See Alabama v. White, 496 U.S. 325, 329, 110 S. Ct. 2412, 110 L. Ed. 2d 301 (1990) but rather

is an accomplished attorney and former official of the national government possessing highest

national security clearances, legal expertise, and overseeing over 1 million persons in the United

States Army and 330,000 civilian government employees, an honors graduate of the Judge

Advocate General Corps School, and regularly lectures on legal ethics. In short, Mr. Reeder

knows better, and with respect due this Court, knows communication with the Court shall

contain all information necessary to make the communication not misleading and shall not

contain any false or misleading statement or otherwise operate to deceive, with deliberate and

conscious indifference exhibits zero regard for the process or for authority, and perpetuates the

Barzani defendants’ corrupt and continuous pattern of diverting attention away from their

criminal behavior and misconduct and acting with a pervasive pattern of deliberate indifference

to and above the system’s rules, a pattern of constitutional violations and a pattern of tortious

conduct, and would not make such a false and defamatory allegation and denunciation

                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 96 of 429




accidentally. Counsel has “the ever-present duty not to mislead.” See Basic Inc. v. Levinson,

485 U.S. 224, 108 S. Ct. 978, 99 L. Ed. 2d 194, n.18 (1988). In law, perfidious tactics are not

only mala prohibita (“evil as prohibited”), but also malae in se (“evil in themselves”). The

untrue statement in Mr. Reeder’s motion was as damaging as possible to Plaintiff Revend.

189.. Such unfounded sweeping allegations were intentionally declared to defame, malign, and

harm, and did harm, Plaintiff Maki Revend. The harm from Reeder’s statement was inevitable,

direct, concrete, immediate, and particularized. (“For an injury to be ‘particularized,’ it ‘must

affect the plaintiff in a personal and individual way.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 339

(2016), as revised (May 24, 2016) (citation omitted).)

190. Plaintiff Revend is a seasoned investigative journalist who provides news about, and

exposes, legal and political issues in and of Iraqi Kurdistan and the political and commercial

corruption and criminality of the Barzani Continuing Criminal Enterprise, and is a primary

source and disseminator of information to the public in Iraqi Kurdistan and the Kurdish

worldwide diaspora. Plaintiff Revend’s thoughts, ideas, and words carry great significance to

millions of Kurds, especially those who do not express political allegiance to the criminal

Barzani regime.    Mr. Reeder’s blatantly false attacks are predictably consistent with the

pervasive and continuing intimidation and harassment tactics and orchestrated deceit of

Defendant Masrour Barzani and his agents and representatives against Plaintiff Revend and

others including political dissidents subject to BCCE abuses including but not limited to physical

and psychological abuse, humiliation, rape, torture, starvation, isolation, forced confessions, and

murder.

191. Whether Plaintiff Maki Revend harbored actual animus towards any Defendant at any point

in the past or present is irrelevant. Defendant Reeder fails to meet his burden of supporting his

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 97 of 429




motion with clear evidence and objective evidence, fails to include any direct evidence in his

motion that establishes animus or criminality by Plaintiff Maki Revend, and Defendant’s motion

consists of assertions irrelevant to his claims, underscoring how weak the defendant’s arguments

are on the facts. For an attorney representing segments of the Barzani Continuing Criminal

Enterprise (BCCE) to make such false allegations in a pleading in this Court is to again illustrate

the total and absolute public disrespect and contempt the BCCE has for the United States and its

laws and institutions, including this Court. In view of Mr. Reeder’s personal participation, as set

forth herein, in the BCCE scheme and course of conduct to hide true ownership identity and

money and assets in the United States and elsewhere in the world that are the fruits of unlawful

activities, the false pleading representations by him are particularly troubling. Pleading false and

willful misrepresentations, made with knowledge of its falsity or with gross indifference and

reckless disregard as to its truth or falsity, is egregious professional misconduct, beyond garden-

variety neglect (See Irwin v. Department of Veterans Affairs, 498 U.S. 89, 96, 111 S. Ct. 453,

112 L. Ed. 2d 435 (1990), is not excusable neglect, fails to meet the District of Columbia Circuit

standard, and is material. “A fact is ‘material’ if it could affect the substantive outcome of the

litigation.” See Doe v. District of Columbia, Civil Action 13-878 (2016), citing Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986). A false statement is

material if it has a natural tendency to influence or [is] capable of influencing the decision of the

decision-making body to which it was addressed.” See United States v. Seidling, 737 F.3d 1155,

1160 (7th Cir. 2013) (quoting Neder v. United States, 527 U.S. 1, 16, 119 S.Ct. 1827, 144 L.Ed.2d

35 (1999)). “Solemn declarations in open court carry a strong presumption of verity.” See

Blackledge v. Allison, 431 U.S. 63, 97 S. Ct. 1621, 52 L. Ed. 2d 136 (1977).




                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 98 of 429




192. Mr. Reeder’s characterization of Plaintiff Revend was not an opinion but a solemn

declaration wholly lacking verity, with intent to defame and inflict emotional distress, in the false

light in which it would be placed, and aggravated and magnified by its publication in a public

court record, equivalent to open court, where the false and defamatory statement was widely

published on the court’s public digital platform website to third parties, and which Mr. Reeder

knew would be published with this falsity and reckless disregard for the truth, and can

reasonably be understood to convey a false and defamatory message. Plaintiff Revend suffered

actual or potential legal harm, as did all Plaintiffs, and mental distress from having been falsely

exposed to public view. “Imputing criminal behavior to an individual is generally considered

defamatory per se, and actionable without proof of special damages.” See Paul v. Davis, 424

In U.S. 693, 697, 96 S. Ct. 1155, 47 L. Ed. 2d 405 (1976). The damning and drastic stigma or

“badge of disgrace” (See Wisconsin v. Constantineau, 400 U.S. 433 (1971)) to Plaintiff Revend’s

reputation, honor, integrity, good name, and his right to maintain his community standing,

resulting from the defamatory character of Mr. Reeder’s baseless declaration and attaching the

stigmatizing label “criminal” without the salutary and constitutionally mandated safeguards of a

criminal trial or any process whatsoever, constitutes a tort of defamation. “Defamatory meaning

and falsity are distinct elements of the tort of defamation.” See White v. Fraternal Order of

Police, 909 F.2d 512 (D.C. Cir. 1990); see also Libre By Nexus v. Buzzfeed, Inc., 311 F. Supp. 3d

149, 155 (D.C. 2018). Mr. Reeder’s statements of “deliberate falsehoods or reckless disregard

for the truth” (See Franks v. Delaware, 438 U.S. 154, 98 S.Ct. 2674, 57 L.Ed.2d 667 (1978),

“w[ere] made with ‘actual malice’ – that is, with knowledge that it was false or with reckless

disregard of whether it was false or not.” See New York Times Co. v. Sullivan, 376 U.S. 254,

280, 84 S. Ct. 710, 11 L. Ed. 2d 686 (1964). Given the worldwide audience of Defendant

                                                 48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 99 of 429




Revend’s media following, where journalistic readership and viewership is rooted in the

imperative need for credibility and trust, and journalism being the source of his income, the full

and extensive extent of the defamatory implications, including reputation, career, and economic

consequences to the victim Plaintiff Revend, cannot yet be known.

193. Plaintiff Maki Revend states a claim for defamation of character under District of Columbia

law and alleges “(1) that he was the subject of a false and defamatory statement; (2) that the

statement was published to a third party; (3) that publishing the statement was at least negligent;

and (4) that the plaintiff suffered actual and legal harm.” See Farah v. Esquire Magazine, 736

F.3d 528, 533-34 (D.C. Cir. 2013) (citations omitted). Mr. Reeder’s defamatory statements were

materially and knowingly false or made with reckless disregard for the truth, in a deliberate act

of deception in an attempt to mislead and influence this Court to rely on false, deceitful, and

material misinformation, thereby resulting in inequity, and not a mere technical falsehood and

not harmless. The Supreme Court has defined that “misrepresentation is material” if it “has a

natural tendency to influence, or was capable of influencing, the decision of the decision-making

body to which it was addressed.” Kungys v. United States, 485 U.S. 759, 108 S. Ct. 1537, 99 L.

Ed. 2d 839 (1988). Mr. Reeder’s false and misrepresenting declarations were clearly made with

the intent to influence the court to which it was addressed. With respect to compensation, the

Supreme Court declared, “As we have recognized, ‘[t]he legitimate state interest underlying the

law of libel is the compensation of individuals for the harm inflicted on them by defamatory

falsehood.’” See Masson v. New Yorker Magazine, Inc., 501 U.S. 496, 111 S. Ct. 2419, 115 L.

Ed. 2d 447 (1991), quoting Gertz v. Robert Welch, Inc., 418 U. S. 323, 341 (1974). Relatedly,

under District of Columbia law, Plaintiff Maki Revend makes a false light claim, showing (1)

publicity by means of the court publishing the complaint and Defendants’ defamatory motion on

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 100 of 429




its website, which is widely covered by Kurdistan media; (2) about a false statement,

representation or imputation; (3) understood to be of and concerning the plaintiff; and (4) which

places the plaintiff in a false light that would be offensive to a reasonable person. See Doe v.

Bernabei & Wachtel, PLLC, 116 A.3d 1262, 1267 (D.C. 2015) (alteration in original) (internal

quotation marks and citation omitted).

194. The Supreme Court said, “We have regularly acknowledged the ‘important social values

which underlie the law of defamation,’ and recognized that ‘[s]ociety has a pervasive and strong

interest in preventing and redressing attacks upon reputation.’ Rosenblatt v. Baer, 383 U. S. 75,

86 (1966). Justice Stewart in that case put it with his customary clarity:

       “The right of a man to the protection of his own reputation from unjustified invasion and

       wrongful hurt reflects no more than our basic concept of the essential dignity and worth

       of every human being – a concept at the root of any decent system of ordered liberty…

‘The destruction that defamatory falsehood can bring is, to be sure, often beyond the capacity of

the law to redeem. Yet, imperfect though it is, an action for damages is the only hope for

vindication or redress the law gives to a man whose reputation has been falsely dishonored.” Id.,

at 92-93 (concurring opinion). See Milkovich v. Lorain Journal Co., 497 U.S. 1, 23, 110 S. Ct.

2695, 111 L. Ed. 2d 1 (1990).

195. As defined in the Countering America’s Adversaries Through Sanctions Act (CAATSA)

and contained in 31 CFR § 561.310, money laundering is defined: “The term money laundering

means engaging in deceptive practices to obscure the nature of transactions involving the

movement of illicit cash or illicit cash equivalent proceeds into, out of, or through a country, or

into, out of, or through a financial institution, such that the transactions are made to appear

legitimate.” 31 CFR § 561.311 defines agent: “The term agent includes an entity established by

                                                 48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 101 of 429




a person for purposes of conducting transactions on behalf of the person in order to conceal the

identity of the person.” Beginning on a date unknown but at least by 2007 and continuing

through in or around the present time, in the District of Columbia and elsewhere, Defendants

Masrour Barzani, Mustafa Barzani, Waysi Barzani, Jeyra Mohamad Khaled, Katja Vrecar

Barzani, Sarwar Pedawi, Laween Pedawi, Hamela Gardi, Jonathon R. Moore, Joe R. Reeder,

Julie Mai Sanford, identified in documents as administrative assistant to Jonathon R. Moore,

Laura Geho Harris, Valarie Cupp, and Rubar Sandi, middlemen to further disguise and legitimate

the corrupt payments and complicit intermediaries in facilitating transactions, together with

others, including accountants, to accomplish its purpose did, in a continuum of complicity and

enterprise corruption in an international conspiracy, devise and engage in a multi-million dollar

scheme or course of conduct and conspiracy with affirmative, planned, and deliberate acts of

concealment and methods of obfuscation that they have repeatedly used, in the United States and

abroad, to carry out financial crimes, masterminded by Defendant Jonathon R. Moore who

frequently collaborated with Defendant Joe R. Reeder as agents of a foreign principal, and their

foreign sponsors, and did knowingly, unlawfully, deliberately, voluntarily, and corruptly agree to

cooperate in a frauduent scheme or course of conduct or shared a perfidious purpose and did

demand, seek, receive, accept, and agree to receive and accept illicit foreign funds, and did

knowingly and unlawfully combine, conspire, confederate, and agree together and with each

other to devise and intend to devise a scheme or course of conduct and artifice to defraud and to

deprive, by means of material false and fraudulent pretenses and representations, to conceal

source and ownership, knowing that the transactions were designed in whole and in part to

directly and indirectly achieve the criminal object of the BCCE, and knowing that the property

involved in the financial transactions represented the proceeds of some form of unlawful activity,

                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 102 of 429




including funds embezzled from state coffers of the Defendant Iraqi Kurdistan Regional

Government, which transactions in fact involved the proceeds of specified unlawful activity, and

using their specialized expertise to hide the ill-gotten gains of the BCCE, obscure their nefarious

activities, and employ money laundering mechanisms and did launder proceeds generated by and

did aid and abet bad acts committed by the malign actors of the BCCE, many of whom are

agents or officials of subdivisions of a foreign government, regardless of the predicate criminal

activity, that they “knew were designed to conceal and disguise the nature, the location, the

source, the ownership, and the control of the proceeds of [the] unlawful activity,” See US v.

Harmon, 474 F. Supp. 3d 76, 83 (D.C. 2020), and played lucrative roles, and did financially

profit from the criminal activities of BCCE, as a center for discrete illicit financial dealings,

within the District of Columbia and elsewhere, designed to conceal including fake

representations concerning ownership structuring, of international money laundering through a

series of complex transactions and shell or front companies with bank accounts, some opened by

Defendant Moore and/or his subordinates in the U.S. without disclosing as required under the

U.S. Patriot Act the foreign beneficial owners or percentage of ownership of the corporations

owning said bank accounts, located in the United States and abroad, in this country in whole or

in part, repeatedly performed in furtherance of object of the conspiracy and the conspirators’

plan and scheme or course of conduct or artifice to launder millions of dollars of ill-gotten

criminal proceeds derived from or obtained, directly or indirectly, through the commission of a

crime unquestionably in connection with a commercial activity of defendants including the

Defendant Iraqi Kurdistan Regional Government and its principal officers and the Barzani

Continuing Criminal Enterprise, including Barzani family members and family members by

marriage, outside of the United States and said acts caused a direct effect in the United States.

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 103 of 429




See 28 U.S.C. § 1605(a)(2) and numerous other anti-money laundering laws and regulations.

Indeed, the type of the activity at issue here is far from analogous to the type of activity that

courts have described as “sovereign” in nature. See, e.g., Weltover, 504 U.S. at 614, 112 S.Ct.

2160. The Barzani family has been in power in Iraqi Kurdistan for decades, and the corruption

of the regime has been widely reported in Department of State communiques and the

international media, including substantial misappropriation, theft, and embezzlement of billions

of dollars from the Kurdistan treasury, some of which was used to purchase luxurious properties

in the United States for use of Barzani family members. The funds used to acquire these

properties are traceable to violations of specified unlawful activities and U.S. law, that is a

foreign offense involving the misappropriation, theft, or embezzlement of public funds by or for

the benefit of a public official, and the international transportation or receipt of stolen of

fraudulently obtained property (81 U.S. C $$1956(c)(7)(B)(iv) and 1956(c)(7)(A) respectively).

196. Each of these acts were commercial because they were not acts “only a sovereign state

could perform.” See Park v. Shin, 313 F.3d 1138, 1145 (9th Cir.2002). The effect is “direct” as it

follows “as an immediate consequence of the defendant’s... activity.”) See Weltover, 504 U.S. at

618, 112 S.Ct. 2160. “The common-sense interpretation of a direct effect ... is one which has no

intervening element, but, rather, flows in a straight line without deviation or interruption.”

Guirlando, 602 F.3d at 74-75 (quotation marks and citation omitted), and occurred in the instant

matter. A U.S. regulator or law enforcement entity was precluded from identifying the beneficial

owner because all shell and front companies were identified solely by a registered Agent or the

law firm or one of its subsidiaries, primarily the law office of Defendant Jonathon R. Moore and

Ingomar Fiduciary Services, Inc. (a Delaware corporation since 2000, with its offices registered

with agencies of the State of Delaware at Defendant Moore’s Washington DC law office and

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 104 of 429




since 2016 at his former residence in Wilmington Delaware) and Ingomar Services, Inc. (no

longer active), named after the residential street where Defendant Moore lived at 4111 Ingomar

Street NW, Washington DC 20015, wholly owned and operated by Defendant Moore and of

which he is President, and not a true owner or anyone actually associated with the shell or front

company or trust entity.

197.    Ingomar Fiduciary Services, Inc. engages in a substantial, continuous, and systematic

course of business, and was and is so dominated by Defendant Moore as to be his alter ego and a

repository of at least some of the criminal proceeds monies transferred to the United States by

Defendants, and the assets of the corporation actually belong to Defendant Moore or to Barzani

Continuing Criminal Enterprise Defendants.       There exists a unity of interest, the identical

ownership and control, commingling and diversion of funds and assets, and use of the same

office and business location. Separate personalities of Defendant Moore and Ingomar Financial

Services, Inc. do not exist. As the Supreme Court explained in Wellness Intern. Network, Ltd. v.

Sharif, 575 U.S. 665, 135 S. Ct. 1932, 1953,191 L. Ed. 2d 911 (2015), quoting Sampsell v.

Imperial Pape & Color Corp., 313 U.S. 215, 218, 61 S.Ct. 904, 85 L.Ed. 1293 (1941), “’[m]ere

legal paraphernalia will not suffice to transform … a corporation whose affairs are so closely

assimilated to the affairs of the dominant stockholder that in substance it is little more than his

corporate pocket.’” Through Ingomar Fiduciary Services, Inc., Defendant Moore “concealed

assets and transactions under the veil of a corporate entity that was ‘nothing but a sham and a

cloak.’” Wellness, 757 U.S. 665, 1953, citing Sampsell, 313 U.S. 218. Ingomar Fiduciary

Services, Inc. was an “alter ego or business conduit of the person in control.” See Labadie Coal

Co. v. Black, 672 F.2d 92, 97 (D.C. Cir. 1982). Defendant Moore’s “control over” Ingomar

Fiduciary Services, Inc. was “active and substantial,” and “so dominated the [] corporation as to

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 105 of 429




negate its separate personality.” See Material Supply Int’l, Inc. v. Sunmatch Indus. Co., 62

F.Supp.2d 13, 20 (D.D.C. 1999). “[A]dherence to the fiction of the separate existence of the

corporation would sanction a fraud or promote injustice.” See Diamond Chem. Co. v. Atofina

Chems., Inc., 268 F.Supp.2d 1, 9 (D.D.C); see also In re Baan Co. Secs. Litig., 245 F.Supp.2d

117,129, (D.D.C.2003).

198.     Each of the individual Plaintiffs have suffered past injuries-in-fact, “an invasion of a

legally protected interest” that is “concrete and particularized” and “actual or imminent, not

conjectural or hypothetical.” See Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (quoting

Lujan, 504 U.S. at 560). There exists a “substantial risk” that threatened future injury will occur.

(See Stringer v. Whitley, 942 F.3d 715, 721 (5th Cir. 2019)(See Stringer v. Whitley, 942 F.3d

715, 721 (5th Cir. 2019)). Thoroughly documented past harms constitute an injury-in-fact for

purposes of pursuing injunctive relief as they cause “continuing, present adverse effects.” See

City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983) (quoting O’Shea v. Littleton, 414 U.S.

488, 495–96 (1974)).

199.    Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and named and unnamed

co-conspirator Defendants, including Barzani family members and family members through

marriage, are directly liable as individuals for extrajudicial killings, murder and attempted

murder, genocide, enforced disappearances, hostage taking and kidnapping, torture, inhumane

treatment, mental and physical pain and suffering, and other crimes against Plaintiffs. These

Defendants exercised command responsibility at all times relevant to this complaint over

subordinates engaged in a joint criminal enterprise, were responsible for security and military

operations, such as planning, commanding, supervising, controlling, and execution of Defendant

Iraqi Kurdistan Regional Government Peshmerga military forces plans, and advocated tactics,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 106 of 429




with, and/or aided and abetted by their subordinates, including officers in the Defendant Iraqi

Kurdistan Regional Government Peshmerga (the name in Kurdish means “those who risk their

lives”) military and Asayish Security Forces who planned and/or carried out the operations to

commit extrajudicial killings, genocide, inhumane treatment, hostage taking and kidnapping,

torture, and crimes against humanity, and other gross crimes. (Asayish Security Forces and

Peshmerga military forces are each dependent subordinate units of and wholly controlled by the

Defendant Iraqi Kurdistan Regional Government.) Accordingly, Plaintiffs assert that Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and representatives and

co-conspirators, including Barzani family members and family members by marriage, bear direct

responsibility for their roles in these acts, bear command responsibility, and bear responsibility

for engaging in a joint criminal enterprise with, conspiring with, and/or aiding and abetting their

subordinates who planned and carried out the crimes, and are liable under United States and

international law for the injuries, pain and suffering by Plaintiffs and their decedent relatives

endured.

200.    At all times relevant, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

and their agents and representatives and co-conspirators, including Barzani family members and

family members by marriage, unlawfully exercised raw power and lethality unconstrained by

statutory requirements, constitutional limits, any notions of due process, conflict of interest rules,

any rules-based order, or even basic fairness, and where they “pursue[d] their personal

predilections.” See Kolender v. Lawson, 461 U.S. 352, 103 S. Ct. 1855, 75 L. Ed. 2d 903 (1983).

201.    At all times relevant, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

possessed and exercised command and effective control over their subordinate agents and

representatives and permitted them to commit murder, extrajudicial killings, genocide, hostage

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 107 of 429




taking and kidnapping, enforced disappearances, inhumane treatment, torture, rape, crimes

against humanity, transactions with terrorists which cost human lives, and multitudinous other

unlawful and material acts and gross crimes.

202.    At all times relevant, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

had the legal authority and practical ability to exert control over their subordinates, including

Barzani family members and family members by marriage, including those who participated in

extrajudicial   killings,   murder,   genocide,   hostage   taking   and   kidnapping,    enforced

disappearances, crimes against humanity, and multitudinous other unlawful acts. Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani’s command over their subordinate agents

and representatives, and family members and family members by marriage, included the

authority and responsibility to give orders and discipline their subordinates and family members

and family members by marriage. Furthermore, Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani had the actual authority and practical ability and capacity to prevent abuses

and committal of crimes and punish those responsible.

203.    At all times relevant, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

knew or reasonably should have known of the pattern and practice of crimes and abuses

committed by their subordinate agents and representatives, servants, and Barzani family

members and family members by marriage.

204.    At all times relevant, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

in their official positions with the Defendant Iraqi Kurdistan Regional Government, had a duty

under international law, multilateral treaties and conventions, and Iraq law to ensure the

protection of civilians, to prevent violations of international and Iraqi law and United States law

by their subordinates, agents, and representatives, and Barzani family members and family

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 108 of 429




members by marriage, and to ensure that all persons under their command were trained in, and

complied with, international and Iraqi law, including the prohibitions against inhumane

treatment, extrajudicial killings, genocide, hostage taking and kidnapping, torture, rape, enforced

disappearances, crimes against humanity, and multitudinous other unlawful acts. Furthermore,

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani were under a duty to

investigate, prevent, and punish violations of international and Iraq and United States laws

committed by their subordinates.

205.     As the commanders, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

failed or refused to take all reasonable and necessary measures to prevent inhumane treatment,

murder, extrajudicial killings, genocide, hostage taking and kidnapping, torture, enforced

disappearances, rape, crimes against humanity, and multitudinous other crimes, or to investigate

or punish their subordinates for committing such crimes and abuses.

206.         At all times relevant, Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani knew or reasonably should have known that by making payments and resource aid to

terrorists, they were playing a role in violent anti-American terrorism and necessarily intended

that the money or value will reach the violent actor. An Assistant United States Attorney

General said it plainly in a 2007 criminal resolution concerning similar conduct: “corporations

are on notice that they cannot make protection payments to terrorists.” Multiple U.S. agencies

set up task forces designed to interrupt the flow of money to terrorists in Iraq and Afghanistan,

and U.S. officials stated repeatedly that such payments were illegal and counterproductive.

Applicable regulations and financial rules also required companies to ensure that their

contracting practices – including the money spent by their subcontractors – did not finance




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 109 of 429




terrorism. Defendants violated those requirements and concealed their payments in part because

they knew the U.S. government considered such payments to be illegal.

207.      The extrajudicial killings, genocide, enforced disappearances, torture, rape, crimes

against humanity, and other crimes were part of a pattern and practice of widespread and

systemic criminal activity. At all relevant times, Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani knew or should have known of the pattern and practice of gross criminal

activity perpetuated.

208.    In addition to their direct responsibility and command responsibility, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani also conspired with their subordinates, including

Barzani family members and family members by marriage, who planned and carried out

widespread criminal activity. Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

conspired and acted in concert with one or more subordinate agents and representatives, and

Barzani family members and family members by marriage, pursuant to a common plan, design,

and scheme to carry out and commit or facilitate committing murder, extrajudicial killings,

genocide, hostage taking and kidnapping, torture, rape, enforced disappearances, and

multitudinous other high crimes against civilians, including the Plaintiffs.

209.     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, their agents and

representatives, and Barzani family members and family members by marriage, knew about and

agreed to facilitate the scheme and knowingly joined and participated in carrying out the

common plan, design, and scheme. In addition to being personally liable for their own actions,

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani are jointly and severally

liable for the actions of their co-conspirators, including Barzani family members and family

members by marriage, all of which were actions undertaken in furtherance of a common plan,

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 110 of 429




design, scheme, and interrelated pattern to commit crimes against civilians including Plaintiffs,

motivated by or the effect of which was pecuniary gain and economic threat and physical threat

and injury.

210.     In addition to their direct responsibility, Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani also aided and abetted their subordinates, including Barzani family members

and family members by marriage, who planned and carried out the criminal actions of the

Barzani Continuing Criminal Enterprise. They knew or should have known that their actions and

omissions would assist in the commission of these and other crimes at the time they provided

assistance to the Barzani Continuing Criminal Enterprise. In addition to being personally liable

for their own actions, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and

Barzani family members and family members by marriage, are jointly and severally liable for the

actions of those they aided and abetted.

211.    In addition to their direct responsibility and command responsibility, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani also engaged in a joint criminal enterprise with

their subordinates, including Barzani family members and family members by marriage, who

planned and/or carried out gross criminal activity.       Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, and others, had knowledge of and were active participants in the

enforcement of this system of flagrant transnational criminality.

212.    The extrajudicial killings, murder, genocide, enforced disappearances, hostage taking and

kidnapping, torture, rape, crimes against humanity, and multitudinous other gross crimes were

“reasonably foreseeable or anticipated as a natural consequence of” a common shared intention

on the part of Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, their

subordinate agents and representatives, and Barzani family members and family members by

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 111 of 429




marriage, who planned and carried out the crimes enumerated herein and continuing to the

present time and are directly liable. See Owens v. BNP Paribas, SA, 897 F.3d 266 at 794 (D.C.

Cir. 2018). In the instant case, plaintiffs’ injuries were not only foreseeable: they were the

intended result.

213.     These direct acts and omissions were and are outside the scope of lawful authority of

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, their agents and

representatives, including Barzani family members and family members by marriage, and were

not authorized by international law, Iraqi law, or Kurdistan law, or any regulation or lawful

proclamation thereof. Their conduct was wholly inconsistent with the laws and rules in effect at

the time of the conduct and was not due to inadvertent mistakes.

214.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and all named

Defendants, cannot point to any “statute, decree, order, resolution or comparable evidence of

sovereign authorization for any of the actions in question” or any act “imbued with some level of

formality” to show that the actions enumerated herein were or are “the official policy” or “the

officially sanctioned policies of” or “statute, decree, order or resolution” of the Republic of Iraq,

the foreign sovereign. “To qualify as official, an act must be imbued with some level of

formality, such as the authorization by the foreign sovereign through an official statute, decree,

order or resolution.” See Kashef v. BNP Paribas S.A., 925 F.3rd 53, 60 (2nd Cir. 2019).

215.     Defendants’ acts clearly fall within the Foreign Sovereign Immunities Act (“FSIA”)

commercial activity exception to sovereign immunity. See Republic of Argentina v. Weltover,

Inc., 504 U.S. 607, 614, 112 S.Ct. 2160, 119 L.Ed.2d 394 (1992)See Republic of Argentina v.

Weltover, Inc., 504 U.S. 607, 614, 112 S.Ct. 2160, 119 L.Ed.2d 394 (1992), and United States v.

Turkiye Halk Bankasi AS, 16 F. 4th 336 (2nd Cir. 2021).              A foreign state engaging in

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 112 of 429




"commercial" activities “do[es] not exercise powers peculiar to sovereigns”; rather, it

“exercise[s] only those powers that can also be exercised by private citizens.” See Republic of

Argentina v. Weltover, Inc., 504 U.S. 607, 112 S. Ct. 2160, 119 L. Ed. 2d 394 (1992), quoting

Alfred Dunhill of London, Inc. v. Republic of Cuba, 425 U.S. 682, 704 (1976). Illicit commercial

activity, in other words activity for financial or pecuniary gain, comprises a substantial

component of the gravamen of Plaintiffs’ Complaint.

216.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani are recognized,

acknowledged, and admitted senior controlling officials of the Defendant Iraqi Kurdistan

Regional Government (KRG), a corrupt, oppressive, violent, and oil-rich kleptocratic regime,

and of the complementary parallel Kurdistan Democratic Party (KDP), led by the Barzani family

since its establishment in 1946. As such they have occupied and do occupy positions of public

trust representing the people of Iraqi Kurdistan and have a duty to serve and a responsibility to

protect that community. Instead, the Barzani regime, in willful and deliberate concert with its

non-governmental instrumentalities, shirks basic governance obligations of building a functional

civil society in favor of funding, conducting, and celebrating, inter alia, misinformation,

coercive repression, and violent transnational criminal conduct, feigned and used as instruments

of governance. The preamble to the Constitution of the Republic of Iraq, of which the Defendant

Iraqi Kurdistan Regional Government is a constituent subdivision governate, instrumentality, and

part, adopted March 8, 2004, declares:

              “The people of Iraq, striving to reclaim their freedom, which was
              usurped by the previous tyrannical regime, rejecting violence and
              coercion in all their forms, and particularly when used as
              instruments of governance, have determined that they shall
              hereafter remain a free people governed under the rule of law.”

              Article 10 thereof further states:

                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 113 of 429




               “...the governments of the regions, governorates, municipalities,
               and local administrations shall respect the rights of the Iraqi
               people…”

217.     The United Nations High Commissioner for Human Rights in its 2021 report entitled

Human Rights and Freedom of Expression: Trials in the Kurdistan Region of Iraq, an evidence-

based analysis of the administration of justice in Iraqi Kurdistan, declares:

               “The Constitution of Iraq guarantees the independence of the
               judiciary and the right to be treated with justice in judicial and
               administrative proceedings. The Constitution also stipulates that
               the proceedings of a trial are public unless the court decides to
               make it secret. In addition, the Iraqi Criminal Procedure Code
               and other relevant domestic laws contain procedural safeguards
               aimed at ensuring fair proceedings and protection against
               arbitrary application of the law, such as the right to a lawyer in all
               phases of investigation and trial.”

218.     The Defendant Iraqi Kurdistan Regional Government is the regional government of the

Kurdistan Region of Iraq. The Kurdistan Region of Iraq is a constituent subdivision region of

the Republic of Iraq, having been established as such by the 2005 Iraqi Constitution (Article

117(First)).

219.     Iraqi Kurdistan is a geographical area in northern Iraq. Autonomous provincial Iraqi

Kurdistan is recognized in Iraq’s constitution as a geographical political and governance federal

region. As a federal region, Iraqi Kurdistan is a subdivision part of the sovereign nation of the

Republic of Iraq from which the Defendant Iraqi Kurdistan Regional Government (“KRG”)

derives any and all its subordinate governmental authorities. The Defendant Iraqi Kurdistan

Regional Government also has its own provincial government and its own soldiers who exercise

authority (independent of Iraq) within Kurdistan. See 28 U.S.C. § 1603(a); Ministry of Oil of

Republic of Iraq v. 1,032,212 Barrels of Crude Oil Aboard United Kalavrvta, CIV.A. G-14-249,

2015 WL 93900, at *281 (S.D. Tex. Jan. 7, 2015) (noting that Kurdistan “administers a
                                       48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 114 of 429




subsidiary region and political subdivision of the Republic of Iraq” and “Kurdistan is a political

subdivision of Iraq.”) The Iraqi legal system is the foundation of and governing law in the Iraqi

Kurdistan region.

220.    As an acknowledged subordinate subdivision governmental entity of and empowered by

the sovereign Republic of Iraq, the Defendant Iraqi Kurdistan Regional Government and its

officials are subject, without exception or excusal unless specifically so declared, to all

provisions of bilateral and multilateral treaties, agreements, and conventions to which the

Republic of Iraq is a party.

221.     In the Washington Agreement executed by Defendant Masoud Barzani on behalf of the

Defendant Iraqi Kurdistan Regional Government and by the U.S. Secretary of State on behalf of

the United States of America, the Iraqi KRG endorsed “a federative basis” for Iraqi Kurdistan.

222.     Official documents submitted by the Defendant Iraqi Kurdistan Regional Government

(KRG) to the United States Government declare the two organizations, Defendant Iraq KRG and

the Kurdish Democratic Party (KDP), are, established by their own self-understanding and

declaration, one-and-the-same.     In one representative instance, in a KRG Supplemental

Statement filed on May 31, 2009 by the Washington KRG Representative with the U.S.

Department of Justice, a department within the Executive Branch of the United States

Government, pursuant to Section 2 of the Foreign Agents Registration Act of 1938, as amended,

their authorized and signed submittal states Defendant Iraqi “Kurdistan Regional Government

(previously known as Kurdish Democratic Party).”

223.      Defendant Masoud Barzani has been listed in documents filed by Defendant Iraqi

Kurdistan Regional Government (KRG) with the U.S. Departments of State and Justice, and in




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 115 of 429




written communications with the White House and the Executive Office of the President, as the

President of the Iraqi Kurdistan Region, a position he vacated in 2017.

224.    Confidential Human Sources #1, #2, and #3, who have direct clandestine access to senior

ranking Defendant Iraqi Kurdistan Regional Government and KDP officials, identify Jowaira as

Defendant Masoud Barzani’s wife and his cousin and mother of eight known children, five

known sons: Masrour, Mansour, Mustafa “Babo”, Muksi, and Waysi; and three known

daughters: Nabila, Monira, and Urfa.

225.      Confidential Human Sources Number #1, #2, and #3 identify Defendant Masrour

Barzani’s first wife as his cousin Siran Saber Mustafa, an American permanent resident and

therefore a “United States person”. With her, Defendant Masrour Barzani has four children,

Defendant Areen, Yasmin, Barzin and Aran. Two of them, Aran Barzani and Barzin Barzani,

were born in the United States and are American citizens. All of the Barzani family members

participated in and aided and abetted and have informed insider knowledge of the Barzani

Continuing Criminal Enterprise, in particular example the assassination attempt firebombing of

Plaintiff Maki Revend’s residence bragged about by knowing Defendant Areen Barzani.

226.     Defendant Masrour Barzani, Masoud Barzani’s eldest son, a “United States person,”

previously listed in documents filed by the Iraqi KDP and KRG with the United States

Government and in written communications with the White House and the Executive Office of

the President of the United States, as General Director of the Defendant Iraqi Kurdistan Regional

Government Security Protection Agency and formerly Director of the Intelligence and Security

Agency (the successor agency to Parastin), was later appointed by his father as the first

Chancellor of the Defendant KRG’s Security Council, and succeeded to Prime Minister of

Defendant Iraqi Kurdistan Regional Government when Defendant Masoud Barzani left office.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 116 of 429




Defendant Waysi Barzani, now entrusted with the Kurdistan Democratic Party’s intelligence and

counter-terrorism portfolios, is Masrour’s younger brother. Inside sources advise that among all

his several brothers, Defendant Masrour Barzani’s ties to Waysi are strongest. The two share a

bond of trust, tactics, criminality, and common vision and objectives for the Barzani Continuing

Criminal Enterprise and pursuit of illicit wealth and power.

227.      Insider Confidential Human Source #8, who has direct clandestine access to senior

ranking Defendant Iraqi Kurdistan Regional Government officials, confirms that all major

business, including but not limited to oil, aviation, commercial buildings, fuel, infrastructure, and

especially business that relies on airport or oil industry revenue, must now go through

Defendants Waysi Barzani and Masrour Barzani.

228.    In order to provide substantial money to fund the Barzani Continuing Criminal

Enterprise (BCCE) and pay fees, salaries, and expenses to co-conspirator managers and agents of

the BCCE engaged in the torture, attempted murder, and murder of Plaintiffs and Plaintiffs’

families, Defendants Ameer Saadallah Rasheed, an American citizen, Baz Karim Al-Barzanji,

Mahmoud Karim Al-Barzanji, Hamela Gardi, Serwar Pedawi, each residing in Erbil, Kurdistan,

Iraq, and Baz Karim Al-Barzanji, also residing in Erbil, Kurdistan, IraqLaween Pedawi, and

others, knowingly and willfully combined and conspired with Defendant Masrour Barzani, and

continue to conspire with Masrour Barzani, to corrupt the economy of Iraqi Kurdistan. As Prime

Minister of Defendant Iraqi Kurdistan Regional Government, Masrour approves Defendant Iraqi

Kurdistan Regional Government contracts onlyprincipally to those businesses endorsed or

operated by Defendants Ameer Saadallah Rasheed, Baz Al-Barzanji, Mahmoud Karim Al-

Barzanji, Sarwar Pedawi, Laween Pedawi, Mulla “Babo” Mustafa Barzani, and other co-

conspirators. The monopoly power granted businesses referred by Defendants Rasheed, Baz Al-

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 117 of 429




Barzanji, Mahmoud Karim Al-Barzanji, Sarwar Pedawi, Laween Pedawi, Mulla “Babo” Mustafa

Barzani, and other corrupt individuals allows those favored businesses to corruptly inflate the

prices for the goods and services provided to the Defendant Iraqi Kurdistan Regional

Government. In return for the award of the contracts, Defendants Rasheed, Baz Al-Barzanji,

Mahmoud Karim Al-Barzanji, Sarwar Pedawi, Laween Pedawi, Mulla “Babo” Mustafa Barzani,

and other co-conspirators are paid kickbacks by the businesses receiving the contracts from the

Defendant Iraqi Kurdistan Regional Government. and from the U.S. Department of Defense and

related U.S. agencies including the Defense Logistics Agency. As part of the conspiracy,

Defendant Masrour Barzani is paid hundreds of thousands of dollars per month by Defendants

Rasheed, Baz Al-Barzani, Mahmoud Karim Al-Barzanji, Sarwar Pedawi, Laween Pedawi, and

other co-conspirators from funds received by favored businesses from the Defendant Iraqi

Kurdistan Regional Government headed by Defendant Masrour Barzani, its Prime Minister,, and

U.S. government agencies.

229.    As a part of the BCCE effort to obtain funds to enable the torture, attempted

murder, and murder of Plaintiffs and Plaintiffs’ families, Defendant BazDefendants Baz Karim

Al-Barzanji and Mahmoud Karim Al-Barzanji, acting for and in conspiracy with Defendant

Masrour Barzani, knowingly and willfully, in violation of Iraq law and international law and the

provisions and requirements of IEEPA, operates the KAR Group Refinery and oversees and

manages smuggling oil to Iran and other prohibited destinations. DefendantDefendants Baz Al-

Barzanji and Mahmoud Karim Al-Barzanji purposely employsemploy United States persons and

a former United States Government official in histheir criminal operations.

        16. 230.       Defendant Ameer Saadallah Rasheed, who controls the Renos Company,




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 118 of 429




corruptly solicits and receives contracts from the U.S. Defense Logistics Agency. Acting in

conspiracy with Defendant Masrour Barzani and his agents Defendants Serwan Perdawi and

Shimal Jawhar Salin, Defendant Rasheed is successful in securing these U.S. Government

procurement contracts because Defendants Masrour Barzani and his agents block other

companies from competing for contract awards. As a result of their criminal conspiracy, Renos

can rig bids, and fix prices – thus enabling Defendant Masrour Barzani and Defendants

conspiring and acting with Masrour Barzani to use aid provided to the Defendant Iraqi Kurdistan

Regional Government by taxpayers of the United States to substantially fund the BCCE and

enable the torture, attempted murder, and murder of Plaintiffs and Plaintiffs’ families.

231.    Defendant Masrour Barzani, as a U.S. permanent resident (i.e., a “green card holder”) is

deemed a “United States Person.” “United States person“United States person“ means a citizen

of the United States, States, or an alien lawfully admitted for permanent residence…” “United

States person” is defined by the Foreign Intelligence Surveillance Act of 1978, and other federal

statutes. 50 U.S.C. § 1801(i). (as defined in section 1101(a)(20) of title 8).(as defined in section

1101(a)(20) of title 8). The term ‘‘United States person’’ has the meaning given in section

595.315 of title 31, Code of Federal Regulations, and elsewhere.

232.       Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and complicit

Defendants, including Barzani family members and family members by marriage, and others

known and unknown, and at all times relevant to this Complaint, acting with Masoud Barzani,

Masrour Barzani and Waysi Barzani, with excessive rapacity and by means of coercion and

violence controlling the engines of centralized power and wealth of Iraqi Kurdistan, concentrated

in the Barzani family and family members by marriage and close conspirator insiders, and

dictating authoritarian controls of the administrative, bureaucratic, judicial, military, and

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 119 of 429




commercial structures, with policies and governance driven by self-interest and self-

protectionism, with the rule of law eviscerated, and with the intent to assure secrecy and

concealment, who rule by force and fear, which is not imaginary nor wholly speculative, and not

by the verifiable consent of the governed, and in more detail described below and incorporated

by reference as if fully set forth herein, have for the past several decades willfully and

knowingly, directly and indirectly. combined, conspired, confederated, and agreed together and

with each other to operate a significant worldwide criminal conspiracy network and enterprise in

an international racketeering scheme to obtain money and retain political power by fraud, torture,

murder, coercion, and abduction, the criminal conduct giving rise to this complaint having all

occurred during their concurrent tenure, but not as an official or lawfully authorized act, as

leaders of the Kurdistan Democratic Party and Defendant Iraqi Kurdistan Regional Government.

The criminal enterprise spans the globe in its scope, has resulted in acts of murder, genocide,

inhumane treatment, hostage taking and kidnapping, torture, rape, enforced disappearance, which

according to the United Nations Committee on Enforced Disappearances Committee on

Enforced Disappearances report of November 2022 “continue to occur” and is a “problem of

massive proportions in Iraq”, and murder and extermination of over 5,000 people, mostly

civilians including men, woman, and children, who were not victims of a sovereign state military

action or war, the torture of Plaintiffs, and the corruption of public officials of the United States

and other nations, massive illicit financial enrichment, concealment of said enrichment (often

through Barzani family members or family members by marriage) in numerous countries

including the United States, and continues at the present time in violation of the laws, treaties,

and conventions of the Republic of Iraq and the United States.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 120 of 429




233.     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani played essential and

controlling roles in coordinating, with other high-ranking senior Iraqi Kurdish political and

military leaders under their direct command, the design and implementation of the

abovementioned overwhelming criminality and criminal acts, and were in full control of all

branches of the “apparatus” of the administratively corrupt [Defendant] Iraqi Kurdistan Regional

Government, lacking all accountability and transparency, including the Peshmerga Armed

Forces, the Defendant Iraqi Kurdistan Regional Government Police Force, the Defendant Iraqi

Kurdistan Regional Govenrment Asayish Security Force (Barzani’s blunt-force strength and

unforgiving enforcement arm), and the Defendant Iraqi Kurdistan Regional Government

Parastan Intelligence Service; and that they used and do use such control to secure the

implementation of the common plan of inhumane treatment, hostage taking and kidnapping,

torture, rape, enforced disappearance, murder and extermination, and crimes of counterfeiting,

finance, trade, and commerce.

234.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, together with

subordinate agents and representatives under their command, including Barzani family members

and family members by marriage, are each criminally responsible as perpetrators or as an

indirect co-perpetrator, intentionally directing attacks against a civilian population as such or

against individual civilians not taking direct part in hostilities of war, murder as a crime against

humanity, extermination as a crime against humanity, enforced disappearance as a crime against

humanity, hostage taking and kidnapping as a crime against humanity, torture as a crime against

humanity, and rape as a crime against humanity.

235.      In furtherance of their criminal object, Defendants, as well as others not named as

defendants, serving under the command and control of Defendants Masoud Barzani, Masrour

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 121 of 429




Barzani, Waysi Barzani, and their agents and representatives, including Barzani family members

and family members by marriage, conspire, plan, utilize, and deploy torture, a deliberate and

calculated act of an extremely cruel and inhuman nature, specifically intended to inflict

excruciating and agonizing physical or mental pain or suffering, as a primary and principal tool

and mechanism to achieve their criminal objectives.

236.     In their malevolent and inhumane criminal enterprise, Defendants, as well as others not

named as defendants, including those who acted as an agent, representative, employee, or

servant, or any person who acted in any other capacity at the order, request, or under the

direction or control of Defendants Masoud Barzani, Masrour Barzani, or Waysi Barzani,

including Barzani family members and family members by marriage, who at all times relevant to

this complaint possessed all relevant levers of power and exercised the power and authority to

control all actions referred to herein and engage in the wrongful acts complained of herein, and used the

means and instrumentalities of that power to further their criminal enterprise and committed or caused to

be committed overt acts to effect the objectives of the enterprise, or their subordinate agents and

employees, and associates, or of a person any of whose activities are directly or indirectly supervised,

directed, controlled, financed, or subsidized in whole or in major part by Defendants Masoud Barzani,

Masrour Barzani, or Waysi Barzani or their subordinate agents and employees and associates and

servants, and Barzani family members and family members by marriage, and any person who agreed,

consented, assumed or purported to act as, or who is or holds himself/herself out to be, whether or not

pursuant to contractual relationship, an agent of Defendants Masoud Barzani, Masrour Barzani, or Waysi

Barzani or their subordinate agents and employees and associates and servants, including Barzani family

members and family members by marriage, or acted for or in the interests of Defendants Masoud Barzani,

Masrour Barzani, or Waysi Barzani, did knowingly combine, conspire, confederate, and agree with co-

conspirators, known and unknown, and did knowingly become a member of the conspiracy, and while


                                                   48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 122 of 429



aiding and abetting one another did play some part in the agreed course of conduct in furtherance of the

criminal purpose which the agreed course of action was intended to achieve, and have materially assisted

or provided consultative, representational, financial, material, or technological support for or goods or

services to or in support of corruption, and have unlawfully and persistently consolidated, misused,

and abused the acquired power of the political, economic, judicial, and security apparatus of their official

offices and the cloak of officialdom for personal privilege and massive illicit personal financial gain, and

using a deadly mixture of hard power, secrecy, inflicted fear, and corruption have methodically

dismantled or neutered real and perceived political opposition, have organized a centralized authoritarian

power structure and a Barzani-centric hierarchical administrative bureaucracy, informal and unwritten,

are responsible for, complicit in, or have directly or indirectly engaged in serious widespread human

rights abuse, and have treated the public treasury of the Defendant Iraqi Kurdistan Regional Government

as a personal piggy bank, including for the past two years stealing the salaries of public employees of

Defendant Iraqi Kurdistan Regional Government and putting the money in their own pockets, creating

and expanding under the leadership of Defendant Masrour Barzani a Barzani-controlled kleptocratic

system of sweeping implications of corruption and deceit with a robust portfolio of opaque commercial

and trade interests throughout Kurdistan and cozy relationships with some of the region’s most notable

terrorist organizations as the Barzani Continuing Criminal Enterprise seeks to hide the sources of their

illicit wealth and use international institutions to launder ill-gotten gains in rule-of-law societies abroad;

and by means of overt acts in furtherance of the crimes through the criminal enterprise and conspiracy

Defendants have enriched themselves by billions of U.S. dollars using the tools of violence, fraud, theft,

and bribery, all in a climate of complete impunity as they assertively ignore the rule of law. (In one

instance example, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents

and representatives, and the Barzani family and family members by marriage, and with no lawful

authority, arbitrarily and unilaterally took what they and the central federal Iraq Government have later




                                                     48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 123 of 429




publicly acknowledged as $4-5 billion of Kurdish depositors’ monies from the TBI Bank, and

publicly stated they would repay and never have.)

237.    Presently, of the central Iraq Government’s current monthly budget distribution of

approximately $350 million to the Defendant Iraqi Kurdistan Regional Government, the central

federal Iraq Government is deducting amounts to repay depositors who Barzanis have not

repaid.). Because of their many types of privileges and other unearned advantages of the seat of

power and money in Iraqi Kurdistan, and having mastered the tools of authority and with a

recurrently repeated claim (albeit disputed) of elite tribal superiority and entitlement, and using

the proceeds of their continuing criminal enterprise to consolidate control, privilege, and

dominance, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, as the leaders of the

criminal enterprise, and those in their innermost circle, especially the far more opaque,

concentrated, and unaccountable Barzani family members and family member by marriage,

Defendants, acting as individuals with and for them, by facilitating criminal actions of

Defendants and manipulating the apparatus of Defendant Iraqi Iraqi Kurdistan Government for

personal, non-governmental, non-official purposes and by exercising political clout and raw

power to evade or finesse jeopardy, by repeatedly and widely disseminating, including in official

submissions to the United States Departments Justice and State and to the executive office of the

President of the United States and to Members of the United States Congress, untruthful

information and claims in the United States and worldwide to create the appearance of

legitimacy and by untruthfully claiming to have no knowledge of or responsibility for

innumerable heinous acts, have largely been able to escape serious and meaningful consequences

and evade legal accountability and tangible legal consequences for their decades-long crime




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 124 of 429




spree which includes a conspiracy to harm Americans, including Plaintiffs, and American

national security, defense, and economic interests.

238.        The remarkable global criminality of Defendants is knowingly, willingly, and

substantially contrary to the protocols of the United Nations Convention Against Transnational

Organized Crime, a treaty to which the United States and the Republic of Iraq are parties. The

treaty states, in relevant part:

                        (a)   Article 2(a): “’Organized criminal group’ shall mean a structured

                        group of three or more persons, existing for a period of time and acting in

                        concert with the aim of committing one or more serious crimes or offenses

                        established in accordance with this Convention, in order to obtain, directly

                        or indirectly, a financial or other material benefit;”

                        (b) Article 5(a): “Either or both of the following as criminal offenses

                        distinct from those involving the attempt or completion of the criminal

                        activity: (i) Agreeing with one or more other persons to commit a serious

                        crime for a purpose relating directly or indirectly to the obtaining of a

                        financial or other material benefit and, where required by domestic law,

                        involving an act undertaken by one of the participants in furtherance of the

                        agreement or involving an organized criminal group; (ii) Conduct by a

                        person who, with knowledge of either the aim and general criminal

                        activity of an organized criminal group or its intention to commit the

                        crimes in question, takes an active part in: a. Criminal activities of the

                        organized criminal group; b. Other activities of the organized criminal

                        group in the knowledge that his or her participation will contribute to the

                                                  48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 125 of 429




             achievement of the above-described criminal aim; (b) Organizing,

             directing, aiding, abetting, facilitating or counseling the commission of

             serious crime involving an organized criminal group. 2. The knowledge,

             intent, aim, purpose or agreement referred to in paragraph 1 of this article

             may be inferred from objective factual circumstances.”

             (c) Article 6 (a) (i): “The conversion or transfer of property, knowing that

             such property is the proceeds of crime, for the purpose of concealing or

             disguising the illicit origin of the property or of helping any person who is

             involved in the commission of the predicate offense to evade the legal

             consequences of his or her action; (ii) The concealment or disguise of the

             true nature, source, location, disposition, movement or ownership of or

             rights with respect to property, knowing that such property is the proceeds

             of crime; (b) Subject to the basic concepts of its legal system: (i) The

             acquisition, possession or use of property, knowing, at the time of receipt,

             that such property is the proceeds of crime; (ii) Participation in,

             association with or conspiracy to commit, attempts to commit and aiding,

             abetting, facilitating and counseling the commission of any of the offenses

             established in accordance with this article.” These crimes are committed,

             aided and abetted by prominent Iraqi Kurdistan business persons

             Defendants Baz Karim Al-Barzanji, Mahmoud Karim Al-Barzanji,

             Ghafoor Khosnaw, Hamela Gardi, Sarwar Pedawi, Laween Pedawi, and

             Ameer Saadallah Rasheed, and others, acting in conspiracy with

             Defendant Iraqi Kurdistan Prime Minister Masrour Barzani.

                                      48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 126 of 429




239.        Each and every named defendant conspirator has not withdrawn from nor ceased

participation in the Barzani Continuing Criminal Enterprise, nor has any Defendant conspirator

committed “[a]ffirmative acts inconsistent with the object of the conspiracy and communicated

in a manner reasonably calculated to reach co-conspirators.” United States v. United States

Gypsum Co., 438 U.S. 422, 464-65 (1978); see Pinkerton v. United States, 328 U.S. 640, 644-46

(1946).

240.       Each and all of the crimes of the brazen Barzani continuing criminal enterprise were

committed or caused to be committed by one or more individuals, including Defendant Iraqi

Kurdistan Regional Government and non-government actors, involved in the corrosive Barzani

kleptocracy conspiracy. The U.S. National Endowment for Democracy, an agency of the United

States Government, declares:

                “‘Kleptocracy’ literally means ‘rule by thieves.’” “Autocracies
                are not run by one bad guy but by sophisticated networks
                composed of kleptocratic financial structures, security services
                (meaning police, military, paramilitary groups, and surveillance),
                and professional propagandists.”

241.       Defendant Masrour Barzani, Prime Minister of Defendant Iraqi Kurdistan Regional

Government, a United States person, is considered a strongman who ignores and flouts the rule

of law, rules by decree, violates civil rights, suppresses freedom of expression and speech, – each

a defense against tyranny, – suppresses democratic participation, illegally detains and tortures his

own citizens, orders extrajudicial murder, and terrorizes many of Iraq’s Kurdish population in

Iraqi Kurdistan and worldwide.

242.      The United Nations Convention Against Corruption (UNCAC), of which the Republic of

Iraq is a ratifying nation state, is the only legally binding universal anti-corruption instrument,

containing many mandatory provisions, foremost of which are prevention of public corruption,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 127 of 429




transparency, accountability, standards of conduct, prosecution of offenders, and seizure and

confiscation of the proceeds of corruption. The egregiously corrupt practices of the Defendant

Iraqi Kurdistan Regional Government and its principal leaders Defendants Masoud Barzani,

Masrour Barzani, Waysi Barzani, and their agents and representatives of the Barzani Continuing

Criminal Enterprise, including Barzani family members and family members by marriage, are in

knowing, willful, flagrant, blatant, and grievous violation, disregard, and desecration of this

ratified controlling international convention.

243.    Nation states, in this instance the Republic of Iraq, and thus its inferior subdivision parts,

including Defendant Iraqi Kurdistan Regional Government and the officials thereof, are bound

by those obligations to which they have consented (pacta sunt servanda),, arguably the oldest

principle of international law, and no treaty-based immunities have any relevance in this case

and have no material significance for the Defendants.

244.    The United Nations states:

               “Corruption undermines democratic institutions, slows economic
               development, contributes to governmental instability, attacks the
               foundation of democratic institutions, pervert[s] the rule of law
               and creat[es] bureaucratic quagmires whose only reason for
               existing is the soliciting of bribes. Economic development is
               stunted because foreign direct investment is discouraged and small
               businesses within the country often find it impossible to overcome
               the ‘start-up costs’’ required because of corruption.”

245.     Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives of the Barzani Continuing Criminal Enterprise, in ceaseless, calculated, and

corrupt pursuit of personal illicit wealth and unaccountable political and governance power,

willfully and knowingly and void of humanity sacrificing human lives in pursuit of greed, power,

and wealth, have willfully and knowingly, directly and indirectly, inflicted this injury and lasting

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 128 of 429




damage to the Plaintiffs and to the Iraqi Kurdistan region, potentially an existential risk to Iraqi

Kurdistan in political, economic, and, perhaps most fundamentally, moral terms, and harmed not

only the well-being of their own citizens but also that of Kurdish people elsewhere.

246.     Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their sycophantic

subordinate co-leaders, agents and representatives, including Barzani family members and family

members by marriage, serving under their command and control in the Defendant Iraqi Kurdistan

Regional Government and the corresponding and interchangeable Kurdistan Democratic Party

apparatus and in the Barzani Continuing Criminal Enterprise, have also used their power and

privilege, often arrogated, with privileged access to everything from regulatory exemptions to

generous pensions, to pay themselves exorbitant salaries; and, to help establish and promote their

nepotistic networks and ensure the loyalty of their cronies, have overseen a system in which

countless others are generously rewarded, thereby pirating from the Iraqi Kurdistan economy

resulting in severe economic injustice and extreme hardship throughout the Iraqi Kurdistan

populace. Since its inception, the party has had a history of fierce power struggles; losers.

Losers, often along with their families, are usually eliminated in the most horrible and permanent

ways. Barzani’s have competed for power and assumed prestige over decades. Confidential

Human Sources #1, #2, #3, #4, #5, and #7, and others, declare that if you cross Defendant

Masrour Barzani, ultimately, you’re likely to die.

247.      Under the leadership of Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani and their family members and family members by marriage, many of whom actively

distrust and fear Defendant Masrour Barzani, Defendant Iraqi Kurdistan Regional Government

has become an entrenched transnational kleptocracy, with the Barzani Continuing Criminal

Enterprise dominating every public and enterprise sector in the region including armed forces,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 129 of 429




law enforcement, the judiciary, and banking, communications, media, construction, and oil and

gas sectors with massive revenues and enormous illicit diversion of petrodollars and other

criminal proceeds, and spreading purposely and knowingly deceptive and manipulative news

through their rigorously controlled satellite television channels and print media.

248.      Former Defendant Iraqi Kurdistan Regional Government President and Defendant

Masoud Barzani, having seemingly secured lifelong immunity from prosecution and retained

power post-presidency, and his son, current Defendant Iraqi Kurdistan Regional Government

Prime Minister and Defendant Masrour Barzani, perfected these internal power struggle

mechanisms, transforming the Iraqi Kurdistan region into a supposed modern liberal democracy

governed more by the principles of its former Soviet-trained past rather than by the rule of law,

mirroring (and aligning with) the deceptive, unscrupulous, brutal, violent, and vicious tactics of

the Bathist regime of former Republic of Iraq President Saddam Hussein responsible for the

genocide against the Kurds and the architect of state-sponsored Kurdish destruction by way of

the Anfal Campaign in 1988 and once branded by U.S. News and World Report “the World’s

Most Dangerous Man,” who Voice of America said maintained power “by force and fear, not by

the consent of the governed,” and who current U.S. President Biden said “provided safe havens

for the world’s most infamous terrorists,” by whom Defendant Masoud Barzani and his close

associates were once tutored and were once secretly and duplicitously loyal – notwithstanding

Saddam’s documented genocidal slaughter (murders) of over 182,000 of Iraq’s Kurdish peoples

(a number officially provided by the Defendant Iraqi Kurdistan Regional Government and by the

Defendant Iraqi Kurdistan Regional Government parliament) – aiding and abetting and acting in

secret concert and traitorous collaboration with Saddam Hussein, who was emboldened to

believe himself immune from consequence as the Defendants now do, including the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 130 of 429




unauthorized and unlawful sharing of American national security intelligence information, much

of which is classified and sensitive U.S. national defense information, gathered and owned by

and under the control of the United States government, including information from agencies that

comprise the United States Intelligence Community and the United States Department of

Defense, including information on defense and weapons capabilities of both the United States

and foreign countries, potential vulnerabilities of the United States and its allies to military

attack, and plans for retaliation in response to foreign attack, to agents of designated foreign

terrorist states and organizations, and operating the lucrative smuggling trade with Iran and

Turkey, all while publicly professing friendship to the United States. The United Nations

Committee on Enforced Disappearances report dated April 2023 states “an estimated 100,000

Kurds were forcibly disappeared as part of Saddam Hussein’s genocidal campaign in Iraqi

Kurdistan,” with which Defendants Masoud Barzani, and Masrour Barzani deliberately,

deceptively, and perfidiously collaborated in their effort to maintain power and control, inviting

Saddam’s tanks and Republican Guards army into the Kurdish provincial capital city of Erbil on

the condition they weed out Barzani’s Kurdish opponents.          The United Nations estimates

hundreds of thousands of men, women and children were executed during a systematic attempt –

by Barzani’s collaborator associate Saddam Hussein – to exterminate the Kurdish population in

Iraq in the Anfal operations in the late 1980s. Men, women, and children were tied together and

shot – falling into mass graves.

249.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their subordinate

agents and representatives, including Barzani family members and family members by marriage,

under their direction and command, during the period of United States military presence in Iraqi

Kurdistan and continuing to this day, were sharing, always verbally and never in writing, and

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 131 of 429




with actual knowledge such transfer was unlawful, sensitive and classified U.S. national defense

information and intelligence, gathered and owned by and under the control of the United States

government, including information from agencies that comprise the United States Intelligence

Community and the United States Department of Defense which are responsible for the

protection of U.S. national security, including information on defense and weapons capabilities

of both the United States and foreign countries, potential vulnerabilities of the United States and

its allies to military attack, plans for retaliation in response to foreign attack, and about U.S.

operations and personnel in the Iraqi Kurdistan region, received by Defendants in their official

capacities with the Defendant Iraqi Kurdistan Regional Government, to the mortal endangerment

of United States diplomatic and military personnel with, and took other illicit steps that secretly

aided the senior officials of the Islamic Republic of Iran, which since 1984 has been designated

by the United States as a state sponsor of terrorism.

250.     At all times relevant, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and

their agents and representatives, knew that Iran is a major state sponsor of global terrorism, and

particularly of terrorism against the United States. (U.S. Department of State’s 2007 Country

Reports of Terrorism describing Iran as “the most active state sponsor of terrorism”.) See

Cabrera v. Islamic Republic of Iran, Civil Action No. 19-3835 , 19 (JDB) (D.D.C. Jan. 27,

2023).

251.     At all times relevant, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and

their agents and representatives, knew the disclosure of this and any classified and sensitive

information owned, sourced, or provided by the United States intelligence community was

unlawful and that their conduct was ultra vires and contrary to U.S. law, and could and did put at

risk the national security of the United States, its foreign relations, the safety of the United States

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 132 of 429




military and diplomatic personnel, human sources, the continued viability of sensitive

intelligence collection methods, and Plaintiffs.

252.    Confidential Human Sources #2, #3, and #4, who have direct clandestine access to senior

Defendant Iraqi Kurdistan Regional Government and KDP officials, confirm the conduit for this

classified information was “Masoud”, an Iranian spy operating in the Iraqi Kurdistan city of

Erbil under the cover of a construction company. This sensitive classified U.S. national defense

information and intelligence, gathered and owned by the United States government, including

information from agencies that comprise the United States Intelligence Community and the

United States Department of Defense, was then carried to the Iranian Supreme Leader. In return

for sharing with and conveying to Iran sensitive and classified U.S. national defense intelligence

and information, gathered and owned by the United States government, including information

from agencies that comprise the United States Intelligence Community and the United States

Department of Defense, and other steps that secretly aided Iran, the Barzani Continuing Criminal

Enterprise received and maintains secret Iranian permission and collaboration to smuggle

contraband drugs, money, oil, weapons, and other goods and services through controlled

checkpoints, operated by the Iraqi KDP under the command and control of Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani, into and through Iran.

253.    The Islamic State, also known as the Islamic State of Iraq and the Levant, Islamic State of

Iraq and Syria, ISIL and ISIS, and by its Arabic acronym Da’ish or Daesh, is a transnational

militant Islamist terrorist group self-declaratively dedicated to the destruction of the United

States of America.     The thoroughly documented United Nations Committee on Enforced

Disappearances report dated April 2023 states:

               “Over the 2014–2017 period, Da’esh also carried out abductions
               and mass killings of members of the Iraqi army and security forces,
                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 133 of 429




               such as the Camp Speicher massacre. Ethnic and religious
               minorities were also targeted by acts amounting to enforced
               disappearance. On 3 August 2014 in the Yazidi-majority district of
               Sinjar, Da’esh abducted and disappeared thousands of women and
               girls for forced marriage or sexual slavery, while men and boys
               were separated, massacred and buried in mass graves. It is
               estimated that around 6,800 Yazidis were abducted and around
               3,100 killed over a period of a few days. An estimated 3,000 are
               still disappeared. Hundreds of Assyrian Christian, Shabak and
               Shia Turkmen women were also abducted from areas under
               Da’esh control, and the fate of many of them remains unknown.”

254.    The Islamic State is also known as the Islamic State of Iraq and the Levant, Islamic State

of Iraq and Syria, and by its Arabic acronym Da'ish or Daesh, and as ISIS.            Islamic State’s

terrorist campaign against the United States in Afghanistan, Iraq, and Syria was guided by a

number of terrorist first principles, including, but not limited to, Islamic State’s: (1) emulation of

al-Qaeda and al-Qaeda-in-Iraq, and absorption of their networks, personnel, funds, and

relationships; (2) operating as an integrated global network, which disregarded national

boundaries; (3) a multinational corporation model, which emphasized partnership between

Islamic State branches; (4) reliance upon money payments extracted from companies to finance

terrorist operations; and (5) the practice of flowing value from Islamic State terrorists in Iraq and

Syria to Islamic State terrorists in Afghanistan and Pakistan.

255.       The U.S. Government has also recognized these connections through the close

partnership between the IRGC and al-Qaeda. In July 2011, the U.S. Treasury Department

designated as Specially Designated Global Terrorists (SDGTs) six members of al-Qaeda

operating in Iran under a secret agreement between the IRGC and al-Qaeda. In so doing, the

Treasury Department concluded that the secret deal provided that al-Qaeda terrorists “must

refrain from conducting any operations within Iranian territory and recruiting operatives inside

Iran while keeping Iranian authorities informed of their activities. In return, the Government of
                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 134 of 429




Iran gave the Iran-based al-Qa’ida network freedom of operation and uninhibited ability to travel

for extremists and their families” and permitted al-Qaeda to use Iran as a “critical transit point

for funding to support [al-Qaeda’s] activities.” The U.S. Treasury Department also found that

“Iran’s secret deal with al-Qa’ida” facilitated a terrorist network that “serves as the core pipeline

through which al-Qa’ida moves money, facilitators and operatives from across the Middle East

to Asia.” Indeed, al-Qaeda has honored its commitment to the IRGC despite its attacks on Shiite

Muslims elsewhere in the Middle East.

256.    “Al-Qaeda is a Sunni jihadist organization that seeks to establish a global caliphate.” See

Cabrera v. Islamic Republic of Iran, Civ. A. No. 18-2065 (JDB), 2022 WL 2817730, at 17 Civ.

A. No. 18-2065 (JDB), 2022 WL 2817730, at 17 (D.D.C. July 19, 2022).

257.     Islamic State copy-catted or otherwise absorbed al-Qaeda’s hatred of the United States

and targeting of Americans in the Middle East to drive the U.S. from the region; Salafist

ideology; organizational structure; specific bureaucracies; and policies and procedures. Islamic

State also assumed possession of al-Qaeda-in-Iraq’s weapons stockpiles, cash reserves, safe

houses, logistics pipelines, facilitators, and protection rackets (including the associated

relationships with business and their agents) in Iraq and Syria. Islamic State fully adopted and

applied the terrorist logistics, finance, and operational infrastructure and practices of al-Qaeda-

in-Iraq from its inception in 2014 through the present. For example, Islamic State’s finance

apparatus was structurally similar to that of Qaeda-in-Iraq, and Islamic State operated similar

internal bureaucracies dedicated to the raising and movement of funds, especially U.S. dollars,

and through which the Barzani Continuing Criminal Enterprise surreptitiously participated, aided

and abetted, and benefitted.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 135 of 429




258.    Islamic State viewed their operations in Afghanistan, Pakistan, Iraq, Iran, Syria, and the

Persian Gulf as a single integrated campaign whose purpose was to expel the United States from

the entire region to facilitate Islamic State’s caliphate there. Abu Bakr al-Baghdadi, the leader of

Islamic State until his death in 2019, repeatedly called for Islamic State supporters worldwide to

facilitate Islamic State’s attacks against Americans in Iraq, Afghanistan, and Syria through his

public statements from 2014 through 2019.

259.     Islamic State followed al-Qaeda’s time-honored playbook, in which al-Qaeda terrorists

operating in one theater regularly redeployed, or cross-pollinated, with terrorists in other

theaters. Al-Qaeda and al-Qaeda-in-Iraq, from whose ranks Islamic State populated its fighters,

routinely did so from the 1990s through 2021. From 2003 through 2022, the U.S. government,

media, terrorism scholars, and others published other reports and statements that alerted

Defendants that al-Qaeda, al-Qaeda-in Iraq, and Islamic State inextricably linked their

campaigns in Iraq and Afghanistan together.

260.      Defendants knew that through their criminal enterprise and collaboration they were

supplying resources to al-Qaeda, al-Qaeda-in-Iraq, and Islamic State terrorists who were intent

on attacking Americans in Iraq, Syria, and Afghanistan.         Defendants     engaged in corrupt

practices of funneling illicit payments, weapons, sensitive U.S. national defense intelligence,

gathered and owned by the United States government, including information from agencies that

comprise the United States Intelligence Community and the United States Department of

Defense, (received by Defendants in their official capacities with the Defendant Iraqi Kurdistan

Regional Government), and other assistance, often through others, which only heightens

Defendants’ culpability. Defendants intentionally used oblique,         circuitous, and scheming

methods to insulate themselves from the illicit payments and weapons transfer on paper while

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 136 of 429




avoiding accountability. Defendants knew their unlawful acts were occurring and purposefully

orchestrated them.     That is because Defendants could only obtain their desired criminal

enterprise outcome by ensuring that their money. weapons, and sensitive U.S. national defense

intelligence actually reached al-Qaeda, al-Qaeda-in-Iraq, and Islamic State.

261.     From 2004 through present time, it was common knowledge among operatives and

businesses operating in Iraqi Kurdistan, including Defendants, that illicit transactions were

typically designed for the purpose of causing U.S. dollars, weapons, oil, and sensitive U.S.

national defense intelligence, gathered and owned by the United States government, including

information from agencies that comprise the United States Intelligence Community and the

United States Department of Defense, to flow to terrorists in Iraq and Iraqi Kurdistan, including

al-Qaeda and al-Qaeda-in-Iraq (from 2004 through 2014) and Islamic State (from 2014 through

2021), in the form of transactions that were usually plainly illicit on their face. Because al-

Qaeda, al-Qaeda-in-Iraq, and Islamic State, and the Barzani Continuing Criminal Enterprise,

always openly demanded the money – and because local agents usually paid it through relatively

straightforward, albeit highly illegal, means – the prevailing understanding being that their illicit

Iraqi Kurdistan transactions were foreseeably flowing to al-Qaeda, al-Qaeda-in-Iraq, and Islamic

State, and the Barzani Continuing Criminal Enterprise.

262.      Indeed, Defendants knew that their large money payments, weapons transfers, and

sharing of sensitive U.S. national defense intelligence, gathered and owned by the United States

government, including information from agencies that comprise the United States Intelligence

Community and the United States Department of Defense, (received by Defendants’ in their

official capacities with the Defendant Iraqi Kurdistan Regional Government) to al-Qaeda, al-

Qaeda-in-Iraq, and Islamic State strengthened the Foreign Terrorists Organizations’ (FTOs’)

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 137 of 429




racketeering enterprise both through resourcing its operation, and by generally causing dramatic

inflation in the prices – and associated terrorist finance extracted by the FTOs – attendant to the

illicit economy in Iraqi Kurdistan. Thus, Defendants knew that their conduct made kidnapping

and murders more likely by (a) facilitating the growth of the entire protection money racket

while simultaneously (b) causing dramatic price inflation, pricing out people at the lower end of

the new illicit economy Defendants helped birth and sustain. Although Defendants’ protection

payments to and collaboration with al-Qaeda, al-Qaeda-in-Iraq, and Islamic State agents

provided especially valuable aid for such FTOs’ terrorist attacks, the causal nexus was not

limited to such violations. Defendants’ transactions with the specific intent of routing money

directly to terrorist groups targeting the United States – which intermediaries flowed through

Defendants’ resources to their intended terrorist recipients – supplied al-Qaeda, al-Qaeda-in-Iraq,

and Islamic State with U.S. dollars, sourced from transactions processed by U.S. banks in the

U.S., and valuable U.S. free goods, including valuable American high-tech communications

technologies that provided encrypted communication and doubled as cash-equivalents in Iraqi

Kurdistan, which al-Qaeda, al-Qaeda-in-Iraq, and Islamic State used to fund attacks against

Americans in Iraq, Afghanistan, and Syria.

263.     Defendants knew that al-Qaeda waged a global terrorist campaign against the United

States in which al-Qaeda and its branches and allies in Iraq, Afghanistan, Syria, and elsewhere

attacked Americans to drive the United States out of the Middle East.

264.    Defendants knew resources and weapons transfers and sharing of sensitive U.S. national

defense intelligence aided al-Qaeda’s and Islamic State’s operations worldwide.

265.      United States government reports, readily apparent to Defendants’ Washington DC

representatives, agents, attorneys, and advisors, and frequent briefings by U.S. Government

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 138 of 429




officials in Iraqi Kurdistan, alerted Defendants that their resource transfers and payments aided

al-Qaeda-in-Iraq and Islamic State. From 2003 through the present time, the U.S. Government,

media, terrorism scholars, and others published reports and statements have alerted and informed

Defendants, and especially their representatives, agents, attorneys, and advisors in Washington

DC,, D.C., that resource payments, weapons transfers, and sharing of sensitive U.S. national

defense intelligence, gathered and owned by the United States government, including

information from agencies that comprise the United States Intelligence Community and the

United States Department of Defense, received by Defendants in their official capacities with

the Defendant Iraqi Kurdistan Regional Government, aided al-Qaeda-in-Iraq’s and Islamic

State’s terrorist campaign against the United States. Indeed, these and other sources alerted

Defendants to four ways that al-Qaeda and Islamic State operatives in Iraqi Kurdistan, and

beyond, aided their counterparts in Afghanistan: (a) funding; (b) fighters; (c) training; and (d)

logistics.

266.    At all times relevant, Defendants, and their agents and representatives including Barzani

family members and family members by marriage, understood and knew their actions to provide

resources, including weapons, and sensitive U.S. national defense intelligence, gathered and

owned by the United States government, including information from agencies that comprise the

United States Intelligence Community and the United States Department of Defense, to al-Qaeda

and Islamic State in and around Iraqi Kurdistan was detrimental, damaging, and injurious to U.S.

interests, national security and economic security. Indeed, Defendants always knew that al-

Qaeda-in-Iraq and Islamic State terrorists regularly provided key training to al-Qaeda and

Islamic State core terrorists, and their Taliban (including Haqqani Network) allies in Afghanistan

and Pakistan. Defendants further always knew that al-Qaeda-in-Iraq and Islamic State terrorists

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 139 of 429




regularly provided key logistical aid to al-Qaeda and Islamic State terrorists in Afghanistan and

Pakistan.

        17.     Defendants knew that Islamic State waged a global terrorist campaign against the

United States in which Islamic State attacked Americans in Iraq, Syria, Afghanistan, and

elsewhere to drive the United States out of the Middle East.

267.        Defendants had highly culpable mental states because Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani occupied sophisticated positions as, respectively, leaders of

the Defendant Iraqi Kurdistan Regional Government, and well knew that their sharing of

resources, weapons, materiel, and sensitive U.S. national defense intelligence, gathered and

owned by the United States government, including information from agencies that comprise the

United States Intelligence Community and the United States Department of Defense, to al-

Qaeda, al-Qaeda-in-Iraq, and Islamic State would aid anti-American terrorism. The decision of

Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, their agents and representatives,

including Barzani family members and family members by marriage, to provide resources, cash,

oil, weapons, and sensitive U.S. national defense intelligence, gathered and owned by the United

States government, including information from agencies that comprise the United States

Intelligence Community and the United States Department of Defense, to al-Qaeda, al-Qaeda-in-

Iraq, and Islamic State was highly culpable and Defendants chose, knowing full-well the

resources, weapons, materiel, cash, oil, and shared sensitive U.S. national defense intelligence

would be used for bombs and weapons to take the lives of others.

268.        Defendants’ robust culpability is also demonstrated by Defendants Masoud Barzani,

Mansour Barzani, and Waysi Barzani’s pattern and practice of rewarding its key operatives,

agents, and representatives, while retributively retaliating against whistleblowers, dissidents, and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 140 of 429




opponents. Disparate treatment between involved agents and representatives, including Barzani

family members and family members by marriage, also demonstrated Defendants’ intent to seek

profit rather than prevent the financing of terrorist activities or follow basic societal, legal, and

treaty norms. Defendants’ behavior was especially culpable because a substantial portion of the

resources, weapons, cash, oil, and sensitive U.S. national defense intelligence gathered and

owned by the United States government, including information from agencies that comprise the

United States Intelligence Community and the United States Department of Defense, unlawfully

but willfully shared by the Barzanis with foreign terrorist organizations, occurred while

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their Washington, D.C.

agents, representatives, and advisors, were publicly and in filings with the United States

Government, including to the Executive Office of the President of the United States, expressing

allegiance, fidelity, and cooperation with and to U.S. interests and policy, and respect for anti

corruption while simultaneously scheming to route resources, weapons, materiel, cash, oil, and

sensitive U.S. national defense intelligence to al-Qaeda and al-Qaeda-in-Iraq and Islamic State.

269.    Each Defendant had close relationships with the relevant tortfeasors. Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani, and others known and unknown, and often

through their own personnel and their Defendant Iraqi Kurdistan Regional Government agents

and representatives, including Barzani family members and family members by marriage,

partners, consultants, and contractors, had direct relationships with al-Qaeda, al-Qaeda-in-Iraq,

and Islamic State.

270.     Confidential Human Sources #1, #2, #3, #4, and #5, who have direct clandestine access

to senior ranking Defendant Iraqi Kurdistan Regional Government officials and Barzani

Continuing Criminal Enterprise leadership, state that Defendants Masoud Barzani, Masrour

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 141 of 429




Barzani, Waysi Barzani, and their subordinate agents and representatives and co-conspirators in

the Barzani Continuing Criminal Enterprise, including Barzani family members and family

members by marriage, knowingly, willingly, purposefully, and intentionally conspired, affiliated

with, and murderously collaborated with Saddam Hussein and Islamic State (ISIS), and its

affiliates, in atrocities against the Iraqi Kurdish people for the purpose of expanding Barzani

political power and the Barzani Continuing Criminal Enterprise and to harm Plaintiffs.

271.      Defendants knew, and intended, that their illicit transactions with their agents and

representatives, employees, and partners, consultants, and contractors were designed to, and

were, for facilitating payments and sensitive U.S. national defense information, gathered and

owned by the United States government, including information from agencies that comprise the

United States Intelligence Community and the United States Department of Defense, (received

by Defendants’ in their official capacities with the Defendant Iraqi Kurdistan Regional

Government) transfer through such intermediaries on behalf of Defendants. Defendants knew

their practice of routing illicit cash payments and other illicit value through intermediaries,

including Defendants’ self-described agents and representatives, partners, consultants, and

security, transportation, and logistics contractors was a tactic to conceal Defendants’ regular

payments to terrorists. Defendants knew their illicit transactions with intermediaries facilitated

protection payments to terrorists because Defendants’ employees and agents and representatives

in Iraqi Kurdistan knew such facts to be true. Defendants knew that the excessive fees they

illicitly routed to their intermediary agents, representatives, partners, consultants, and contractors

were red flags for unlawful payments. Defendants knew that their inability to document the

services provided by their intermediary agents, representatives, partners, consultants, and

contractors was a red flag that such intermediaries were passing value along to another, i.e., the

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 142 of 429




terrorists. Defendants knew that a substantial percentage of corrupt value they helped flow to

their intermediaries reached al-Qaeda, al-Qaeda-in-Iraq, and Islamic State.

        18.     The U.S. Attorney for the District of Columbia publicly warned: “Funding a

terrorist organization can never be treated as a cost of doing business. . . They are crimes.”

272.     In so doing, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their

agents and representatives, including Barzani family members and family members by marriage,

knowingly engaged in illegal transactions that foreseeably caused money to flow to terrorists and

obstructed U.S. counterterrorism efforts.

273.      Defendants knew that their corrupt payments and collaboration foreseeably aided

terrorists. Defendants, including representatives in the United States, knew that corruption in

Defendant Iraqi Kurdistan Regional Government and in Iraqi Kurdistan, which Defendants

practiced as a matter of strategy, was always inextricably linked to terrorist violence given the

unique features of the Barzani’s Iraqi Kurdistan business, political, and terrorist context.

274.    Defendants knew they operated in an Iraqi and Iraqi Kurdistan business environment that

posed extreme terrorist finance risks because Iraq was hyper-corrupt and Western companies

there – and their regional and local partners, consultants, and contractors – routinely made

protection payments to terrorists as the cost of doing business. These conditions were always

obvious to Defendants, who willfully and knowingly, directly and indirectly, participated in such

transactions.

275.     On information and belief, Defendants were aware of the reports, statements, studies,

events, and litigations, or similar ones, and their substance, which alerted Defendants that their

conduct foreseeably aided anti-American terrorists through Islamic State leaders and agents.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 143 of 429




        19.    An analysis in the National Defense University publication, Prism, concerning the

nexus between organized crime and terrorism in Iraq, reported, among other things, that “The

development of a ‘political-criminal nexus’ [in Iraq] … undermined U.S. interests [in Iraq.]”

276.    Confidential Human Sources #1, #2, and #3, who have direct clandestine access to senior

ranking Defendant Iraqi Kurdistan Regional Government and KDP officials, confirm that

Defendant Masoud Barzani, and his subordinate agents and representatives, disclosed, gave-up,

and rendered an estimated thirty operatives of the United States Government in the Kurdistan

region to Saddam Hussein, of whom thirteen escaped – and Saddam Hussein and his agents and

representatives with the aid of Defendant Masoud Barzani and his agents tortured and murdered

those remaining.

277.    The United Nations Committee on Enforced Disappearances report dated April 2023, at a

time Defendant Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional

Government, the presiding and actual head of government and head of the executive power,

further describes the atrocities perpetuated under command of Defendants Masoud Barzani,

Masrour Barzani, Waysi Barzani, and their agents, representatives, and subordinates, including

Barzani family members and family members by marriage:

               “The Committee received allegations that the Kurdistan Regional
               Government and its intelligence forces, the Asayish, were also
               implicated in abuses, including the enforced disappearance of
               individuals detained on suspicion of affiliation with Da’esh, mainly
               in Kirkuk Governorate.

               “It is alleged that families fleeing the city were stopped at
               screening sites run by Iraqi, Popular Mobilization Forces and
               Kurdish forces: “Men and boys were separated from their families
               and their names checked against the government ‘wanted lists’ of
               ISIS affiliates. However, names on the wanted lists included
               individuals who allegedly held non-combat roles with ISIS (such as
               cooks or drivers), individuals who were related to someone
                                               48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 144 of 429




       affiliated with ISIS, or people who had been accused by members
       of their community of belonging to ISIS.

       “Moreover, due to the prevalence of similar names in Iraq,
       individuals could be detained simply for having the same name as
       someone on the list. Men and boys who did not pass the screening
       process were taken away, without notice to their families. Since
       then, the families have been searching for their relatives, and many
       allege that State agents deny holding them, or refuse to provide
       information about their whereabouts.

       “In the aftermath of the 2018–2020 protests, the delegation
       received a large quantity of similar allegations referring to
       enforced disappearances that had occurred following an illegal
       arrest or detention, or a detention in an unknown place.
       Testimonies refer to direct involvement by State authorities of the
       central Government, or by authorities of the Kurdistan Regional
       Government such as the Peshmerga, the municipal police and the
       Asayish. Some victims interviewed reported that their relatives had
       been abducted while going about their daily lives at home, or on
       their way to work, school or shopping centers. Some were seen
       being picked up by groups of men wearing uniforms or insignia
       related to the local police, or to the security forces, and others by
       uniformed militias.

       “In this context, one common pattern reported to the Committee
       can be summarized by the following testimony received during the
       visit: ‘My son went to visit his cousin. I called him soon after he
       left because he had forgotten the bread I wanted him to offer to my
       nephew. He replied saying that he was at a checkpoint and that
       some men in uniform were checking him, and that he would call
       me immediately afterwards. He never did. And when I tried to call
       him back, he did not reply. He never arrived at my nephew’s place.
       Since then, I have been searching for him everywhere, in every
       prison, with all the authorities. But nothing, nothing, nothing.’

       “Women, children and migrants are particularly affected. Victims
       disappear into the hands of trafficking networks, with no
       possibility of contacting their families or relatives.



                                        48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 145 of 429




               “As the mother of three disappeared men mentioned: “Every time I
               explain the disappearance of my sons to the authorities, I feel very
               bad. I shake, I cry and I cannot sleep anymore. I have lost all hope.
               And now, I am very sick. Papers, papers, and nothing else
               happens. We have no support.”

278.    The United Nations Committee on Enforced Disappearances report dated April 2023, at a

time Defendant Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional

Government, the presiding and actual head of government and head of the executive power,

concluded this “reveal[s] the multidimensional violence of the situation faced by victims” and

“that impunity and revictimization prevail.”

279.    Neither Defendants Masoud Barzani or Masrour Barzani has ever hesitated to forcefully

and mercilessly eliminate lieutenants, including by enforced disappearance, hostage taking and

kidnapping, and murder, including those hand-picked, and Barzani family members and family

members by marriage, when he/they felt someone got too close to or threatened, real or

imagined, their unfettered power center, based on how it affected his/their own self-interest,

caring little for anything other than what he/they might gain, or what he/they needed to achieve

their criminal objectives. The betrayal of the United States by the BCCE to ISIS, its reign of

terror to subdue its citizens, and its other criminal activities have provided the means for the

BCCE to harm plaintiffs.

280.      Especially and increasingly under the leadership of Defendant Masrour Barzani,

defendants’ governing reign of ubiquitous corruption, vindictive grandiosity, and autocratic

tyranny in Defendant Iraqi Kurdistan Regional Government and Iraqi Kurdistan and extending to

expatriate Kurds worldwide, Defendant Masrour Barzani and other defendants, including

Barzani family members and family members by marriage, use extreme measures to maintain

absolute control over the government and population and increase their autocratic power and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 146 of 429




weaken the perceived or real political and media opposition, falsely under the color of law,

statute, ordinance, regulation, or custom, including deprivation of rights, systematic heinous acts

of enforced disappearance, hostage taking and kidnapping, murder, and imprisonment against

opposition, maintains preferential, inequitable, and invidious patronage systems by distributing

wealth, employment, contracts, and privilege among their patronage members, trusted supporters

and affiliated businesses, all acts done beyond the bounds of Defendant Masrour Barzani’s

lawful authority. This behavior has produced a high level of economic inequality and insecurity,

leaving the Iraqi Kurdish people, including the Plaintiffs and Confidential Human Sources who

have direct clandestine access to senior ranking Defendant Iraqi Kurdistan Regional Government

officials, afraid, alienated, and frightened with paranoid fears, which are not imaginary nor

wholly speculative, of personal and/or familial murder, hostage taking or kidnapping, torture,

physical harm, enforced disappearance, economic deprivation, or imprisonment.

281.    The Global Magnitsky Human Rights Accountability Act was enacted on December 23,

2016. The executive branch of the United States Government has used Executive Order 13818,

issued on December 20, 2017, to implement and build on the act’s provisions. When issuing

E.O. 13818, the President of the United States additionally invoked emergency authorities to deal

with unusual and extraordinary threats to the national security and foreign policy of the United

States as set out in the National Emergencies Act (NEA) and International Emergency Economic

Powers Act (IEEPA), as well as authority under the Immigration and Nationality Act (INA).

282.     In its official report to the Congress of the United States entitled The Global Magnitsky

Human Rights Accountability Act, the Congressional Research Service, an agency of the United

States Government, reported:

               The Global Magnitsky Human Rights Accountability Act, enacted
               in December 2016, authorizes the President to impose economic
                                                48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 147 of 429




       sanctions on, and deny entry into the United States to, foreign
       individuals or entities identified as engaging in gross violations of
       internationally recognized human rights violations or corruption.
       The executive branch has implemented the Global Magnitsky Act
       through Executive Order (E.O.) 13818 of December 20, 2017. E.O.
       13818, utilizing other presidential authorities, expands the scope
       of sanctionable targets as compared to the Global Magnitsky Act,
       including broader networks of individuals and entities associated
       with perpetrators of human rights abuse or corruption. When
       issuing E.O. 13818, the President additionally invoked emergency
       authorities set out in the National Emergencies Act (NEA) and
       International Emergency Economic Powers Act (IEEPA), as well
       as authority under the Immigration and Nationality Act (INA). The
       President determined that serious human rights abuse and
       corruption “constitute an unusual and extraordinary threat to the
       national security, foreign policy, and economy of the United
       States,” declaring that they “undermine the values that form an
       essential foundation of stable, secure, and functioning societies;
       have devastating impacts on individuals; weaken democratic
       institutions; degrade the rule of law; perpetuate violent conflicts;
       facilitate the activities of dangerous persons; and undermine
       economic markets.”

       With regard to human rights, the Global Magnitsky Act authorizes
       the President to impose sanctions on any foreign person that the
       President identifies as “responsible for extrajudicial killings,
       torture, or other gross violations of internationally recognized
       human rights” against an individual in any foreign country.

       E.O. 13818 states that the entry into the United States of aliens
       determined to meet one or more of the order’s sanctionable
       criteria “would be detrimental to the interests of the United
       States,” and suspends their entry. It states that such persons shall
       be treated as persons denied entry under Presidential E.O. 13818
       states that the entry into the United States of aliens determined to
       meet one or more of the order’s sanctionable criteria “would be
       detrimental to the interests of the United States,” and suspends
       their entry. It states that such persons shall be treated as persons
       denied entry under Presidential Proclamation 8693, which in part
       prohibits entry into the United States of aliens subject to economic
       sanctions pursuant to IEEPA authorities.
                                         48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 148 of 429




283.     The Global Magnitsky Human Rights Accountability Act refers to “gross violations of

internationally recognized human rights” as it is statutorily defined in Section 502(B)(d)(1) of

the Foreign Assistance Act of 1961, to include “torture or cruel, inhuman, or degrading treatment

or punishment, prolonged detention without charges and trial, causing the disappearance of

persons by the abduction and clandestine detention of these persons, and other flagrant denial of

the right to life, liberty, or the security of the person.” Any foreign person who has “acted as an

agent of or on behalf of” a perpetrator of such acts against the above categories of persons can be

subject to sanctions.

284.    The Republic of Iraq and the United States are each a party to the International Covenant

on Civil and Political Rights (ICCPR), which says in part:

        Article 9(1):
        “Everyone has the right to liberty and security of person. No one shall be subjected to
        arbitrary arrest or detention. No one shall be deprived of his liberty except on such
        grounds and in accordance with such procedure as are established by law.”

        Article 9(4):
        “Anyone who is deprived of his liberty by arrest or detention shall be entitled to take
        proceedings before a court, in order that that court may decide without delay on the
        lawfulness of his detention and order his release if the detention is not lawful.”


        20.    With regard to corruption, the President of the United States may impose

sanctions on any foreign government official, or any senior associate of such official, that the

President determines is “responsible for, or complicit in, ordering, controlling, or otherwise

directing acts of significant corruption, including the expropriation of private or public assets for

personal gain, corruption related to government contracts, or the extraction of natural resources,

bribery, or the facilitation or transfer of the proceeds of corruption to foreign jurisdictions.” In

addition, the President may designate any foreign person who has “materially assisted,

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 149 of 429




sponsored, or provided financial, material, or technological support for, or goods and services in

support of” such acts.

285.     Payments and obstruction of American counterterrorism activities against al-Qaeda-in-

Iraq and Islamic State occurred in contracting environments in Iraqi Kurdistan marked by

widespread insecurity and endemic corruption. Private sector enterprises sought to profit from

economic transactions in this corruption-based economy – including those linked to U.S.

government dollars directly through U.S. government contracts or indirectly through Iraqi

government contracts funded by the U.S. government – they therefore faced unusually high

corruption and money laundering risks, including the associated terrorism risks.

286.    Executive Order 13818 widens the scope of potentially sanctionable targets from foreign

persons responsible for gross human rights violations against certain categories of individuals (as

described above), to those determined “to be responsible for, or complicit in, or to have directly

or indirectly engaged in, “serious human rights abuse,” without reference to the status of the

victim, criminal enterprise includes many individuals, including the Individual Defendants, and a

number of corporate entities.



          DEFINITION OF CONTINUING CRIMINAL ENTERPRISE (“CCE”)

287.    The Defendants as participants, contributors, accomplices, co-conspirators, partakers, and

beneficiaries deriving improper advantage of the Barzani Continuing Criminal Enterprise, have

each and all engaged in innumerable and uncountable gross violations of internationally

recognized human rights violations and corruption as described above, and employed many

sophisticated methods to violate U.S. law – detrimental to the interests of the United States and




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 150 of 429




of the Plaintiffs. Defendants’ entry into the United States has not yet been suspended, revoked,

and prohibited, though refusal to allow Defendants entry or withholding entry is fully merited.

        21.    A continuing criminal enterprise (CCE) is a separate substantive offense and not a

conspiracy offense because it requires completion of the criminal objective and not merely an

agreement. See Garrett v. United States, 471 U.S. 773, 779, 105 S.Ct. 2407, 2411, 85 L.Ed.2d

764, 778 (1985); Pinkerton v. United States, 328 U. S. 640, 643 (1946).

288.      A continuing criminal enterprise (CCE) is a separate substantive offense and not a

conspiracy offense because it requires completion of the criminal objective and not merely an

agreement. See Garrett v. United States, 471 U.S. 773, 779, 105 S.Ct. 2407, 2411, 85 L.Ed.2d

764, 778 (1985); Pinkerton v. United States, 328 U. S. 640, 643 (1946).

289.     U.S. federal criminal statute forbids any “person” from “engag[ing] in a continuing

criminal enterprise.” 84 Stat. 1264, 21 U. S. C. § 848(a). A “continuing series of violations,” 21

U.S.C. § 848(c)(2), requires participation in three or more predicate offenses, one of which may

be a drug conspiracy charged under 21 U.S.C. § 846. See United States v. Harris, 959 F.2d 246,

252-54 (D.C.Cir.1992), overruled on other grounds, Bailey v. United States, 516 U.S. 137, 116

S.Ct. 501, 133 L.Ed.2d 472 (1995) See United States v. Harris, 959 F.2d 246, 252-54

(D.C.Cir.1992), overruled on other grounds, Bailey v. United States, 516 U.S. 137, 116 S.Ct.

501, 133 L.Ed.2d 472 (1995); See US v. Moore, 651 F.3d 30 (D.C. Cir. 2011). Commission of a

continuing criminal enterprise offense requires concerted action with “five or more other

persons.” 21 U.S.C. § 848(c)(2)(A).

290.    The United Nations Office on Drugs and Crime defines organized crime as “a continuing

criminal enterprise that rationally works to profit from illicit activities that are often in great

public demand. Its continuing existence is maintained through corruption of public officials and


                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 151 of 429




the use of intimidation, threats or force to protect its operations” (UNODC). This definition

accurately and explicitly describes the Barzani Continuing Criminal Enterprise, and is especially

descriptive of the knowing and willful tortious acts of co-conspirator Defendant Mulla “Babo”

Mustafa who specializes in extortion threats, enforcing payments for Kurds for their right to

work, and other unlawful financial acts to enrich Defendants and harm Plaintiffs.

291.    For a period of decades, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani,

their family members and family members by marriage, and agents, representatives, employees,

associates, servants, and others, far in excess of five persons, have associated-in-fact together for

a common purpose of engaging in criminal conduct (See Boyle v. United States, 556 U.S. 938,

945-46 (2009) (quoting United States v. Turkette, 452 U.S. 576, 580 (1981)), with no particular

organizational structure, separate or otherwise but functioning as a continuing unit (See Odom,

486 F.3d at 551) and with a purpose, relationships among those associated with the enterprise,

and longevity sufficient to permit associates to pursue the enterprise’s purpose (See Boyle, 556

U.S. at 945-46), where defendants were each aware of the essential nature and scope of the

enterprise and intended to participate in it, (See United States v. Christensen, 801 F.3d 970, 985

(9th Cir. 2015), and have engaged in a prolonged, sustained, and open-ended continuity of

criminal enterprise that has become their regular way of doing business. See Allwaste, 65 F.3d at

1528; see, e.g., Ikuno v. Yip, 912 F.2d 306, 308 (9th Cir. 1990).

292.     Defendants Masrour Barzani and Waysi Barzani, with co-conspirator Defendant Nihad

Barzani functioning as a principal subordinate, are the heads of a sophisticated, well-entrenched,

successful criminal narcotic drug distribution enterprise.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 152 of 429




293.      Proceeds of the illicit Barzani-controlled narcotic drug distribution enterprise are

deployed to financially enrich the Defendants and to further their other criminal activities and to

harm Plaintiffs.

294.     Title 18 U.S.C. § 1961 (4) provides: “enterpriseenterprise“ includes any individual,

partnership, corporation, association, or other legal entity, and any union or group of individuals

associated in fact although not a legal entity.

295.    “The mere fact that a given enterprise is favored with a legal existence does not prevent

that enterprise from proceeding along a wholly illegal course of conduct.” “To establish the

existence of such enterprise, a plaintiff must allege ‘evidence of an ongoing organization, formal

or informal,’ and ‘evidence that the various associates function as a continuing unit.’” See United

States v. Turkette, 452 U.S. 576, 583 (1981). United States v. Turkette, 452 U.S. 576, 583

(1981). The Barzani Continuing Criminal Enterprise has proceeded and is proceeding “along a

wholly illegal course of conduct,” is “an ongoing organization”, and the “various associates

function as a continuing unit.”




I.      The Barzani Continuing Criminal Enterprise

296.    “The business of a criminal enterprise is crime.” See US v. Eufrasio, 935 F.2d 553, 566

(3d Cir. 1991) and United States V. Masters, 924 F.2d, 1362, 1366 (7th Cir. 1991)).

297.     Defendant Masrour Barzani is the undisputed and unquestioned leader of this criminal

enterprise and derives extraordinary illicit financial benefit from its wide reaching criminal,

unlawful, and tortious activities, predominantly unreported, concealed, and secreted from public

or taxing authority exposure, frequently through Barzani family members and other co-

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 153 of 429




conspirators named and unnamed herein. The Barzani Continuing Criminal Enterprise’s money-

making schemes are criminal in nature.

298.      The criminal activity and the pattern of criminal activity of the Barzani Continuing

Criminal Enterprise alleged herein and Defendant Iraqi Kurdistan Regional Government are not

separate and distinct from each other; as state-embedded criminal actors, together with corrupted

law enforcement and military under command and control of Defendants Masrour Barzani and

Waysi Barzani and their agents and representatives, and Defendant KRG politicians all have an

interest in maintaining and expanding the illicit economy.        The Defendant Iraqi Kurdistan

Regional Government and the Barzani Continuing Criminal Enterprise have effectively

integrated terror and criminal tactics and strategies, and converged economic and ideological

goals creating a hybrid criminal-political entity. In the fluidity of the crime-terror nexus, the

operational and organizational evolution of the two have converged, made possible by the

weakened and fragile state apparatus of Kurdistan controlled by the Barzani Continuing Criminal

Enterprise which in some respects constitutes de facto government while furthering its criminal

activities. The corruption of the Barzani Continuing Criminal Enterprise is a crucial instrument

for crime, to prevent any Republic of Iraq government attempt to disrupt its illicit activities, and

to injure Plaintiffs.

299.     The United States Supreme Court held: "“For two or more to confederate and combine

together to commit or cause to be committed a breach of the criminal laws, is an offense of the

gravest character, sometimes quite outweighing, in injury to the public, the mere commission of

the contemplated crime. It involves deliberate plotting to subvert the laws, educating and

preparing the conspirators for further and habitual criminal practices. And it is characterized by

secrecy, rendering it difficult of detection, requiring more time for its discovery, and adding to

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 154 of 429




the importance of punishing it when discovered." .” United States v. Rabinowich, 238 U.S. 78,

88 United States v. Rabinowich, 238 U.S. 78, 88.

300.     The extensive, calculated, and intentional criminal activities of the Barzani Continuing

Criminal Enterprise, a multibillion-dollar, transnational criminal organization ongoing for

decades and to the present time, formally and informally, deliberately plotted to subvert the laws,

in concert and conspiracy with individuals and a group of five or more individuals associated in

fact, with supervisors, although sometimes not a legal entity, and functioning as a continuing

unit, with a continuing series of violations and very substantial income, to extensively pursue the

enterprise’s habitual criminal practices and purpose, include, but are not limited to, murder,

attempted murder, extrajudicial murder, genocide, hostage taking and kidnapping, murder-for-

hire (“carefully contemplated murders”, quoting Gregg v. Georgia, 428 U.S. 153, 186, 96 S. Ct.

2909, 49 L. Ed. 2d 859 (1976)), murder of a U.S. government agent, enforced disappearance,

deprivation of freedom, torture, arson, robbery, bribery, extortion, dealing in controlled

substances, counterfeiting, embezzlement, misappropriation, and peculation of public funds,

trafficking weapons, violation of international sanctions, trading with the enemy, sale or trade of

classified U.S. intelligence documents and information, fraud and related activity in connection

with immigration documents, wire fraud, financial institution fraud, disguised financial

structures, theft of depositor funds, repression and suppression of speech and expression and

democratic participation, targeting of dissidents who oppose the regime’s violations of human

rights, procurement of United States citizenship or nationalization unlawfully, fraud of

naturalization or citizenship papers, fraud of offshore asset disclosures, fraud of resident alien tax

compliance, obstruction of criminal investigations, retaliating against a witness, victim, or an

informant, false statement in application and use of visa, false use of visas, permits, and other

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 155 of 429




documents, categorically and materially false, fictitious, and fraudulent statements to the U.S.

Government, economic espionage and theft of trade secrets, interference with commerce,

laundering of monetary instruments, monetary transactions in property derived from specified

unlawful activity, illegal money transmitters, international transportation of stolen property,

criminal infringement of a copyright or trademark, international trafficking in certain motor

vehicles or motor vehicle parts, trafficking in contraband cigarettes, felonious manufacture,

importation, receiving, concealment, buying, selling, or otherwise dealing in a controlled

substance, acts indictable underviolating the Currency and Foreign Transactions Reporting Act

Currency and Foreign Transactions Reporting Act, acts indictable underviolating the Immigration

and Nationality Act Immigration and Nationality Act, acts indictable under theviolatingthe

Torture Victims Protection Act, acts indictable underviolating the Alien Tort Statute, acts

indictable underviolating multiple other U.S. federal statutes, and violation of numerous

international treaties, conventions, and international lawlaws.

301.     True to its multinational structure, Defendants Masoud Barzani, Masrour Barzani, and

Waysi Barzani, and their agents and representatives, including Barzani family members and

family members by marriage, calculated, devised, and oversaw the financial structure,

mechanisms, and apparatuses and operation of the Barzani Continuing Criminal Enterprise

throughout Iraqi Kurdistan and Iraq, and beyond, which they operationalized and executed at the

national, provincial, and local levels throughout Iraq, and beyond, and purposely built to ensure

that the money at any level was optimized to maximize the lethality and profitability of Barzani’s

control in Iraqi Kurdistan and beyond, and to harm Plaintiffs.

302.     The Barzani Continuing Criminal Enterprise includes many individuals, including the

named individual Defendants, and a number of corporate and affiliated non-profit entities.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 156 of 429




Agents, employees, contractors, servants, and/or representatives of Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, including Barani family members and family members by

marriage, in committing the criminal acts alleged herein were at all times acting within the

course and scope and purpose of their authority as such agents, employees, contractors, servants,

representatives, and/or with the permission and consent of Defendants Masoud Barzani, Masrour

Barzani, and/or Waysi Barzani.

303.    At all relevant times, all Defendants and their co-conspirators were aware of the essential

nature and scope of the Barzani Continuing Criminal Enterprise and intended to participate in it.

Each co-conspirator of the Barzani Continuing Criminal Enterprise has a systemic linkage to

each other participant through corporate ties, employment, family relationship, political party

membership, and other contractual relationships, and agency relationships, and function as a

continuing unit for the purpose of furthering the scheme and common purposes of the Enterprise.

304.      Each criminal activity of Defendants was related, had similar purposes – to harm

Plaintiffs and enrich Defendants – involved the same or similar participants and methods of

commission, and had similar results affecting similar victims, including Plaintiffs. Defendants’

conduct is part of their on-going business and constitutes a continuing threat to Plaintiffs.

While305.      The Barzani Continuing Criminal Enterprise, while presenting itself outwardly as

a respectable organization, under the management of Defendants Masoud Barzani, Masrour

Barzani, Waysi Barzani, their agents and representatives, and Barzani family members and

family members by marriage, and other co-conspirators unnamed, the Barzani Continuing

Criminal Enterprise has implemented a conduct or disposition or demonstrated behavior of

terrorizing victims (and witnesses) of its crimes – especially amongst Kurds – into keeping

Barzani’s crimes secret. As with many criminal enterprises, the Barzani Continuing Criminal

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 157 of 429




Enterprise takes significant lawful and unlawful steps to protect itself and its co-conspirators

from governmental authorities not of the Defendant Iraqi Kurdistan Regional Government, and

terrorizes any who speak out about its unlawful activity in order to intimidate them and dissuade

them from seeking protection from law enforcement or cooperating with governmental

authorities that would otherwise come to their aid. For those who do find the courage to go to

authorities, the Defendants and their agents and representatives engage in a coordinated effort to

wreak havoc on that person’s life through a targeted campaign of harassment, intimidation,

persecution, oppression, financial ruination, reputational devastation, physical beating, torture,

enforced disappearance, and even extrajudicial murder.       The Barzani Continuing Criminal

Enterprise also uses its significant resources – including the proceeds of its criminal endeavor –

to hire outside agents to implement and carry out its targeted harassment and intimidation

campaigns, and to hide evidence of their multitudinous crimes.

306.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and

representatives, and Defendant Iraqi Kurdistan Regional Government have a longstanding policy

and practice of operating an intelligence and spying organization that tracks, monitors, and

directs retaliation campaigns and ruinous and malicious litigation against critics of Defendants

and/or those who publicize the Barzani Continuing Criminal Enterprise or reports its crimes to

law enforcement or other public authorities.

307.     All of the criminal actions and tortious actions taken in furtherance and support of

criminal activities described above were committed by Defendants, their agents, employees

and/or representatives, Barzani family members or family members by marriage, or were carried

out by or at the direction of Defendants and their employees, agents and/or representatives, to

harm Plaintiffs.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 158 of 429




                           CRIMINAL ACTS OF DEFENDANTS
                    (A REPRESENTATIVE BUT INCOMPLETE LISTING)


I.    Murder of a U.S. Government Employee by the Barzani Continuing Criminal
Enterprise

308.       It is a criminal offense to murder a U.S. national or U.S. Government employee outside

the United States, if the murder occurred within the jurisdiction of a foreign country.

309.       The Vienna Convention on Diplomatic Relations, ratified by the United States in 1972,

declares that “[t]he person of a diplomatic agent shall be inviolable.” Vienna Convention on

Diplomatic Relations and Optional Protocol on Disputes, Art. 29, Apr. 18, 1961, 23 U.S.T. 3227,

T.I.A.S. No. 7502 (entered into force in U.S. Dec. 13, 1972). See Usoyan v. Republic of Turkey,

6 F. 4th 31, Court of Appeals, Dist. of Columbia Circuit (2021).

310.       The Assistant Director-in-Charge of the Federal Bureau of Investigation declared, “An

attack on U.S. government personnel, whether domestic or abroad, is an attack on the United

States.”

311.        Insider Confidential Human Source #1, who has direct clandestine access to senior

ranking Iraqi KRG government officials, stated: In but one representative instance, in November,

2021, operating under direct orders from Defendants Masoud Barzani, and Masrour Barzani [at a

time Defendant Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional

Government, the presiding and actual head of government and head of the executive power,] and

Waysi Barzani, agents of the Barzani Continuing Criminal Enterprise, participated in the

supporting, planning, preparation, conducting, or concealing for and did, to gain political or

economic advantages, conspire to take hostage and kidnap and murder and did take hostage and


                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 159 of 429




kidnap and murder an officer and employee (not herein named to protect his surviving family in

the United States from Barzani Continuing Criminal Enterprise terrorist retribution and

retaliatory physical or mental harm) of the United States Government and agencies in the

executive branch of the United States Government, who was performing official duties, with

malice aforethought, willfully, deliberately, maliciously, and with premeditation and during the

perpetration of, and attempt to perpetrate, a hostage taking and kidnapping, while such officer

and employee was engaged in and on account of the performance of his official duties, in the

village of Balay in Iraqi Kurdistan, within the Republic of Iraq. with intent to kidnap and sell or

otherwise trade the agent employee to the Islamic Revolutionary Guard Corps and/or Iranian

intelligence agents, did commit murder, as defined in Title 18, United States Code, Section

1111(a), by killing an officer and employee of the United States and agencies in the executive

branch of the United States Government, with malice aforethought, willfully, deliberately,

maliciously, and with premeditation and during the perpetration of, and attempt to perpetrate, a

hostage taking and kidnapping, while such officer and employee was engaged in and on account

of the performance of his official duties. (Murder of an officer or Employee of the United States,

in violation of Title 18, United States Code, Sections 1114 and 1111; Aiding and Abetting and

Causing an Act to Be Done, in violation of Title 18, United States Code, Section 2).

312.     Under the direction and command of Defendant Masrour Barzani, agents known and

unknown did attempt to take hostage and kidnap a United States agent employee, an

internationally protected person, who was performing official duties, with malice aforethought,

willfully, deliberately, maliciously, and with premeditation, directly and indirectly, with intent to

sell or otherwise trade the agent employee to the Islamic Revolutionary Guard Corps and/or

Iranian intelligence agents, and during the perpetration of, and attempt to perpetrate, a hostage

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 160 of 429




taking and kidnapping. (Attempted Murder of an Internationally Protected Person, in violation of

Title 18, United States Code, Sections 1116(a) and 1113; Aiding and Abetting and Causing an

Act to Be Done, in violation of Title 18, United States Code, Section 2). Defendants’ actions

were “a ‘substantial factor’ in the sequence of events that led to” the death of the American

agent. See Owens v. BNP PARIBAS, SA, 897 F.3d 266, 794 (D.C. Cir. 2018).

313.     The Foreign Sovereign Immunities Act (FSIA) incorporates the definition of “hostage

taking” from “Article 1 of the International Convention Against the Taking of Hostages,” 28

U.S.C. § 1605A(h)(2), which defines a hostage taker as “[a]ny person who seizes or detains and

threatens to kill, to injure or to continue to detain another person . . . in order to compel a third

party, namely, a State, . . . to do or abstain from doing any act as an explicit or implicit condition

for the release of the hostage,” International Convention Against the Taking of Hostages art. 1, ¶

1, Dec. 18, 1979, 1316 U.N.T.S. 205. “The Convention does not proscribe all detentions, but

instead focuses on the intended purpose of the detention,” (Price v. Socialist People's Libyan

Arab Jamahiriya, 294 F.3d 82, 94 (D.C. Cir. 2002)); “[t]he essential element of a hostage-taking

claim is that the intended purpose of the detention be to accomplish the sort of third-party

compulsion described in the Convention.” (Hekmati v. Islamic Republic of Iran, 278 F. Supp. 3d

145, 161 (D.D.C. 2017), (quoting Simpson v. Socialist People’s Libyan Arab Jamahiriya, 470

F.3d 356, 359 (D.C. Cir. 2006)).

314.      “That one of Iran’s proxies acted to abduct and detain Americans is not only a

‘reasonably foreseeable’ ‘natural consequence,’ but a desired result of Iran’s training and

directives. That one of the Americans was also brutally killed was, ‘by any reasonable measure,

a foreseeable consequence of Iran’s support.’” (citation omitted)); cf. Foley v. Syrian Arab

Republic, 249 F. Supp. 3d 186, 204 (D.D.C. 2017) (applying similar reasoning with respect to

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 161 of 429




Syria’s support for a terrorist group)” See Cabrera v. Islamic Republic of Iran, Civil Action No.

19-3835, at 89. (JDB) (D.D.C. Jan. 27, 2023).

315.      In the Barzani-protected isolated provincial village of Balay in the Barzani tribal

headquarters and Barzani-controlled section of Iraqi Kurdistan, within the sovereign nation of

the Republic of Iraq, Defendants did willfully, deliberately, maliciously and with premeditation,

directly and indirectly, murder an employee of the United States Government, who was

performing official duties, an internationally protected person, in violation of 18 U.S.C.§§

1116(a), 1116(c), and 1111(b), which killing would have constituted murder as defined in Title

18, United States Code, Section 1111(a), entitled pursuant to international law to special

protection against attack upon his person, freedom, and dignity.

316.    Confidential Human Source #1, who has direct clandestine access to senior ranking Iraqi

KRG government officials, disclosed that within the extraterritorial jurisdiction of the United

States, Defendants, together with others, while outside the United States, did knowingly,

intentionally and with malice aforethought conspire to take hostage and kidnap and/or kill one or

more nationals of the United States, to wit Defendants planned to take hostage and kidnap the

American intelligence agent, who was performing official duties, and trade him to the Islamic

Revolutionary Guard Corps, a U.S.-designated foreign terrorist organization. During the hostage

taking and kidnap, the American agent struggled, battled, and physically resisted whereupon

Defendants violently, brutally, and viciously applied overwhelming force, and mercilessly beat

to death this American citizen employee of the United States Government and callously and with

abject disregard for human dignity dumped his lifeless body, covered in cuts and bruises and

abrasions, in Barzan Creek, and quickly exited the area of the abduction. Below is a photograph

of the discarded lifeless body of the United States intelligence agent in the dry creek bed of

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 162 of 429




Barzan Creek left there in 2021 by agents of the Barzani Continuing Criminal Enterprise acting

under the direction and command of Defendants Masrour Barzani and Waysi Barzani.




317.      In a cover-up effort orchestrated, planned, coordinated, and directed by Defendant

Masrour Barzani and his subordinate agents and representatives, the local police, controlled by

Defendant Masrour Barzani, purposefully, misleadingly, and fallaciously, and with planned

misdirection and purposeful concealment, ruled his death a heart attack.

318.     This murdered American government intelligence agent employee, engaged in official

duties, leaves behind a wife and children in the United States.

319.    In a second example of an earlier Barzani-ordered murder of a U.S. defense intelligence

agent, confirmed and verified by evidence in possession of Confidential Human Sources #1 and

#2, upon orders from Defendant Masoud Barzani, Sheikh Zanna, a secret KDP member but

openly a member of the Muslim Brotherhood, did receive instructions from Defendant Karim
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 163 of 429




Sinjiri, who himself received command orders from Defendant Masoud Barzani, to murder the

agent. Zanna followed orders to kill the U.S. agent by using a large improvised explosive device

(“IED”), a type of bomb. With no judicial proceedings or authorization, Defendant Masoud

Barzani unilaterally ordered Sheikh Zanna hanged to silence him.




II.   Murder, Attempted Murder, Assassination and Deliberated Enforced
Disappearances – as a Primary Tool of the Barzani Continuing Criminal Enterprise

320.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, with intent and

malice aforethought, are murderers.

321.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and

representatives, including Barzani family members and family members by marriage, have a

long well-documented demonstrated history of using murder as a tool and mechanism of and to

achieve and maintain power, control, and illicit wealth.

322.     The Kurdistan Democratic Party (KDP), predecessor to the Defendant Iraqi Kurdistan

Regional Government (KRG) and its corollary political entity partner, was founded by Mustafa

Barzani, father of Defendant Masoud Barzani and grandfather of Defendants Masrour Barzani

and Waysi Barzani. As he aged and his health deteriorated, in keeping with the patrilineal

traditions of the Barzani tribe, Mustafa was under enormous pressure from his last wife,

Hemauil, to designate her son as successor. Hemauil was of the Zebari tribe and was not a

Barzani; thus, Masoud is only half Barzani. Her clan were well known as collaborators with the

central Iraq government, against the Kurds. As a youth, Defendant Masoud Barzani was raised

by his godfather, Mahmood Agaha, a well-known murderer, gangster, smuggler, and traitorous

collaborator where Defendant Masoud Barzani learned and was tutored in criminality and
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 164 of 429




mistrust throughout his childhood. It is that traditional and common style of Zebari mercenary,

murderer, collaborator, and criminal leadership that Defendant Masoud Barzani brought to his

provincial regional presidency and which his sons Defendants Masrour and Waysi continue and

perpetuate.

323.    In this family succession power struggle, several of Mulla Mustafa’s sons, including sons

Obaydulla and Luqman, and 36 other family members who opposed Defendant Masoud

Barzani’s succession to the Presidency of the Defendant Iraqi Kurdistan Regional Government,

were eliminated by assassination ordered by Defendant Masoud Barzani. In his grandiose and

manic quest for power, Defendant Masoud Barzani benefitted from and capitalized on the

assassination of his own brother by Saddam Hussein. When Mustafa Barzani died, his wealth

was left to Masoud’s mother. Nothing was left to the other wives. Thus, every means of power

remained with Masoud and his mother.

324.     When Defendant Masoud Barzani’s parents were alive and with the help of his mother,

Masoud arranged for his brothers Ubaidullah, the eldest son of Defendant Mustafa Barzani,

Lokman, and Saber to go to Baghdad and there to be killed by Saddam Hussein. Defendant

Masoud had his brothers killed so that the way would be safe and free for Masoud to direct,

control, and conduct the Barzani Criminal Enterprise.

325.      In Iraqi Kurdistan, Defendant Masoud Barzani became “the Saddam Hussein” of

Defendant Iraqi Kurdistan Regional Government, a position now held by his son, Defendant

Masrour Barzani. Confidential Human Sources #1, #2 #3, #4, and #5, who have direct insider

clandestine access to senior Defendant Iraqi Kurdistan Regional Government and KDP officials,

confirm that Defendants Masoud Barzani and Masrour Barzani have followed and do today

follow the murderous Baath doctrine of brutality authored by Saddam Hussein – including but

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 165 of 429




not limited to atrocity, barbarism, barbarity, cruelty, inhumanity, oppression, savagery, hostage

taking and kidnapping, enforced disappearances, and murder.

326.    In just one typical representative instance of murder and the unrivaled, disproportionate,

and barbarous brutality of Wajih Mustafa Barzani and Defendant Masoud Barzani against

Barzani family members, Confidential Human Source 9# and #10 witnessed the following:

               “Kurd citizens Swar Mohammed Amin Swar, Khalil Miran, Rashid
               Mohammed Amin Swar (Swar’s brother), Mustafa Mohammed,
               Aziz Mustafa Mohammed (the driver), went to Pirmam, in Masif
               Salahaddin to meet Masrour Barzani for assistance, who directed
               them to his uncle Wajih Mustafa Barzani who is the special
               brigade commander. A few days later, an estimated twenty-five to
               thirty Barzani operatives of the Special Brigade force commanded
               by Wajih Mustafa Barzani, acting under the direction of his
               brother Masoud Barzani, in eight vehicles, converged on the
               Sebiran community, Khabat sub-district, of Erbil province to arrest
               Fatah Issas and Issa Majid. Three of these men, each agents of the
               KDP, were identified as Ahmad Osman Mohammed, Mohammed
               Jawhar Hussein, and Mushir Fariq Mohammed; the other men
               were not identified. Fatah and Issa were arrested for unspecific
               charges and were hauled to Masif Salahuddin, a special brigade
               prison operated by Wajih Mustafa Barzani, acting under the
               direction of his brother Masoud Barzani, and were locked up in the
               same room as Swar Mohammed Amin and Khalil Miran. They
               were personally physically attacked by Wajih Mustafa Barzani and
               Masoud Barzani.

               “Ghazi Haji Agha was at the time a houseguest of Masif
               Salahaddin at the home of his sister, Amina Haji Aagha. Amina is
               the wife of Luqman Mustafa, who is the brother of Masoud
               Barzani. Shvan Luqman, who is Amina’s son and Ghazi’s nephew,
               sent word of the arrest to Wajih Mustafa Barzani that Ghazi was a
               house guest. Ghazi was imprisoned by Wajih Mustafa Barzani and
               transferred to the same prison and same room as Fatah and Issa.

               “At the command of Masoud Barzani and his brother Wajih
               Mustafa Barzani, the men were held for forty days, without
               charges or trial, in Masif Salahaddin prison operated by the KRG,
                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 166 of 429




               whereupon Rashid Mohammed Amin was released and the others
               were transferred by Barzani agents to an unknown location and
               disappeared forever.

               “Luqman Mustafa is Masoud Barzani’s brother. His wife is Amina
               Haji Aagha. Her son is Shvan Luqman, who is the uncle of Ghazi
               Haji Agha. He was disappeared and never seen again.”

327.      For the purpose of perpetuating their power base and governance positions and

financially enriching the continuous Barzani Continuing Criminal Enterprise, under the direct

command and control of Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and

to the harm and detriment and life safety of the Plaintiffs and others, most especially Iraqi

Kurdish citizens, arrest, murder, hostage taking and kidnapping, and enforced disappearances are

a primary means and instrument of the Barzani Continuing Criminal Enterprise. Murder and

enforced disappearances directed by Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani, with intent and under apparent, assumed, fabricated, or imagined authority, or feigned

color of law, of the inferior provincial Defendant Iraqi Kurdistan Regional Government, absent

any statute, decree, order, resolution or comparable evidence of sovereign authorization for any

of the actions in question, and were and are not the official policy or the officially sanctioned

policies of the superior Republic of Iraq (the foreign sovereign), the Defendant Iraqi Kurdistan

Regional Government, or international treaty, convention, or bilateral agreement, and not as any

act of war, are frequently and repetitively inflicted on individuals, including Plaintiffs and

agents and employees of the United States Government.

328.    Enforced disappearances are flagrant violations of human rights, encompassing multiple

facets like the right to life, the prohibition of torture, the right to liberty and security, and the

right to a fair trial. Global instruments such as the International Convention for the Protection of



                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 167 of 429




All Persons from Enforced Disappearance aim to prevent such heinous acts, ensure that culprits

are penalized, and victims and their families receive reparation.

329.       Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, their agents and

representatives, including Barzani family members and family members by marriage, have

continuously, knowingly, and willfully, directly and indirectly, failed to abide by, observe, obey,

adhere to, confirm to, or act in accordance with the International Convention for the Protection

of All Persons from Enforced Disappearance, enacted by the United Nations and ratified by the

Republic of Iraq of which the Defendant Iraqi Kurdistan Regional Government is a subordinate

part. The Convention addresses the act of enforced disappearance where individuals are secretly

abducted or imprisoned by a state or political organization, followed by a refusal to acknowledge

the person’s fate and whereabouts, with the intent of placing the victim outside the protection of

the law. The Convention obliges states to take effective action to prevent and punish acts of

enforced disappearance in their jurisdictions. It establishes the right of individuals to know the

truth about the circumstances of an enforced disappearance and the fate of the disappeared

person, and the right to reparations and prompt, fair, and adequate compensation.              The

Convention’s article seven says: “The widespread or systematic practice of enforced

disappearance constitutes a crime against humanity as defined in applicable international law and

shall attract the consequences provided for under such applicable international law.”




                       DELIBERATED EXTRAJUDICIAL MURDER

330.    The Torture Victim Protection Act of 1991 (“TVPA”). 28 U.S.C. § 1650A(h)(7), defines

“extrajudicial killing” to mean “a deliberated killing not authorized by a previous judgment

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 168 of 429




pronounced by a regularly constituted court affording all the judicial guarantees which are

recognized as indispensable by civilized peoples,” but does not include “any such killing that,

under international law, is lawfully carried out under the authority of a foreign nation.” “There

are three elements to this definition: ‘(1) a killing; (2) that is deliberated; and (3) is not

authorized by a previous judgment pronounced by a regularly constituted court.’” See Cabrera

v. Islamic Republic of Iran, Civil Action No. 19-3835 (JDB) (D.D.C. Jan. 27, 2023). All

extrajudicial murder in the instant complaint were and are deliberated.

331.    Section 1605A(h)(7) of the FSIA also provides that the term "“extrajudicial killing"” has

the meaning given to it in § 3(a) of the Torture Victim Protection Act of 1991, which defines an

extrajudicial killing as:

        “a deliberated killing not authorized by a previous judgment pronounced by a regularly
        constituted court affording all the judicial guarantees which are recognized as
        indispensable by civilized peoples. Such term, however, does not include any such
        killing that, under international law, is lawfully carried out under the authority of a
        foreign nation.” “On its face, this definition contains three elements: (1) a killing; (2) that
        is deliberated; and (3) is not authorized by a previous judgment pronounced by a
        regularly constituted court. See Owens v. Republic of Sudan, 864 F.3d 751, 770 (D.C.
        Cir. 2017).


332.     Plaintiffs “need only establish that [the attack] was unauthorized, deliberate, and that

there were casualties”; “[i]t is not necessary . . . for one of the plaintiffs to have died in the attack

in order for the state-sponsor-of-terrorism exception to apply.” (Cabrera v. Islamic Republic of

Iran, Civil Action No. 19-3835, 81 (JDB) (D.D.C. Jan. 27, 2023); Cohen v. Islamic Republic of

Iran, 238 F. Supp. 3d 71, 81 (D.D.C. 2017)).

333.      Unlawful extrajudicial killingskilling, also known as an extrajudicial execution or

extralegal killing, is the deliberate killing deliberated killing of a person without the lawful

authority granted by a judicial proceeding judicial proceeding, which in implementation may
                                              48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 169 of 429




have become attempted murders. Unlawful deliberated extrajudicial killings, sanctioned and

ordered by Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and absent any

statute, decree, order, resolution or comparable evidence of sovereign authorization for any of

the actions in question, and were and are not the official policy or the officially sanctioned

policies of the Republic of Iraq, the foreign sovereign, any international treaty or convention, and

not as any act of war, who did knowingly and intentionally combine, conspire, and confederate

with their subordinate agents and representatives, including hired assassins, such as Defendant

Kamal Kirkuki, for the purpose of perpetuating, financially enriching, and expanding the Barzani

Continuing Criminal Enterprise and thus its capacity to harm, injure, threaten, harass, intimidate,

silence, discredit, torture, take hostage and kidnap, and murder Plaintiffs, may be categorized in

eightthe following general groupings:

                       (a)       Widespread killing of political and ethnic opponents of its own
                       citizens.

                       The United Nations Human Rights Council Special Rapporteur on
                       extrajudicial, summary or arbitrary executions in Iraq reports “arbitrary
                       arrests by Kurdish security forces and in some cases were forcibly
                       disappeared.” “retaliatory attacks” especially against “internally displaced
                       persons (IDPs).” “Tens of juveniles remain detained by the Kurdish
                       authorities under the counter-terrorism regime, which due to a lack of
                       procedural guarantees places them at risk of human rights violations,
                       including of death in detention. This risk is increased by the severely
                       limited access to detention facilities by local and international
                       organizations rendering monitoring of the situation almost impossible.”

                       Extensively documented evidence confirms the Iraqi KDP, under the
                       command and direction of Masrour Barzani, and his agents and
                       representatives, especially Defendant Dindar Zebari, a prime
                       communicator of purposeful misinformation for Defendant Masrour
                       Barzani to agencies and representatives of the United Nations, and
                       including Barzani family members and family members by marriage, to
                       preserve and expand the Barzani political power base and expand the

                                                48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 170 of 429




             Barzani Continuing Criminal Enterprise did and do plan, conspire and act
             in concert to use internally displaced Iraqis (“IDFs”) as propaganda and a
             purposefully misrepresented messaging tool of the Barzani Continuing
             Criminal Enterprise to motivate and secure sympathy and funding from
             the international community, and to present a false, fabricated, and
             intentionally misleading public image of a regime concerned with human
             rights, which itself constitutes human rights abuse, and at a time when
             hundreds of thousands of IDPs are housed in tents in currently 25 IDP
             camps (hosting some 180,000 IDPs, the majority being Sunni Arabs) in
             Iraqi Kurdistan, facing security and protection risks, lacking local
             integration opportunities, having limited livelihood opportunities and
             financial resources, lacking civil documents. and lacking basic human
             necessities and suffering malnutrition, sickness, and death at a time the
             Barzani Continuing Criminal Enterprises continues to enrich itself.

             (b)    Targeted killing of individual name-specific perceived threats of its
             own citizens.

             (c)    Targeted killing of individual name-specific journalists.

             In a report, Mountain of Impunity Looms Over Kurdistan Journalists, the
             independent New York–based Committee to Protect Journalists painted a
             very grim picture of the lack of rule of law in the Defendant Iraqi
             Kurdistan Regional Government.

             The Special Rapporteur of the United Nations Human Rights Council was
             informed of several attacks on journalists and media professionals in
             recent years, including threats, intimidation, physical assaults and killings,
             in particular in the Kurdistan region of Iraq.

             One Kurdish journalist calls Kurdish journalism “a profession of death.
             There is no room for any criticism.”

             (d)    Targeted killing of individual name-specific American citizens.

             (e)     Targeted killing of individual name-specific political opponents of
             its own citizens.

             (f)    Targeted killing of individual name-specific perceived threats of its
             own citizens.



                                      48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 171 of 429




                        (g)    Targeted killing of individual name-specific American agents and
                        employees.

334.     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani and their associates

and subordinate agents, including Barzani family members and family members by marriage, in

order to enrich themselves and hold onto political, civil, and governance power and authority

over the Defendant Iraqi Kurdistan Regional Government legislative, executive, and judicial

branches of the governate and the Iraqi Kurdistan commercial, enterprise, financial, and business

sectors, most especially its oil and gas sectors, over which they maintain authoritarian and

tyrannical control, have knowingly, admittedly, and willfully, directly and indirectly, sanctioned

and deployed willful murder and deliberated extrajudicial killing, willful hostage taking,

kidnapping, and enforced disappearances, willful causing of great suffering, abducting and

sequestration, and attacks against the civilian population, as an unsanctioned and unallowed tool

of power and governance, for suppression of human rights, for silencing journalists and political

opponents and those who present perceived threats to Defendants’ political, economic, and

commercial power, and for concealing, facilitating, and expanding Defendants’ widespread

criminal actions in pursuit of illicit wealth and to injure Plaintiffs.

335.      All murders, attempted murders, and assassinations of their regime are personally

sanctioned and ordered by Defendants Masoud Barzani, Masrour Barzani and Waysi Barzani –

for which each are responsible for these murders and are themselves therefore murderers.

336.       These deliberated extrajudicial murders were not acts of war and were neither

“authorized by a previous judgment pronounced by a regularly constituted court” nor “lawfully

carried out under the authority of a foreign nation.” Pub. L. No. 102-256, § 3(a), 106 Stat. 73, 73

(1992); cf. Han Kim, 774 F.3d at 1050–51. No regularly constituted Iraq or Defendant Iraqi

Kurdistan Regional Government court or legislative body ever authorized such attacks and
                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 172 of 429




murders. The Defendant Iraqi Kurdistan Regional Government was, nor is, neither a foreign

nation nor a military force. See Cabrera v. Islamic Republic of Iran, Civil Action No. 19-3835

(JDB) (D.C. Jan. 27, 2023). “A ‘deliberated’ killing is simply one undertaken with careful

consideration, not on a sudden impulse.” See Force v. Islamic Republic of Iran, Civil Action No.

2016-1468 (D.D.C. 2020), citing Owens v. Republic of Sudan, 174 F. Supp. 3d 242, 263 (D.D.C.

2016) .

337.      Contemporary international criminal law holds that head of state immunity – which does

not apply to any Defendant Barzani – does not extend to atrocity crimes. Extrajudicial murders

are atrocity crimes. Nothing in American jurisprudence justifies the absolute immunity that

principal Defendants often claim.

338.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani were and are so cruel

and malevolent that their murder victims were and are often members of their own family and

community, often people they had known for most of their lives. These murders are perpetrated

for no other reason than the oldest, most predictable of all time: money and power.

339.      Having a long, sordid, and well-documented history of murder as a tool, apparatus, and

instrument of the Barzani Continuing Criminal Enterprise, and with malice and forethought, after

attaining political power and governance control of the Defendant Iraqi Kurdistan Regional

Government, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and at their

direction their associates and subordinate agents, including Barzani family members and family

members by marriage, and especially Defendant Dilshad Barzani, orchestrated, decreed, and

sanctioned extrajudicial murder and assassination – aimed directly and primarily (but not

exclusively) at the citizens of Iraqi Kurdistan – to pursue their twin objectives of countering real




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 173 of 429




or perceived threats, challenges, and opponents of their prevailing political power system and the

accumulation of wealth, and to injure Plaintiffs.

340.     These killings flout the absolute universal principle that governments must protect their

citizens against arbitrary deprivation of life, which cannot be abandoned under any

circumstances, however grave. Such killings are crimes for which Defendants Masoud Barzani,

Masrour Barzani, Waysi Barzani and their subordinate agents are responsible and accountable

under Iraq and international law and the laws of the United States, and all executive and judicial

measures are warranted and overdue to ensure that those responsible are brought to justice and

compensate their victims.

341.      The International Organization for Migration, a United Nations agency, at the time

Defendant Masrour Barzani was and is Prime Minister of Defendant Iraqi Kurdistan Regional

GOvernmentGovernment, the presiding and actual head of government and head of the executive

power, reports hundreds of thousands of refugees from Iraqi Kurdistan, including women,

children and ill persons, have tried to cross the Belarus-Poland border to enter the European

Union and are making perilous journeys across open waters to reach Europe.              Unknown

thousands have perished in the journey. The reasons given by the United Nations agency are

Kurdish anger at the growing authoritarianism by the Barzani family rule, endemic Barzani

corruption, rising unemployment, state payrolls unlawfully withheld by the Barzani Defendant

Iraqi Kurdistan Regional Government regime, and employment illegitimately limited by

Defendants Masoud Barzani and Masrour Barzani to favored Iraqi KDP members.

342.     Under orders from Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

their subordinate agents have staged false encounters with criminals and political opponents in

order to eliminate them without a public trial – since there is no evidence of their victims’

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 174 of 429




committing criminal acts.     Staged incidences have included “suicide whilst under cross-

examination”, “battle encounters”, “escape from prison” and “resistance to arrest”. In fact, these

are terms intended to mask “official” extrajudicial murder orders that were ordered and

sanctioned by Defendants Masrour Barzani and Waysi Barzani.

343.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and

representatives, have also hunted down opponents like mad dogs and arranged assassinations and

assassination attempts of political opponents and of journalists and of leaders of international

movements or organizations by secret police or other illegal underground operatives under their

command and control, and arrested or caused to be arrested men and women who were never

seen again.

344.      In its extensive wide-ranging criminal scheme, the Barzani Continuing Criminal

Enterprise (CCEBCCE) has repeatedly violated and does repeatedly violate numerous laws of

the United States and international treaties, agreements, and conventions to which Iraq is a

signatory nation. Human rights monitors and Confidential Human Sources #1, #2, and #5 say

that members of the business community who do not pay Barzani’s kickbacks are imprisoned,

and official records of the United States and the United Nations confirm journalists and activists

who criticize the Barzani’s disappear, often forever.

345.    Murders for political purposes extrajudicially authorized by Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, and accomplished by their agents and representatives,

including Barzani family members and family members by marriage, have taken the form of

enforced disappearances, hostage taking and kidnapping, staged incidents, “suicides”, or death

“caused by tribal warfare.”     Barzani-appointed officials of the Defendant Iraqi Kurdistan

Regional Government, which they dominate and authoritatively control, often try to dismiss such

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 175 of 429




events, whether by denying that they have taken place at all, by attempting to attribute them to

opposition forces, or by alleging they resulted from armed confrontation with government forces,

or that the victim was murdered while attempting to escape from custody. The killings are often

accompanied by intimidation of witnesses and relatives of victims, and suppression of evidence.

Victims have often been chosen for their political or other beliefs and activities, or tribal origin

and affiliation. There is occasionally a staged and orchestrated show trial to falsely demonstrate

lack of Defendant Iraqi Kurdistan Regional Government involvement and, given the nature of

the complicity, it is virtually impossible to judicially appeal against the verdict or otherwise hope

for justice.

346.           Such actions are prohibited by international law, multiple international treaties,

agreements, and conventions known to the Defendant Iraqi Kurdistan Regional Government and

to which the controlling superior federal Government of the Republic of Iraq is a signatory party,

including but not limited to the United Nations Charter, the United Nations Declaration of

Human Rights, the Convention on the Prevention and Punishment of the Crime of Genocide, and

the International Covenant on Civil and Political Rights.

347.     The United Nations Charter in its preamble affirms “faith in fundamental human rights,

in the dignity and worth of the human person.” The Charter further sets forth as one of its

purposes the “promoting and encouraging respect for human rights and for fundamental freedom

for all…” Contrary to their lawful and binding obligations as officials operating under professed

color of law, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, their agents and

representatives acting under the direction of Defendants, including Barzani family members and

family members by marriage, have used abduction, hostage taking, kidnapping, enforced

disappearance, imprisonment, murder, attempted murder, and assassination as tools of Iraqi

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 176 of 429




Kurdistan state governance to maintain power and financially enrich their family and themselves

personally and injure Plaintiffs.

348.     Unlike the United Nations Charter, the Declaration of Human Rights contains a list of

specific rights and freedoms, including those traditionally found in state constitutions and others

which are the expression of modern, cultural, and social ideas. Article 2 of the Universal

Declaration provides that “[e]veryone is entitled to all the rights and freedoms set forth in this

Declaration, without distinction of any kind, such as race, colour, sect, language, religion,

political or other opinion, national or social [tribal] origin, property, birth, or other status.”

These two provisions, taken together, have been universally construed to cover governmental

mass killing. Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their

agents and representatives, including Barzani family members and family members by marriage,

acting under the direction of Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

have used murder, attempted murder, and assassination as a tool and apparatus of Defendant

Iraqi Kurdistan Regional Government governance to maintain power and financially enrich their

family and themselves personally and injure Plaintiffs in knowing and willful violation of Article

2.

349.      The International Covenant and Civil and Political Rights, in Article 6 Section 1,

provides “that every human being has the inherent right to life. This right shall be protected by

law. No one shall be arbitrarily deprived of his life.” Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, their agents and representatives, including Barzani family members

and family members by marriage, acting under the direction of Defendants have used murder,

attempted murder, and assassination as a tool of Defendant Iraqi Kurdistan Regional




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 177 of 429




Government to maintain power and enrich themselves personally in violation of Article 6,

Section 1.



Genocide Orchestrated and Collaborated by Defendants in Confederation with Foreign
Terrorist Organizations

350.     Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, including Barzani family members and members by marriage, did conspire, plan,

facilitate, command, collaborate, confederate, and aid and abet to commit genocide, to further the

Barzani Continuing Criminal Enterprise.

351.     It is undisputed that genocide itself is a violation of international law.     See Simon v.

Republic of Hungary, 812 F.3d 127 (D.C. Cir. 2016).                e.g., Tel-Oren v. Libyan Arab

Republic, 726 F.2d 774, 791 n. 20 (D.C.Cir.1984) (Edwards, J., concurring)e.g., Tel-Oren v.

Libyan Arab Republic, 726 F.2d 774, 791 n. 20 (D.C.Cir.1984) (Edwards, J., concurring);

accord Abelesz, 692 F.3d at 675-76 Abelesz, 692 F.3d at 675-76 (collecting authority).

Genocide perpetrated by a state against its own nationals of course is a violation of international

law. See Simon v. Republic of Hungary, 812 F.3d 127 (D.C. Cir. 2016), generally Genocide

Convention art. 2; see, e.g., Kadic v. Karadzic, 70 F.3d 232, 241-42 (2d Cir.1995) Kadic v.

Karadzic, 70 F.3d 232, 241-42 (2d Cir.1995).

352.    In international law, the Genocide Convention of 1948 makes it clear one way to commit

the crime is by “deliberately inflicting on [a] group conditions of life calculated to bring about its

physical destruction in whole or in part.” (Article II c)

353.    The Circuit Court of Appeals of the District of Columbia Circuit defines genocide:

               “It is undisputed that genocide itself is a violation of international
               law. See, e.g., Tel-Oren v. Libyan Arab Republic, 726 F.2d 774,
               791 n. 20 (D.C.Cir.1984) (Edwards, J., concurring); accord
                                                  48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 178 of 429




       Abelesz, 692 F.3d at 675-76 (collecting authority).See, e.g., Tel-
       Oren v. Libyan Arab Republic, 726 F.2d 774, 791 n. 20
       (D.C.Cir.1984) (Edwards, J., concurring); accord Abelesz, 692
       F.3d at 675-76 (collecting authority).

       “The Convention on the Prevention of the Crime of Genocide,
       adopted by the United Nations in the immediate after-math of
       World War II and ratified or acceded to by nearly 150 nations
       (including the United States), defines genocide as follows:

       [A]ny of the following acts committed with intent to destroy, in
       whole or in part, a national, ethnical, racial or religious group, as
       such: (a) Killing members of the group; (b) Causing serious bodily
       or mental harm to members of the group; [or] (c) Deliberately
       inflicting on the group conditions of life calculated to bring about
       its physical destruction in whole or in part … (Convention on the
       Prevention and Punishment of the Crime of Genocide (Genocide
       Convention), art. 2, Dec. 9, 1948, 78 U.N.T.S. 277 (emphasis
       added)). That definition is “generally accepted for purposes of
       customary [international] law.” Restatement (Third) of the
       Foreign Relations Law of the United States § 702 cmt. d. It
       appears not only in the Genocide Convention itself, but also in
       numerous other international treaties. See, e.g., Rome Statute of
       the International Criminal Court art. 6, July 17, 1998, 2187
       U.N.T.S. 90; Statute of the International Tribunal for Rwanda Art.
       2 (1994); Statute of the International Criminal Tribunal for the
       Former Yugoslavia Art. 4 (1993). The offense of genocide under
       our domestic law uses the same definition. See 18 U.S.C. §
       1091(a). (See Simon v. Republic of Hungary, 812 F.3d 127, 141
       (D.C. Cir. 2016)(See Simon v. Republic of Hungary, 812 F.3d 127,
       141 (D.C. Cir. 2016))

       “Even though international human rights law did not even exist
       when the First Congress enacted the Alien Tort Statute in 1789, the
       statute’s reference to ‘law of nations’ encompasses conduct
       universally accepted as violating international law today, see Sosa
       v. Alvarez-Machain, 542 U.S. 692, 732-33, 124 S.Ct. 2739, 159
       L.Ed.2d 718 (2004), Sosa v. Alvarez-Machain, 542 U.S. 692, 732-
       33, 124 S.Ct. 2739, 159 L.Ed.2d 718 (2004), including genocide
       and certain other offenses committed by a sovereign against its
       own subjects, e.g., Kadic, 70 F.3d at 242., Kadic, 70 F.3d at 242
                                        48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 179 of 429




               (genocide); Abebe-Jira v. Negewo, 72 F.3d 844, 845-46 (11th Cir.
               1996)); Abebe-Jira v. Negewo, 72 F.3d 844, 845-46 (11th Cir.
               1996) (torture); Tel-Oren, 726 F.2d at 791 n. 20 (Edwards, J.,
               concurring)); Tel-Oren, 726 F.2d at 791 n. 20 (Edwards, J.,
               concurring) (genocide, torture, summary execution, slavery).”

354.      This definition was amplified by the United States Supreme Court: “...genocide

perpetrated by a state even against its own nationals is a violation of international law.” Id., at

410-411 (See Federal Republic of Germany v. Philipp, 141 S. Ct. 703, 715 (2021) (Philipp III),

Federal Republic of Germany v. Philipp, 141 S. Ct. 703, 715 (2021) (Philipp III), quoting Simon

v. Republic of Hungary, 812 F.3d 127, 145 (CADC 2016) Simon v. Republic of Hungary, 812

F.3d 127, 145 (CADC 2016).

355.    The Court of Appeals of the District of Columbia Circuit emphasized that “the definition

of genocide includes an ‘intent to destroy.’” The Court further declared, “We adopted the

definition of genocide set forth in the Convention on the Prevention of the Crime of Genocide.

Id. at 143. ‘[A]dopted by the United Nations in the immediate aftermath of World War II,’ id.,

the Convention defines genocide, in relevant part, as ‘[d]eliberately inflicting” on “a national,

ethnical, racial or religious group.... conditions of life calculated to bring about its physical

destruction in whole or in part,’ Convention on the Prevention and Punishment of the Crime of

Genocide (Genocide Convention), art. 2, Dec. 9, 1948, 78 U.N.T.S. 277.” See Philipp v. Federal

Republic of Germany, 894 F.3d 406 (D.C. Cir. 2018).

356.      Where their continued use of political rhetoric provides a cover for their criminal

activities, in furtherance of the pursuit of growth of illicit earnings capacity, to maintain and

expand its political power base, to marginalize certain social, poltical, ethnic, and religious

groups, to gain control over lucrative economic sectors of Iraqi Kurdistan, and to preserve and

swell the power of its commercial monopoly of the Barzani Continuing Criminal Enterprise,
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 180 of 429




often using terror tactics, and to restrict religious freedom and belief by destroying a minority

religious and ethnic group by aiding and abetting the killing of members of the group in large-

scale, systematic violence against civilian populations; aiding and abetting the causing of serious

bodily and mental harm to members of the group; aiding and abetting a real risk and imminent

risk to the health and life of the Yazidi population; and deliberately aiding and abetting the

infliction on the group conditions of life calculated to bring about its physical destruction in

whole or in part, with a clear intent to destroy, Defendants Masoud Barzani and Masrour

Barzani, and their subordinate agents and representatives, including Barzani family members and

family members by marriage, are directly responsible for the deaths of over 10,000 citizens of

Iraqi Kurdistan and the torture of a far larger number, for having committed the acts directly,

jointly with others and/or through others and for failing to exercise control properly over civilian

and military subordinates who under the command and direction of Defendants Masoud Barzani

and Masrour Barzani committed the acts, which harmed Plaintiffs.

357.     Defendants Masoud Barzani, then President of the Defendant Iraqi Kurdistan Regional

Government, and Masrour Barzani, as General Director of the Defendant Iraqi Kurdistan

Regional Government Security Protection Agency and formerly Director of the Intelligence and

Security Agency (the successor agency to Parastin), and later the first Chancellor of the

Defendant Iraqi Kurdistan Regional Government’s Security Council, and at present the Prime

Minister of Defendant Iraqi Kurdistan Regional Government, and their subordinate agents and

representatives, including Barzani family members and family members by marriage, and absent

any statute, decree, order, resolution or comparable evidence of sovereign authorization for any

of the actions in question, and were and are not the official policy or the officially sanctioned

policies of the Republic of Iraq, the foreign sovereign, any international treaty, and not as any act

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 181 of 429




of war, did knowingly and intentionally combine, conspire, confederate, and agree to knowingly

and unlawfully provide material support and resources, including actionable intelligence, and did

assist to organize, manage, or otherwise direct the operation of an anti-American foreign terrorist

organization, had knowledge that the organization is a designated terrorist organization,, and that

the organization has engaged or engages in terrorist activity, not the acts of rogue units but rather

part of a deeply disturbing and meticulously documented pattern of terror, resulting in the deaths

of over 10,000 persons and recurring torture to even greater numbers, in violation of Title 18,

United States Code, Section 2339B in an offense begun and committed outside of the jurisdiction

of any particular State or district of the United States, namely but not limited to, property,

personnel (including oneself), intelligence, accommodation, and services, to a foreign terrorist

organization, namely Islamic State of Iraq and the Levant, knowing that the organization was a

designated terrorist organization, and knowing that the organization had engaged in and was

engaging in terrorist activity as that term is defined in Title 8, United States Code, Section

1182(a)(3)(B), and knowing that the organization had engaged in and was engaging in terrorism

as that term is defined in Title 22, United States Code, Section 2656f(d)(2).

        22.    “A terrorist attack constitutes extreme and outrageous conduct.” (Bodoff v.

Islamic Republic of Iran, 424 F.Supp.2d 74, 85 (D.D.C.2006) (Bodoff I) (citing Stethem v.

Islamic Republic of Iran, 201 F.Supp.2d 78, 89 (D.D.C.2002)).

358.      “A terrorist attack constitutes extreme and outrageous conduct.” (Bodoff v. Islamic

Republic of Iran, 424 F.Supp.2d 74, 85 (D.D.C.2006) (Bodoff I) (citing Stethem v. Islamic

Republic of Iran, 201 F.Supp.2d 78, 89 (D.D.C.2002)).

359.     Defendants Masoud Barzani and Masrour Barzani, and their agents and representatives

and servants, including Barzani family members and family members by marriage, cannot point

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 182 of 429




to any statute, decree, order, resolution or comparable evidence of sovereign authorization for

any of the actions in question to show that the actions enumerated herein were or are the official

policy or the officially sanctioned policies of the Republic of Iraq, the foreign sovereign. To

qualify as official, an act must be imbued with some level of formality, such as the authorization

by the foreign sovereign through an official statute, decree, order or resolution. No such relevant

official statute, decree, order or resolution or comparable evidence of sovereign authorization

existed or exists.

360.     Section 1189(a)(1), as added by the Antiterrorism and Effective Death Penalty Act of

1996, Pub L. No. 104-132, § 302, 110 Stat. 1214, 1248, as amended by the Illegal Immigration

Reform and Immigrant Responsibility Act of 1996, Pub.L. No. 104-208, § 356, 110 Stat. 3009,

3009-644, empowers the Secretary of State to designate a “foreign terrorist organization” if the

Secretary finds three things: “(A) the organization is a foreign organization”; “(B) the

organization engages in terrorist activity” as defined in the provisions set forth in the margin; and

“(C) the terrorist activity of the organization threatens the security of United States nationals or

the national security of the United States.” Such activities threaten the “national security” when

they threaten the “national defense, foreign relations, or economic interests of the United States.”

(See 8 U.S.C. § 1189(c)(2)).

361.    The knowing provision of material support or resources to a designated organization is a

crime punishable by a fine or up to ten years imprisonment, or both.              See 18 U.S.C. §

2339B(a)(1). Alien members or representatives of designated organizations may not be admitted

to the United States. See 8 U.S.C. § 1182(a)(3)(B)(i)(IV), (V).

362.     Defendants Masrour Barzani and Waysi Barzani, and their agents and subordinates,

including Barzani family members and family members by marriage, were in fact

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 183 of 429




“representatives” of designated foreign terrorist organizations in their active and willful role of

collaborators and co-conspirators.

363.    In a January 2004 letter to al-Qaeda attributed by the U.S. Government to one of its most

notorious terrorist leaders, Abu Musab al-Zarqawi, al-Zarqawi asked for al-Qaeda’s aid and

support for his terrorist campaign against Americans in Iraq, and wrote:

        “We need to create armies of mujahidin … to fight the enemy—the Americans … We are
        continuing to train ourselves and strengthen our ranks. We will strike at them with
        suicide operations and car bombs. … If you are of the same opinion, if you adopt it as
        your program, … and you are convinced by the idea of fighting the infidels, we will be
        your soldiers, under your banner, obeying your orders …”

Powered in substantial part by the reliable, potent, and hard-to-trace U.S. dollars gained by al-

Qaeda through its rackets in Iraq, al-Qaeda launched a devastating terrorist campaign in Iraq in

2004 that was designed to expel America from Iraq and the Middle East, which al-Qaeda and its

branches have pursued ever since.

364.    On May 15, 2014, the UntedUnited States Secretary of State amended the designation of

al-Qa’ida in Iraq (“AQI”) as an FTO under Section 219 of the Immigration and Nationality Act

and as a Specially Designated Global Terrorist entity under section l(b) of Executive Order

13224 to add the alias Islamic State of Iraq and the Levant (“ISIL”) as its primary name. The

Secretary also added the following aliases to the ISIL listing: the Islamic State of Iraq and al-

Sham (“ISIS”), the Islamic State of Iraq and Syria (“ISIS”), ad-Dawla al-Islamiyaa fi al-’Iraq

wa-sh-Sham, Daesh, Dawla al Islamiya, and Al-Furqan Establishment for Media Production.

Although the group has never called itself Al-Qaeda in Iraq (AQI), this name has frequently been

used to describe it throughout its history. On October 15, 2004, the United States Secretary of

State designated al-Qa’ida in Iraq (AQI), then known as Jam’at al Tawhid wa’al-Jihad, as a

Foreign Terrorist Organization (“FTO”) under Section 219 of the Immigration and Nationality
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 184 of 429




Act and as a Specially Designated Global Terrorist under section l(b) of Executive Order 13224.

On December 17, 2004, the U.S. State Department designated al-Qaeda-in-Iraq as an FTO, and it

has maintained that designation ever since. On February 3, 2014, al-Qaeda-in-Iraq split from al-

Qaeda core and Jabhat al-Nusra and asserted its identity as ISIS, which was led by former al-

Qaeda/al-Qaeda-in-Iraq polyterrorist Abu Bakr al-Baghdadi. On June 29, 2014, Abu Bakr al-

Baghdadi announced from Mosul, Kurdistan – long Islamic State’s Iraq headquarters – that the

group known as al-Qaeda-in-Iraq and ISIS was now a caliphate that would henceforth be known

as “Islamic State.” To date, ISIL remains a designated FTO. ISIL is engaged in a concerted

campaign to acquire by force substantial land in Syria and Iraq in order to create an Islamic

caliphate. ISIL has engaged in terrorist activity against United States citizens and against the

national security interests of the United States. This activity includes the capture and murder of

non-military United States citizens.

365.    From Islamic State’s formation in 2014 through the present, Islamic State – secretly aided

and abetted by the Barzani regime – has sought to expel Americans from the Middle East

through a campaign of terrorist violence targeting Americans worldwide, all of which was in

service of Islamic State’s existence as a purported “caliphate” dedicated to propagating its

radical Salafist Sunni terrorist ideology. The U.S. Under Secretary for Terrorism and Financial

Intelligence, at the U.S. Department of the Treasury, publicly stated in 2014 that Islamic State

“terrorists have slaughtered thousands of innocent people” and “threatened “American personnel

and facilities in Iraq,” and “could ultimately pose a direct threat to [U.S.] citizens … outside of

the Middle East.”

366.     The objective of the terrorist organization is the forcible acquisition of territory for the

stated goal of creating an Islamic State without recognizing any national boundaries. ISIL seeks

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 185 of 429




to accomplish its goals through the commission of various criminal acts and acts of terror against

the United States and the world community. The criminal acts committed by members of the

organization include murder, kidnapping, hostage taking, enslavement of women, sex trafficking,

and more. On or about September 22, 2014, the chief spokesman for ISIL, Abu Mohammad Al

Adnani, referenced the United States of America and other opponents of lSIL and stated that the

organization intended to “enslave your women” and called for attacks on U.S. citizens around the

world in retaliation for American airstrikes against Islamic State terrorists in Iraq.

367.     At the time Defendant Masoud Barzani was President of Defendant Iraqi Kurdistan

Regional Government and Defendant Masrour Barzani was General Director of the Defendant

Iraqi Kurdistan Regional Government Security Protection Agency and formerly Director of the

Intelligence and Security Agency (the successor agency to Parastin), and with specific

calculated intent to, and did, knowingly and willfully, directly and indirectly, facilitate the

systematic and deliberate murderous slaughter of their own religious minority citizens and to

destroy a religious minority who did not embrace the Muslim religious beliefs of Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their subordinate agents and

representatives, including Barzani family members and family members by marriage, in a

manifest pattern of traitorous, barbaric, and uncivilized conduct, knowingly and willfully,

directly and indirectly, deploying customary tools of extrajudicial murder and enslavement, and

in unrestrained ambition, to secure new territories, to access untapped oil reserves, to amass

weapons, to garner international backing for Iraqi Kurdistan, to eliminate a religious minority, to

further their continuing criminal enterprise, and to injure Plaintiffs, did secretly plan, scheme,

conspire, and act with others, especially with anti-American ISIS terrorists, and did purposefully,

knowingly, and willingly plan and scheme to and did mislead the executive, military, and

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 186 of 429




diplomatic offices of the United States. For the crime of genocide to be complete, both mental

(mens rea) and physical (actus reus) elements must be present. Under the mens rea component,

Article 30 of the Rome Statute of the International Criminal Court has two components: (1)

knowledge threshold; and (2) specific intent. Both elements are integral in the determination of

whether legally defined genocide has been committed against a specifically targeted group and

set it apart from other international crimes. To find legal genocide, the acts committed must be

intended to destroy a specific group, “in whole or part.”

368.     The massacre of non-combatant Yazidis, orchestrated, accommodated, and facilitated,

and without moral or legal consideration, by Defendants Masoud Barzani and Masrour Barzani,

and their subordinate agents and representatives, has been officially recognized as the Genocide

of Yazidis by several bodies of the United Nations and the European Parliament.

369.      On August 3, 2023, Defendant Dindar Zebari, the Defendant KRG Coordinator for

International Advocacy, speaking for the Defendant Iraqi Kurdistan Regional Government, albeit

purposely and knowingly with misleading concealment and misrepresentation to further the

object of the Barzani Continuing Criminal Enterprise, acknowledged, “The atrocities committed

against the Yazidi community were nothing short of unspeakable. Thousands of Yazidis were

uprooted, captured, or slaughtered during ISIS’s 2014 invasion of Sinjar. Many people took

refuge atop Mount Sinjar, where they suffered for months from lack of food and water. In the

aftermath of the attack ‘no free Yazidis remained in the Sinjar region, the 400,000-strong

community had all been displaced, captured, or killed’.”

370.     The United States Department of State, in its 2021 Report to Congress Pursuant to

Section 5 of the Elie Wiesel Genocide and Atrocities Prevention Act of 2018, stated: “The U.S.

government is committed to combating ISIS and the risk it poses to civilians, particularly in Iraq

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 187 of 429




and Syria.” “...then-U.S. Secretary of State John Kerry determin[ed] in 2016 that ISIS was

responsible for genocide against groups in areas under its control in Iraq and Syria, including

Yazidis… He found that ISIS was also responsible for crimes against humanity and ethnic

cleansing against these same groups.”

371.     Under the Genocide Convention and the Rome Statute of the International Criminal

Court, ISIS genocidaires are guilty by the commission, in a systematic manner, of all five

enumerated acts of genocide: (1) killing, primarily of non-combatant Yazidi men by targeted

execution; (2) causing serious bodily or mental harm, primarily to non-combatant Yazidi women

by sexual violence and enslavement; (3) deliberately inflicting conditions of life calculated to

bring about physical destruction, primarily of besieging trapped non-combatant Yazidi civilians

men, women, and children;        (4) imposing measures to prevent births, primarily by forced

abortions and the separation of Yazidi men and women; and (5) forcible transfer of children,

primarily by abduction.

372.    Sufficient evidentiary findings support the legal inference of a requisite specific intent “to

destroy, in whole or in part” the Yazidis as a protected group.

373.     Documented evidence confirms that in a matter of a few days, nearly 10,000 Yazidis

were killed. Yazidi men were systematically executed, and thousands of Yazidi women and

children, fearing genocide, were forced to flee en masse, abducted, tortured, enslaved,

systematically raped and subjected to reprehensible, barbaric acts of sexual violence, and sold

into slavery.    Among those killed were pregnant women and elderly citizens.                  These

reprehensible, barbaric acts have been unequivocally and universally condemned.

374.       Documented evidence shows such systematic abuses, committed simultaneously

throughout the Yazidi region of Sinjar, a region under the control, security, and administration of

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 188 of 429




the Defendant Iraqi Kurdistan Regional Government, commanded and controlled by Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and representatives,

including Barzani family members and family members by marriage, and coordinated within a

short time frame, affirms that ISIS genocidaires, in concert and with the duplicitous and

traitorous collaboration of Defendants Masoud Barzani and Mansour Barzani, acted on a specific

intent to exterminate the Yazidis, a religious minority in Iraqi Kurdistan not sharing the Muslim

religious beliefs of Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and the

Barzani family members and family members by marriage.

375.     Ethnic, cultural, and religious discrimination played dominant roles in the killing and

inhumane mistreatment the Yazidi endured at the hands of Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, their agents and subordinates, and the Barzani family members and

family members by marriage and their co-conspirators.

376.     ISIS militants have systematically expelled Yazidis from their homes and have forced

those seeking shelter to flee into the wilderness surrounding their villages. During their attacks

on Sinjar in August 2014, ISIS militants trapped terrified and defenseless Yazidi refugees on

Mount Sinjar. By surrounding and blockading these refuges in the mountains above Sinjar, ISIS

members have caused the starvation and malnutrition of women, children, and elderly within the

community. The Yazidis seeking refuge on Mount Sinjar were forced from their homes by ISIS

militants.   An officially estimated fifty-thousand Yazidis sought refuge on the mountain,

surrounded by ISIS soldiers threatening to kill them, similar to the situation in the Al-Anfal case.

Without water and food, intentionally withheld, many within the community fell ill and perished.

377.     These actions constitute a deliberate infliction of inhumane conditions calculated to

destroy the Yazidis and are thus genocide under Article 6(c) of the Rome Statute of the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 189 of 429




International Criminal Court, and at a time Defendant Masoud Barzani was President of

Defendant Iraqi Kurdistan and Defendant Masrour Barzani was General Director of the

Defendant Iraqi Kurdistan Regional Government Security Protection Agency, which he

controlled and directedly absolutely, and formerly Director of the Defendant Iraqi Kurdistan

Regional Government’s Intelligence and Security Agency (the successor agency to Parastin),

which is controlled and directed absolutely by the BCCE and its leaders.

378.    United Nations investigators compiled evidence that ISIS doctors performed abortions on

women who were previously pregnant with “infidel” children. One woman described how an

ISIS doctor sat on her stomach, aiming to kill her unborn child. Two other women detailed how

they were also forced to undergo abortions, being first injected and then forced to take pills.

Prior to the procedure, one witness heard an ISIS fighter state: “We do not want more Yazidis to

be born.” One week after their abortions, the two women were sold.

379.     Direct documented evidence of child kidnappings and forced transfer to ISIS military

bases is abundant. In some instances, Yazidi boys as young as eight have been forced into

becoming child soldiers. Those deemed inadequate for fighting are subjected to ideological

indoctrination of radical Islam. Child soldiers and those subject to intense Islamic radicalization

were severely beaten when ISIS instructors found their performance subpar. ISIS propaganda

publicized child soldiers in videos, sometimes with children carrying AK-47s and grenades.

380.     The Kurdish-speaking Yazidi are mostly rural farmers and sheep herders, with little

defensive capacity to stop massacres. The Yazidis are one of many religious minorities in Iraq;

they follow Yezidism, which is not the religious belief of Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, and the Barzani family members and family members by marriage.

One of the massacres occurred in the small village of Kocho, where hundreds of women and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 190 of 429




children were enslaved and their men executed. As ISIS gained more territorial control, local

Yazidi law enforcement and security personnel were executed. In one instance, eleven members

of one family were executed. In the United Nations account Report on the Protection of

Civilians in Armed Conflict in Iraq, investigators confirmed Defendant Iraqi Kurdistan Regional

Government/KDP collaboration with ISIS – intrinsically connected to the command actions of

Defendants Masoud Barzani and Masrour Barzani and their agents and representatives – with

planned, calculated, and purposeful ethnic and religious targeting.

381.     As is their established practice and custom, Defendants Masoud Barzani and Mansour

Barzani co-opted Iraqi minority politicians to propagate false narratives casting blame on

Sinjar’s Sunni Arabs. Defendant Iraqi Kurdistan Regional Government Peshmerga military

forces, under the direct command and control of Defendants Masoud Barzani and Masrour

Barzani, had taken the solemn duty to safeguard the Yazidi. Defendant Masrour Barzani, as

General Director of the Defendant Iraqi Kurdistan Regional Government Security Protection

Agency and formerly Director of the Defendant Iraqi Kurdistan Regional Government’s

Intelligence and Security Agency (the successor agency to Defendant Iraqi Kurdistan Regional

Government intelligence agenyagency Parastin), both of which he controlled and directly

absolutely, and later the first Chancellor of the Defendant Iraqi Kurdistan Regional

Government’s Security Council, and at present the Prime Minister of Defendant Iraqi Kurdistan

Regional Government, instructed the Yazidi men, women, and children to remain in place,

telling them Peshmerga (military) forces of the Defendant Iraqi Kurdistan Regional Government,

under the command and control of Defendants Masoud Barzani and Masrour Barzani, would and

will protect them, knowing full well the command order to Peshmerga to leave had already been

issued by Defendants Masoud Barzani and Masrour Barzani. Abruptly and on command from

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 191 of 429




Defendants Masoud Barzani and Masrour Barzani, and their subordinate agents and

representatives, Peshmerga forces abandoned their posts in the early hours of the morning of the

massacre, leaving the Yazidis defenseless against ISIS. Defendant Iraqi Kurdistan Regional

Government/KDP security officials also confiscated weapons from Christian communities in the

Nineveh Province before abandoning those communities to ISIS. Defendants Masoud Barzani

and Masrour Barzani thus ensured that ISIS would successfully massacre and enslave the non-

Muslim Yazidi religious minority, depriving Yazidis access to adequate shelter, food, clothes,

medicines, hygiene and sanitation, and imposing vicious and barbarous measures intended to

prevent Yazidi births.

382.    Defendants “conduct thus qualifies as torture and violates the norm only when done by or

at the instigation of or with the consent or acquiescence of a public official or other person acting

in an official capacity.".” Convention Against Torture and Other Cruel, Inhuman or Degrading

Treatment or Punishment, Art. 1, Dec. 10, 1984, S. Treaty Doc. No. 100-20, 1465 U.N.T.S. 114

See Jesner v. Arab Bank, PLC, 138 S. Ct. 1386, 200 L. Ed. 2d 612, 584 U.S. (2018).

383.     Confidential Human Sources #1, #4, and #5 confirm there was an explicit agreement

between Defendant Masoud Barzani and ISIS in a territory sharing agreement, in exchange for

which the Peshmerga would not prevent or interfere with ISIS in perpetrating the genocidal

massacres and inhumane torture.

384.     According to Confidential Human Sources #1, #4, and #5, who have direct clandestine

access to senior ranking officials of the Defendant Iraqi Kurdistan Regional Government, KDP

party officials, and Barzani Continuing Criminal Enterprise leadership, the traitorous agreement

made between Defendants Masoud Barzani and Masrour Barzani with ISIS also provided for

Barzani supplying weapons and materiel to ISIS, which Defendants Masoud Barzani and

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 192 of 429




Masrour Barzani and their agents and representatives did, including Kornet anti-tank missiles,

which ISIS used to destroy U.S.-provided M1A1 Abram tanks in battles against the Iraqi army.

385.     To this day in Iraqi Kurdistan, now led and governed by Defendant Iraqi Kurdistan

Regional Government Prime Minister and Defendant Masrour Barzani, most Yazidi live under

extreme religious persecution emanating from Defendant Masrour Barzani, have been unable to

return to their homes, and most live in tents in refugee camps in the Iraqi Kurdistan region, living

in constant fear, which is not imaginary nor wholly speculative, of another religious

discrimination persecution genocidal massacre and further enslavement or death by the Barzani

regime. Yazidi people exist with the constant and real threat of wholesale genocide within their

towns and villages.

386.    Karim Asad Ahmad Khan, Special Adviser and Head of the United Nations Investigative

Team to Promote Accountability for Crimes Committed by Da’esh/Islamic State in Iraq and the

Levant (UNITAD), established clear and convincing documented evidence that genocide was

committed by ISIL against the Yazidi as a non-Muslim minority religious group, noting that the

intent of ISIL to destroy the Yazidi, physically and biologically, is manifest in its unlawful and

extrajudicial ultimatum – applied remorselessly to all members of their Yazidi religious

community – to convert to Islam or die.

387.     Thousands were killed pursuant to this unlawful and extrajudicial ultimatum, facilitated

and made possible by the knowing and willful collaboration of Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, and their agents and representatives, and Barzani family

members and family members by marriage, either executed en masse, shot as they fled, or dying

from exposure on Mount Sinjar as they tried to escape, said Karim Asad Ahmad Khan, Special

Adviser and Head of the United Nations Investigative Team to Promote Accountability for

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 193 of 429




Crimes Committed by Da’esh/Islamic State in Iraq and the Levant (UNITAD), adding that

thousands more were enslaved, with women and children abducted from their families and

subjected to the most brutal abuses, including serial rape and other forms of unendurable sexual

violence, with many women and girls trafficked into sex slavery. For many this documented

abuse lasted for years, often leading to death.

388.    The intent of these unlawful and extrajudicial genocidal acts was to permanently destroy

the capacity of these women and children to have children and to build families within the non-

Muslim Yazidi community.

389.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, as commanders, took

no steps to prevent their subordinates in the Peshmerga military, the Defendant Iraqi Kurdistan

Regional Government, Asayish, and KDP, or any other subordinate capacity, which Defendants

control absolutely, from committing gross abuses and violations of internationally recognized

human rights against civilians, including those committed during the Yazidi Massacre.

390.    The acts described herein were carried out under actual or apparent authority or feigned

color of law of the Defendant provincial regional government of Iraqi Kurdistan. Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani bear direct responsibility for their role in

these acts, bear command responsibility as the commanders of the Peshmerga military forces, the

Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP, and bear responsibility for

engaging in a joint criminal enterprise with, conspiring with, and/or aiding and abetting their

subordinates as well as officers in the Peshmerga, the Defendant Iraqi Kurdistan Regional

Government, Asayish, and KDP who planned and/or carried or aided and abetted or assisted in

carrying out these gross genocidal atrocities.




                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 194 of 429




391.    At all relevant times, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

as absolute commanders of the Peshmerga, the Defendant Iraqi Kurdistan Regional Government,

Asayish, and KDP, possessed and exercised command and effective control over the Peshmerga,

the Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP and their members and

permitted them to commit flagrant grotesque human rights abuses.

392.     At all relevant times as commanders of the Peshmerga, the Defendant Iraqi Kurdistan

Regional Government, Asayish, and KDP and their members, Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani had the legal authority and practical ability to exert control

over their subordinates, including those who participated in extrajudicial killings, genocide,

torture, and crimes against humanity during the Yazidi Massacre.            Defendants Masoud

Barzani’s, Masrour Barzani’s, and Waysi Barzani’s command over such forces included the

authority and responsibility to give orders to and discipline their subordinates. Furthermore,

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani had the actual authority and

practical ability to prevent abuses and punish those responsible.

393.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani knew or should have

known about human rights abuses committed by their subordinates and collaborators including

those committed during the Yazidi Massacre. Moreover, human rights abuses committed by the

Peshmerga, the Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP and their

members and other collaborator forces were widely reported in Kurdistan, Iraq, United States,

and international media, and to which Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani knowingly, purposefully, and deceitfully supplied misleading and untruthful information

to intentionally mask and conceal their role, leadership responsibility, and complicity.

Politicians, human rights organizations, and others openly voiced their concerns about these

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 195 of 429




abuses. At all relevant times, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

knew or reasonably should have known of the pattern and practice of human rights abuses

perpetrated by the Peshmerga military forces, the Defendant Iraqi Kurdistan Regional

Government, Asayish, and KDP and their members and other collaborator forces operating under

their command and control.

394.      As the commanders       of   the Peshmerga, the Defendant Iraqi Kurdistan Regional

Government, Asayish, and KDP and their members and other collaborator forces, Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani had an established and known duty under

international law, multilateral treaties and Iraq and provincial Iraqi Kurdistan law, known to

Defendants, to ensure the protection of civilians, to prevent violations of international and Iraq

and provincial Iraqi Kurdistan law by their subordinates and collaborators, and to ensure that all

persons under their command were trained in, and complied with, international, Iraq, and

provincial Iraqi Kurdistan regional law, including the prohibitions against extrajudicial killings,

genocide, torture, and crimes against humanity.

395.     As the commanders of the Defendant Iraqi Kurdistan Regional Government Peshmerga

military forces, the Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP and

their members and other collaborator forces, Defendants Masoud Barzani, Masrour Barzani, and

Waysi Barzani failed or knowingly refused to take all reasonable and necessary measures to

prevent genocide, extrajudicial killings, torture, and crimes against humanity, or to investigate or

punish all subordinates for committing such abuses.

396.    In addition to their direct responsibility and command responsibility, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani also knowingly and willfully conspired with their

subordinates as well as officers in the Defendant Iraqi Kurdistan REgional Government

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 196 of 429




Peshmerga military forces, which Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani control and direct absolutely, the Defendant Iraqi Kurdistan Regional Government,

Asayish, and KDP and their members and other subordinate collaborator forces who planned

and/or carried out these atrocities. Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani conspired and acted in concert with one or more members of the Peshmerga, the

Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP and their members and

other collaborator forces, pursuant to a common plan, design, and scheme to carry out and

commit human rights abuses against civilians. Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani knowingly joined and participated in carrying out the common plan, design

and scheme. In addition to being personally liable for their own actions, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani are jointly and severally liable for the actions of

their co-conspirators and subordinates, all of which were actions undertaken in furtherance of a

common plan, design and scheme to carry out and commit human rights abuses against civilians.

397.    In addition to their direct responsibility and command responsibility, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani also knowingly and willfully conspired with and

aided and abetted their subordinates as well as officers in the Peshmerga military forces, the

Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP and their members and

other collaborator forces who planned and/or carried out these human rights abuses and

genocidal atrocities.   Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

knowingly and willfully substantially assisted their subordinates and co-conspirator collaborators

who committed genocide, extrajudicial killings, torture, and crimes against humanity. They

knew or should have known that their actions and omissions would assist in these gross blatlant

abuses at the time they provided the assistance. In addition to being personally liable for their

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 197 of 429




own actions, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani are jointly and

severally liable for the actions of those they aided and abetted.

398.    In addition to their direct responsibility and command responsibility, Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani also engaged in a joint criminal enterprise with

their subordinates as well as officers in the Peshmerga, the Defendant Iraqi Kurdistan Regional

Government, Asayish, and KDP and their members and other collaborator forces who planned

and/or carried out these human rights abuses and atrocities. The deliberated extrajudicial killings,

genocide, torture, and crimes against humanity committed during these human rights abuses and

atrocities, and the Yazidi Massacre, carried out in an intimidatory manner unrelated to security,

disrespectful of all civilian well-being and going well beyond the needs of any legally valid

military or police necessity, were a part of an organized system of repression against the civilian

Kurdish population in Iraqi Kurdistan. Defendants Masoud Barzani, Masrour Barzani, and

Waysi Barzani had knowledge of and were active participants in the enforcement of this system

of repression against the civilian population of provincial Iraqi Kurdistan. It was the intent of

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and

representatives including Barzani family members and family members by marriage, to further

this system of orchestrated repression politically and financially advantageous to the Barzani

Continuing Criminal Enterprise and thereby harmful to Plaintiffs.

399.     The genocide, extrajudicial killings, torture, and crimes against humanity committed

during these human rights abuses and atrocities and the Yazidi Massacre were foreseeable,

probable, and desired consequences of a common, shared intention on the part of Defendants

Masoud Barzani, Masrour Barzani, and Waysi Bartzani, their subordinates and officers in the

Peshmerga, the Defendant Iraqi Kurdistan Regional Government, Asayish, and KDP and their

                                                 48
        Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 198 of 429




members and other collaborator forces who planned and/or carried out these gross human rights

violations, abuses, and atrocities against Kurdish civilians and the Yazidi Massacre.

400.       These acts and omissions were outside the scope of Defendant Masoud Barzani’s,

Masrour Barzani’s, and Waysi Barzani’s lawful authority, or any subordinate agents and

representatives, and were not authorized by any international, Iraq, or provincial Iraqi Kurdistan

tribunal, law, regulation, or policy.      The Yazidi Massacre, orchestrated and schemed by

Defendants, was “an act of international terrorism” and not an "“act of war"” at 18 U.S.C. §

2331, and therefore non-international armed conflict combatant status does not exist.

"401.       “Genocide perpetrated by a state even against its own nationals is a violation of

international law." .” See Federal Republic of Germany v. Philipp, 141 S. Ct. 703, 592 U.S.

(2021).           Id., at 709 (quoting Simon v. Republic of Hungary, 812 F.3d 127, 145 (CADC

2016) Simon v. Republic of Hungary, 812 F.3d 127, 145 (CADC 2016).

398.      Furthermore, Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani were

under a duty to investigate, prevent and punish violations of international, Iraq, and Iraqi

Kurdistan law committed by their subordinates; no such action was taken.

402.       Furthermore, the United Nations Investigative Team to Promote Accountability for

Crimes Committed by Da’esh/Islamic State in Iraq and the Levant (UNITAD) established and

documented that numerous other crimes were also committed against the targeted non-Muslim

religious minority Yazidi community, including extermination, enslavement, sexual violence,

forcible transfer, persecution on religious and gender grounds, and conscription of children into

an armed group, and acknowledges these crimes are ongoing.

403.      To increase their profit margins by redirecting attacks away from their business interests,

Defendants knowingly facilitated protection money or “tax” payments to al-Qaeda, al-Qaeda-in-

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 199 of 429




Iraq, and Islamic State terrorists in Iraq and Syria between at least 2004 and at least 2019, and

thereby provided millions in U.S. dollars to these FTOs each year.

404.      Islamic State continuously ran a sophisticated protection money operation in Iraq,

including Iraqi Kurdistan, and Syria from 2014 through 2021. Throughout, Islamic State’s

campaign in Iraq, Syria, and Afghanistan was powered by its protection rackets in Iraq and Syria.

According to one confidential U.S. government report published in 2015, Islamic State raised

hundreds of millions of U.S. dollars through protection money it extracted from businesses in

Iraq, including Iraqi Kurdistan, with the knowledge and facilitation of Masoud Barzani, Masrour

Barzani, and Waysi Barzani, their agents and representatives, and Barzani family members and

family members by marriage. Islamic State’s Finance Council oversaw its protection rackets and

illicit taxation of goods and cash that, with Barzani foreknowledge and facilitation, transited

territory where Islamic State operated.

405.      In late 2014, Islamic State reached what amounted to a global protection money

agreement with Defendants Masoud Barzani and Masrour Barzani, which the two sides reached

even though Islamic State terrorists were waging a relentless campaign against Kurds in

neighboring Syria. Defendants Masoud Barzani and Masrour Barzani prioritized their own power

and financial interests over that of the broader Kurdish cause and reached a protection money

accord with Islamic State that has largely held from 2014 through today. Under this accord,

Defendant Iraqi Kurdistan Regional Go Defendant Iraqi Kurdistan Regional Government

vernment agents collected protection money for and provided weapons and sensitive U.S.

national defense intelligence, gathered and owned by the United States government, including

information from agencies that comprise the United States Intelligence Community and the

United States Department of Defense, to the Islamic State.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 200 of 429




406.    Through these rackets, and with facilitation of Defendants Masoud Barzani and Masrour

Barzani, Islamic State generated millions in monthly cash flow – mostly denominated in U.S.

dollars – from businesses in Iraq, including Iraqi Kurdistan, which Islamic State styled as zakat,

commercial taxes, income taxes, administrative fees, customs taxes, and/or road tolls.

407.     Defendants, using their agents and subcontractors to supply their own security to the

American and Iraqi customers who hired them by paying off Iraqi insurgents with protection

money, resulting in American money sustaining al-Qaeda, al-Qaeda-in-Iraq, and Islamic State.

Defendants actively facilitated and benefited from such payments that their agents and

subcontractors delivered on their behalf.




       Murder, Assassinations, Enforced Disappearances, Torture, and Other Acts of
Lethal Violence Sanctioned and Ordered by the Barzani Continuing Criminal Enterprise

408.     Murder, enforced disappearances, and torture are among the most egregious, lethal, and

malevolent crimes committed by the Barzani Continuing Criminal Enterprise in support of its

continuing criminal enterprise.

409.     The Republic of Iraq, as a sovereign state of which Iraqi Kurdistan is part, ratified the

International Convention for the Protection of All Persons from Enforced Disappearance

(ICPPED) in 2010. The crime of enforced disappearances is defined therein as “the arrest,

detention, or abduction of an individual by state actors or persons or groups of persons acting

with the state’s authorization, support or acquiescence, and the latter’s subsequent refusal to

acknowledge the deprivation of liberty of the disappeared person or concealment of their fate or

whereabouts.” In other words, this occurs when an individual disappears without a trace, while


                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 201 of 429




their loved ones are left with uncertainty and long-term anguish, loss, despair, and the yearning

for closure.

410.    Enforced disappearances are flagrant violations of human rights, encompassing multiple

facets like the right to life, the prohibition of torture, the right to liberty and security, and the

right to a fair trial. Global instruments, treaties, and conventions, including the International

Convention for the Protection of All Persons from Enforced Disappearances, aim to prevent such

heinous acts, ensure that culprits are penalized, and victims and their families receive reparation.

No realistic opportunity or assured mechanism for such exists in the Barzani-controlled judicial

system of Iraqi Kurdistan.

411.       The International Convention for the Protection of All Persons from Enforced

Disappearance, to which Iraq is a party, codifies the prohibition on enforced disappearances and,

among other things, sets out the obligations of states to prevent, investigate, and prosecute all

enforced disappearances.

412.    Enforcement of law has not and does not occur, except occasionally for show, under the

Defendant Iraq Kurdistan Regional Government leadership of Defendants Masoud Barzani and

Masrour Barzani. Affected families find their voices stifled and unheard within the Defendant

Iraqi Kurdistan Regional Government, under the then presidency of Defendant Masoud Barzani

and now prime ministership of Defendant Masrour Barzani, and in the Defendant Iraqi Kurdistan

Regional Government Parliament’s corridors of power, as the Barzani-controlled legislative

body is incapable of action. Simultaneously, due to the lack of judicial independence in the

Kurdistan Region of Iraq, the Defendant Iraqi Kurdistan Regional Government judicial system is

bereft of credibility, integrity, impartiality, objectivity, independence of the courts, and

independence of judicial power.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 202 of 429




413.     Since its decades ago beginning, the Barzani Continuing Criminal Enterprise, directed

and commanded by Defendants Masoud Barzani, then President of the provincial Iraqi Kurdistan

Regional Government, and Masrour Barzani, as General Director of the Defendant Iraqi

Kurdistan Regional Government Security Protection Agency and formerly Director of the

Defendant Iraqi Kurdistan Regional Government Intelligence and Security Agency (the

successor agency to Parastin), and later the first Chancellor of the Defendant Iraqi Kurdistan

Regional GOvernment’s Security Council, and at present the Prime Minister of the Defendant

Iraqi Kurdistan Regional Government, and Waysi Barzani, and their subordinate agents and

representatives, including Barzani family members and family members by marriage, has, under

the claimed cloak of Defendant Iraqi Kurdistan Regional Government authority, yet absent any

statute, decree, order, resolution or comparable evidence of sovereign authorization for any of

the actions in question, and were and are not the official policy or the officially sanctioned

policies of the Republic of Iraq, the foreign sovereign, or any international treaty, and not as any

act of war, in pursuit of their ambitions, did knowingly and intentionally combine, conspire,

confederate, and agree to knowingly and unlawfully provide sanctioned murders, staged

encounter killings, sanctioned assassinations, and authorized political murders, extrajudicial

executions, and enforced disappearances. Barzani-directed agents and killers state-sanctioned by

the President of Defendant Iraqi Kurdistan Regional Government Masoud Barzani and the

Defendant Iraqi Kurdistan Regional Government Prime Minister Defendant Masrour Barzani,

have staged false encounters with criminals and political opponents in order to eliminate them

because they cannot obtain confessions or efficient evidence to bring them to justice before Iraq

courts of law. Staged incidences have included suicide whilst under interrogation, escape from




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 203 of 429




prison, and resistance to arrest. Explanations of the basis for the killings were and are intended

to mask and conceal official extrajudicial murder and attempted extrajudicial murder.

414.    Political murders, frequently exceptionally violent and brutal, and authorized by

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, are many and have also

taken the form of enforced disappearances and staged incidents. The Defendant Iraqi Kurdistan

Regional Government has often tried to deceitfully and misleadingly dismiss such events,

whether by denying that they have taken place at all, by attempting to attribute them to

opposition forces, or by untruthfully alleging that the murders resulted from armed confrontation

with government forces, or that the victim was murdered while attempting to escape from

custody. The killings are often accompanied by intimidation of witnesses and relatives of

victims, and suppression of evidence.

415.    Victims have been selected by Defendants Masoud Barzani, Masrour Barzani and Waysi

Barzani, and by their subordinate agents and representatives, for their political beliefs, religion,

ethnic origin, tribe, or language; but most often victims are selected when they are perceived to

be a political threat to the Barzani Continuing Criminal Enterprise. These victim selections are

driven by the paranoia, insecurity, and anxiety of the leaders of the Barzani Continuing Criminal

Enterprise – Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani.                 There is

occasionally a show trial in a tightly controlled court of the Defendant Iraqi Kurdistan Regional

Government to “prove” lack of government involvement; but Plaintiffs, and others, had and have

a reasonable fear of reprisals and retribution against themselves and members of their families

which served as an insurmountable deterrent and makes it impossible to appeal to any part of the

government of Defendant Iraqi Kurdistan to obtain redress for the murders and other atrocity




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 204 of 429




crimes committed by the Barzani Continuing Criminal Enterprise which completely administers,

controls, and directs the government including its judiciary.

416.     One of the Barzani Continuing Criminal Enterprise hitmen, “Shaker,” confessed on a

video, now in possession of German police officials, admitting to the murder of over three

hundred individuals, of which all murders were directly ordered by Defendants Masoud Barzani

and Masrour Barzani, leaders of the Barzani Continuing Criminal Enterprise.

417.     Defendant Karim Sinjari is the former Minister of Interior of Defendant Iraqi Kurdistan

Regional Government, and now serves as a senior advisor to Nechirvan Barzani, President of the

Defendant Iraqi Kurdistan Regional Government. He is from Shingal (“Sinjar” in Arabic), his

mother is Arab and his father is a Muslim Kurd. He started in Baghdad and, according to

Confidential Human Source number 2, who has direct clandestine access to senior ranking

Defendant Iraqi Kurdistan Regional Government officials, when he was a law student he

collaborated with the Muslim Brotherhood. He came to the Kurdish Galla Mountains near the

Iran border in 1973 and was recruited to manage part of the KDP Parastin. He received

progressively senior positions in Masoud Barzani’s Defendant Iraqi Kurdistan Regional

Government, and as the Minister of Interior of Defendant Iraqi Kurdistan Regional Government

he created a “hit squad” to carry out Barzani-ordered deliberated extrajudicial killings.

418.     Confidential Human Sources #1, #2, #3, #4, and #5, who have direct clandestine access

to senior Defendant Iraqi Kurdistan Regional Government and KDP party officials, state that

Defendant Karim Sinjari, always under the command of Defendants Masoud Barzani and

Masrour Barzani, is responsible for the coordination and hiring of hitmen to kill approximately

five thousand individuals – Arabs, ethnic Kurds, Yazidis, Iranians, Americans, and others – all

for the purpose of keeping Barzanis in control of KDP and perpetuating the Barzani Continuing

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 205 of 429




Criminal Enterprise – and absent any statute, decree, order, resolution or comparable evidence of

sovereign authorization for any of the actions in question, and were and are not the official

policy or the officially sanctioned policies of the Republic of Iraq, the foreign sovereign, any

international treaty, and not as any act of war, or an official authorized act of state, did

knowingly and intentionally combine, conspire, confederate, and agree to knowingly and

unlawfully act in furtherance of the Barzani Continuing Criminal Enterprise, and that Defendant

Karim Sinjari only acts upon orders from Defendants Masoud Barzani, Masrour Barzani, and

Waysi Barzani, and never acts independently of them.

419.     Confidential Human Source #11, who has direct clandestine access to senior ranking

Defendant Iraqi Kurdistan Regional Government and KDP party officials and senior leaders of

the Barzani Continuing Criminal Enterprise, affirms that Defendant Karim Sinjari, in willing and

knowing concert, planned and acted with co-conspirator Defendant Sidad Barzani by entering

into a KDP jail and ordered the Asayish jailers to brutally and forcibly rape male dissident

prisoner Azhin Ahmed, a defined type of torture – while Defendants Sinjari and Barzani watched

and videotaped the inhumane and brutal torture.

421.       A male prisoner of Barzani’s, Asheen Abdulah, held without lawful arrest or

imprisonment, and a Confidential Human Source herein and presently living, as a result of an

extrajudicial order of exile by Defendant Masrour Barzani, in Stutgardt, Germany, was forcibly

and brutally raped, a defined type of torture, by Defendant Karim Sinjari, always acting under

command and direction of Masrour Barzani.

422.    Confidential Human Sources #1, #2, #3, #4, and #5 state that the Baath doctrine of killing

to preserve power was written and perfected by Saddam Hussain and is followed and embraced

today by Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani. Hitmen include

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 206 of 429




Dilshad Hassan Najar, who is the head of a Defendant Iraqi Kurdistan REgioanlRegional

Government security force based in Erbil; Defendant Ismat Argoshi, who is a senior Defendant

Iraqi Kurdistan Regional Government/KDP operative, leader, and attack planner, the head of

Security Asaysh, the Defendant Iraqi Kurdistan Regional Government security organization, in

Kirkuk; Defendant Barzan Hersha Rash, a Kurdish Democratic Party (KDP) hitman; and

Defendant Azad Germari, who is the Director of the Office of Intelligence for the Defendant

Iraqi Kurdistan Regional Government Province of Duhok and who assisted in the torture of

journalist Wadad Duhoki, using an electric drill.




Killing, Attempted Killing, and Torture of    Journalists byJournalistsby the Barzani
Continuing Criminal Enterprise

423.    The United States Supreme Court has declared:

               “In the First Amendment the Founding Fathers gave the free press
               the protection it must have to fulfill its essential role in our
               democracy. The press was to serve the governed, not the
               governors. The Government’s power to censor the press was
               abolished so that the press would remain forever free to censure
               the Government. The press was protected so that it could bare the
               secrets of government and inform the people. Only a free and
               unrestrained press can effectively expose deception in government.
               And paramount among the responsibilities of a free press is the
               duty to prevent any part of the government from deceiving the
               people…” – United States v. Washington Post Co. et al., on
               certiorari to the United States Court of Appeals for the District of
               Columbia Circuit. 403 U.S. 713 (1971)

424.     The United Nations Educational, Scientific and Cultural Organization (UNESCO), of

which the Republic of Iraq is a member nation since 1948, declared in 1997:



                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 207 of 429




               “to condemn assassination and any physical violence against
               journalists as a crime against society, since this curtails freedom
               of expression and, as a consequence, the other rights and freedoms
               set forth in international human rights instruments;

               “to urge that the competent authorities discharge their duty of
               preventing, investigating and punishing such crimes and
               remedying their consequences;

               “Calls upon Member states to take the necessary measures to
               implement the following recommendations:

               “that governments adopt the principle that there should be no
               statute of limitations for crimes against persons when these are
               perpetrated to prevent the exercise of freedom of information and
               expression or when their purpose is the obstruction of justice;

               “that governments refine legislation to make it possible to
               prosecute and sentence those who instigate the assassination of
               persons exercising the right to freedom of expression;

               “that legislation provide that the persons responsible for offenses
               against journalists discharging their professional duties or the
               media must be judged by civil and/or ordinary courts.”

425.    In a November 2003 statement, UNESCO reinforced its earlier positions:

               “Putting an end to impunity for crimes against journalists …
               constitutes a fundamental issue in guaranteeing the full
               exercise of the right to freedom of expression and the open,
               free and dynamic exchange of ideas and information for all
               people.”

426.     While the constitution and laws of the government of the Republic of Iraq purport to

guarantee its citizens the freedom of speech and expression, the Defendant Iraqi Kurdistan

Regional Government leadership – Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani, and their subordinates, agents, employees, and representatives, including Barzani family

members and family members by marriage – regard any political dissent as a threat not only to


                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 208 of 429




their own political interests, but also to the Defendant Iraqi Kurdistan Regional Government’s

dominant one-party system of government itself and to the monopolistic continuation of the

Barzani Continuing Criminal Enterprise.         Thus, the Defendant Iraqi Kurdistan Regional

Government’s security and law enforcement agencies, tightly directed, controlled, empowered,

and extrajudicially deployed by Defendants Masrour Barzani and Waysi Barzani, regard political

dissent as a security threat and routinely monitor and actively censor political speech inconsistent

with Barzani-approved political viewpoints, as well as speech that threatens to damage the

reputation of the Barzani regime or the Iraqi KDP which they control, or threatens to undermine

the Barzani’s Iraqi KDP-dominated social order, or weaken, imperil, impede, or expose the

Barzani continuing criminal enterprise, thereby having created a chilling effect on freedom of

expression and democratic participation.

427.     When a government acts illegally and violently, in this instance the Defendant Iraqi

Kurdistan Regional Government under the command and control of Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, and their agents and representatives, it loses its legitimacy

and some citizens turn to resistance.

428.      Attacking the people responsible for holding Defendants Masoud Barzani, Masrour

Barzani, Waysi Barzani, and their agents and representatives, including Barzani family members

and family members by marriage, to account is one of Defendants’ specialties.

429.     A primary focus of the Defendant Iraqi Kurdistan Regional Government censorship

scheme of its unchallenged and undisputed leaders Masoud Barzani, Masrour Barzani, and

Waysi Barzani is the control of information that is available to Kurdish citizens within the Iraqi

Kurdistan autonomous region of Iraq, and in the worldwide Kurdish diaspora. The Barzani

Continuing Criminal Enterprise, in order to continue its existence, suppresses messengers and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 209 of 429




information that could allow for the dissemination and discussion of content that runs afoul of

messaging approved by Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and

their subordinates, agents, and representatives, including Barzani family members and family

members by marriage, and the Defendant Iraqi Kurdistan Regional Government they unilaterally

operate and control, to manipulate public perceptions of the Barzanis, by seeking to undermine

and discredit the systems and policies of perceived adversaries (including the United States

government), democracy, and open societies generally, to suppress and censor political dissent,

to promote the Barzanis’ preferred and often fabricated narratives and messaging, and deter

critics from continuing to criticize the Defendant Iraqi Kurdistan Regional Government and its

leaders Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani – all with the object

of preserving, perpetuating, and prolonging their control of the Defendant Iraqi Kurdistan

Regional Government and their counterpart Barzani Continuing Criminal Enterprise – all

enabling them to harm and damage Plaintiffs.

430.      Under the leadership of Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani, it is an object of the conspiracy to threaten and intimidate individuals, by means of

physical and psychological intimidation, false imprisonment, torture, attempted murder, or

murder, to silence journalists, authors, and protestors who have raised their voices against

corruption and injustice, to ensure the unimpeded continuance of the Barzani Continuing

Criminal Enterprise.    It is also an object of the conspiracy to intimidate journalists by

demonstrating through torture what could happen to them if they try to interfere with or shed the

light of public exposure on the Barzani continuing criminal enterprise, to commit acts, in

furtherance of the Barzani Continuing Criminal Enterprise, specifically intended to inflict severe

physical and mental pain and suffering (other than pain and suffering incidental to lawful

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 210 of 429




actions), commit and attempt to commit torture, while acting under the color of law, by

committing and causing and aiding and abetting others to commit acts against another person.

431.    Confidential Human Sources #1, #4, and #5, who have direct clandestine access to senior

ranking officials of Defendant Iraqi Kurdistan Regional Government, disclosed that in an

extraordinary act of duplicity against the United States, and without legal foundation, and absent

any statute, decree, order, resolution or comparable evidence of sovereign authorization for any

of the actions in question, and were and are not the official policy or the officially sanctioned

policies of the Republic of Iraq, the foreign sovereign, any international treaty, and not as any act

of war, Defendant Masrour Barzani, acting as Prime Minister of Defendant Iraqi Kurdistan

Regional Government, did knowingly. intentionally, unlawfully, and arbitrarily order the arrests

of journalists on charges of treason for meeting with the United States Consul-General in Erbil.

432.    The Barzani Continuing Criminal Enterprise, commanded and controlled by Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, provided the essential means by which

the Plaintiffs and similarly situated persons were tracked, detained, and tortured.

433.     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents,

representatives, and Barzani family members and family members by marriage, did knowingly

and intentionally aid, abet, counsel, command, induce, and procure each other’s participation in

the commission of said offenses.

434.    In furtherance of the conspiracy and to accomplish the objects of the conspiracy, the acts,

in furtherance of the Barzani Continuing Criminal Enterprise, described below, among many

others, were committed in the Kurdistan region of Iraq and beyond.

435.    Under the administration of Defendant Masoud Barzani and Masrour Barzani, who have

full control and command of the Peshmerga military, which overshadow the official Defendant

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 211 of 429




Iraqi Kurdistan Regional Government police forces, police, and Defendant Iraqi Kurdistan

Regional Government intelligence services, and absent any statute, decree, order, resolution or

comparable evidence of sovereign authorization for any of the actions in question, and were and

are not the official policy or the officially sanctioned policies of the Republic of Iraq, the foreign

sovereign, not of any international treaty or convention, and not as any act of war, journalists

have been harassed, jailed, tortured, taken hostage and kidnapped, enforced disappeared, and

murdered. Journalists who write, broadcast, or podcast critically of Defendant Masrour Barzani

or his father Defendant Masoud Barzani often disappear or are imprisoned and never seen again.

As a result of this repression of journalists, Plaintiffs continue to suffer enforced

disappeareances, torture, and harm.

436.      It is well documented by agencies of the United Nations and the United States

Government, and by Confidential Human Sources #1, #3, #3, #4, and #5, who have direct

clandestine access to senior ranking officials of Defendant Iraqi Kurdistan Regional

Government, that Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their

agents and representatives, have conspired, planned, and acted in concert to undermine and

discredit the systems and policies of perceived adversaries (including the United States of

America), democracy, and open societies generally, and unlawfully targeted individuals who

have engaged in actions they deem hostile or unsympathetic to their governance power and thus

to their continuing criminal enterprise.

437.      The Defendant Iraqi Kurdistan Regional Government is tyrannically and fiercely

dominated by one political party controlled by the Barzani Continuing Criminal Enterprise and is

in practicality a one-party substate whose government, deriving any and all legal authorities

delegated from the central government of the Republic of Iraq, is in practicality entirely

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 212 of 429




controlled by the Kurdistan Democratic Party (KDP). While the constitution and laws of the

Republic of Iraq and the Defendant Iraqi Kurdistan Regional Government purport to guarantee

Iraqi Kurdistan citizens the freedom of speech and expression and association and democratic

participation, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents

and representatives, regard any political dissent as a threat not only to their own political

interests, but also to the KDP’s one-party system of government itself. Thus, the Defendant Iraqi

Kurdistan Regional Government’s state security and law enforcement agencies, acting under

direct and unquestioned command and control of Defendant Mansour Barzani, arbitrarily and

autocratically regard political dissent as a state security threat and routinely monitor and actively

censor political speech and expression inconsistent with KDP-approved political viewpoints, as

well as speech and expression that KDP officials, acting without any lawfully prescribed

measurement or assessment formula, deem to threaten or may threaten to damage the reputation

of the Barzani-controlled and dominated Defendant Iraqi Kurdistan Regional Government or its

Barzani leaders or the KDP, or which Defendant Masoud Barzani or his agents and

representatives arbitrarily and autocratically deem to threaten to undermine the Defendant

KRG/KDP-dominated and controlled social order.

438.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their co-

conspirator agents and representatives, including Barzani family members and family members

by marriage, have conducted a campaign of, but not limited to, verbal, visual, electronic, print,

broadcast, and physical harassment and implicit and expressed threats of financial and physical

harm against dissidents and journalists, including inflicting physical assault, as part of their

broader effort to marginalize, prevent, impede, and silence dissent or public criticism of their

regime and its Barzani leaders.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 213 of 429




439.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their co-

conspirator agents and representatives, including Barzani family members and family members

by marriage, have used and do use U.S.-based social media accounts to disseminate propaganda

and narratives that mirror and amplify the Barzani-controlled Defendant Iraqi Kurdistan

Regional Government’s and the KDP’s orchestrated and misleading, slanted, biased, and often

calculatedly untruthful public messaging. This content – often featuring claims that appear to

sow discord and distort facts about issues and persons in the United States and elsewhere – is

meant to appear as if generated organically by users unaffiliated with the Defendant Iraqi

Kurdistan Regional Government and the KDP, many of whom are purportedly located in the

United States.

440.    A primary focus of the deliberate and calculated censorship scheme, under the direction

of Defendants Masrour Barzani and Waysi Barzani, is the control of information that is available

to Kurds within the Iraqi Kurdistan region and beyond. With the advent of the digital age,

Defendant Iraqi Kurdistan Regional Government has built a system of controls operated and

enforced primarily by agents of Defendant Masrour Barzani, and used to monitor and prevent

Kurdish citizens from accessing Internet platforms and services, including on U.S.-based

platforms, that might allow for the dissemination and discussion of truthful information that runs

afoul of messaging approved by the Defendant Iraqi Kurdistan Regional Government and the

KDP under personal control and direction of Defendant Masrour Barzani.

441.      Defendant Iraqi Kurdistan Regional Government’s efforts, directed by Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani and their agents and representatives,

including Barzani family members and family members by marriage, to censor political dissent

do not end at the Defendant Iraqi Kurdistan Regional Government’s regional borders. Indeed, the

                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 214 of 429




Defendant Iraqi Kurdistan Regional Government and the KDP have identified the unchecked use

of foreign social media sites beyond the jurisdiction of the Defendant Iraqi Kurdistan Regional

Government as a threat to them because of content that portrays the Defendant Iraqi Kurdistan

Regional Government and the KDP, and the dictatorial and despotic leadership of Defendant

Masrour Barzani, in a manner they arbitrarily deem unfavorable. Although Asayish, reporting

directly to and commanded by Masrour Barzani, is generally identified as the Defendant Iraqi

Kurdistan Regional Government’s primary domestic law enforcement agency, responsible for

public safety, general criminal investigation, state security and Internet security, its mission

extends beyond law enforcement and into functions more associated with an intelligence service.

The Asayish, under command and control of Defendants Masrour Barzani and Waysi Barzani,

routinely monitors, among others, perceived Kurdish political dissidents and democracy

advocates who live in the United States, Europe, and in other locations outside Iraqi Kurdistan.

The Asayish regularly uses cooperative contacts both inside Iraqi Kurdistan and around the

world to both overtly and covertly influence, threaten, coerce, and often physically harm

perceived political dissidents and democracy advocates abroad. Asayish has developed, used,

and uses various practices and procedures for targeting and threatening individuals, including

those residing in the United States, and for propagating Defendant Iraqi Kurdistan Regional

Government and KDP official statements through misattributed and falsely labeled social media

accounts. The Defendant Iraqi Kurdistan Regional Government also engages in active measures,

frequently distorted, misleading, and untruthful, to shape public and other governmental

perception, both domestically and abroad, through broad dissemination of propaganda and

narratives favored and often fabricated by the Defendant Iraqi Kurdistan Regional Government

via official substate social media accounts of the Defendant Iraqi Kurdistan Regional

                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 215 of 429




Government, as well as anonymized fake accounts that often appear to belong to users located

outside of Iraqi Kurdistan.

442.      The fear, which is not imaginary nor wholly speculative, motivating the individual

Plaintiffs’ self-censorship is far from hypothetical. Rather, the fear is grounded in the very real

censorship injuries they have previously suffered to their expression and speech and association

and democratic participation on social media, which are evidence of the likelihood of a future

injury, and it is clear the alleged wrongful behavior could reasonably be expected to recur.

Supported by this evidence, the individual Plaintiffs’ self-censorship is a cognizable, ongoing

harm resulting from their past censorship injuries, and therefore constitutes injury-in-fact upon

which those Plaintiffs pursue relief. See Los Angeles v. Lyons, 461 U.S. 95, 102-103 S. Ct. 1660,

75 L. Ed. 2d 675 (1983).

443.     As the U.S. Supreme Court has recognized, this chilling of the individual Plaintiffs’

exercise of their First Amendment rights is, itself, a constitutionally sufficient injury. See Laird

v. Tatum, 408 U.S. 1, 11 (1972).

444.     The KDP party-backed and shadow media, under the command of Defendants Masrour

Barzani, Waysi Barzani, and their agents and representatives, including Barzani family members

and family members by marriage, occupy most of the broadcast, print, and social media space in

Iraqi Kurdistan, and the KDP provides jobs for journalists, co-opts some journalists, strengthens

the personality cults of some leaders, provides KDP party propaganda, forms and influences

public opinion, and attacks independent media.

445.      The Defendant Iraqi Kurdistan Regional Government/KDP, under the direction and

command of Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, including the Barzani family and family members by marriage, has created and

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 216 of 429




used and does use a host of accounts under false names on U.S. social media platforms to

disseminate and amplify messages as part of a broad effort to influence and shape public

perceptions of the Defendant Iraqi Kurdistan Regional Government, the KDP and especially its

Barzani co-conspirator leaders in the United States and around the world. The Defendant Iraqi

Kurdistan Regional Government/KDP uses its misattributed and purposefully misleading social

media accounts to accomplish this mission both by disseminating and amplifying messages that

promote what the Defendant Iraqi Kurdistan Regional Government and KDP perceive to be

favorable attributes of the Defendant Iraqi Kurdistan Regional lGovernment’s KDP dominated

political system, and by seeking to undermine and discredit the systems and policies of perceived

adversaries (including the United States Government), democracy, and open societies generally.

446.     The social media accounts controlled by the Barzani Continuing Criminal Enterprise

often purport to belong to authentic individual users, and unlike the official social media

accounts of Defendant Iraqi Kurdistan Regional Government agencies and officials, conceal

from social media services and U.S. users that their content is posted on behalf of the Defendant

Iraqi Kurdistan Regional Government or the Barzani Continuing Criminal Enterprise.            As

described herein, some of these social media accounts are created to give the appearance that

they are controlled by U.S.-based users, and, in certain instances, communicate directly with

U.S. users about subjects of interest to the Defendant Iraqi Kurdistan Regional Government and

the Barzani Continuing Criminal Enterprise. This practice gives users of the social media

platforms the false impression that multiple U.S. persons, especially exiled Kurds, unaffiliated

with the Defendant Iraqi Kurdistan Regional Government, agree with narratives generated by the

Defendant Iraqi Kurdistan Regional Government and the Barzani Continuing Criminal

Enterprise about a variety of topics, and disagree with the publicly held views of Kurdish

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 217 of 429




dissidents and democracy advocates. By hiding the Defendant Iraqi Kurdistan Regional

Government or KDP or Barzani Continuing Criminal Enterprise affiliation of the accounts from

other users, social media platforms and the U.S. Government, the Barzani Continuing Criminal

Enterprise seeks to misleadingly influence and manipulate online discourse, including public and

Iraqi Kurd policy discourse in the United States, toward positions favored by the Defendant Iraqi

Kurdistan Regional Government, the KDP, and the Barzani Continuing Criminal Enterprise.

447.      The Barzani Continuing Criminal Enterprise has utilized social media platforms to

publicize “dissidents” actual physical location, a harassment tactic known as “doxing,” which is

a well-known and documented tool of unlawful transnational repression.

448.    The Barzani Continuing Criminal Enterprise uses its misattributed social media accounts

to threaten, harass and intimidate, and to identify, detain, and torture, specific victims, located in

the United States, Europe, and elsewhere, that the Defendant Iraqi Kurdistan Regional

Government and the KDP perceive as critical of the Defendant Iraqi Kurdistan Regional

Government, the KDP and especially Masrour Barzani, and the policies of the Defendant Iraqi

Kurdistan Regional Government. Through this campaign of implicit and expressed threats,

harassment and intimidation, the Barzani Continuing Criminal Enterprise seeks to undermine the

credibility of these critics, promote the Barzani-controlled and dominated Defendant Iraqi

Kurdistan Regional Government’s preferred and often untruthful narratives and calculated

messaging, deter these and other critics from continuing to criticize the Defendant Iraqi

Kurdistan Regional Government and the KDP and especially Masrour Barzani, and to

compromise journalists’ ability to locate witnesses, cultivate sources, obtain information, and

communicate confidential information to their sources and news agencies.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 218 of 429




449.      Defendant Masrour Barzani and his agents and representatives have repeatedly and

continuously attempted to pressure U.S. social media companies to remove Plaintiff, Maki

Revend, and U.S.-based and Europe-based associates from social media platforms.

450.    The U.S. Department of State 2016 Country Report on Human Rights, issued at the time

Defendant Masoud Barzani was then President of the Defendant Iraqi Kurdistan Regional

Government, and Defendant Masrour Barzani was General Director of the Defrendant Kurdistan

Regional Government Security Protection Agency and formerly Director of the Defendant Iraqi

Kurdistaan Regional Government’s Intelligence and Security Agency (the successor agency to

Parastin), and later the first Chancellor of the Defendant Iraqi Kurdistan Regional Government’s

Security Council, and at present the Prime Minister of Defendant Iraqi Kurdistan Regional

Government, contains a staggering description and inventory of violence, including unlawful or

arbitrary killings by members of the Defendant Iraqi Kurdistan Regional Government security

forces, directed by Defendant Masrour Barzani, and non-state groups, hostage taking and

kidnapping, enforced disappearances, torture, restrictions on free expression the press and the

Internet, widespread official corruption, violence against and restrictions on women, violence

against lesbian gay, bisexual, transgender, and intersex (LGBT) individuals and the effective

criminalization of LGBT status, violence against internationally displaced persons and

restrictions on worker rights.

451.      Human Rights Watch documented “torturing children’’ by the Barzani-controlled

Defendant Iraqi Kurdistan Regional Government.

452.      The U.S. Department of State has documented use by Defendant Iraqi Kurdistan

Regional Government assets directed by Defendant Masrour Barzani and his agents and

representatives, including Barzani family members and family members by marriage, to collect

                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 219 of 429




information about, among other things, individuals and groups viewed by them as potentially

adverse to the interests of the Defendant Iraqi Kurdistan Regional Government and the Barzani

Continuing Criminal Enterprise.

453.    Records of the Parliament of Defendant Iraqi Kurdistan Regional Government reveal that

more than television journalists and opposition activists were arrested in the Duhok province for

criticizing the government and its leaders and for organizing peaceful civil demonstrations.

Among those arrested, two journalists and six activists were sentenced by Barzani-subjugated

courts of the Defendant Iraqi Kurdistan Regional Government to six years in prison – based on

their social media activities and exchanging journalistic information over messaging apps.

454.    According to media watchdog Metro Center for Journalists Rights and Advocacy, an Iraq

organization established by journalists and human rights advocates and supported by the

international Institute for War and Peace Reporting and aimed at monitoring free press situations

in Kurdistan Region of Iraq, more than 385 violations against 291 journalists were lodged in

2021. One of the most striking crackdowns occurred in 2020, when Barzani arrested and put

more than 80 journalists and activists behind bars in Duhok province after demonstrating against

corruption and poor public services. Metro Center reported that between 2011 and 2020 more

than 2,100 violations against journalists and media outlets were recorded in Iraqi Kurdistan. In a

long and documented history these violations ranged from harassment and destruction of

equipment, to kidnappings and assassinations.

455.     The United Nations’ Iraq Mission and the Office of its High Commissioner for Human

Rights in 2021, at a time Defendant Masrour Barzani was Prime Minister of Defendant Iraqi

Kurdistan Regional Government, the presiding and actual head of government and head of the

executive power, reported:

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 220 of 429




               “Over the last year, journalists, human rights activists and
               protestors who questioned or criticized actions by the Kurdistan
               regional authorities have faced intimidation, threats, and
               harassment as well as arbitrary arrest and detention.”

456.    The United Nations report further exposed that thirty-three journalists, activists or human

rights defenders had been arrested without being told why, denied access to lawyers or held

without their families being notified.

457.    The Special Rapporteur of the United Nations Human Rights Council reported at a time

Defendant Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional

Government, the presiding and actual head of government and head of the executive power:

               “Concerns raised focused in particular on the reported lack of
               effective investigations into the killings of Kurdish journalists and
               media professionals, and little or no accountability. This impunity
               has led to an overall mistrust in the criminal justice system and in
               turn increased fear among the media community to continue their
               critical reporting. This fear is heightened by their impression that
               the powerful figures who were the subject of criticism by the
               deceased journalists might be behind their killings and may even
               enjoy the protection of the justice system.”

458.     Confidential Human Sources #1, #2, #3, #4, #5, and #6, who have direct clandestine

access to senior ranking Defendant Iraqi Kurdistan Regional Government and KDP party

officials, and especially to Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani

and their immediate subordinates, have documented extrajudicial killing or attempts to kill

dozens of activists, including journalists, coordinated, planned, and implemented by Defendants

Masrour Barzani, Waysi Barzani, and their co-conspirator agents and representatives, often

killed by men on motorcycles or in vehicles with blacked-out side windows – killed by gunshots

to the head or chest – are Barzani Continuing Criminal Enterprise representatives, instances of

what the United Nations Educational, Scientific and Cultural Organization Director-General’s

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 221 of 429




Report on the Safety of Journalists and the Danger of Impunity condemns as the “assassination

and any physical violence against journalists as a crime against society.”

459.      Murder, attempted murder, torture and disappearance of journalists has enabled in

substantial part the continuation and expansion of the Barzani Continuing Criminal Enterprise

that has damaged Plaintiffs.



        Plaintiff Maki Revend

460.     A globally respected professional Kurdish journalist and admired chronicler of Barzani

Continuing Criminal Enterprise abuses, crimes, and atrocities, with a worldwide audience of his

writings and podcasts, Plaintiff Maki Revend is an openly vocal and peaceful critic and exposer

of Barzani governance policies, political exploitation, oppression of speech and media,

deprivation of rights and human dignity, denigration of human rights, suppression of basic civil

liberties, limits on political pluralism, ruthless intimidation, plots to subdue and control the

citizenry, embezzlement, pilfering, theft, sanctions violations, theft of U.S. government assets,

manipulation, mistreatment, violence, genocide, enforced disappearances, murder, hostage

taking, terror, and other heinous crimes pervasively perpetrated by the Defendants. He is known

through Confidential Human Sources to be perceived by the Barzani regime to be a provocative

and challenging threat to their concentration of despotic governance power.

461.    Plaintiff Maki Revend, a native Kurd, was born in Iraqi Kurdistan in 1965.

462.     In a concerted plan, intent, and effort to silence and oppress Plaintiff, Maki Revend was

targeted by Defendant Masrour Barzani and his agents and representatives, exercising imagined

and feigned authority not granted by the laws, regulations, or policies of the Republic of Iraq or

the Defendant Iraqi Kurdistan Regional Government, subjected to acts of harassment,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 222 of 429




surveillance, intimidation, invasion of privacy, and/or stalking carried out by or at the direction

of Defendants and their employees, agents and/or representatives, intentionally caused Plaintiff

Maki and his family emotional distress to silence and intimidate them, and forced Plaintiff Maki

to leave his home in Iraqi Kurdistan and abandon his family members. Defendants Masrour

Barzani and his agents and representatives thereby intentionally and recklessly inflicted extreme

emotional distress upon Maki which could foreseeably lead to violence. Fearing for his life, in

1993 Plaintiff Maki involuntarily fled from his native and beloved Iraqi Kurdistan to Germany

where he sought political asylum, at which time he necessarily (but regrettably) renounced his

Iraqi citizenship and was granted citizenship and safe haven by the Republic of Germany; and

where he now maintains residence. German law enforcement currently protects Plaintiff Maki by

armed police guard.

463.       Because of his open and widespread public analysis, evaluation, condemnation,

disparagement, and exposure of the criminality of the Barzani governance regime and criminal

enterprise, Plaintiff, Maki Revend has been repeatedly unlawfully targeted, through violent

threats and repetitive unlawful acts of transnational repression for kidnapping, torture, and

attempted murder by the Defendants, and lives in existential dread and fear of assassination by

Defendants, and in constant hiding and 24-hour police protection from assassins of the Barzani

Continuing Criminal Enterprise, as described more fully herein. These actions have the object of

facilitating economic, political, military, financial, and commercial decision making and

improper advantage in and for the Barzani Continuing Criminal Enterprise.

464.    The ability of Defendant's malicious cyber activity to steal data allowed them to alter or

destroy Plaintiff, Maki Revend’s, electronic content.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 223 of 429




465.     The Defendant Iraqi Kurdistan Regional Government’s efforts under the direction and

control of Masrour Barzani, acting without any and all lawful authority of the Republic of Iraq or

the Defendant Iraqi Kurdistan Regional Government, to overtly and covertly censor, influence,

coerce, and sometimes murder political dissidents to silence them extends far beyond the Iraqi

KRG’s ill-defined regional borders.

466.     Plaintiff, Maki Revend, a resident of Germany, has on at least five distinct occasions,

each thoroughly documented by police, been the target of assassination attempts and aggravated

assault with a deadly weapon by the Defendants’ agents and representatives, in furtherance of a

criminal enterprise, including:

           a. In September, 2017, German police advised Plaintiff Maki Revend his life was in

           danger from the Barzani Continuing Criminal Enterprise, and that unsuccessful

           attempts on his life had been made. From this event, to protect Plaintiff Maki

           Revend, police began to visit the Revend residence every two hours.

           b. On May 14, 2018, Plaintiff Maki Revend was physically attacked by eight people,

           confirmed by police to be members of the Kurdistan Democratic Party, a parallel

           organization to the Defendant Iraqi Kurdistan Regional Government directed and

           controlled by Defendants Masrour Barzani and Waysi Barzani.           A colleague of

           Plaintiff Revend was severely beaten and injured as a result. Revend was able to

           protect himself from death by deploying eye-burning gas during the attack.

           c. A third assassination attempt was made on July 15, 2020, as two masked agents of

           Defendants Masrour Barzani and Waysi Barzani dressed in the false counterfeit

           uniform of postal workers attempted an attack at his residence. They attempted to

           gain uninvited entry to the residence but were thwarted by a family member. From

                                               48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 224 of 429




    that day, police placed a permanent 24-hour police guard around the residence

    through the end of 2021.

    d. On October 2, 2022, two male agents of Defendants Masrour Barzani and Waysi

    Barzani came to the residence of Plaintiff, Maki Revend, in the middle of the night

    and in an assassination attempt deployed a hand-thrown incendiary weapon, known as

    an incendiary bomb, constructed from a frangible container filled with flammable

    substances in an attempt to assassinate Plaintiff Maki Revend by firebombing

    Plaintiff’s residence while Plaintiff was sleeping. Firebombs combine high explosive

    and incendiary effects and release a large quantity of extremely flammable material

    (gelled-fuel mixtures, magnesium, white phosphorus, etc.) which immediately bursts

    into flame. Incendiary weapons are weapons or munitions designed to set fire to

    objects or cause burn or respiratory injury and death to people through the action of

    flame, extreme heat, or combination thereof, resulting from a chemical reaction of a

    flammable substance such as napalm or white phosphorus. Plaintiff, Maki Revend,

    and his wife were sleeping inside the residence and were exposed to and dangerously

    endangered by smoke inhalation. The house and Plaintiff were saved from fatal fire

    by an iron door. At this time continuous 24-hour police guard was reinstated and

    continues to the present time.

    e.   On September 21, 2023, two persons, identified by police as Russian

    assassination agents hired by Defendants Masrour Barzani and Waysi Barzani,

    attempted an assassination at the residence of Maki Revend but were apprehended in

    the act by police officers. Two other criminal assassins fled the scene, escaped, and

    have not yet been identified.

                                       48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 225 of 429




Each of these assassination attempts are known to the German police and are documented by

them. Below are snapshots of concealed security surveillance camera video recordings taken

during the assassination attempt firebombing of Maki’s residence on October 2, 2022:




                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 226 of 429




467.     Subsequent to the firebombing of Maki’s residence, Defendant Areen Barzani, son of

Defendant Masrour Barzani, while attempting to scare, control, and intimidate a confidential

informant hostile to him, acknowledged and boasted of the conspiratorial activities of the

Defendants to incendiary bomb the Revend residence in an effort to intimidate, silence, and

assassinate Plaintiff, Maki Revend. Defendant Areen Barzani could only have access to such
                                            48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 227 of 429




incriminating information of activities by the Barzani Continuing Criminal Enterprise by himself

being an insider co-conspirator.

468.     In the calculated and planned efforts of Defendants Masoud Barzani, Masrour Barzani,

Waysi Barzani, and their agents, representatives, and Barzani family members and family

members by marriage, to silence or to spread disinformation, often to falsely denigrate Plaintiff,

Maki Revend, agents and representatives of Defendants Masoud Barzani and Masrour Barzani,

directed and deployed by them, have visited known associates and family members of Plaintiff,

Maki Revend, including Maki’s associates and family members in the United States, and

attempted through intimidation, implicit and expressed threats and acts of attempted bodily harm,

enforced disappearance, or assassination, family imprisonment and isolation, to overtly and

covertly dissuade and coerce Plaintiff, Maki Revend, from further critical social media postings,

writing, and peaceful justice, accountability, and democracy advocacy with the object to

discredit and smear the respected and trusted reputation of Plaintiff, Maki Revend. To avoid

accountability and divert attention away from the Barzani Continuing Criminal Enterprise acts,

Defendants consistently disseminated lies through electronic and other means, not tethered to

facts or reason, about Plaintiff, Maki Revend, to a global audience.

469.     Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, including Barzani family members and family members by marriage, operating

under their command, did knowingly and willfully, directly and indirectly, and with the intent to

harass, intimidate, and place under surveillance with the intent to harass and intimidate one or

more persons, conspire to use one or more interactive computer services and electronic

communication systems of interstate commerce, and transmitted through interstate and foreign

commerce in one or more communications containing one or more implicit and expressed threats

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 228 of 429




to injure the person of another, including Plaintiff Maki Revend, and used one or more other

facilities of interstate and foreign commerce to engage in a course of conduct that caused,

attempted to cause and would be reasonably expected to cause substantial emotional distress to

one or more persons and their immediate family members, contrary to Title 18, United States

Code, Section 2261A(2)(B), all part of a broader concerted Barzani Continuing Criminal

Enterprise effort to ban from their venues people whom they say are adversarial toward

him/them and to send a message to millions of involuntarily exiled Kurds worldwide that if they

don’t fall in line and do what the Barzani political establishment tells them to do – then they too

will be targeted for investigation, indictment, arrest, imprisonment, enforced disappearance, or

even murder, thereby alienating and disenfranchising much of the Iraqi Kurdistan population.

470.    In knowing and willful violation of the Computer Fraud and Abuse Act (CFAA), codified

under Title 18 U.S. Code § 1030, by using U.S.-based and other technologies, Defendants have

gained illicit and unauthorized access to Plaintiff Maki Revend’s computers with intent to

damage or defraud, to deploy destructive malware and take other disruptive actions, for the

strategic benefit of the Barzani Continuing Criminal Enterprise, through unauthorized access to

Plaintiff Maki Revend’s computers. Masking their identities, Defendants’ acts included cyber-

enabled malicious actions aimed at supporting broader Barzani regime efforts regardless of the

consequences to innocent parties and critical infrastructure worldwide, to undermine, retaliate

against, or otherwise destabilize journalistic independence essential to democratic society, to

probe Plaintiff Maki Revend’s computer networks, register malicious websites and domains with

names mimicking legitimate ones, send spear phishing emails and other intrusion

communications, store and distribute additional malware, manage malware, transfer stolen data,

and negatively influence the public perception of Plaintiff Maki Revend. The conspirators reused

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 229 of 429




some of the same infrastructure to unlawfully target multiple individuals in order to protect and

promote the Barzani Continuing Criminal Enterprise.

471.     The Defendants performed a variety of functions targeting Plaintiff, Maki Revend, and

designed to identify, collect, package, and view targeted data on Plaintiff Maki Revend’s

computers, including stealing credentials that allowed the Defendants to move laterally and

exponentially throughout Maki’s computer networks. The Defendants also overwrote files and

erased data from Maki’s computers. In addition, both during and after operational activity, the

Defendants made efforts to cover their tracks by deleting information from their operational

accounts and deleting data on servers they controlled or had compromised.

472.     Further, in knowing and willful violation of the U.S. Identity Theft and Assumption

Deterrence Act, codified under Title 18 U.S. Code § 1028(a)(7), and involving violations of

other statutes such as identification fraud (18 U.S.C. § 1028), computer fraud (18 U.S.C. §

1030), and wire fraud (18 U.S.C. § 1343), as acts of aggravated identity theft Defendants have

without lawful authority fraudulently and knowingly transferred or used identification of another

person, Plaintiff Maki Revend, in violation of 18 U.S. Code § 1028A(a)(1) with the intent to

commit, or aid or abet, an unlawful activity by creating hundreds of counterfeit video accounts

on Facebook in the name of and impersonating Plaintiff Maki Revend and using other personally

identifiable information, and conveying and publishing demonstrably false information, resulting

in Facebook implementing administrative use prohibitions, cancellations, and injunctions against

Plaintiff Maki Revend.       Additionally, Defendants have aggressively and with malice

aforethought attempted to deplatform Plaintiff Maki Revend on every social media platform

available, an action or practice of preventing publication of views regarded by Defendants as




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 230 of 429




unacceptable or politically threatening, thereby creating financial harm, reputational annihilation,

and emotional and mental anguish and suffering to Plaintiff Maki Revend.

473.    In order to monitor his perceived political rivals, adversaries, and antagonists, Defendant

Masrour Barzani’s agents and representatives, including Barzani family members and family

members by marriage, have scrutinized and disrupted individuals who post online content,

commonly and frequently using U.S.-based internet providers. It was and is an object of the

Barzani conspiracy to instigate, perpetuate, and commit acts in furtherance of the Barzani

Continuing Criminal Enterprise specifically intended to threaten and intimidate Plaintiff Maki

Revend and his family, and other Plaintiffs, by inflicting severe physical and mental pain and

suffering upon them. These repeating and unforeseen torturous attacks by Defendants have

changed every aspect of Plaintiff Maki Revend’s and his family’s lives, home, work, and their

sense of safety and mental health.       Without lawful authority, including unlawfully using

identification of another person, the conspirators did affect, disrupt, and impede foreign

electronic commerce of Plaintiff Maki Revend, all with the object of preserving the Barzani

power base and perpetuating the Barzani Continuing Criminal Enterprise, all to the harm of the

Plaintiffs.

474.    When Masrour Barzani and his agents and representatives hacked the Internet connection

of Plaintiff Maki Revend’s residence, they stole many of his family’s personal documents and

personal photos of his children and his wife, and without authorization published them on social

media platforms.

475.      Defendant Masrour Barzani and his agents and representatives, frequently employing

U.S. technology and expertise and personnel, have attempted to pressure and otherwise overtly

and covertly intimidate and threaten and coerce U.S. social media companies and platforms,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 231 of 429




through private communications and legal threats, into censoring certain social-media content

and divisive deplatforming, in violation of the First Amendment, to remove posts and stories the

content of which touched on topics deemed problematic and unacceptable by Defendant Masrour

Barzani, which were authored by Plaintiff Maki Revend and supportive U.S.-based and

European-based associates from social media platforms posts and stories removed or

downgraded by the platforms.

476.    To this day, Defendants persist in their pattern of willful, extreme, and malicious criminal

conduct, including attempted assassination and extreme damage to and destruction of property,

with knowing and conscious disregard for Plaintiff Maki Revend’s rights. Plaintiff Maki Revend

continues to be threatened, alarmed, harassed, followed, stalked, photographed, and surveilled by

Defendants and/or their agents, employees, and/or representatives. As as result of the foregoing,

Plaintiff Maki Revend and his family continue to be reasonably in fear for their lives and the

safety of their family, and have suffered significant damage to be determined at trial. The

Defendants’ pattern of conduct outlined above, including information suppression, invasion of

privacy and/or capturing visual images of Plaintiff’s private, personal and/or familial activities,

and trespassing upon Plaintiff Maki Revend’s land by Defendants, would cause a reasonable

person to suffer substantial emotional distress. The foregoing conduct of the Defendants was

and is a part of a continuous course of conduct which was intentional, outrageous, malicious, and

done with ill will on the part of the Defendants, done with the intent of causing Plaintiff Maki

Revend to suffer humiliating mental anguish, cruel and unjust hardship, interference with

income, and emotional and physical distress, and with the knowledge that Plaintiff Maki’s

emotional and physical distress would thereby increase.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 232 of 429




477.      Defendant Dindar Zebari, as the Defendant Iraqi Kurdistan Regional Government’s

Coordinator for International Advocacy acting under the direction of Defendant Masrour

Barzani, and aiding, abetting, and agreeing in the planned scheme to perpetuate their false arrest

and provide the public with calculated misdirection and knowingly false and untruthful

statements and to facilitate the unlawful imprisonment of at least the eight example journalists

referenced herein, acting under direct command of Defendant Masrour Barzani fabricated and

issued knowingly false, fallacious, fraudulent, and misleading public statements, declaring

“neither conviction was related to the defendants’ journalistic work” and that they “were found

guilty of gathering sensitive and classified U.S. national defense information (received by

Defendants in their official capacities with the Defendant Iraqi Kurdistan Regional Government)

and passing it covertly to foreign actors in exchange for substantial sums of money”, of “illegally

possessing weapons, engaging in forgery, and using false fingerprints or signatures.”

                      (a)     Sardasht Osman Hassan Hamad (Zardasht Osman)

                                On or about May 6, 2010 a young journalist was kidnapped and

                      assassinated in the Iraqi Kurdistan capital of Erbil and killed in the vicinity

                      of the Iraqi city of Mosul. Osman criticized corruption, family rule, and

                      nepotism; and specifically criticized the Barzani’s in several pieces.

                      Confidential Human Source #1, who has direct clandestine access to

                      senior ranking Defendant Iraqi Kurdistan Regional Government officials,

                      confirms that Defendant Masrour Barzani was involved in Osman’s

                      Murder.

                                Voice of America, an agency of the United States Government,

                      reports credible evidence that authorities of the Defendant Iraqi Kurdistan

                                                48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 233 of 429




             Regional Government were directly involved in the murder, and that in the

             years since Osman’s death, at least 22 other journalists have been killed in

             Iraq, including several who died in KRG-controlled areas.

             (b)    Wedat Hussein (Wadat Hussein Ali)

                     Hussein, an ethnic Kurd, worked as a journalist for Roj News, a

             newspaper affiliated with the PKK, archrival of Defendant Iraqi Kurdistan

             Regional Government and KRG. Confidential Human Source #1, who has

             direct clandestine access to senior ranking Defendant Iraqi Kurdistan

             Regional Government officials, credits his murder to Barzani’s loyal

             security forces. Witnesses saw Hussein, 28, being dragged from his car at

             gunpoint by two men in the Malta district of the northern Iraqi city of

             Duhok and abducted. The men forced a mask onto Hussein’s face and

             drove away.    Road cameras show vehicles heading toward the KDP

             intelligence agency, but later all the road cameras were deleted by KDP

             security agents. Amir Daud, the owner of a nearby supermarket. who

             witnessed the incident, posted a descriptive explanation on Facebook the

             same day, but deleted it one hour later after expressed threats by Barzani

             security agents. Two hours later Hussein’s lifeless body was discovered

             near Semel with signs of severe torture on the Semel-Duhok highway in

             Iraqi Kurdistan that night. They had assassinated him in a cruel way.

             They had cut off three of his fingers, broken his leg and popped out both

             of his eyes.     The United Nations Human Rights Council Special




                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 234 of 429




             Rapporteur reported “his body showing clear marks of torture.” Multiple

             witnesses are incorporated herein as Confidential Human Sources.

             (c)      Qaraman Shukri

                      Iraqi Kurdish photojournalist Qaraman Shukri works as a freelance

             photographer and has contributed to the news website Roj News and the

             broadcaster Sterk TV, which support the opposition Kurdistan People’s

             Party.    KDP Asayish security forces arrested Shukri at his home in

             Shilazdeh, a village near Duhok. Asayish agents, who arrived in seven or

             eight cars and wore full face masks, did not disclose any reason for

             Shukri’s arrest and did not present a warrant or any court papers. They

             handcuffed Shukri and shoved the journalist’s mother during the raid.

             After being convicted on or about June, 2021 on anti-state charges during

             a closed trial in the northwestern Kurdish city of Duhok without a defense

             lawyer present, he is serving a prison term in Zirka prison in Duhok, a jail

             where prisoners often cannot access toilet paper and walls are speckled

             with feces and blood.

             (d)      Kawa Garmyane (Garmyani)

                      Garmyane was the editor-in-chief of the news website Rayel and a

             correspondent for the Kurdish-language newspaper Awene. Garmyane

             had published several reports alleging corruption among Kurdish

             politicians, Unknown gunmen shot and killed Garmyane on or about

             December 5, 2013, outside his home in the town of Kalar, south of the

             Kurdish Iraqi city of Sulaymaniyah. Confidential Human Sources #1 and

                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 235 of 429




             #11, who have direct clandestine access to senior ranking Defendant Iraqi

             Kurdistan Regional Government officials, and Sulaymaniyah-based Press

             Freedom Group Metro Center for Journalist Rights and Advocacy, say

             Garmyane was murdered in retaliation for his work.

             (e)    Soran Mohammed Aziz

                    At 9pm on 21 July 2008 in Shorja-Karkuk in Iraqi Kurdistan, there

             was a knock on the family residence door. When Soran opened the door,

             he was met by three men who shot him. His last words spoken were “they

             killed me.” Confidential Human Sources #12 and #13, who have direct

             clandestine access to senior ranking Defendant Iraqi Kurdistan Regional

             Government officials, were previously told by Soran that he was being

             seriously threatened by the KDP for his journalist work, and identified the

             assassins as Iraqi KDP agents. Contemporaneously, Confidential Human

             Source #1, who has direct clandestine access to senior ranking Defendant

             Iraqi Kurdistan Regional Government officials, was informed by the

             Kirkuk branch of the Union of Journalists and by Levin magazine about

             the implicit and expressed KDP death threats to Soran.

                    The Barzani-ordered assassination of Soran was also witnessed by

             Confidential Human Source #13.

             (f)    Guhdar Zebari

                      Zebari reports and edits for the news website Wllat Media in

             Akre, a northern Kurdish city. At the time of his arrest, Kurdish security

             forces in 13 vehicles raided Zebari’s house and arrested him.        After

                                      48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 236 of 429




             pleading not guilty, on 16 February 2021 the politically-directed criminal

             court of the Defendant Iraqi Kurdistan Regional Government convicted

             him of being part of a group that gathered information about Iraqi

             Kurdistan and sentenced journalist Guhdar Zebari to six years

             imprisonment on charges of destabilizing the security and stability of

             Iraq’s Kurdistan region and is serving his sentence at the Asayish general

             directorate in Erbil. In the weeks leading up to the arrest Zebari had been

             “living in fear” and hiding because he had received threatening messages.

             Confidential human source #1, who has direct clandestine access to senior

             ranking Defendant Iraqi Kurdistan Regional Government officials, said

             witnesses of the trial said prosecutors produced flimsy, circumstantial, and

             fabricated evidence to substantiate the allegations against Zebari and his

             co-defendant, journalist Sherwan Amin Sherwani.

             (g)    Sherwan Sherwani

                     Sherwani is editor-in-chief of monthly magazine Bashur, which is

             critical of the semi-autonomous Kurdish region’s political elite and

             especially the Kurdistan Democratic Party (KDP) and the powerful

             Barzani family. He was arrested on 7 October 2020 by Asayesh security

             forces at his home in Sebiran, a village on the outskirts of the Iraqi

             Kurdistan provincial capital city of Erbil, and accused of “endangering the

             Kurdistan region’s security”. He was held in solitary confinement for

             nearly two months and was tortured by security forces in Erbil. The

             Barzani-controlled puppet judiciary in the Defendant Iraqi Iraqi Kurdistan

                                      48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 237 of 429




                      Regional Government sentenced Sherwani of 18 February 2021 to six

                      years, and subsequently on 20 July 2023 further sentenced Sherwani to an

                      additional four years in jail on charges of alleged forgery, in a jail where

                      prisoners are threatening suicide every day and no psychological treatment

                      is available. Sherwani has been arrested multiple times in Kurdistan by

                      agents of Defendant Masrour Barzani.

                      (h)     Arkan Sharifi

                               On the morning of 30 October 2017 Arkan Sharifi, a cameraman

                      for Kurdistan TV, was stabbed to death in his home by eight Barzani

                      agents in front of his family in Daquq in north central Iraq.

478.      Journalists Sherwan Sherwani and Guhdar Zebari, imprisoned by Defendant Iraqi

Kurdistan Regional Government since October 2020, at a time Defendant Masrour Barzani was

Prime Minister of Defendant Iraqi Kurdistan Regional Government, the presiding and actual

head of government and head of the executive power, following a biased trial manipulated and

fabricated by Barzani agents and representatives operating under the command and control of

Defendants Masoud Barzani and Masrour Barzani using torture-tainted confessions and refusing

to allow defense attorneys timely access to case files, are facing new spurious charges. Guhdar

Zebari was scheduled to be released on 16 August 2023 but was informed by Defendant Iraqi

Kurdistan Regional Government officials on the same day that he has been charged with another

offense. Sherwan Sherwani was due to be released on 9 September 2023, but on 20 July 2023 a

controlled court sentenced him to an additional four years in prison. The journalists were

initially sentenced to six years in prison by the Erbil Criminal Court in February 2021 along with

three democracy and freedom of expression activists.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 238 of 429




479.     Confidential Human Sources #1, #2, #3, #4, #5, #9, #10, #11, #12, and #13, who have

direct clandestine access to senior ranking Defendant Iraqi Kurdistan Regional Government

officials, describe conditions where these journalists have been jailed as “horrendous”, “a

political prison for the enemies of the Barzani regime,” “a veritable hell on earth,” “a permanent

measure of repression and violations of human rights,” and meeting no international standards,

as 120 prisoners are placed in a hall that was designed for 40 people and without ventilation.

The prisoners must take turns sleeping, where some of them sleep at night and the other part

during the day, because the place is very small. The food is very bad and health care is almost

non-existent. Prisoners suffer from dehydration, malnutrition, severe body insect infestation,

untreated decompensated schizophrenia, filthy housing teeming with insects, rampant violence

resulting in death and injuries, and officers using excessive force, overcrowding, inmate deaths,

excessive force from officers, structural issues, outbreaks of lice and scabies, and muscle wasting

commonly seen in people with late-stage cancers. These prisons contain hundreds of unindicted

prisoners.

480.         Defendants Masrour Barzani and Waysi Barzani, together with their agents and

representatives, including Barzani family members and family members by marriage, together

did knowingly and intentionally aid, abet, command, induce, agree, scheme, and procure each

others’ participation in and did commit overt acts, in furtherance of the Barzani Continuing

Criminal Enterprise, in the commission of the heinous crimes against these eight example and

representative instance journalists (there are countless other examples), as a mechanism, strategy,

and act to perpetuate and expand the Barzani Continuing Criminal Enterprise and power base

and harm Plaintiffs.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 239 of 429




481.    By reason of the conduct alleged herein, the criminal and civil violations of U.S. federal

law, Presidential Executive Orders having force of law, and regulations knowingly or recklessly,

directly or indirectly, committed or caused to be committed, or aided and abetted by Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their co-conspirators, including

Barzani family members and family members by marriage, are inordinately extensive in number,

scope, depth, magnitude, gravity, and criminal severity, and danger to the national and economic

security interests of the United States and its citizens, and injure Plaintiffs, and have violated at a

minimum the distinct statutory provisions enumerated herein.

482.    The criminal activities of Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani,

and their agents and associates, including Barzani family members and family members by

marriage, in the Barzani Continuing Criminal Enterprise were undertaken to provide the money

and resources needed to cause injury to the named Plaintiffs herein and to the John Doe

Plaintiffs.



                  OTHER HUMAN RIGHTS ABUSES, TRANSNATIONAL
                   REPRESSION, AND CRIMES AGAINST HUMANITY




483.    Defendants Masoud Barzani and Masrour Barzani, in their unapologetic authoritarian and

autocratic control of the Defendant Iraqi Kurdistan Regional Government and the Kurdistan

Democratic Party, at variance with free market liberal democracy they publicly espouse, treat

political dissent, real or imagined, and free expression and democratic participation as a threat

not only to their own political interests and imperiling their centralized grip on power, but also to

the Defendant Iraqi Kurdistan Regional Government’s one dominant political party system of

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 240 of 429




government and their continuing criminal enterprise. The Defendant Iraqi Kurdistan Regional

Government’s efforts, and those of the complementary and interrelated Barzani Continuing

Criminal Enterprise, each directed by Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani and their agents and representatives, including Barzani family members and family

members by marriage, to suppress and censor political dissent and free expression and

association and democratic participation, even violently, inflicting unending cruelties and

miseries, beyond the loosely defined regional borders of Defendant Iraqi Kurdistan Regional

Government, including into the United States of America, is well documented.

484.     The Defendant Iraqi Kurdistan Regional Government, and in particular the subordinate

Defendant Iraqi Kurdistan Regional Government Security Protection Agency and the subordinate

Defendant Iraqi Kurdistan Regional Government’s Intelligence and Security Agency (the

successor agency to Parastin), which are the intelligence and secret police agencies of the

Defendant Iraqi Kurdistan Regional Government responsible for counterintelligence, espionage

and political security, and which are tightly directed, commanded, and controlled by Defendant

Masrour Barzani – absent any statute, decree, order, resolution or comparable evidence of

sovereign authorization for any of the actions in question, and who has without lawful authority

of either the superior Republic of Iraq and the inferior provincial Defendant Iraqi Kurdistan

Regional Government, broadened and expanded its mission to extend beyond law enforcement

and into functions more associated with a personal international intelligence service – conduct

improper cross-border operations and often unlawfully censor disfavored political speech that is

deemed or perceived to potentially be damaging to the reputation of the Defendant Iraqi

Kurdistan Regional Government or the Barzani Continuing Criminal Enterprise, collect

information through extraterritorial clandestine and covert human source operations, and

                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 241 of 429




monitor, and conduct illegal surveillance at residence and places of work. Persons targeted

include those voicing peaceful Iraqi Kurdish political dissent or counter viewpoints, particularly

Ayoub Barzani, a respected and revered Kurdish leader and voice of democracy amongst Iraqi

Kurds worldwide, and vocal journalistic critic of the dangerous Barzani Continuing Criminal

Enterprise, among many others.

485.      In recent years, expatriates of Iraqi Kurdistan lawfully residing in other countries,

including in the United States, and including U.S. citizens, and in other locations outside Iraqi

Kurdistan, conducting their lives in a manner understood to be lawful, are also unlawfully

targeted for kidnapping, torture, and murder, as described more fully herein.

486.    All of these actions have the object of facilitating economic, political, military, financial,

and commercial decision making and improper advantage in and for the Barzani Continuing

Criminal Enterprise.



         MURDER TO SILENCE FREEDOM ADVOCATE SCHOOLTEACHER,

                               JIHAN TAHA ABDULRAHMAN

487. On or about October 26, 2023, Plaintiff, Shakhwan Abdulrahman’s sister, Jihan Taha

Abdulrahman, was brutally tortured and murdered in the Barzani-controlled town of Barzan,

Kurdistan, Iraq, by agents of Defendant Mustafa “Babo” Barzani, the designated Iraqi Kurdistan

Regional Government official head of the Barzan region acting under the command and direction

of Defendant Masrour Barzani. Jihan Taha Abdulrahman was a harmless, innocuous school

teacher in Erbil, Iraqi Kurdistan, and was a vocal but peaceful critic of the criminality and human

and civil rights deprivation of the Barzani regime – having appeared as a representative of

teachers three times on Kurdistan television criticizing the Barzani-controlled KRG Ministry of

                                                 48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 242 of 429




Education. As part of the Barzani family’s continuing effort to maintain unrestrained political

and commercial power in Kurdistan and instill fear in its citizens, and consistent with its State

Department-documented pattern of silencing viewpoint expression and political dissent, the

BCCE decided and acted to silence Jihan.

488. Many members of the Iraqi Kurdish community are strongly opposed to the Defendant Iraqi

Kurdistan Government’s prime minister, Masrour Barzani, an autocratic leader. They consider

him a strongman who, with a proven history of intolerance for dissent, despotically rules Iraq’s

Kurdish population and its worldwide expatriate community. Jihan, a quiet, reserved school

teacher, had the courage, the known dangers notwithstanding, of speaking out about the abuses

and maltreatment of teachers by the Barzani regime operating the defendant Iraqi Kurdistan

Regional Government. Just for speaking her mind in advocating for a Kurdistan future of

freedom, she ran afoul of Kurdish government officials, and was not safe from intimidation,

suppression, coercion, and murder.

489. Jihan was not an experienced, proficient, or confident driver and did not drive her car out of

the Erbil area. She never drove her car in the mountains to Barzan and informed no family or

colleagues or friends or students or community of any intention or plan to drive to Barzan. She

knew no persons in Barzan. She has no criminal history. This “accident” as alleged by the

Barzani controlled authorities in Barzan occurred in the dark of night after a normal full day of

teaching middle and high school students, when Jihan, according to Barzan officials, was

traveling alone, on a road with which she was totally unfamiliar, and at least a three-hour drive

time from her home. What actually happened was that agents of the BCCE, with the intent to

silence and kill defenseless Jihan, who possessed no weapons or means or skills or training or

facility of self-protection, kidnapped her, drove her car to Barzan, tortured her, and then in an

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 243 of 429




inhuman and barbarous manner set fire to her car while she was trapped inside. Pictures were

taken by passersby and published of Jihan’s car fully engrossed in flame on a straight stretch of

highway in Barzan. In a transparent fraudulent and false setup orchestrated by police agents

operating under the command and control of the defendants Masrour Barzani, Mustafa “Babo”

Barzani and Iraqi Kurdistan Regional Government and the BCCE, and who released a false story

that Jihan was the victim of an accident and died in the car fire, when in fact she was restrained,

locked in her car, and burned to death by the very officials who investigated and publicized her

death. The engine compartment and rear of the car including the fuel and exhaust systems, where

a vehicle fire would have customarily started and flared, were not completely burned; only the

passenger compartment which contains no accelerants was totally consumed by fire as was

Jihan’s body which was incinerated – “burning alive…” for “the deliberate infliction of pain for

the sake of pain”. See Wilkerson v. Utah, 99 U.S. 130, 136, 25 L.Ed. 345, and which burning

alive Justice Blackstone observed "savor[ed] of torture or cruelty." The United States National

Institutes of Health says “Burn injuries … cause one of the most excruciating forms of pain

imaginable.” These inhumane acts of torture were committed “by or at the instigation of or with

the consent or acquiescence of a public official or other person acting in an official capacity.”

See Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or

Punishment, Art. 1.

490. Jihan’s family was informed of her death by Khalat Barzani, a cousin of and employed by

defendant Masoud Barzani. Defendants’ “conduct [was] so outrageous in character, and so

extreme in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious and utterly intolerable in a civilized community.” See Ortberg v. Goldman Sachs




                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 244 of 429




Group, 64 A.3d 158 (D.C. Cir. 2013); Homan v. Goyal, 711 A.2d 812, 818 (D.C.1998); accord

Wood v. Neuman, 979 A.2d 64, 77 (D.C. 2009).

491. Defendant Masrour Barzani, prime minister of Defendant Iraqi Kurdistan Regional

Government, was scheduled to visit (and did visit) Washington DC on and around February 29,

2024.   Learning of this, Plaintiff Shakhwan Abdulrahman, an American citizen, traveled to

Washington,. D.C. with the intent to speak with Defendant Masrour Barzani about Jihan’s

murder. Shakhwan dearly missed Jihan and suffered anguish and grief that he could not protect

her, and thought about the unspeakable fear and agony she surely endured when kidnapped,

tortured, and incinerated. Absent success in obtaining a meeting, denied by Defendant Masrour

Barzani, Shakhwan’s intent was to express his protected political dissent in a public and lawful

political expression in Washington, D.C., with others, on February 29, 2024, by merely standing

on the public sidewalk holding a large picture of his murdered sister and verbally expressing

sadness and anger and seeking accountability, engaging in political speech that is granted the

broadest swath of First Amendment privilege.



         ASSAULT, BATTERY, AND REPRESSION OF AMERICAN CITIZEN

             AND FREEDOM ADVOCATE SHAKHWAN ABDULRAHMAN

492. Plaintiff, Shakhwan Abdulrahman, is a citizen of the United States and resides in the United

States. Upon learning that Defendant, Iraqi Kurdistan Prime Minister Masrour Barzani, was

visiting the United States on a public relations tour and would be in Washington D.C. at the end

of February 2024, Plaintiff Shakhwan Abdulrahman traveled to Washington, D.C. to exercise his

First Amendment right to speech and expression and his clearly established federal constitutional

and statutory right to peacefully demonstrate against the despotic and imperious Barzani regime

                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 245 of 429




in and of Iraqi Kurdistan, and specifically in remonstration of the concealed murder of his sister,

Jihan, a young mother of two children.

493. Defendant Masrour Barzani, prime minister of Defendant Iraqi Kurdistan Regional

Government, was scheduled to visit (and did visit) Washington DC on and around February 29,

2024.    Learning of this, Plaintiff Shakhwan Abdulrahman, an American citizen, traveled to

Washington,. D.C. with the intent to speak with Defendant Masrour Barzani about Jihan’s

murder. Shakhwan dearly missed Jihan and suffered anguish and grief that he could not protect

her, and thought about the unspeakable fear and agony she surely endured when kidnapped,

tortured, and incinerated. Absent success in obtaining a meeting, denied by Defendant Masrour

Barzani, Shakhwan’s intent was to express his protected political dissent in a public and lawful

political expression in Washington, D.C., with others, on February 29, 2024, by merely standing

on the public sidewalk and engaging in political speech. “[P]ublic places historically associated

with the free exercise of expressive activities, such as streets, sidewalks, and parks, are

considered, without more, to be public forums.” See Frederick Douglass Found. v. District of

Columbia, 531 F. Supp. 3d 316 (D.C. 2021), citing United States v. Grace, 461 U.S. 171, 177

(1983); see also Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 27, 45 (1983)

(explaining that streets – which “have immemorially been held in trust for the use of the public”

and “have been used for purposes of assembly, communicating thoughts between citizens, and

discussing public questions” – are “quintessential” example of public forums) (citation omitted).

494. Defendant Masrour Barzani’s and his agents’ unlawful and violent reaction and use of

disproportionate and unreasonable bodily force, reasonably foreseeable to restrain free speech, in

a manner abhorrent to our civil liberty protections and in ways that are unnecessary and unlawful

to that expression is an example of the utter contempt that Masrour Barzani and the BCCE hold

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 246 of 429




for the United States, its values of the rule of law, human rights, and democracy, and the

constitutional rights and privileges of its citizens and those who visit its shores. Defendant

Masrour Barzani and his accompanying agents and representatives ignored and evidenced

contemptuous disdain for what the Supreme Court declared is America’s “profound national

commitment to the principle that debate on public issues should be uninhibited, robust, and wide-

open,” See New York Times Co. v. Sullivan, 376 U. S. 254, 270 (1964).

495. This recurring pattern or practice of unreasonable, excessive, and unlawful force in its State

Department-documented pattern of silencing viewpoint expression and political dissent is

directly attributable to the willfulness, negligence, and failure of Defendant prime minister

Masrour Barzani, who is directly liable, to properly supervise subordinates and to identify and

address unreasonable force which has allowed unlawful conduct, including unlawful violence

committed in his presence, to continue.

496. Plaintiff Shakhwan Abdulrahman arrived on February 29, 2024 at the headquarters building

of the U.S. Chamber of Commerce at 1615 H St. NW, Washington, D.C. – one block from the

White House – where Masrour Barzani and those traveling with him were scheduled to hold an

event, and proceeded to exercise his legal rights and did peacefully and lawfully voice protected

political expression in protest of the murder of his sister by Defendant Masrour Barzani, Mustafa

“Babo” Barzani, and the agents and representatives of the continuing criminal enterprise they

direct.

497. The entire objective and purpose of Defendant Masrour Barani and his agents’

confrontation was to silence Plaintiff Shakhwan Abdulrahman from expressing his viewpoint,

disagreeable or belligerent to the Barzani regime, in a public place, where he could be seen and

heard by officials of the United States Government and by American media in America’s Federal

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 247 of 429




City. As the Supreme Court has emphasized, "[t]he right to free speech ... may not be curtailed

simply because the speaker's message may be offensive to his audience." Hill v. Colorado, 530

U.S. 703, 716, 120 S.Ct. 2480, 147 L.Ed.2d 597 (2000).

498. Shortly after Plaintiff Shakhwan Abdulrahman began his peaceful and non-threatening

demonstration against the BCCE in the capital city of the United States of America, in retaliation

by Defendants for speaking out and to silence him, Defendant Omet Derbendi did physically

intervene and attempt to prevent Plaintiff Shakhwan Abdulrahman from exercising public

expression and aggressively threatened him with bodily harm and did intentionally inflict

emotional distress. Plaintiff Shakhwan Abdulrahman was aggressively attacked, assaulted, and

battered by Defendants Arfan Salih Omer Sherwani, who attempted to destroy the phone, and

Hamza Salim, and Defendants Hikmet Bamerni, who was supervising the agents and did nothing

to stop the assault, Hayman Quassi, and Dasko Shirwani who, employing or accommodating

violent bodily force “as an instrument of oppression” (See Davidson v. Cannon, 474 U.S. 344,

348, 106 S. Ct. 668, 88 L. Ed. 2d 677 (1986), had a “‘sufficiently culpable state of mind,” which

is one of “deliberate indifference.’” “‘[D]eliberate indifference describes a state of mind more

blameworthy than negligence,’” “but does not require proof that the defendant purposefully

caused harm or acted with ‘a knowing willingness that [harm] occur.’” See Doe v. District of

Columbia, Civil Action No. 2013-0878 (D.D.C. 2016), citing Farmer v. Brennan, 511 U.S. 825,

836 (1994). “[A] supervisor may be held individually liable … if he directly participates in a

constitutional violation or if a failure to properly supervise and train the offending employee

caused a deprivation of constitutional rights.” See Andrews v. Fowler, 98 F.3d 1069 (8th Cir.

1996). Barzani agents and Defendants at the scene of the attack on Shakhwan who were not

physically attacking Plaintiff Shakhwan were negligently supervising or overseeing Defendants

                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 248 of 429




Sherwani and Salim, and were culpably careless in their supervisory roles and who “acquiesced

in or tacitly authorized [their] subordinates unlawful actions” (See Jett v. Dallas Indep. Sch.

Dist., 491 U.S. 701, 737, 109 S.Ct. 2702, 105 L.Ed.2d 598 (1989), and assisted (or indirectly

assisted, and did nothing to stop the attack. They were agents and representatives of Defendant

Masrour Barzani, with a goal of curtailing and depriving the federal constitutional and statutory

rights and other constitutionally protected interests of an American citizen, and in a conspiracy to

commit a crime of violence against him.         In performing these acts which caused injury,

defendants intended to do great bodily harm to Plaintiff Shakhwan Abdulrahman, or knew that

such acts would cause injury to Plaintiff, or knew that such acts create a strong probability of

great bodily harm to Plaintiff, and acting together committed a forcible felony, in the course of or

in furtherance of crime.     These human rights include violations and abuses involving the

repression of a member of civil society.

499. In their unprovoked and illegal physical attack on Plaintiff Shakhwan Abdulrahman while

freely, lawfully, and peacefully exercising a fundamental right, Defendants Arfan Salih Omer

Sherwani and Hamza Salim, acting for and on behalf of Defendant Masrour Barzani, in a civil

rights violation under 42 U.S.C. § 1985, and in an effort to destroy evidence of Defendants’

unlawful conduct, physically attempted (without success) to illegally steal and confiscate or

destroy Shakhwan’s cell phone that he had been using to lawfully and freely film and record the

violent reaction of the Barzani group to his tiny peaceful demonstration. The two Barzani

bodyguards who attacked Shakhwan tried to force the phone out of his hand but could not take it

away. Then the attackers tried to break the phone in Shakhwan’s hand, which caused pain in his

hands and back, which persists.      As a direct and proximate cause of Defendants’ actions,

Shakhwan continues to suffer crippling physical and emotional effects of the attack.

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 249 of 429




500. The attackers tried to also kick Shakhwan, but when police arrived, the attack was halted.

They also boldly and powerfully kicked the photo of Shakhwan’s murdered Kurdish sister, in an

intentional act of disrespect and repression of a Constitutionally protected liberty. Shakhwan

was displaying a photo, a protected medium of free speech equivalent to displaying a political

sign in one's front yard, which the Supreme Court has held is substantive speech. See City of

Ladue v. Gilleo, 512 U.S. 43, 54-56, 114 S.Ct. 2038, 129 L.Ed.2d 36 (1994).

501. With regard to a prior similar incident in Washington, D.C. against Kurdish dissidents, the

United States Secretary of State expressed the position of the United State Government: “The

United States does not tolerate individuals who use intimidation and violence to stifle freedom of

speech and legitimate political expression.” Although the Circuit Court for the District of

Columbia “has established that the [Kurdish] security detail had a right to protect [prime minister

Barzani]”, that does not automatically grant Barzani’s security personnel “discretion to commit

criminal assaults.” See Usoyan v. Republic of Turkey, 6 F.4th 31 (D.C. Cir. 2021). Further,

Defendants cannot identify any statute, regulation, or other source of law that confers its

discretion to act nor can Defendants identify any such specific authorization in this case. The

FSIA, like the FTCA, does not shield all exercises of discretion. The discretionary function

exception “protects only governmental actions and decisions based on considerations of public

policy.” See Berkovitz v. United States, 486 U.S. 531, 108 S. Ct. 1954, 100 L. Ed. 2d 531 (1988).

Mere “garden-variety” discretion receives no protection. See Cope v. Scott, 45 F.3d 445, 448

(D.C.Cir.1995). Only discretionary actions “grounded in social, economic, and political policy”

fall within the exception. See United States v. Gaubert, 499 U.S. at 323, 111 S. Ct. 1267, 113 L.

Ed. 2d 335 (1991).      None of defendants’ violent actions were grounded in any lawfully

constituted public policy.

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 250 of 429




502. As the Circuit Court of the District of Columbia stated in a similar case, “Although the

[Kurdish] security detail’s protective mission was discretionary as a general matter, that does not

mean that every action a [Kurdish] officer may take is an immunized exercise of that discretion.”

Discrete injury-causing actions can, in certain cases, be “sufficiently separable from protected

discretionary decisions to make the discretionary function exception inapplicable” and “do not

fall within the discretionary function exception.” See Usoyan v. Republic of Turkey, 6 F.4th 31

(D.C. Cir. 2021). Moore v. Valder, 65 F.3d 189, 197 (D.C. Cir. 1995), abrogated on other

grounds by Ziglar v. Abbasi, U.S., 137 S. Ct. 1843, 198 L.Ed.2d 290 (2017). U.S. law “does not

rule the world” but there is a presumption that it “governs domestically.” Kiobel v. Royal Dutch

Petroleum Co., 569 U.S. 108, 115, 133 S.Ct. 1659, 185 L.Ed.2d 671 (2013) (quoting Microsoft

Corp. v. AT&T Corp., 550 U.S. 437, 454, 127 S.Ct. 1746, 167 L.Ed.2d 737 (2007)). Defendant

Barzani’s KRG agents violated several District of Columbia laws, including assault with a

dangerous weapon and aggravated assault, see D.C. Code §§ 22-402, 404.01, and committed

civil rights violations under 42 U.S.C. § 1985. These actions occurred during a physical attack

by Kurdish government agents and representatives, in America’s capital, to stifle the First

Amendment rights of people protesting the treatment of a minority group in Iraqi Kurdistan.

503. Plaintiff Shakhwan Abdulrahman acknowledges the Kurdish security detail has a right to

protect Prime Minister Masrour Barzani. The Iran-US Claims Tribunal in Sedco, Inc v Iran

recognized a “police powers” exception thus: “[It is a] principle of international law that a state

is not liable for economic injury which is a consequence of bona fide ‘regulation’ within the

accepted police powers of states.” Sedco, Inc v Iran, 9 Iran-US Claims Tribunal Reports 248, at

para 275. However, defendants Iraqi Kurdistan Regional Government, Masrour Barzani, and his

agents and bodyguards do not have police powers or law enforcement authority inside the United

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 251 of 429




States and did not have discretion to commit criminal assault and battery. The violent assault and

battery committed by Defendant Masrour’s agents against Plaintiff Shakhwan Abdulrahman was

not plausibly grounded in considerations of security-related policy.

504. Plaintiff Shakhwan Abdulrahman suffered physical injuries and emotional distress as a

result of the attack by Defendants Arfan Salih Omer Sherwani and Hamza Salim and sought

medical care. The extent and severity of Plaintiff Shakhwan Abdulrahman’s cumulative injuries

resulting from the attack on him by Defendants Arfan Salih Omer Sherwani and Hamza Salim

are not currently fully known.

505. Plaintiff Shakhwan Abdulrahman also brings this action on his behalf and as representative

of his murderedsister’s estate pursuant to 18 U.S.C. § 2333, which provides that any U.S.

national may sue for an injury sustained “by reason of an act of international terrorism.” 18

U.S.C. § 2333(a). “International terrorism” is defined as activities that: (A) involve violent acts

or acts dangerous to human life that are a violation of the criminal laws of the United States or of

any State, or that would be a criminal violation if committed within the jurisdiction of the United

States or of any State; (B) appear to be intended – (i) to intimidate or coerce a civilian

population; (ii) to influence the policy of a government by intimidation or coercion; or (iii) to

affect the conduct of a government by mass destruction, assassination or kidnapping; and (C)

occur primarily outside the territorial jurisdiction of the United States, or transcend national

boundaries in terms of the means by which they are accomplished, the persons they appear

intended to intimidate or coerce, or the locale in which their perpetrators operate or seek

asylum[.]

506. “An act of international terrorism” subjecting defendants to civil suit under the

Antiterrorism Act (ATA), which, in relevant part, permits “[a]ny national of the United States

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 252 of 429




injured in his or her person, property, or business by reason of an act of international terrorism,

or his or her estate, survivors, or heirs, [to] sue … in any appropriate district court of the United

States.” 18 U.S.C. § 2333(a). Any national of the United States injured in his or her person,

property, or business by reason of an act of international terrorism, or his or her estate, survivors,

or heirs, may sue therefor in any appropriate district court of the United States and shall recover

threefold damages.

507. Plaintiff Shakhwan Abdulrahman also brings this action on his behalf and as representative

of his sister’s estate pursuant to the Alien Tort Claims Act (“ATS”), 28 U.S.C. § 1350. Both

U.S. nationals and foreign nationals may assert federal common law claims, namely, assisting in

the intentional injury of others, reckless disregard of injury to others, wrongful death, survival,

and negligent and intentional infliction of emotional distress against defendants whose actions

meet the statutory requirements, as in the instant case.



       TRANSNATIONAL DELIBERATED EXTRAJUDICIAL DEATH THREATS,

                      REPRESSION, AND EXILE OF AYUB BARZANI

508.    Ayoub Barzani is an internationally recognized Kurdish writer and admired critic. He is

the son of Babo Barzani Barzani, nephew of Ahmed Barzani Ahmed Barzani (the head of the

Barzan tribe), and brother-in-law and first-cousin of Defendant Masoud Barzani Masoud

Barzani, the former President of Iraqi Kurdistan President of Iraqi Kurdistan Region. He is

presently extrajudicially exiled under threat of death should he return to Kurdistan, and is living

in existential dread, and isolated from his family by Defendants Masoud Barzani and Masrour

Barzani in Switzerland, where he is a co-founder of a democracy advocacy organization, counter

to the Barzani-controlled KDP, and known as Kurdistan Democratic Alliance, and lives every

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 253 of 429




day in his hope of seeing his children and grandchildren again which keeps him, amidst mental

torture, from wishing to die.

509.     The Defendant Iraqi Kurdistan Regional Government’s efforts under the direction of

Defendant Masrour Barzani, acting without any and all lawful authority of the Republic of Iraq

or the Defendant Iraqi Kurdistan Regional Government, to overtly and covertly censor,

influence, coerce, and sometimes murder political dissidents to silence them extends far beyond

the Defendant Iraqi Kurdistan Regional Government’s regional borders. In order to monitor his

perceived enemies, agents and representatives, including Barzani family members and family

members by marriage, Defendant Masrour Barzani has scrutinized and disrupted individuals who

post online content, frequently using US-based internet providers. Ayoub Barzani, who at

extreme personal cost and sacrifice, has been and is a distinguished, venerated, peaceful,

outspoken advocate for human rights, the advance of democracy, and of fair and impartial and

accountable justice and the rule of law in the territory of Defendant Iraqi Kurdistan Regional

Government, was targeted by Defendant Masrour Barzani and his agents and representatives,

was forced and ordered by Defendants Masoud Barzani and Masrour Barzani, exercising

imagined and feigned authority not granted by the laws, regulations, or policies of Republic of

Iraq nor the Defendant Iraqi Kurdistan Regional Government, to leave his home in Iraqi

Kurdistan and abandon his family members, thereby intentionally and recklessly inflicting

extreme emotional distress. Ayoub Barzani has been an unlawfully exiled Iraqi Kurd living for

many years as a long-time expatriate resident of Switzerland.

510.     In the calculated and planned efforts of Defendants Masoud Barzani, Masrour Barzani,

Waysi Barzani, and their agents, representatives, and Barzani family members and family

members by marriage, to silence Ayoub Barzani, agents and representatives of Defendants

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 254 of 429




Masoud Barzani and Masrour Barzani, directed and deployed by them, have visited known

associates and family members of Ayoub Barzani and attempted through intimidation, implicit

and expressed threats of bodily harm, enforced disappearance, or assassination, family

imprisonment and isolation, to overtly and covertly dissuade and coerce Ayoub Barzani from

further critical social media postings, writing, and peaceful justice, accountability, and

democracy advocacy with the object to discredit and smear the respected and trusted reputation

of Ayoub Barzani.

511.     Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, including Barzani family members and family members by marriage, operating

under their command, did knowingly and willfully, directly and indirectly, and with the intent to

harass, intimidate, and place under surveillance with the intent to harass and intimidate one or

more persons, conspire to use one or more interactive computer services and electronic

communication systems of interstate commerce, and transmitted through interstate and foreign

commerce in one or more communications containing one or more implicit and expressed threats

to injure the person of another, including Ayoub Barzani, and used one or more other facilities of

interstate and foreign commerce to engage in a course of conduct that caused, attempted to cause

and would be reasonably expected to cause substantial emotional distress to one or more persons

and their immediate family members, contrary to Title 18, United States Code, Section

2261A(2)(B), all part of a broader concerted Barzani Continuing Criminal Enterprise effort to

ban from their venues people whom they say are adversarial toward him/them and to send a

message to millions of exiled Kurds worldwide, including American citizens of Kurdish origin,

that if they don’t fall in line and do what the Barzani political establishment tells them to do –

then they too will be targeted for investigation, indictment, arrest, imprisonment, enforced

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 255 of 429




disappearance, or even murder, thereby alienating and disenfranchising much of the Iraqi

Kurdistan population.

512.     Defendant Masrour Barzani and his agents and representatives, frequently employing

U.S. technology and expertise and personnel, have attempted to pressure and otherwise overtly

and covertly intimidate and threaten and coerce U.S. social media companies and platforms,

through private communications and legal threats, into censoring certain social-media content

and divisive deplatforming, in violation of the First Amendment, to remove posts and stories the

content of which touched on topics deemed problematic and unacceptable by Defendant Masrour

Barzani, which were authored by Ayoub Barzani and supportive U.S.-based and European-based

associates from social media platforms posts and stories removed or downgraded by the

platforms.

513.    In an 8 July 2022 notice, when Defendant Masrour Barzani was at the time and is Prime

Minister of Iraqi Kurdistan, the presiding and actual head of government and head of the

executive power, the U.S. Department of States defined transnational repression as:

              “activities includ[ing] attempts by a government to target
              individuals located outside of its territory for peacefully exercising
              their human rights and fundamental freedoms, through various
              forms of harassment, intimidation, and coercion” ...with
              “condemnation of transnational repression activities occurring in
              the United States and elsewhere. Such activities include attempts
              by a government to target individuals located outside of its
              territory for peacefully exercising their human rights and
              fundamental freedoms, through various forms of harassment,
              intimidation, and coercion.”

514.    The United States Government in its Declaration of Principles to Combat Transnational

Repression, issued at the time Defendant Masrour Barzani was and is Prime Minister of

Defendant Iraqi Kurdistan Regional Government, the presiding and actual head of government

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 256 of 429




and head of the executive power, affirms that “transnational repression is a threat to democracy

and human rights worldwide.”

515.    Transnational repression is governments reaching across borders to silence dissent among

diasporas and exiles, including through assassinations, illegal deportations, abductions, digital

threats, Interpol abuse, and family intimidation. Autocrats today have access to a range of tools

to extend their reach by thousands of miles, sometimes in fractions of a second. Some schemes

rely on 21st century technologies to hack, surveil, and intimidate targets, while others use blunter

tactics such as extortion, abduction, and assassination. This practice of transnational repression

constitutes a wholesale assault on the rule of law internationally.

516.      Insider Confidential Human Sources #1, #2, #3, #4, #5, and #8, who have direct

clandestine access to senior ranking Defendant Iraqi Kurdistan Regional Government officials,

have documented a growing number of instances where Defendants Masrour Barzani and Waysi

Barzani, and their subordinate agents and representatives, including Barzani family members and

family members by marriage, operating under their command, did knowingly and willfully

conspire, commit, and aid and abet, and in connection with, did commit unlawful activity by

using the tools of transnational repression, including violence and intimidation, to reach beyond

the loosely defined borders of Defendant Iraqi Kurdistan Regional Government, to silence

peaceful dissent, and are becoming more aggressive and more coordinated in their efforts to

target, silence, and harass Kurdish opposition voices, including in Europe and the United States,

and perceived threats to their power, commercial money-making ventures both licit and illicit,

and continuing criminal enterprise.

517.     Without lawful authority and in an effort to police the Kurdish diaspora worldwide,

including in the United States, silence political opposition, and suppress or quash the free

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 257 of 429




exchange of information about their regime, and in furtherance of its continuing criminal

enterprise, the Barzani regime, directed, commanded, and controlled by Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani, and its co-conspirators, including Barzani family

members and family members by marriage, did knowingly and willfully, directly and indirectly,

conspire, commit, and aid and abet, and in connection with, unlawful activity, with the intent to

harass and intimidate one or more persons, to place that person and persons in reasonable fear,

that is not imaginary or wholly speculative, of the death, enforced disappearance, and serious

bodily injury, did knowingly and willfully make one or more materially false, fictitious and

fraudulent statements and representations, and to engage in a course of conduct that caused,

attempted to cause and would be reasonably expected to cause substantial emotional distress and

anguish, severe financial deprivation, extreme familial isolation and separation, travel limitations

and restrictions, and forced exile, each and all a form of extrajudicial imprisonment and mental

torture, absent any statute, decree, order, resolution or comparable evidence of sovereign

authorization for any of the actions in question, and were and are not the official policy or the

officially sanctioned policies of the Republic of Iraq, the foreign sovereign, the Defendant Iraqi

Kurdistan Regional Government, or international law or treaty, on Ayoub Barzani in

Switzerland, his children and grandchildren and extended family members in Iraqi Kurdistan and

elsewhere, and others.

518.       From Europe, far outside the territory of Defendant Iraqi Kurdistan Regional

Government, Ayoub Barzani has continually, repeatedly, and peacefully exercised his human

rights and fundamental freedoms and as a result has for more than twenty years suffered endless

planned harassment, intimidation, Defendant Iraqi Kurdistan Regional Government surveillance,

monitored voice conversations, coercion, and the eliciting and publicizing of false derogatory

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 258 of 429




information about Ayoub Barzani. Defendants Masoud Barzani, Masrour Barzani and Waysi

Barzani have engaged other agents to assist in the scheme to undermine Ayoub Barzani –

attempting to falsely discredit him in the eyes of his extended family, fellow Kurds, and the

United States and Europe and the international public. These agents have been directed by

Defendants Masoud Barzani, Masrour Barzani and Waysi Barzani, aided and abetted by their co-

conspirators, subordinates, and representatives, including Barzani family members and family

members by marriage, each and all deceptively, knowingly, and falsely professing to act under

the color of lawful authority of Defendant Iraqi Kurdistan Regional Government, which lawful

authority did not and does not exist.

519.    It was and is an object of the Barzani conspiracy to instigate, perpetuate, and commit acts

in furtherance of the Barzani Continuing Criminal Enterprise specifically intended to threaten

and intimidate Ayoub Barzani and his family, and Plaintiffs, by inflicting severe physical and

mental pain and suffering upon them. Without lawful authority the conspirators did affect,

disrupt, and impede foreign commerce of Ayoub Barzani, all with the object of preserving the

Barzani power base and perpetuating the Barzani continuing criminal enterprise, all to the harm

of the Plaintiffs.

520.    Ayoub Barzani, without lawful authority from the government of the Republic of Iraq or

the Defendant Iraqi Kurdistan Regional Government, and contrary to international law and

treaties and the laws of the Republic of Iraq and the Defendant Iraqi Kurdistan Regional

Government, was extrajudicially expelled from the territory of Defendant Iraqi Kurdistan

Regional Government by Defendant Masoud Barzani after an unsuccessful attempt on Ayoub

Barzani’s life ordered by Defendant Masoud Barzani. Ayoub Barzani was involuntarily and

forcefully expelled from his Kurdistan home without due process or judicial engagement or

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 259 of 429




lawful authority. Defendant Masoud Barzani, without lawful authority, personally ordered and

told Ayoub Barzani: “Leave Kurdistan or be killed.” He was and is forced to live without his

family, including his wife, in isolated exile in Switzerland.   In Kurdish Middle East culture,

there are two ways to inflict pain: physically, and damage the family name.

521.      During his unlawfully and extrajudicially forced extrajudicial exile, Ayoub Barzani

continues to be the recipient of emotional torment, distress, and familial separation anguish

instigated by Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and enforced

by their agents and representatives, including Barzani family members and family members by

marriage. His children and grandchildren are unlawfully kept from him by Defendant Masrour

Barzani and his agents and representatives and detained in territory of Defendant Iraqi Kurdistan

Regional Government, without due process or judicial engagement or lawful authority, by the

Barzani regime controlled by Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani. These acts, in furtherance of the Barzani Continuing Criminal Enterprise, of attempted

murder, forced deliberated extrajudicial exile, and continuing intimidation and physical,

financial, and other endangering threats against him and his extended family, have inflicted

severe mental and extreme emotional pain and suffering for over twenty years. For over twenty

years the Barzani regime, directed and commanded by Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, has inflicted constant and severe humiliation on Ayoub Barzani’s

brothers, who at the command and direction of Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani, and public and social media humiliation efforts under their command and

direction, are treated like lepers.

522.    Through unlawful orchestrated intimidation and fear, which is not imaginary nor wholly

speculative, induced by violence at the unlawful command and direction of Defendants Masoud

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 260 of 429




Barzani, Masrour Barzani, and Waysi Barzani, resulting in forced societal isolation and financial

deprivation of Ayoub Barzani, and intentional destruction of his family reputation and

association (the biggest and most severe form of torture and suffering in Kurdish culture),

including preventing people from speaking to them.

523.    The most extreme, severe, and purposeful mental torture and painful familial humiliation

inflicted by Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, acting contrary to the laws of the Government of the Republic of Iraq and the

Defendant Iraqi Kurdistan Regional Government and international law, was their coordinated,

willful, and wholly unlawful denial and prevention of Ayoub Barzani to attend the funeral of his

beloved wife in Iraqi Kurdistan – an intentionally inflicted pain and public humiliation, a form of

torture very significant in Kurdish culture, which was widely noted throughout Iraqi Kurdistan

and the global Kurdish diaspora.

524.     Under the doctrine of command responsibility, Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani are legally responsible for the unlawful torture, suffering, and

prolonged and sustained mental, emotional, psychological, and reputational anguish of Ayoub

Barzani and his family members inflicted at the command of Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani and perpetuated as part of the Barzani Continuing Criminal

Enterprise and the pursuit of its objectives for illicit financial gain and to injure Plaintiffs.



   DELIBERATED EXTRAJUDICIAL EXILE AND DEATH THREATS TO KAMAL

525.    Another representative example of a Kurd living in constant fear, which is not imaginary

nor wholly speculative, in forced exile – among thousands of other such refugees – is “Kamal”, a

peaceful scholarly dissident and advocate for democracy, accountability, legality, and

                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 261 of 429




transparency of governance, who with his immediate family, was extrajudicially forced to flee

Iraqi Kurdistan by Defendants Masoud Barzani and Masrour Barzani, without legal authority of

the laws, regulations, or policies of the Republic of Iraq or the Defendant Iraqi Kurdistan

Regional Government, and has lived in Sweden in fear, which is not imaginary nor wholly

speculative, in arbitrarily and extrajudicially imposed exile for twenty years. In furtherance of

the objectives and purposes of the Barzani Continuing Criminal Enterprise, and absent lawful

evidence or proper due process, Confidential Human Source #1 reports “Kamal” has been

indicted in the acquiescent Defendant Iraqi Kurdistan Regional Government judicial system

controlled and commanded by Defendants Masoud Barzani and Masrour Barzani in at least

eighty-seven mostly secret legal cases. While living in Sweden, Kamal has been the victim of at

least two Barzani-directed (and unsuccessful) assassination attempts in Sweden.



               DELIBERATED EXTRAJUDICIAL EXILE AND THREATS

                                TO TWANA NODER KARIM

526.     Another representative example of a Kurd living in constant fear, anxiety, fright, and

worry, which is not imaginary nor wholly speculative, in deliberated extrajudicial exile, ordered,

forced, and persisted by Defendants Masoud Barzani and Masrour Barzani, and their agents and

representatives serving at their command and direction, is Twana Noder Karim, aka Qader

Nader, a Kurdish activist journalist living in exile in Sweden. He was physically attacked in

Stockholm, outside his home, by two men of the United Tribuns organized crime mafia

employed in Europe by the Iraqi Parastin, a subordinate agency of the Defendant Iraqi Kurdistan

Regional Government and who function at the command and control of Defendant Masrour

Barzani, and directed by Defendant Herish Rash, head of Parastin who became Peshmerga in

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 262 of 429




1987. At the command of Defendants Masoud Barzani and Masrour Barzani, and absent any and

all legal authority, Iraqi KDP Parastin has killed hundreds of people. KDP Parastin is directly

commanded and controlled by Defendant Masrour Barzani, and by Defendant Ahmad Kurdu

Nori, the Barzani’s and Rash’s representative and agent in Nuremberg, Germany. Confidential

Human SourceSources #5 and #8, who have direct clandestine access to senior ranking

Defendant Iraqi Kurdistan Regional Government and KDP party officials, and especially to

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani and their immediate

subordinates, reportsreport that Parastin officials, aiding and abetting and acting as directed by

Defendant Masrour Barzani, issued the assassination order, and which was communicated to an

Iraqi KDP hitman Defendant “Shalawo”. Confidential Human Source #9, a servant in the

Barzani household, and who has direct clandestine access to senior ranking Defendant Iraqi

Kurdistan Regional Government and KDP party officials, and especially to Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani and their immediate subordinates and family,

witnessed the order being given to assassinate three exiled Kurds in Europe, including Twana.

All such orders in Defendant Iraqi Kurdistan Regional Government are verbal.



   DELIBERATED EXTRAJUDICIAL EXILE AND THREATS TO FATAH ZAXOIY

527.      Confidential Human Source #1 disclosed yet another example of an Iraqi Kurd

unlawfully forced into exile by Defendant Masrour Barzani – Kurdish exile Fatah Zaxoiy. Mr.

Zaxoiy was the target of a Barzani ordered assassination attempt that failed. Zaxoiy now lives in

forced extrajudicial exile in Canada.



         DELIBERATED EXTRAJUDICIAL IMPRISONMENT AND TORTURE

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 263 of 429




                  OF ROZHGAR RIZGAR MOHAMMED MOHYADDIN

528.    Rozhgar Rizgar Mohammed Mohyaddin is a Kurdish Iraqi from the Kurdistan province

of Sulaimani. On May 1, 2019, he was serving as the head of the guards for the Minister of

Finance of the Defendant Iraqi Kurdistan Regional Government when he was seized and

abducted, without legal justification or authorization, by agents of Asayish, which is commanded

and directed by Defendant KRG prime minister Masrour Barzani. He was initially confined

within the grim walls of a civil building in the Bakhtiari Quarter. The property where he was

held captive, Bakhtiyari, is associated with the KRG Ministry of Finance and overseen by Rebaz

Hamlan, the KRG Finance Minister at the time under the command and control of Defendant

KRG prime minister Masrour Barzani. Later, Rozhgar was forcibly transferred to the austere

confines of the general directorate of Asayish in Erbil, also under the command and control of

Defendant KRG prime minister Masrour Barzani.

529.    During his captivity, which lasted 27 months, he endured physical beatings and torture

for many days, left to suffer in a small dark chamber. This relentless mistreatment stripped him

of all semblance of humanity. Psychological tactics used by police “undermin[e]” the

individual's “will to resist,” and “the very fact of custodial interrogation . . . trades on the

weakness of individuals”). See Miranda v. Arizona, 384 U.S. 436, 455 (1966).

530. Rozhgar suffered emotionally through isolation, fear, and uncertainty throughout his entire

captivity. He suffered mental and emotional despair, with each day bringing new anguish. For

many months he was deprived of medical care, and later in his imprisonment he had limited

access to medication, which further exacerbated his mental and emotional and physical suffering.

During his imprisonment he was not allowed to communicate with his spouse and family. To the

present day he suffers from post-traumatic stress disorder and emotional and psychological pain.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 264 of 429




531.    Rozhgar describes his being “stripped of all semblance of humanity” as characterizing the

inherently coercive and inhumane treatment he endured, including isolation, denial of contact

with family, lack of legal representation, absence of due process, and complete dehumanization

he experienced during his captivity.

532.    During his 27-months of imprisonment, Rozhgar was never advised of any legal rights,

was never given oral or written notice of the charges warranting his confinement, was never

allowed to consult with or speak to an attorney, was never arraigned before any magistrate, was

never held for trial before any magistrate, and was never informed of any judicial sentence. Each

of these deprivations are a violation of the Constitution of the Republic of Iraq, which guarantees

the rule of law, a presumption of innocence, right to counsel, and right to a public trial. Legal

redress in the corrupted judicial system of Defendant Iraqi Kurdistan Regional Government,

commanded and controlled by Defendant prime minister Masrour Barzani, is neither credible nor

available. Lacking any notice from any court or magistrate, he was released on December 22,

2022.



         DELIBERATED EXTRAJUDICIAL EXILE AND DEATH THREATS TO

             AND UNLAWFUL EXPROPRIATION OF PROPERTY RIGHTS

                        OF QASIM OMER ABDULAKDIR BNDEAN

533.    Coercive behavior can include the inherent violation of a range of rights, such as freedom

of speech and of the press, repression in physical integrity rights, such as disappearances,

political imprisonments, and the killing and torture of dissidents and other groups by state agents.

Repression and expropriation, in which rights in property are taken in violation of international

law, are interrelated: both are part of the Barzani Continuing Criminal Enterprise’s and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 265 of 429




Defendant Iraqi Kurdistan Regional Government’s state repertoire of coercive activities,

coercive state strategies of repression, intimidation and coercion against its own citizens and

others, human rights violations, suppression of expression, cruelty, corporate complicity in

various human rights violations, unlawful expropriation of private property and private business

interests, and other repressive state and individual and commercial behavior by the Defendant

Iraqi Kurdistan Regional Government and its principal officers, acting as individuals without

lawful authority, under the control and command of Defendant Masrour Barzani.

534.    In the instant case, the plaintiffs do not bring a basic international law expropriation

claim, but present such unlawful expropriation of private property and private business interests

as part and parcel of the continuing criminal conduct of Defendant Kurdistan Regional

Government, its affiliated KDP, the Barzani family members and family members by marriage,

and other corporate entities where the Barzani beneficial ownership and financial interest is

hidden, all part of the Barzani Continuing Criminal Enterprise to harm Plaintiffs and others, and

thereby through “a handful of heinous actions – each of which violates definable, universal and

obligatory norms” (See Tel-Oren v. Libyan Arab Republic, 726 F.2d 774, 782 (D.C. Cir. 1984)),

causing irreparable damage to the Plaintiffs. Mr. Bndean’s civil rights have been severely

infringed.

535.    Qasim Omer Abdulakdir Bndean is a Kurd living near London, England, in exile born of

fear that he will be singled out for persecution or other severe harm by the BCCE on account of

speaking freely against the corruption of the Barzani regime. He is a citizen of Iraq and since the

1980s additionally holds citizenship of Sweden. Mr. Bndean lives in constant peril and fear of

being killed by the Barzani Defendants. In 2016, he was interviewed on a Kurdish television

channel in Sweden. During that interview, and for his first time, he revealed on air the

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 266 of 429




staggering amount of illegal oil contracts, totaling billions of U.S. dollars, perpetuated by the

Barzani Continuing Criminal Enterprise. Retaliatory threats have continued since that time,

including expropriation of Mr. Bndean’s commercial and investment interests in Iraqi Kurdistan

by agents, representatives, and co-conspirators of the BCCE and in close association with

Defendant Masrour Barzani. Succinctly stated, they stole his properties and commercial rights.

These acts constitute “malicious interference with an existing contractual relationship,” (See Jin

v. Ministry of State Security, 557 F. Supp. 2d 131, 136 (D.C. 2008), which qualifies as

commercial activities to invoke the FSIA subject-matter jurisdiction of this court (Jin at 142),

causing severe economic harm to Mr. Brdean and his company Wzakan, and to U.S. business

grantors of Wzakan’s hotel licenses. Mr. Bndean received no due process, no legal process, and

no compensation for this illegal expropriation facilitated by the criminally corrupt Iraqi

Kurdistan Regional Government and its co-conspirators and front companies.

536.    Continuing to the present time, Mr. Bndean began to receive death threats by way of

social media, posted by Rahand Kurdi, a known associate in Iraqi Kurdistan of Defendants

Masoud Barzani and Masrour Barzani. In his social media posts, Mr. Rahand self-identifies as

KRG security chief and KDP member. The KRG security is under the command, control, and

supervision of Defendant KRG prime minister Masrour Barzani. In those same death threat

postings Mr. Kurdi repeatedly expressed support for and allegiance to Defendant KRG prime

minister Masrour Barzani, wherein Mr. Rahand called on “loyalists” to the Barzani regime to

“sacrifice anyone” and “cut into pieces and hang it in the city so that it will become a lesson,”

and “must be killed at any cost,” and “go and kill them.” Because of these and other death

threats, Mr. Bndean has lived in exile, in constant fear for his life, fears to speak out freely




                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 267 of 429




without anxiety of personal or familial physical or economic harm, and because of that fear was

unable to return to Iraq for the funerals of his brother and sister.

537.    In a media interview with Xandan Online News website in Kurdistan, Mr. Bndean

exposed the corruption of the Dabin Group, controlled by Defendant Masrour Barzani and the

BCCE. It, and its associates, reciprocated by severing the electricity to his residence thereby

causing him and his family to reside in darkness and harsh, cold conditions.

538.    For time immemorial it is a well settled principle of international law that sovereigns

possess the power of dominium eminens as an inherent attribute of their political authority to take

or expropriate private property for “public uses, when public necessity or utility require it,” (see

Gardner v. Village of Newburgh, 2 Johns. Ch. 162, 167 (1816)), but on the basis of due process

of law, equitable indemnification, and just compensation to the aggrieved private stakeholder.

The BCCE took rights in property without making just compensation at the time or to the present

day and without due process of law, in violation of the International Law Commission’s Article

on State Responsibility and of Iraq law, and which do not authorize the Defendant Iraqi

Kurdistan Regional Government, Defendant prime minister Masrour Barzan, and/or its agents

and representatives to enlarge or abridge those rights of law. These claims fit within the FSIA’s

“expropriation exception,” which provides jurisdiction over certain claims involving "rights in

property taken in violation of international law." See 28 U.S.C. 1605(a)(3). The World Bank

Guidelines on Expropriation and Unilateral Alterations or Termination of Contracts, state that:

“A state may not expropriate or otherwise take in whole or in part a foreign private investment in

its territory, or take measures which have similar effects, except where this is done in accordance

with applicable legal procedures, in pursuance in good faith of a public purpose, without

discrimination on the basis of nationality and against the payment of appropriate compensation”.

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 268 of 429




In the instant example, no expropriation review mechanism was existent; expropriation was

without due process by an independent administrative authority or tribunal of the state,

indemnification, compensation, or judicial adjudication and is a salient breach of international

law and of Article 17 of the Universal Declaration of Human Rights, causing severe and lasting

economic and emotional harm to Mr. Brdean, Wzakan, and to Wzakan’s investors. (The

Universal Declaration, while not a treaty, has come to be accepted internationally as an

important legal document.)



       DELIBERATED EXTRAJUDICIAL IMPRISONMENT AND TORTURE OF

                          AMERICAN CITIZEN SIDQI BRADOSTI

539.      American citizen Sidqi Bradosti was detained and falsely imprisoned by Asayish

(Kurdish Security) agents of the Defendant Iraqi Kurdistan Regional Government acting under

the direction and command of Defendants Masoud Barzani, Masrour Barzani and Waysi Barzani.

Defendants, and their agents and representatives, including Barzani family members and family

members by marriage, knew and intended that the arbitrary arrest on false criminal charges

would be utilized by Iraqi KDP officers, each an employee or agent of the Defendant Iraqi

Kurdistan Regional Government and operating under Defendants’ command and direction, to

eavesdrop, tap and intercept the communications of Sidqi Bradosti while incarcerated; surveil,

detect, monitor and track his online communication; apprehend, interrogate, ideologically

persuade and in other ways torture and detain him because of his political beliefs, with the

specific purpose of suppressing Sidqi Bradosti’s political beliefs through the perpetration of

these and other egregious human rights abuses against him, all in violation of international,

United States, Iraq, and Defendant Iraqi Kurdistan Regional Government law.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 269 of 429




540.    The Court of Appeals for the District of Columbia Circuit held that “Government conduct

that ‘shocks the conscience’ violates the Fifth Amendment guarantee against deprivation of ‘life,

liberty, or property, without due process of law.’” See Harbury v. Deutch, 233 F.3d 596, 602

(D.C. Cir. 2000), quoting Rochin V. California, 342 U.S. 165, 172-173, 72 S. Ct, 205, 96 L. Ed.

183 (1952). The conduct of the agents of the Defendant Iraqi Kurdistan Regional Government,

under the command and control of Defendant Masrour Barzani, a United States person, though

acting without lawful authority but in the name of government, shocks the conscience, (noting

that the Due Process Clause must at least "give protection against torture, physical or mental").

Benton v. Maryland 395 U.S. 784, 89 S. Ct. 2056, 23 L.Ed.2d 707 (1969).

541.      The state security service Asayish (al-amn al-’am, or asayish in Kurdish) is not an

ordinary crime control apparatus. While it does perform some standard crime control police

functions, Asayish differs exponentially from all standard crime control initiatives in scale,

complexity, intelligence, and technological sophistication – all of which are directly related to its

major purpose or functionality, i.e., to find, track, and suppress, through arbitrary and

discriminatory enforcement, dissenters to the Barzani regime wherever found in Iraqi Kurdistan

and worldwide. DefendantDefendants Masrour Barzani and Waysi Barzani, along with other

subordinate Defendant Iraqi Kurdistan Regional Government officials and KDP party officers,

set policy for Asayish and micromanage the persecution and elimination of political dissidents,

and provide extensive resource support to the persecutory purpose of its Asayish apparatus. This

resource support includes technology to secure provincial security databases, allowing for

thorough cross-checking of names, affiliations, political behavior, family history, and

“footprints” for the surveillance, apprehension, and suppression of unlawfully targeted

individuals, including Sidqi Bradosti. It even includes the capacity and technology needed to

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 270 of 429




read the content of email, figure out if someone had uploaded a new website, and monitor the

Internet surfing history and email of designated persons, for repressive uses in furtherance of the

Barzani CCE persecutory objective. According to a recent Human Rights Watch report, the

Asayish has detained hundreds of suspects without trial and often for years, most of whom were

allegedly tortured and ill-treated in establishments which, over time, have morphed into symbols

of oppression, where dissent is crushed, and voices silenced.

542.     The arrest of Sidqi Bradosti, on false and fabricated criminal charges, was just such –

conducted outside of the authority of the state and without the constraint of legal due process or

any form of objective hearing or regulation or law. Instead, Asayish agents, each an employee or

agent of the Defendant Iraqi Kurdistan Regional Government, aware of the widespread

persecutory campaign against so-called dissidents and under the command of Defendants

Masrour Barzani and Waysi Barzani who exercise a high level of control over day-to-day

operations, relied on party orders and officers to identify targets, ban targets and their activities,

initiate their condemnation in the KDP’s official mouthpieces, and then subject them to violent

persecution either through direct action by KDP personnel or via low-level Defendant Iraqi

Kurdistan Regional Government officers. The scope of the campaign by the Barzani Continuing

Criminal Enterprise, including the inhumane treatment and torture and other forms of severe

abuse employed to persecute so-called dissidents, is common knowledge amongst Kurds both

inside and outside of Iraqi Kurdistan, has been documented by the Special Rapporteur of the

United Nations Human Rights Council, and continues at the present time.

543.    The life of Sidqi Bradosti, who’s previously sterling reputation has been dragged through

the mud, and those of his family are irreparably altered by his baseless arrest and prosecution.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 271 of 429




544.     Targets of the Barzani Continuing Criminal Enterprise, including Sidqi Bradosti, are

purposefully and calculatedly subjected to public, community, familial, and personal

demonization and humiliation, beatings, ideological conversion and other forms of inhumane

treatment and torture in ad hoc Iraqi KDP detention facilities, a system of initial administrative

detention imposed without judicial authorization or review. Beginning in his first week in

detention, Sidqi was tortured and interrogated.

545.     The demonization of such individuals, including Sidqi Bradosti, as state enemies, anti-

humanity, anti-society, dangerous criminals and other dehumanizing comparisons has been used

by the Iraqi KDP and the Barzani Continuing Criminal Enterprise to instigate, incite and justify

the human rights abuses carried out against successive target individuals including Sidqi

Bradosti, peaceful reformist intellectuals, and pro-democracy advocates.

546.     So-called dissidents, including Sidqi Bradosti, are demonized by Defendant Masrour

Barzani, Waysi Barzani, and their agents and representatives, as “party enemies,” “hostile

elements,” “terrorists” and other dehumanizing and discrediting imagery to legitimize their

regular subjection to human rights abuses.

547.    At all relevant times, defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani,

acting as senior Defendant Iraqi Kurdistan Regional Government officials, were and are part of a

pattern and practice of systematic, systemic, and unlawful human rights violations committed in

Iraqi Kurdistan, and bear personal responsibility.

548.     As members of the highest Defendant Iraqi Kurdistan Regional Government leadership,

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani had and have a duty – under

customary international law, multilateral treaties, Iraq law, and Kurdistan law – to ensure the

protection of prisoners; to prevent violations of international law by the prison and security

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 272 of 429




personnel; and to ensure that all persons under their command were trained in, and complied

with Iraq law, Defendant Iraqi Kurdistan Regional Government law, and international law,

including the Iraq, Defendant Iraqi Kurdistan Regional Government, and international law

prohibitions against torture, crimes against humanity, arbitrary detention, and cruel, inhuman and

degrading treatment or punishment. Further, the Defendants were under a duty to investigate,

prevent and punish violations of Iraq law, Defendant Iraqi Kurdistan Regional Government law,

and international law committed by officials and staff of the prison and Asayish security forces

under their command.

549.    Defendants Masrour Barzani and Waysi Barzani, and their co-conspirators, conspired to

violate Iraq law, Defendant Iraqi Kurdistan Regional Government law, and international and

domestic law and carried out a series of overt acts in furtherance of this conspiracy, including

inter alia, detaining and torturing Sidqi Bradosti and forcing him to witness the torture of others.

Defendants and their co-conspirators further conspired to conceal and cover up these violations

of Iraq law, Defendant Iraqi Kurdistan Regional Government law, and international and domestic

law in furtherance of this conspiracy.

550.    As an ulterior but parallel motive of the efforts by Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, and their agents, representatives, including Barzani family members

and family members by marriage, through anti-competitive practices, to control and monopolize

all Iraqi Kurdistan commerce, licit and illicit, by holding and increasing its monopolistic market

share and continuing to generate enormous profits, conspired and acted to destroy, degrade, and

eliminate commercial competition by sabotaging and debasing the established and respected

reputation of a prominent family and the long-established relationship of the Bradosti family

with the government of Turkey.       Under the command and control of Defendants Masrour

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 273 of 429




Barzani and Waysi Barzani, the Iraqi KDP broadcast the videoed photographs of Sidqi Bradosti,

characterized as a terrorist, on Iraqi KDP owned and controlled television with the willful,

purposeful, and calculated objective to soil Sidqi Bradosti’s established reputation for Barzani

Continuing Criminal Enterprise economic and financial gain, with the object of taking for their

own commercial businesses contracts Sidqi Bradosti and his business interests had with the

United States Government military.

551.    Under Iraq and Defendant Iraqi Kurdistan Regional Government law, its citizens are free

to associate and practice their beliefs and speak and express freely without fear, that is not

imaginary or wholly speculative, of systematic persecutory reprisal anywhere. However, under

the command, control, and direction of Defendants Masoud Barzani, Masrour Barzani and Waysi

Barzani, the Defendant Iraqi Kurdistan Regional Government and KDP, operationally

indistinguishable in practicality, and both controlled by Masoud Barzani, Masrour Barzani, and

Waysi Barzani, their agents, representatives, including Barzani family members and family

members by marriage, as masters of deception and centralized power, emphasized the Barzani

leadership over all aspects of governance, and breached their duties and have implemented a

widespread persecutory campaign against those Iraqi Kurds, including Sidqi Bradosti, politically

opposed to the Barzani regime to ideologically convert and suppress political and ideological

opponents, real and perceived, controlling the message, censoring speech and expression, and

controlling the opposition, through inhumane treatment, torture, enforced disappearance, murder

and in other unlawful ways, frequently aiding and abetting foreign intelligence activities in

alleged human rights and trade violations, all contrary to and not authorized by Iraq law or

Defendant Iraqi Kurdistan Regional Government law. Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, and their agents and representatives, including Iraqi KDP party

                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 274 of 429




agents and low-level security officers under their direct command and control have operated and

continue to operate ultra vires, i.e., outside of and beyond the constraints of statutory law or

precedent or government regulations or treaties and agreements.

552.       To ensure the suppression of Iraqi Kurdish citizens, and family members including their

sons and daughters, where they live etc., who are deemed by Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, and their agents and representatives, Barzani family

members and family members by marriage, to be a real or potential threat to Barzani influence

and ideological and commercial control and the Barzani Continuing Criminal Enterprise, are still

today systematically targeted, often using proprietary American technology, that they

specifically tailor and deploy to surveil, torture and in other ways suppress dissent and for human

rights abuse.      These activities include, but are not limited to, arbitrary arrest, detention,

harassment, inhumane treatment, mental and physical torture, and death resulting from torture

and other abuse, and instill a reasonable fear of reprisals against themselves and members of

their families. The resulting reasonable fear of reprisals against themselves or members of their

families residing in Kurdistan and the impossibility of safely conducting investigation and

discovery in Iraqi Kurdistan, serves as an insurmountable deterrent to obtain any form of legal

redress.

553.       Parallel and complementary to technology abuses, Defendants Masoud Barzani, Masrour

Barzani, Waysi Barzani, and their agents, representatives, and Barzani family members and

family members by marriage, regularly employ, retain, contract, and otherwise engage recent

former diplomatic, administrative, intelligence, and military personnel of the United States

Government who were trained by the United States Government and thus knowledgeable as to its

inside workings, policies, procedures, rules, tactics, and secrets, who thus become collaborative,

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 275 of 429




complicit, and conspirator agents and representatives in the Barzani Continuing Criminal

Enterprise to further, expand, and profit from its illicit continuing criminal enterprise.

554.     Defendants furthered, facilitated, purposefully authorized, participated in, and ratified

alleged realistic and impending threat of direct injury, abuses, and all tortious conduct in all

factual allegations herein, with knowledge and intent, and who’s activities were the proximate

cause of Sidqi Bradosti’s injury in fact. Sidqi Bradosti as an incarcerated prisoner was in no

position or capacity to evade or avoid injury.

555.     In a clear and premeditated miscarriage of and denial of justice against a citizen of the

United States, and with an astounding paucity of credible evidence, criminal charges against

Sidqi Bradosti were fabricated and material facts were knowingly misstated, ignored, or hidden

in an orchestrated malicious prosecution, abuse of process, misrepresentation, and deceit, and in

a culture of sustained impunity at the command of Defendants Masoud Barzani, Masrour Barzani

and Waysi Barzani as part of Defendants’ criminal enterprise object to maintain power,

unlawfully    enrich   themselves,     eliminate   commercial     competition,    avoid      appropriate

accountability, and sow fear, that is not imaginary or wholly speculative, in the hearts of

opponents and perceived potential opponents including precipitating a retaliatory spiral, to enrich

themselves and provide a means to harm Plaintiffs, all of which are criminal activities in

violation of 18 U.S.C. §§ 242 and 2.

556.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their direct

subordinates operating under their command and control, have, contrary to Iraq law and

Defendant Iraqi Kurdistan Regional Government law and without lawful authority, repeatedly,

frequently, nefariously, and extrajudicially used the force of Defendant Iraqi Kurdistan Regional

Government to target and imprison their real and perceived political, commercial, and financial

                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 276 of 429




opposition, as they have done to Sidqi Bradosti, perpetrating on him human rights violations,

especially violations of privacy, freedom of expression, freedom of association, and freedom of

liberty, and physical abuse in the form of unlawful arrest and detention.

557.      While deprived of individual liberty and incarcerated by and at the direction of

Defendants, and as a direct and proximate result of Defendants’ breach of official duties, Sidqi

Bradosti suffered bestial, brutish, and barbaric action injuries, including pain and suffering,

which required medical treatment, and a resultant prolonged detrimental effect on his physical

and mental health.

558.      Sidqi Bradosti has long suffered from epilepsy, predating his incarceration. At the

beginning of his incarceration, and despite his blatantly ignored pleas and pleas by his family,

Sidqi’s essential prescription medications were knowingly, intentionally, and sadistically

withheld from him at the direction of Defendants. Sidqi’s arrest and incarceration on fabricated

charges, with inclusion of fictitious evidence and not supported by the facts of their

investigation, was directed by Defendant, Masrour Barzani, and carried out by Defendant, Waysi

Barzani, head of Defendant Iraqi Kurdistan Regional Government intelligence; Defendant

Dilshad Yousef, of Defendant Iraqi Kurdistan Regional Government security, and Ismat Argoshi,

of Defendant Iraqi Kurdistan Regional Government security. These individuals, as well as other

employees and agents operating under their direction, engaged in a systematic fabrication

accompanied by prejudicial outside influences, preventing a fair and orderly administration of

justice, in order to obtain a conviction of an American citizen, thereby knowingly depriving him

of all his Constitutional and legal rights accorded by laws of the Republic of Iraq, Defendant

Iraqi Kurdistan Regional Government, and the United States, by the law of nations, and by

international treaty and convention.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 277 of 429




559.     The arrest of Sidqi Bradosti caused severe and traumatic emotional and psychological

harm and distress to his spouse, suffering from the agonizing uncertainty of not knowing whether

her husband was dead or alive, and to their three children, each a citizen of the United States of

America, who were terrified and overcome by fear and paranoia which is not imaginary nor

wholly speculative. See Clapper v. Amnesty Int’l USA, 568 U.S. 398, 416 (2013). Upon Sidqi’s

arrest, Defendant Ismat Argoshi, with subordinate colleagues, acting as part of Defendants’

criminal enterprise to gain wealth and maintain power ordered his subordinates to go to the

Bradosti residence, where, by use of force and illegal entry, and having the apparent cloak of

authority over the Bradosti household, and using foreboding, inflammatory, and threatening

phraseology, pillaged and violently destroyed its furnishings, removed money and personal

items, causing members of the Bradosti family to fear, which is not imaginary nor wholly

speculative, for their lives and suffer from immense mental and emotional dread and terror.

Haza Mustafa Mahmood Bradosti, spouse of Sidqi Bradosti, suffered horrific violation and

deprivation of dignity, a profound sense of injustice and pain, that has caused her immense

physical and emotional trauma that she will carry for the rest of her life.

560.    Sidqi Bradosti was incarcerated in the summer of 2019 in a jail operated by the Kurdistan

Democratic Party and held against his will and inhumanely treated and tortured during the time

he was incarcerated in the perilous Asayish jail in Erbil, Kurdistan, Iraq – a facility responsible

for the custody, control, care and safety of inmates, including “pretrial detainees” (people who

have been detained following arrest, but have not yet been convicted of committing an offense).

561.     In its 2020 Country Reports on Human Rights Practices: Iraq, at a time Defendant

Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional Government, the




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 278 of 429




presiding and actual head of government and head of the executive power, the United States

Department of State published a report supporting Sidqi Bradosti’s account of his arrest:

               “Impunity effectively existed for government officials and security
               force personnel, including the Iraqi Security Forces, Federal
               Police, Popular Mobilization Forces, and certain units of
               Kurdistan Regional Government Asayish internal security
               services.”

               “There were numerous reports of arbitrary arrest or unlawful
               detention by government forces, including the ISF [Iraqi Security
               Forces], NSS [National Security Service], PMF [Popular
               Mobilization Forces], Peshmerga, and Asayish.”

               “Officials in federal Iraq and the IKR [Iraqi Kurdistan Region]
               frequently engaged in corrupt practices with impunity.”

The Asayish, reporting directly to and commanded by Defendants Masrour Barzani and Waysi

Barzani, are responsible for maintaining the internal security of the Defendant Iraqi Kurdistan

Regional Government alongside the Defendant Iraqi Kurdistan Regional Government police,

also controlled, commanded, and directed by Defendants Masrour Barzani and Waysi Barzani as

employees and agents of the Defendant Iraqi Kurdistan Regional Government.

562.      The courts of the Defendant Iraqi Kurdistan Regional Government have no judicial

independence, conduct themselves in a manner incompatible with the role of courts in the

administration of justice, are puppet operatives of the corrupt, tyrannical, and dictatorial Barzani

regime which controls all the levers of power, and serves the criminal enterprise operated by

Defendants to inhumanely treat, torture, kill, and bring fear, which is not imaginary nor wholly

speculative, and coercion to silence and eliminate all opposition – all with the object of obtaining

money and wealth and power by unlawful means, and provide the financial capacity to harm the

Plaintiffs.


                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 279 of 429




563.     A senior official of the U. S. Department of Defense, in a published written document,

reported “The highly centralized judicial system under the two KRG Ministries of Justice (MOJ)

was not independent and lacked a constitutional court and uniform legal code.”

564.      In its 2022 Country Report on Human Rights Practices: Iraq, at a time Defendant

Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional Government, the

presiding and actual head of government and head of the executive power, the United States

Department of State report supports Sidqi Bradosti’s account of the continuing actions by

Defendants to maintain power and gain wealth:

               The Kurdistan Judicial Council is legally, financially, and
               administratively independent from the KRG Ministry of Justice, but
               KRG senior leaders reportedly influenced politically sensitive
               cases.   The IKR’s strongest political parties, the Kurdistan
               Democratic Party (KDP) and the Patriotic Union of Kurdistan
               (PUK) also reportedly influenced judicial appointments and
               rulings.

               Corruption or intimidation reportedly influenced some judges in
               criminal cases at the trial level and on appeal at the Court of
               Cassation.

               Numerous threats and killings by sectarian, tribal, violent
               extremist, and criminal elements impaired judicial independence.

               … Defendants and their attorneys were not always granted access
               to evidence, or government officials demanded a bribe in exchange
               for access to the case files. In numerous cases judges reportedly
               relied on forced or coerced confessions as the primary or sole
               source of evidence in convictions, without the corroboration of
               forensic evidence or independent witness testimony. …

               …Although the constitution prohibits torture and forced
               confessions, there is no law setting out the legal conditions and
               procedural safeguards to prevent torture.       Torture in jails,
               detention facilities, and prisons was often hidden from effective
               legal oversight. Moreover, the types of conduct that constitute

                                                48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 280 of 429




       torture are not legally defined under the law, and the law gives
       judges full discretion to determine whether a defendant’s
       confession is admissible, often without regard for the way it was
       obtained.    Courts routinely accepted forced confessions as
       evidence, which in some ISIS-related counterterrorism cases was
       the only evidence considered. Numerous reports from local and
       international NGOs indicated government officials employed
       torture and other cruel, inhuman, or degrading treatment or
       punishment. Federal Police, the PMF, and certain units of
       Kurdistan Regional Government (KRG) Asayish internal security
       services operated with impunity.

       Human rights organizations reported both Interior Ministry and
       Defense Ministry personnel tortured detainees. According to
       government forensics officials, some victims showed signs of
       extensive beatings, in addition to bone fractures. Local NGOs
       reported deaths at pretrial detention facilities, deportation prisons,
       and prisons were due to the continuation of systematic torture and
       the poor conditions in detention centers.

       On March 21, the GCHR issued a report documenting dozens of
       allegations of torture of detainees including through beating,
       hanging, and suffocation between 2019 and year’s end. In a
       September report, the GCHR alleged “systematic perpetration of
       torture in places of detention [and] the fostering of a culture of
       impunity through a reliance on forced confessions and a lack of
       effective investigations into allegations of torture.”

       In April the UN Committee against Torture (CAT) reported in its
       second periodic report the committee received reports “indicating
       that persons in custody, including in the facilities under the
       authority of security forces and facilities reportedly unknown to
       detainees’ families, were subjected to torture or ill treatment,
       particularly during the investigation stage of the proceedings.”
       The committee also observed that the existing mechanisms to
       receive and investigate complaints of torture were “not leading in
       practice to meaningful accountability for perpetrators.”

       Prison and detention center conditions were harsh and
       occasionally life threatening due to food shortages, gross


                                        48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 281 of 429




              overcrowding, physical abuse, inadequate sanitary conditions and
              medical care, and the threat of communicable illnesses.

              In May the United Nations Committee against Torture reported its
              concern “about continued reports of torture or ill treatment in
              detention facilities”

              Human rights organizations reported the ISF, among them the
              Federal Police, the NSS, the PMF, as well as the Peshmerga and
              Asayish security forces in the Kurdistan Region, frequently ignored
              the law.

              According to the IHRCKR, some detainees remained in KRG
              internal security service facilities for extended periods even after
              court orders were issued for their release.

              Reports from international human rights groups stated government
              forces, including Federal Police, the NSS, the PMF, and Asayish,
              abused prisoners and detainees…

565.     In the United Nations High Commissioner for Human Rights report entitled Human

Rights and Freedom of Expression: Trials in the Kurdistan Region of Iraq, at a time Defendant

Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional Government, the

presiding and actual head of government and head of the executive power, an evidence-based

analysis of the administration of justice in Defendant Iraqi Kurdistan Regional Government

documented and observed the following:

              “...a consistent lack of respect for the legal conditions and
              procedural safeguards necessary to guarantee fair judicial
              proceedings before an independent and impartial tribunal.” “In
              breach of the principle of legality, the criminal law provisions
              applied in these cases were formulated in broad and imprecise
              terms, leading to inconsistent interpretation of these provisions by
              the courts and a lack of clarity relating to the specific charges. In
              addition, the prosecution failed to clearly identify which specific
              underlying alleged acts formed the basis of the criminal charges,
              nor did it provide concrete evidence to substantiate those charges.
              Although at least eight of the accused submitted in court that their
                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 282 of 429




               confessions had been extracted under torture, the trial judge
               dismissed these submissions without further examination.
               Safeguards in place to prevent torture, including medical exams,
               access to defence lawyers, video-recording of interrogation, and
               processes for reporting torture and other ill-treatment, were not
               respected. Systematic barriers prevented defence lawyers from
               preparing an effective defence. All were denied regular access to
               their families. Additionally, various actions by the authorities -
               which could be perceived as attempts to unduly influence the
               outcome of the judicial proceedings - were observed.”

               “...documented several statements by Kurdistan Regional
               authorities that may amount to undue influence in the judicial
               process, including over the outcome of any subsequent appeal
               proceedings. Such statements bear the risk of undermining the
               presumption of innocence, which is fundamental to the protection
               of human rights.”

               “The OHCHR/UNAMI findings highlight a number of human
               rights concerns in relation to the trials against these individuals,
               placing the accused at a serious disadvantage, and casting
               considerable doubt on the overall fairness and legality of the
               proceedings. All were charged with serious crimes, based on
               broad and imprecise provisions without sufficient reasoning with
               regards to the judgments of the court and after failing to identify or
               sufficiently substantiate the underlying individual conduct.”

               “In addition, the initiation of legal proceedings against persons
               who had questioned the proceedings and outcome, and
               disregarding complaints made to the authorities, including in
               court, about violations of procedural safeguards, in effect deters
               those, who are denied their fair trial rights, from seeking justice
               and an effective remedy.”

These documented and impartial United Nations observations are consistent with the improper

judicial treatment accorded Sidqi Bradosti.

566.    In the case of Sidqi Bradosti’s torture while incarcerated, the judge of the Defendant Iraqi

Kurdistan Regional Government court overseeing Sidqi’s case, having a duty under the laws of

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 283 of 429




Iraq and Defendant Iraqi Kurdistan regional Government to promote confidence in the

independence, integrity, and impartiality of the judiciary and an obligation over provision of due

process, but the judge was deprived of authority by Defendants Masrour Barzani and Waysi

Barzani to decide the issues before the court, unavoidably and irreparably tainting these

proceedings. This judge cautiously came to the Bradosti home and, acknowledged the judicial

misconduct, and in ascribing brazen malintent said that he was taking orders from the Barzani’s,

who had clear and present disqualifying interests and little interest in complying with the terms

of international treaties, Iraq law or Defendant Iraqi Kurdistan Regional Government law that did

not further the interests of the Barzani Continuing Criminal Enterprise and which were

unconstitutional, illegal, and ethically improper for this court and disrupting the administration of

justice, stating to family members present in a stunning factual admission: “I was forced to do

this by the Barzani’s,” acknowledging orders issued by Masrour Barzani, Waysi Barzani, and

Ismat Argoshi which were contemptuous, disrespectful, and constitute a knowing disobedience

of judicial rules and duty of truthful inquiry of the tribunal – a calculated abolishment of the

Court’s impartiality and independence, and purposeful political meddling with sweeping

implications of corruption and deceit, and a willful abrogation of Sidqi Bradosti’ rights under

Iraq and Defendant Iraqi Kurdistan Regional Government law and international treaties,

constituting a self-admission that the Court’s posture in this matter was adversarial, not

adjudicatory.

567.      This judicial conduct in Sidqi Bradosti’s case was not merely the appearance of

impropriety; this conduct was and is actual judicial impropriety, designed to settle this matter in

collaboration with and at the direction and command of a coordinate branch of government.

There was no presumption of innocence, no provision of due process, and the judicial conduct

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 284 of 429




was prejudicial to the administration of justice and contrary to law. This was an emasculation of

judicial power by Defendant Masrour Barzani, a commanded judicial misconduct, and

prejudicial to the administration of justice. In the words of the United States Supreme Court in

Mistretta v. United States, 488 U.S. 361, 407, 109 S.Ct. 647, 102 L.Ed.2d 714 (1989)In the

words of the United States Supreme Court in Mistretta v. United States, 488 U.S. 361, 407, 109

S.Ct. 647, 102 L.Ed.2d 714 (1989), allowing the reputation of the Judicial Branch to be

“borrowed by the political Branches to cloak their work in the neutral colors of judicial action.”

Judges in Defendant Iraqi Kurdistan Regional Government are employees of the Defendant Iraqi

Kurdistan Regional Government, controlled absolutely by Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani.

568.    It was impossible for Sidqi Bradosti, a citizen of the United States of America, to receive

a fair and impartial trial, and no just outcome was available to him.          The entire judicial

proceeding was tainted by a lack of Iraq and Defendant Iraqi Kurdistan Regional Government

law-based procedural guarantees, by the close internal cooperation of the Defendant Iraqi

Kurdistan Regional Government ministerial ecosystem, and by legally improper influences,

including assaulting the integrity of the judiciary by a corrupted legal establishment weaponized

by Defendant Masoud Barzani and by Defendant Masrour Barzani who had and has a duty of his

Prime Ministerial of Defendant Iraqi Kurdistan Regional Government office to the law and to the

administration of justice. This unlawful weaponization had and has the purpose of pronouncing

and condemning Barzani’s political opponents, which had a harmful chilling effect on witnesses

and adversely affected the fair administration of justice in Sidqi Bradosti’s prosecution.

Prosecution was in bad faith, nefarious, and a representative instance of prosecutorial

misconduct. Sidqi Bradosti’s rights were violated.       Having no concern for justice or their

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 285 of 429




compliance with law or codes or judicial standards, at the direction of Defendants Masrour

Barzani, Waysi Barzani, and their subordinates, particularly Ismat Argoshi and Dilshad Yousef,

Defendants knowingly falsified and made a false entry in a record and document with the intent

to impede, obstruct, and influence the investigation and adjudication of the matter, and Sidqi

Bradosti was knowingly prosecuted by the Defendant Iraqi Kurdistan Regional Government,

under the command and control of Defendant Masrour Barzani, for crimes he did not commit.

569.    Sidqi Bradosti continues to suffer from the long-term psychological effects of his torture.

570.     Notwithstanding the repeated pleas by Sidqi Bradosti and his wife and family, and by

U.S. Government diplomatic officials, there was never an official misconduct investigation by

any agency or office of the Defendant Iraqi Kurdistan Regional Government.

571.    Defendant Masrour Barzani, having resident permanent alien status granted by the United

States Government, and at the time Prime Minister of Defendant Iraqi Kurdistan Regional

Government, the presiding and actual head of government and head of the executive power, as a

condition of said status known to him has a legal obligation of United States law and said

permanent alien status to obey and venerate all laws and Constitutional rights of the United

States and its citizens – something fully and clearly known to Defendant Masrour Barzani as a

prerequisite, provision, and requirement of permanent alien status. Defendant Masrour Barzani’s

autocratic actions and commands in the arrest, incarceration, trial, and imprisonment of Sidqi

Bradosti, none of which were authorized by Iraq law or regulation or by Defendant Iraqi

Kurdistan Regional Government law or regulation or treaty or international law, were and are a

brazen lack of respect for the U.S. Constitution and a knowing abandonment, rejection, and

denial of those rights of American citizenship of Sidqi Bradosti and was deliberate and

premeditated civil rights intimidation against a fellow American which includes the right of a

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 286 of 429




pretrial detainee to be free from a jail official’s deliberate indifference to his serious medical

needs. As U.S. Citizenship and Immigration Services of the U.S. Department of Homeland

Security clearly declares: “As a permanent resident, you are required to obey all laws of the

United States and localities.” Defendant Masrour Barzani, a permanent resident of the United

States, knowingly abandoned, rejected, and intentionally and purposefully, and to further the

Barzani Continuing Criminal Enterprise forsook his duties of permanent resident alien status to

faithfully promote the rule of law, prevent executive overreach, protect due process and equal

protection, and ensure to Sidqi Bradosti the individual rights guaranteed under the Constitution

and laws and treaties of the United States. Defendant Masrour Barzani had a duty of care which

he knowingly and intentionally abrogated in order to further the ends of the Barzani Continuing

Criminal Enterprise and to injure Sidqi Bradosti.

572.       A report by Amnesty International describes conditions of prisons in Iraq as

overcrowded, lacking requirements to meet basic needs, steeped with nauseating, pervasive, and

inescapable aromas of human waste, and have poor medical facilities, resulting in the prevalence

of diseases such as scabies, allergies, skin infections and other conditions:

               “Detainees had been blindfolded, stripped and suspended by their
               wrists or hung in contorted stress positions for hours at a time. In
               addition to being subjected to electric shocks to the genitals, ears,
               tongue and fingers; beaten on the soles of their feet (falaqa),
               whipped and beaten with canes, hosepipes and metal rods; burnt
               with cigarettes or having their hands pierced by electric drills or
               having their toe or fingernails ripped out.”

573.     The Independent Human Rights Commission Kurdistan Region (IHRCKR), at a time

Defendant Masrour Barzani was Prime Minister of Defendant Iraqi Kurdistan Regional

Government, the presiding and actual head of government and head of the executive power,

reported Defendant “IKR [Iraqi Kurdistan Region] correctional centers suffered from long-term
                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 287 of 429




problems of overcrowding, inadequate water, sanitation, and hygiene facilities, use of violence

during preliminary detention, and outdated infrastructure at women’s and juvenile centers.

Limited medical staff was unable to provide adequate medical services to all prisoners,”

including Sidqi Bradosti.

574.     The United Nations Committee Against Torture, at a time Defendant Masrour Barzani

was Prime Minister of Defendant Iraqi Kurdistan Regional Government, the presiding and actual

head of government and head of the executive power, reported to the Defendant Iraqi Kurdistan

Regional Government and to the world its concern “about continued reports of torture or ill

treatment in detention facilities” [operated by Defendant Iraqi Kurdistan Regional Government

or its partners] and observed the “existing mechanisms to investigate the acts of torture and ill

treatment committed by officials do not effectively hold the perpetrators to account.” Both local

and international human rights organizations asserted judges frequently failed to investigate

credible allegations that security forces tortured terrorism suspects and often convicted

defendants based solely on both overtly and covertly coerced confessions. In addition, despite

their concerns being raised, authorities ignored physical signs of torture, and the complaints

procedures appeared to be neither fair nor effective. Many detainees chose not to report such

mistreatment due to a lack of trust or fear, that is not imaginary or wholly speculative, of

reprisals.

575.    At the direction of Defendants Masrour Barzani and Waysi Barzani, and implemented by

subordinates Defendants Ismat Argoshi and Dilshad Yousef and others, Sidqi Bradosti was

inhumanely treated and medically tortured while imprisoned. It was and is widely known in

Erbil and was and is fully known to the Barzani’s and their subordinates Defendants Ismat

Argoshi and Dilshad Yousef and others, including Asayish jailers, that Sidqi Braqdosti suffers

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 288 of 429




the acute chronic noncommunicable disease of epilepsy, a severe neurological disorder of the

brain characterized by repeated and potentially fatal seizures.       Yet under the direction of

Defendant Masrour Barzani, while acting under imagined color of law, but without legal

authority of Iraq or Defendant Iraqi Kurdistan Regional Government, and while aiding and

abetting one another, these individuals willfully, directly and indirectly, deprived Sidqi of all

medications that are required for an epilepsy sufferer and of the right, protected and secured by

the Constitution and laws of the United States, to due process of law, which includes the right of

a pretrial detainee to be free from a jail official’s deliberate indifference to his serious medical

needs.

576.       Sidqi Bradosti’s family exceedingly feared, which is not imaginary nor wholly

speculative, that as a result of his inhumane imprisonment he might die. This vicarious suffering

in family members, itself a recognized type of psychological torture, left permanent mental

damage to victims.

577.     The National Library of Medicine of the U.S. National Institutes of Health, an agency of

the United States Government, characterizes the health impacts of traumatic events:

                “In general, those exposed to a traumatic event show increased
                rates of acute stress disorder, posttraumatic stress disorder
                (PTSD), major depression, panic disorder, generalized anxiety
                disorder, and substance use disorder.

                “The childhood experience of traumatic events induces immediate
                biological and psychological reactions, some of which may persist
                for an extended period.”

                “Youth exposed to traumatic events also can develop depression,
                other anxiety disorders, substance use disorders, and problems
                with school performance.”

                “This fear can spread rapidly and is not limited to those
                experiencing the event directly – others that are affected include
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 289 of 429




               family members of victims and survivors, and people who are
               exposed through broadcast images. Psychological suffering is
               usually more prevalent than the physical injuries…”

578.     Missed or withheld medicines can trigger seizures and death in people with both well-

controlled and poorly-controlled epilepsy. Seizures can happen more often than normal, be more

intense or develop into long seizures called status epilepticus. Status epilepticus is a medical

emergency and can lead to death if the seizures are not stopped. If seizures cannot be stopped or

repeated seizures occur one right after another, permanent injury or death can occur. People

with epilepsy can also die from problems that occur during or after a seizure, such as inhaling

vomit. Death can result. The withholding of needed medicine and the resulting fear, that is not

imaginary or wholly speculative, was inhumane treatment and torture of Sidqi Bradosti, resulting

in prolonged bodily injury all in violation of 18 U.S.C. §§ 242 and 2.

579.     The premeditated and malicious torture of Sidqi Bradosti by Defendants, as directed by

Masrour Barzani and his subordinates, particularly Ismat Argoshi and Delshat Najar, resulting in

creating a state of helplessness, psychological regression, and depersonalization, continued for

months until unremitting and insistent intervention efforts by diplomatic officials of the U.S.

Embassy were finally successful in arranging for Sidqi Bradosti to receive his essential life-

saving prescription medications.

580.    Categories of psychological torture include debilitation, isolation, implicit and expressed

threats, degradation, pharmacological manipulation, food, water, and sleep deprivation, no

privacy, and poor ventilation. Defendants repeatedly and continually subjected Sidqi Bradosti to

each of these categories of psychological torture, where the pervasive odor of fear, that is not

imaginary or wholly speculative, and doubts and the specter of dying clung to him like a constant

sharp headache, with a persistent psychological system of pressure akin to combat fatigue.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 290 of 429




581.      During his imprisonment, Sidqi was not allowed visitors. No family members or

physicians were allowed to see him. Despite concentered and relentless efforts of the Deputy

United States Consul General in Erbil to obtain proper treatment, care, and familial visitations,

all visitations were denied by the Defendant Iraqi Kurdistan Regional Government at the

direction of Defendants Masrour Barzani, Waysi Barzani, Dilshad Yousef, and Ismat Argoshi.

Defendants ordered Sidqi Bradosti be deprived of familial comfort and Defendants’ orders were

obeyed by the jailers.

582.     Section 2340A of Title 18, United States Code, prohibits torture committed by public

officials under color of law against persons within the public official’s custody or control.

Torture is defined to include acts specifically intended to inflict severe physical or mental pain or

suffering. (It does not include such pain or suffering incidental to lawful sanctions.) The statute

applies only to acts of torture committed outside the United States.              There is Federal

extraterritorial jurisdiction over such acts whenever the perpetrator is a national of the United

States. Defendant Masrour Barzani, under whose command, control, and direction all torture of

Sidqi Bradosti occurred and was allowed to occur, is a United States person.

583.      Under the direction and command of Defendant Masrour Barzani, his subordinates

Defendants Ishat Argoshi and Dilshad Yousef, acting as private judicial enforcement on behalf

of Defendants Masrour Barzani and Waysi Barzani, physically beat Sidqi Bradosti severely.

584.    The Government of the Republic of Iraq became a signatory nation to The International

Covenant on Civil and Political Rights with its ratification on 25 January 1971 and which

became effective in Iraq on 23 February 1976. In the matter of the arrest and trial and torture of

Sidqi Bradosti, a citizen of the United States of America, the relevant provisions of several




                                                 48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 291 of 429




Articles were knowingly and willfully, directly and indirectly, desecrated, disobeyed, and

disregarded by Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani and their agents:

              Part 2, Article 2
              3. Each State Party to the present Covenant undertakes:

              (a) To ensure that any person whose rights or freedoms as herein
              recognized are violated shall have an effective remedy,
              notwithstanding that the violation has been committed by persons
              acting in an official capacity;

              (b) To ensure that any person claiming such a remedy shall have
              his right thereto determined by competent judicial, administrative
              or legislative authorities, or by any other competent authority
              provided for by the legal system of the State, and to develop the
              possibilities of judicial remedy;

              Article 7
              No one shall be subjected to torture or to cruel, inhuman or
              degrading treatment or punishment. In particular, no one shall be
              subjected without his free consent to medical or scientific
              experimentation.

              Article 9
              1. Everyone has the right to liberty and security of person. No one
              shall be subjected to arbitrary arrest or detention. No one shall be
              deprived of his liberty except on such grounds and in accordance
              with such procedure as are established by law.

              3. Anyone arrested or detained on a criminal charge shall be
              brought promptly before a judge or other officer authorized by law
              to exercise judicial power and shall be entitled to trial within a
              reasonable time or to release. It shall not be the general rule that
              persons awaiting trial shall be detained in custody, but release
              may be subject to guarantees to appear for trial, at any other stage
              of the judicial proceedings, and, should occasion arise, for
              execution of the judgment.

              4. Anyone who is deprived of his liberty by arrest or detention
              shall be entitled to take proceedings before a court, in order that


                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 292 of 429




                 that court may decide without delay on the lawfulness of his
                 detention and order his release if the detention is not lawful.

                 Article 14 (in part)
                 1. All persons shall be equal before the courts and tribunals. In the
                 determination of any criminal charge against him, or of his rights
                 and obligations in a suit at law, everyone shall be entitled to a fair
                 and public hearing by a competent, independent and impartial
                 tribunal established by law.

                 Article 17
                 1. No one shall be subjected to arbitrary or unlawful interference
                 with his privacy, family, home or correspondence, nor to unlawful
                 attacks on his honour and reputation.

                 2. Everyone has the right to the protection of the law against such
                 interference or attacks.

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their associates,

proceeded with their criminal activities to retain power and gain money regardless of who their

victims were, including victims who were citizens of the United States of America. Defendant

Masrour Barzani leadled these criminal activities against a fellow national of the United States of

America in violation of his known legal obligation which resulted from his permanent resident

status.

585.      At the pre-trial, trial, and post-trial stages, at the direction of Defendants Masrour Barzani

and Waysi Barzani, Sidqi Bradosti was incarcerated in inhuman and degrading conditions by

their immediate subordinate agents Defendants Ismat Arogoshi and Dilshad Najar in the Erbil

jail operated by the Kurdistan Democratic Party, which Defendants Masrour Barzani and Waysi

Barzani control and govern and have directive power and in which appropriate security

procedures and protective orders were absent. In its 2022 Country Reports on Human Rights

Practices: Iraq, at a time Defendant Masrour Barzani was Prime Minister of Defendant Iraqi


                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 293 of 429




Kurdistan Regional Government, the presiding and actual head of government and head of the

executive power, the United States Department of State described jail conditions:

                 “Prison and detention center conditions were harsh and
                 occasionally life threatening due to food shortages, gross
                 overcrowding, physical abuse, inadequate sanitary conditions and
                 medical care, and the threat of communicable illnesses.

                 The Iraqi War Crimes Documentation Center released a report
                 detailing the deaths of 49 inmates between January 2021 and
                 August that the center concluded resulted from “torture and
                 medical negligence” in federal prisons. The report alleged the
                 government held thousands of detainees in “inhumane
                 conditions,” including “overcrowded and unsanitary cells,” often
                 due to “revenge and sectarian motivation.” The report stated the
                 lack of “sanitary conditions” and cells’ “high temperature and
                 humidity ‘‘ directly harmed inmates’ health.

                 The Independent Human Rights Commission Kurdistan Region
                 (IHRCKR) reported IKR correctional centers suffered from long-
                 term problems of overcrowding, inadequate water, sanitation, and
                 hygiene facilities, use of violence during preliminary detention,
                 and outdated infrastructure at women’s and juvenile centers.
                 Limited medical staff was unable to provide adequate medical
                 services to all prisoners.”

586.    In the kangaroo court proceeding on bogus criminal charges against Sidqi Bradosti in the

Defendant Iraqi Kurdistan Regional Government court of Erbil, Kurdistan, Bradosti was not

accorded “a fair and public hearing by a competent, independent, and impartial tribunal,” and in

furtherance of their scheme, members of the enterprise harassed Bradosti, intimidated him, and

solicited him to falsely confess to crimes that he did not commit, prejudicing the administration

of justice.

587.          The courts of the Defendant Iraqi Kurdistan Regional Government lack judicial

independence and fail to act as an independent institution, as affirmed by Iraq’s Democracy and


                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 294 of 429




Human Rights Development Center in concert with the United States Government’s National

Endowment for Democracy, an agency of the United States Government, declaring them to be

fraught with “political and executive power intervention in the judiciary.” The judiciary system

works as subordinate to the executive power. The judiciary in the Defendant Iraqi Kurdistan

Regional Government is not financially independent, as the budget is allocated by the regional

cabinet, not by the Judiciary Council as required by the Iraq Judiciary Law.

588.      A cable of the U.S. Department of State, originating through the U.S. Embassy in

Baghdad, Iraq, affirms and acknowledges the absence of judicial independence in Defendant

Iraqi Kurdistan Regional Government: “The parties’ Soviet-style political system in which the

formal government, including the judicial and legislative branches, is subordinate to the party

robbed both KRGs of independent oversight.”

589.     The United States Department of State in its 2022 Country Reports on Human Rights

Practices: Iraq, at a time Defendant Masrour Barzani was and is Prime Minister of Defendant

Iraqi Kurdistan Regional Government, the presiding and actual head of government and head of

the executive power, stated: “The constitution and law provide for the right to a fair and public

trial, but the judiciary did not enforce this right for all Defendants.” “KRG senior leaders

reportedly influenced politically sensitive cases.       The IKR’s [Iraqi Kurdistan Regional

Government] strongest political parties, the Kurdistan Democratic Party (KDP) and the Patriotic

Union of Kurdistan (PUK), also reportedly influenced judicial appointments and rulings.” The

Erbil court sitting in judgment of Sidqi Bradosti lacked judicial independence and freedom from

“political and executive power intervention” by Masoud Barzani, Masrour Barzani, Waysi

Barzani (collectively the Barzani’s) and their subordinate agents and representatives.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 295 of 429




590.     The sovereign nation of the Republic of Iraq, of which the Defendant Iraqi Kurdistan

Regional Government is a subdivision regional and subordinate governate and instrumentality

and from which the Defendant Iraqi Kurdistan Regional Government derives all its subordinate

governing authorities, is, as of July 7, 2011, a signatory nation to The Convention Against

Torture and Other Cruel, Inhuman, or Degrading Treatment or Punishment (“CAT”), at the time

Defendant Masoud Barzani was President of Defendant Iraqi Kurdistan Regional Government

and Defendant Masrour Barzani was General Director of the Defendant Iraqi Kurdistan Regional

Government Security Protection Agency and formerly Director of the Defendant Iraqi Kurdistan

Regional Government Intelligence and Security Agency (the successor agency to Parastin). In

the matter of the arrest and incarceration torture of Sidqi Bradosti, which prolonged torture

occurred in the jail operated by the Kurdistan Democratic Party imperiously and tyrannically

controlled by Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, these (and

other) relevant provisions of several Articles were knowingly and willfully, directly and

indirectly, violated by the Barzani’s and at their direction by their agents:

               Part 1, Article 1
               For the purposes of this Convention, the term “torture” means any
               act by which severe pain or suffering, whether physical or mental,
               is intentionally inflicted on a person for such purposes as
               obtaining from him or a third person information or a confession,
               punishing him for an act he or a third person has committed or is
               suspected of having committed, or intimidating or coercing him or
               a third person, or for any reason based on discrimination of any
               kind, when such pain or suffering is inflicted by or at the
               instigation of or with the consent or acquiescence of a public
               official or other person acting in an official capacity.

        Article 2.
                1. Each State Party shall take effective legislative, administrative,
                judicial or other measures to prevent acts of torture in any
                territory under its jurisdiction.
                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 296 of 429




              2. No exceptional circumstances whatsoever, whether a state of
              war or a threat of war, internal political instability or any other
              public emergency, may be invoked as a justification of torture.

              3. An order from a superior officer or a public authority may not
              be invoked as a justification of torture.

              Article 16.

              1. Each State Party shall undertake to prevent in any territory
              under its jurisdiction other acts of cruel, inhuman or degrading
              treatment or punishment which do not amount to torture as defined
              in article I, when such acts are committed by or at the instigation
              of or with the consent or acquiescence of a public official or other
              person acting in an official capacity. In particular, the obligations
              contained in articles 10, 11, 12 and 13 shall apply with the
              substitution for references to torture of references to other forms of
              cruel, inhuman or degrading treatment or punishment.

              2. The provisions of this Convention are without prejudice to the
              provisions of any other international instrument or national law
              which prohibits cruel, inhuman or degrading treatment or
              punishment or which relates to extradition or expulsion.

591.     The International Guidelines on Human Rights and Drug Policy, developed by United

Nations agencies UNDP, the Joint United Nations Programme on HIV/AIDS (UNAIDS), the

Office of the United Nations High Commissioner for Human Rights (UNHCR) and the World

Health Organization, declares:

              II. Obligations arising from human rights standards

              6. Freedom from torture, cruel, inhuman, or degrading treatment
              or punishment:

              The withholding of drugs from those who need them for medical
              purposes, including for drug dependence treatment and pain relief,
              is considered a form of torture. Government failure to ensure
              access to controlled medicines for pain relief may also constitute
              cruel, inhuman, or degrading treatment or punishment, where, for
              example, a person’s suffering is severe and meets the minimum
                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 297 of 429




               level of severity under the prohibition against torture and ill-
               treatment; where the State is, or should be, aware of the person’s
               suffering, including when no appropriate treatment was offered;
               and where the State failed to take all reasonable steps to protect
               the person’s physical and mental integrity.

592.    Sidqi Bradosti was tortured in a sustained manner and in several ways in clear violation

of international law.    First, as a person publicly known to suffer from epilepsy and its

accompanying recurrent unprovoked seizures, some of which seizures can be very serious,

essential medication was withheld from Sidqi Bradosti, and complaints of pain were ignored.

Seizures can disrupt the normal electrical brain pattern by sudden and synchronized bursts of

electrical energy that may briefly affect consciousness and which can result in permanent injury,

damage, or death.

593.    Sidqi Bradosti’s repeated pleas over a prolonged time period for epilepsy medication and

treatment were ignored and denied by Defendants Masrour Barzani and Waysi Barzani and their

agents and representatives. Jail officers, acting as officials of the Defendant Iraqi Kurdistan

Regional Government and the Kurdistan Democratic Party and under the direction and control of

Defendants Masrour Barzani and Waysi Barzani, were aware or should have reasonably been

aware of Plaintiff Bradosti’s suffering, including that no appropriate treatment or medication was

offered or accorded or provided; and that the Defendant Iraqi Kurdistan Regional Government

and its complementary parallel Kurdistan Democratic Party failed to take any and all reasonable

steps to protect Sidqi Bradosti’s physical and mental integrity. Sidqi Bradosti’s mental health

deteriorated over the course of his incarceration.

594.     The severity of purposefully denied medications, as suffered by Sidqi Bradosti at the

Defendants’ direction, cannot be overstated, and may cause death. The U.S. Centers for Disease

Control and Prevention, an agency of the United States Government, lists missed medication as

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 298 of 429




the foremost reason people with controlled seizures have breakthrough seizures (sudden,

unexpected seizures). Missing medication can cause seizures to occur more often or to be more

intense, and lead to death.

595.    The Epilepsy Foundation considers missed medications as dangerous, and asserts:

               “Stopping seizure medication without your doctor’s advice is
               dangerous. Missing doses of seizure medicine is the most common
               cause of breakthrough seizures. Missed medicines can trigger
               seizures in people with both well-controlled and poorly controlled
               epilepsy. Seizures can happen more often than normal, be more
               intense or develop into long seizures called status epilepticus.
               Status epilepticus is a medical emergency and can lead to death if
               the seizures aren’t stopped. Missing doses of medicine can also
               lead to falls, injuries and other problems from seizures and
               changes in medicine levels.”

596.     Nothing in the medical care and attention of Sidqi Bradosti while incarcerated by the

Kurdistan Democratic Party met accepted standards of prisoner medicinal care. Sidqi Bradosti

suffered from gross intentional medical negligence, intentionally caused by Defendants Masoud

Barzani and Masrour Barzani and their directed subordinates.

597.    Human Rights Watch described prison conditions as “extremely overcrowded, so that no

detainee can lie down to sleep. Because of the overcrowding and lack of proper ventilation, the

makeshift prison cells are overheated, with an incredible stench.”

598.     Medical science recognizes that olfactory stimulation – smells – can trigger seizures in

epilepsy patients. Sidqi Bradosti, helpless to shield himself and trying to tune out the hell of

Kurdish imprisonment, was knowingly engrossed, immersed, and inflected twenty-four hours

daily for two years in teeming, fetid, fusty, malodorous, foul smelling stench of human

excrement, human urine, and human sweat, and the din of noise and commotion saturated with

the sounds of prisoner agony and desperate cries as political prisoners were being beaten, raped,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 299 of 429




and interrogated by the Defendants Masrour Barzani’s and Waysi Barzani’s agents of tyranny,

each aggravated and worsened by the oppressive Iraq heat, and all known triggers for epileptic

seizures.

599.    Sidqi Bradosti is an American citizen and as such was guaranteed such proper treatment

by treaty.   Yet, medical intervention efforts made in behalf of and for Sidqi Bradosti by

diplomatic representatives of the Government of the United States of America assigned to the

Deputy United States Consul General in Erbil, Kurdistan, Iraq, were repeatedly denied by agents

of Defendants Masrour Barzani and Waysi Barzani, operating under their direct command and

control, and their subordinate representatives of the Defendant Iraqi Kurdistan Regional

Government and of the Kurdistan Democratic Party. After substantial delays, it was only upon

vigorous and repeated appeal and direct intervention by diplomatic representatives of the

Government of the United States of America based at the Embassy of the United States of

America in Baghdad that permission was granted by prison officers for Sidqi Bradosti to finally

and belatedly receive his essential prescribed epilepsy medications.

600.     Compounding torture-effected stress, the long-term consequences of status epilepticus,

especially when intentionally unmedicated, are well known to include permanent injury or

excessive death of nerve cells (neurons) in the brain and permanent alteration of the neuronal

networks in the brain. The resulting brain damage can have long-term effects on behavior, can

impair ability to learn and can cause intellectual disability.

601.     Sidqi Bradosti was subjected to multiple forms of sustained mental, psychological, and

emotional torture, sensory deprivation, and life-threatening stress as the Defendants Masrour

Barzani and Waysi Barzani directed officials to destroy Sidqi Bradosti’s public and respected

and established family reputation, vital in Kurdish culture. Defendants publicly and repeatedly

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 300 of 429




defamed Sidqi by fabricated accusations of providing arms to terrorists and aiding an agent

assassin of the Turkish Kurdistan Workers’ Party (PKK).

602.    In a planned, calculated, and purposeful effort and with no legitimate purpose other than

to publicly humiliate and destroy Sidqi Bradosti’s respected reputation in the Iraqi Kurdistan

region and among the Kurdish people, Defendant Masrour Barzani directed subordinates

Defendants Ismat Argoshi, and Dilshad Yousef to walk Sidqi Bradosti, as an arrestee, through a

public area so he could be seen and photographed by the media, and to present his face and arrest

story on Defendant Iraqi Kurdistan Regional Government-controlled television. The intentional

public humiliation committed against Sidqi Bradosti by the Barzani Continuing Criminal

Enterprise is another example of intentional public humiliation acts committed by the Barzani

Continuing Criminal Enterprise similar to those committed against Plaintiff, Maki Revend –

including false allegations.

603.     Defendants Masrour Barzani and Waysi Barzani and their subordinates willfully and

intentionally deprived Sidqi Bradosti of individual liberty, restrained his physical movement,

physically abused him, intentionally and recklessly inflicted him with emotional distress, and

threatened him with death, all of which acts were expected by Defendants to cause substantial

emotional and lasting distress.

604.    A medically documented seizure precipitating factors for patients with epilepsy are stress,

including the pervasive and debilitating sounds of racking coughs and agonizing screams and the

ever-present wrenching stench of body fluids, misery, and despair while incarcerated. Being

imprisoned in an abnormal environment and being tortured induced stress for Sidqi Bradosti in

multiple medically devastating, lasting, and irreversible forms: psychological (isolation, sensory

deprivation, sensory overload, sleep deprivation, temporal disorientation); psychophysiological

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 301 of 429




(thermal, stress positions), and psychosocial (cultural humiliation), which resulted in a systemic

cluster of untreated health extremis.

605.     As a result of the unlawful and wrongful actions of Defendants Masrour Barzani and

Waysi Barzani and their subordinates, Sidqi Bradosti suffers long-term effects of being deprived

by his KDP jailers of indispensable prescribed medications. Sidqi Bradosti suffers from complex

memory images coupled with dissociation, and from archetype post-traumatic stress disorder

(PTSD) symptoms brought on by torture during his wrongful imprisonment, and post-

incarceration syndrome (PICS) disorder, all of which conditions are permanent injuries.

606.    As a second and parallel form of mental and psychological torture to Sidqi Bradosti and

to his wife and children –Sidqi Bradosti was deprived of visits by his wife and any of his three

American citizen children for most of the period he was incarcerated from mid-2019 to mid-

2021. This presented severe (and potentially irreversible) mental, psychological, and emotional

stress to Sidqi Bradosti and to his wife and their three children.

607.     A third additional form of torture employed by Defendants Masrour Barzani and Waysi

Barzani, in coordination with agents of the Government of the Republic of Turkey, persuaded

that government to support false accusations against Sidqi Bradosti. As time passed and Sidqi

Bradosti suffered in his prison cell, it was foreign government influence and intervention with

Defendant Masrour Barzani which eventually was able to exonerate Sidqi Bradosti. Realizing

that the allegations were false and fabricated by the KDP intelligence officials – Defendants

Waysi Barzani, Ismat Argoshi, and Dilshad Yousef – agents of Turkey apologized to the

Bradosti family and acknowledged to the court that the accusations and charges were fabricated

and executed upon inducements from Defendants Masrour Barzani and Waysi Barzani.




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 302 of 429




608.       The actual killers of the Turkish intelligence agent were later arrested, and the killers

admitted in open Kurdistan court that Sidqi Bradosti had nothing whatsoever to do with the

assassination.

609.         The Universal Declaration of Human Rights which is enforced by the Vienna

Declaration, provides that “No one shall be subjected to torture or to cruel, inhuman or degrading

treatment or punishment”.

610.     Sidqi Bradosti, his wife, and their three children were each and all “subjected to torture

[and] to cruel, inhuman, [and] degrading treatment [and] punishment,” and intentional and

reckless infliction of emotional distress, by Defendants Masrour Barzani, Waysi Barzani, and

subordinate agents and representatives under their command and control.

611.     The Convention Against Torture and Other Cruel, Inhuman or Degrading Treatment or

Punishment (commonly known as the United Nations Convention Against Torture (UNCAT))

is an international human rights treaty international human rights treaty to which the Republic of

Iraq, of which Defendant Iraqi Kurdistan Regional Government is a subordinate part, formalized

accession thereto on July 7, 2011.

612.       Defendants Masrour Barzani and Waysi Barzani, as part of their continuing criminal

enterprise, and as part of their torture of Sidqi Bradosti, also violated his rights under the United

Nations Convention on the Rights of Persons with Disabilities, Article 25, which provides as

follows:

                 States Parties recognize that persons with disabilities have the
                 right to the enjoyment of the highest available standard of care
                 without discrimination on the basis of disability. States Parties
                 shall take all appropriate measures to ensure access for persons
                 with disabilities to health services…. In particular, States Parties
                 shall: …


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 303 of 429




               f) Prevent discriminatory denial of health care or health
               services….

613.    The torture of Sidqi Bradosti, and all others, did not arise from and was not inherent in or

incidental to lawful actions.

614.    At the time of the torture of Sidqi Bradosti, he was in the custody or physical control of

Defendants Masrour Barzani and Waysi Barzani and/or their subordinates.

615.     In torturing Plaintiff Maki Revend, Sidqi Bradosti, Ayoub Barzani, and thousands of

other John Doe Plaintiffs, Defendants and others, acting under the direction of Defendant

Masrour Barzani, were knowingly and willingly in violation of the laws of the government of the

Republic of Iraq and the Defendant Iraqi Kurdistan Regional Government, under arrogated color

of whose law they conducted and do conduct their murderous and unlawful criminal enterprise.

Under the Convention Against Torture, which the Republic of Iraq joined in 2011, torture is

defined as the deliberate infliction of severe pain or suffering, physical or mental, by a public

official for a specific purpose such as obtaining information or confession or as punishment. The

torture of Plaintiff Maki Revend, and others, violates laws of the United States which prohibit

torture and provide a civil remedy in the United States courts for those who are

torturenedtortured.

616.     The Barzani Defendants and their subordinate judges, each of whom is required by

Defendants Masoud Barzani and Masrour Barzani, without lawful authority, to be a member of

the Iraqi KDP to receive a judicial appointment, and jailers under their command and control,

had actual knowledge, as repeatedly affirmed to them by officials of the United States Embassy

and Consulate, that Sidqi Bradosti, and his three minor children were and are American citizens.

Sidqi’s wife, Haza Mustafa Mahmood Bradosti, at the time held the status of a permanent

resident of the United States, ensuring her the same inalienable Constitutional rights and
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 304 of 429




protections as a U.S. citizen, which Defendant Masrour Barzani as himself a legal permanent

resident knows full well. Their American citizenship status was wholly and intentionally ignored

by Defendants.

617.     Under the doctrine of command responsibility, Defendants Masrour Barzani and Waysi

Barzani are legally responsible for the torture of Plaintiff Maki Revend, and of Sidqi Bradosti,

his family members, and Ayoub Ibrahim.

618.     Sidqi Bradosti’s driver, Ayoub Ibrahim, a citizen of the Kurdistan province of Iraq, was

severely physically tortured – they beat him severely – by agents of Defendants Masrour Barzani

and Waysi Barzani, to forcibly induce and overtly and covertly coerce him to make knowingly

false statements, confessions, declarations, and testimony that Sidqi Bradosti and his brothers,

many of whom were involved in businesses competing with the Barzani’s, had a role in the

assassination of a Turkish intelligence agent working at the Turkish Consulate in Erbil.

619.    The torture of Ayoub Ibrahim, and all others, did not arise from and was not inherent in

or incidental to lawful actions.

620.    At the time these acts occurred, Ayoub Ibrahim was in the custody or physical control of

Defendants Masrour Barzani and Waysi Barzani and/or their subordinates.



Commercial Corruption Orchestrated by the Barzani Continuing Criminal Enterprise

621.     The multi-billion-dollar Barzani Continuing Criminal Enterprise, a group of individuals

associated in fact, including Barzani family members and family members by marriage, well

documented in media and by the United States Government and others, is a continuous large-

scale transnational criminal monopoly with no apparent limitations, which poses a threat of

continued criminal activity, and its de facto monarchic rule over the Iraqi Kurdistan autonomous

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 305 of 429




constituent region of Iraq. It is a tightly controlled family conspiracy enterprise with a clearly

identified hierarchy engaged for decades in significant criminal activity, acting in concert with

others, not in furtherance of the interests of the sovereign Republic of Iraq; but is a personal and

private criminal conspiracy that exercises the type of criminal actions by which a private party

criminally engages in unlawful trade and traffic or commerce.

622.     Secrecy and concealment are predominant, essential, and fundamental features of their

successful continuing criminal conspiracy while operating their Barzani Continuing Criminal

Enterprise.

623.     The Defendants and other members and associates of the enterprise, including Barzani

family members and family members by marriage, had and have connections and relationships

with one another and with the Barzani Continuing Criminal Enterprise.

624.     The Barzani Continuing Criminal Enterprise constitutes an ongoing organization whose

members and associates function as a continuing and continuous unit for a common purpose of

achieving the objectives of the Barzani Continuing Criminal Enterprise. The Barzani Continuing

Criminal Enterprise has operated for a period of time sufficient to permit its members and

associates to pursue its objectives.

625.      Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, including Barzani family members and family members by marriage, were

enabled to commit the offenses, over a substantial decades-long period of time, because of their

positions in the Barzani Continuing Criminal Enterprise and their involvement in and control

over the enterprise’s affairs, and served as a central force in the conspiracy, as part of a long-

term association that exists for criminal purposes, and with relationships among those associated

with the Barzani Continuing Criminal Enterprise, with longevity sufficient to permit those

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 306 of 429




associates to pursue the enterprise’s purposes, with a common or shared purpose amongst its

members, having continuity of structure and hierarchy, and a goal of maintaining and expanding

political power, minimizing or eliminating perceived or real political opposition, maximizing

revenues and receiving proceeds from the illicit activities, preventing the infiltration of

legitimate enterprise competition, and protecting and securing the discreet continuing criminal

scheme for future continuity.

626.     An internal cable of the United States Department of State, a department within the

Executive Branch of the United States Government, noted that “The KDP consists of family

clans, operating very much like a mafia organization.” Another United States Department of

State internal cable noted the Defendant Iraqi Kurdistan Regional Government directed and

governed by Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzzani, is “an often-

stifling authoritarian style of democracy and pervasive corruption.”

627.     A third internal cable of the United States Department of State, originating through the

U.S. Embassy in Iraq, further describes, characterizes, acknowledges, and assesses, in these

unambiguous quoted excerpts, the pervasive systemic corruption of the Defendant Iraqi

Kurdistan Regional Government governance leaders (including Defendants Masoud Barzani,

Masrour Barzani and Waysi Barzani) and their impact on democracy:

                       (a)      “Corruption is Kurdistan’s biggest economic problem.”

                       (b)      “In Kurdistan corruption spread from the top down.”

                       (c)      “Corruption relies on family-clan and/or peshmerga ties. Kurdish
                       corruption starts at the top with a few political ‘godfathers’ who quietly
                       distribute contracts among themselves.”

                       (d)     “The biggest complaint most ordinary Kurds have about both the
                       Kurdistan Democratic Party (KDP) and the Patriotic Union of Kurdistan
                       (PUK) is their extreme corruption. Most Kurds believe corruption

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 307 of 429




                       permeates every level of the parties and the two Kurdistan Regional
                       Governments (KRGs) they control: KRG-Erbil (KRG-E) and KRG-
                       Sulaymaniyah (KRG-S). Most believe the two parties see the ubiquitous
                       political controls they put on public life as necessary to protect their
                       respective sources of illicit funds. Thus, common wisdom in Kurdistan
                       links corruption and the democracy deficit.”

                       (e)      “Corruption in Kurdistan follows a patron-client model. KRG-E
                       corruption centers more on the Barzani clan.”

                       (f)     “Government contracting is predictably rife with corruption.”

                       (g)         “Corruption has warped the growth of the entire Kurdistan
                       economy. For example, the leading private companies in Kurdistan are all
                       vertically integrated cross-sectoral conglomerates, e.g., Diyar Group,
                       Eagle Group, Falcon Group, KAR Group, Nasri Group, Sandi Group,
                       Silver Star Group and Ster Group. These conglomerates tend to have
                       construction, import-export, logistics, real estate and security subsidiaries.
                       All of these companies are alleged to be allied to one or more non-
                       competing ‘godfathers’ in the local ruling party.”

                       (h)    “The economies and governments of the Kurdish north are tightly
                       wrapped in the tentacles of the KDP…”

                       (i)     “Corruption is the main economic problem in the north. Corruption
                       chases away much legitimate investment (although the Kurds have been
                       wise enough to wield corruption as a tax and not a confiscatory device),
                       delegitimizes the whole idea of free markets and democracy, increases the
                       (still small but growing) support for Islamic parties and increases the
                       power of the corrupt, making it less likely they can be pried out of their
                       positions. Furthermore, intra-Kurd corruption feeds the fears of Arab,
                       Christian and Turcoman minorities in Kirkuk that they will be completely
                       shut out of government jobs (still the vast majority of all jobs here),
                       contracts and markets by KDP and PUK loyalists.”

“‘[A] record or statement of a public office’ is admissible if it contains ‘factual findings’ . . ‘from

a legally authorized investigation” and does not “indicate a lack of trustworthiness.’ Fed. R.

Evid. 803(8); see also Owens v. Republic of Sudan, 864 F.3d 751, 792 (D.C. Cir. 2017). A court



                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 308 of 429




may also admit ‘conclusion[s] or opinion[s]’ contained within a public record.” See Fritz v.

Islamic Republic of Iran, Civil Action No. 2015-0456 (D.D.C. 2018).

628.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, assisted by their

agents and representatives including Barzani family members and family members by marriage,

are “responsible for and complicit in ordering, controlling, or otherwise directing, acts of

significant corruption, including the expropriation of private or public assets for personal gain,

corruption related to government contracts or the extraction of natural resources, bribery, or the

facilitation of or transfer of the proceeds of corruption to foreign jurisdictions,” and have

“materially assisted, sponsored, or provided financial, material or technological support for, or

goods and services in support of” such acts, in knowing and willful violation of the Foreign

Assistance Act of 1961 and subject to immediate Presidential sanctions. By their knowing and

willful violation of the Foreign Assistance Act, Defendants have been enabled to finance the

Barzani Continuing Criminal Enterprise and obtain the means to harm Plaintiffs.

629.    The World Bank, of which the Republic of Iraq is a member nation, defines corruption as

“the abuse of public power for private benefit.”

630.     Defendant Masrour Barzani, having the status of legal permanent resident of the United

States, albeit a status fraudulently obtained, has responsibilities under U.S. statutes that are

known to him and result from his status as a United States person (a green card holder).

631.     In but one example of the responsibilities of U.S. resident status, Defendant Masrour

Barzani, as a resident alien (a green card holder) having a legal obligation to follow the same tax

laws as U.S. citizens, including reporting worldwide income from all sources, that is, income

from both within and outside the United States, and annually report financial assets outside the

United States, with willful and criminal intent, at all times relevant to this complaint, did not and

                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 309 of 429




does not submit the required annual truthful reporting to the United States Government. The

failure to truthfully declare and pay U.S. taxes on Defendant’s earnings provides a substantial

part of the means enabling the Barzani Continuing Criminal Enterprise to harm Plaintiffs.

632.    At all times relevant to this complaint, in a knowing and willful conspiracy to defraud the

United States in furtherance of the Barzani Continuing Criminal Enterprise, Defendant Masrour

Barzani, a resident alien of the United States – a “United States person” – together with others

did knowingly and willfully, directly and indirectly, and with criminal intent conspire to defraud

the United States. Defendants designed and implemented a fraudulent, dishonest, and deceitful

scheme to divert criminal proceeds and misappropriated Defendant Iraqi Kurdistan Regional

Government, Republic of Iraq Government, and United States foreign assistance funds, and

conceal income and assets traceable to the conspiracy.         Defendant Masrour Barzani used

undeclared bank accounts, the assets held therein, and the income earned thereon, and monies

from unlawful conduct passed through intermediary accounts, to conceal the true source of the

funds from the Internal Revenue Service. Defendants used fraudulent, deceitful, and dishonest

means to conceal the existence of bank accounts maintained by and for Defendants Masrour

Barzani and Waysi Barzani, and others known and unknown, including Barzani family members

and family members by marriage, in order to help the Defendants purposefully evade U.S. taxes.

Defendant Masrour Barzani, having financial accounts in a foreign country with an aggregate

value of more than $10,000, while violating another law of the United States and as part of a

pattern of any illegal activity involving more than $100,000 in a 12-month period, has failed to

be truthful in his filings of a Report of Foreign Bank and Financial Accounts with the U.S.

Department of Treasury, thereby financially facilitating a criminal activity. By defrauding the




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 310 of 429




United States, the Barzani Continuing Criminal Enterprise gains additional resources to harm the

Plaintiffs, as described herein.

        23.    633.     Defendants have, through their unlawful conduct, willfully and knowingly

impeded impaired, obstructed and defeated the lawful governmental functions of the Internal

Revenue Service in the ascertainment, computation, assessment and collection of revenue,

specifically, by knowingly and willfully failing to comply with the Foreign Account Tax

Compliance Act (FATCA)

 and the Corporate Transparency Act (CTA), to fraudulently, in whole or in part, conceal,

misrepresent, and disguise the nature, location, source, control and true beneficial ownership

interests in offshore accounts, various assets including real property and money accounts,

investments, and income, in the United States and outside the United States.

634.     For example, 983 Washington SB, LLC, owner of record of a commercial property in

Miami, Florida; an office building in Delaware owned by the CT Corporation, an American

branch of a Dutch company; multi million dollar residential properties owned by LLCs in

McLean, Virginia and Beverly Hills, California; all purchased and acquired with illicit proceeds

of the unlawful activities of the Barzani Continuing Criminal Enterprise. Defendant Masrour

Barzani exercised full dominion and control over these and other hidden assets, and willfully and

criminally failed to report foreign bank accounts bank accounts, and willfully and criminally

submitted false offshore disclosure submissions, all of which actions were taken to impede,

impair, obstruct and defeat the lawful governmental functions of the Internal Revenue Service in

the ascertainment, computation, assessment and collection of revenue.          Defendant Masrour

Barzani, by failing to comply with FATCA and CTA and other statutes, used monies gained by

hiding his assets to promote the carrying on of unlawful activity and to harm Plaintiffs.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 311 of 429




Defendant Masrour Barzani further knowingly and willfully, directly and indirectly, violated

numerous U.S. criminal statutes including 18 U.S.C § 2314 in the international transfer of

monies stolen, converted, or taken by fraud, artifaceartifice, bribery and misrepresentation, and

violated 18 U.S.C. § 1956, knowing that the property involved in Defendant’s financial

transactions represents proceeds of unlawful activity.



         MONEY LAUNDERING, WIRE FRAUD, AND CONCEALMENT

636.    As defined in the Countering America’s Adversaries Through Sanctions Act (CAATSA)

and contained in 31 CFR § 561.310, money laundering is defined: “The term money laundering

means engaging in deceptive practices to obscure the nature of transactions involving the

movement of illicit cash or illicit cash equivalent proceeds into, out of, or through a country, or

into, out of, or through a financial institution, such that the transactions are made to appear

legitimate.” 31 CFR § 561.311 defines agent: “The term agent includes an entity established by

a person for purposes of conducting transactions on behalf of the person in order to conceal the

identity of the person.” Beginning on a date unknown but at least by 2007 and continuing

through in or around the present time, in the District of Columbia and elsewhere, Defendants

Masrour Barzani, Mustafa Barzani, Waysi Barzani, Jeyra Mohamad Khaled, Katja Vrecar

Barzani, Sarwar Pedawi, Laween Pedawi, Hamela Gardi, Jonathon R. Moore, Joe R. Reeder,

Julie Mai Sanford, identified in documents as administrative assistant to Jonathon R. Moore,

Laura Geho Harris, Valarie Cupp, and Rubar Sandi, middlemen to further disguise and legitimate

the corrupt payments and complicit intermediaries in facilitating transactions, together with

others, including accountants, to accomplish its purpose did, in a continuum of complicity and

enterprise corruption, devise and engage in a multi-million dollar scheme or course of conduct

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 312 of 429




and conspiracy with affirmative, planned, and deliberate acts of concealment and methods of

obfuscation that they have repeatedly used, here and abroad, to carry out financial crimes,

masterminded by Defendant Jonathon R. Moore who frequently collaborated with Defendant Joe

R. Reeder as agents of a foreign principal, and their foreign sponsors, and did knowingly,

unlawfully, deliberately, voluntarily, and corruptly demand, seek, receive, accept, and agree to

receive and accept illicit foreign funds, and did knowingly and unlawfully combine, conspire,

confederate, and agree together and with each other to devise and intend to devise a scheme or

course of conduct and artifice to defraud and to deprive, by means of material false and

fraudulent pretenses and representations or omissions, to conceal source and ownership, knowing

that the transactions were designed in whole and in part to directly and indirectly achieve the

criminal object of the BCCE, and knowing that the property involved in the financial

transactions represented the proceeds of some form of unlawful activity, which transactions in

fact involved the proceeds of specified unlawful activity, and using their specialized expertise to

hide the ill-gotten gains of the BCCE, obscure their nefarious activities, and employ money

laundering mechanisms and did launder proceeds generated by and did aid and abet bad acts

committed by the malign actors of the BCCE, many of whom are agents or officials of

subdivisions of a foreign government, regardless of the predicate criminal activity, that they

“knew were designed to conceal and disguise the nature, the location, the source, the ownership,

and the control of the proceeds of [the] unlawful activity,” See US v. Harmon, 474 F. Supp. 3d

76, 83 (D.C. 2020), and played lucrative roles, and did financially profit from the criminal

activities of BCCE, as a center for discrete illicit financial dealings, within the District of

Columbia and elsewhere, designed to conceal including fake representations and omissions

concerning ownership structuring, of international money laundering through a series of complex

                                                48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 313 of 429




transactions and shell or front companies with bank accounts located in the United States and

abroad, in this country in whole or in part, repeatedly performed in furtherance of object of the

conspiracy and the conspirators’ plan and scheme or course of conduct or artifice to launder

millions of dollars of ill-gotten criminal proceeds derived from or obtained, directly or indirectly,

through the commission of a crime unquestionably in connection with a commercial activity of

defendants including the Defendant Iraqi Kurdistan Regional Government and its principal

officers and the Barzani Continuing Criminal Enterprise, including Barzani family members and

family members by marriage, outside of the United States and said acts caused a direct effect in

the United States. See 28 U.S.C. § 1605(a)(2) and other anti-money laundering laws and

regulations.. Indeed, the type of the activity at issue here is far from analogous to the type of

activity that courts have described as “sovereign” in nature. See, e.g., Weltover, 504 U.S. at 614,

112 S.Ct. 2160.

636. Each of these acts were commercial because they were not acts “only a sovereign state

could perform.” See Park v. Shin, 313 F.3d 1138, 1145 (9th Cir.2002). The effect is “direct” as it

follows “as an immediate consequence of the defendant’s... activity.”) See Weltover, 504 U.S. at

618, 112 S.Ct. 2160 (citation omitted). “The common-sense interpretation of a direct effect ... is

one which has no intervening element, but, rather, flows in a straight line without deviation or

interruption,” Guirlando, 602 F.3d at 74-75 (quotation marks and citation omitted); and occurred

in the instant matter.

637. Further, defendants did engage in and materially assist monetary transactions in the United

States in criminally derived properties, and in furtherance of the conspiracy and to effect its

objects, knowingly and willfully conspired, confederated, and agreed with each other and others

known and unknown, including Barzani family members and family members by marriage, to

                                                 48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 314 of 429




knowingly conduct and attempt to conduct financial transactions affecting interstate commerce

by, through, and to a financial institution, which transactions involved the proceeds of specified

unlawful activity.

638. The funds used to acquire these properties are traceable to violations of specified unlawful

activities and U.S. law, including according to documents of the U.S. Department of State a

foreign offense involving the misappropriation, theft, or embezzlement of billions of dollars of

public funds by or for the personal benefit of a public official, and the international

transportation or receipt of stolen of fraudulently obtained property (18 U.S.C §1956(c)(7)(B)(iv)

and 1956(c)(7)(A) respectively. Defendants knew that the funds are the proceeds of criminal

offenses including money laundering and wire fraud in violation of 18 U.S.C. § 1343, 18 U.S.C.

§ 1349, and 18 U.S.C. § 1956(h), knowing that the transactions were designed in whole and in

part in a purposeful concealment architecture and course of conduct to purposefully conceal

proceeds from various unlawful schemes and course of conduct of the Barzani Continuing

Criminal Enterprise, thereby aiding and abetting and facilitating the Barzani Continuing Criminal

Enterprise by allowing criminals to illegally access and transact in the U.S. economy, and that

while conducting and attempting to conduct such financial transactions, knew that the property

involved in the financial transactions represented the proceeds of some form derived from or

obtained, directly or indirectly, through the commission of unlawful activity, in violation of Title

18, United States Code, Section 1956(a)(1)(B)(Xi); (a)(2)(B)(i); and 1956 (H) and 1956

(a)(3)(A). (“Financial transaction” means any “transaction,” which in any way or degree affects

interstate (or foreign) commerce and involves the movement of funds by wire or other means,

involves one or more monetary instruments), involves the transfer of title to any real property,

vehicle, vessel or aircraft, or involves the use of a financial institution which is engaged in, or the

                                                  48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 315 of 429




activities of which affect, interstate or foreign commerce in any way or degree, 18 U.S.C. §

1956(c)).   The Supreme Court also found, “Since some of the money-laundering conducted in

the world today also defrauds foreign governments, it would be hostile to the intent of the USA

PATRIOT Act.” See RJR Nabisco, Inc. v. European Community, 136 S. Ct. 2090, 195 L. Ed. 2d

476, 579 U.S. 325 (2016), FN 3.

639. There existed (1) an agreement among defendants and other persons, the object of which is

an offense against the United States; (2) defendants knowing and willful joinder in that

conspiracy; and (3) commission of an overt act in furtherance of the conspiracy by at least one of

the co-conspirators. See United States v. Svoboda, 347 F.3d 471, 476 (2d Cir. 2003).

640. “A civil conspiracy is defined as an agreement between two or more people to participate in

an unlawful act or a lawful act in an unlawful manner.” See Thompson v. Trump, 590 F. Supp.

3d 46 (D.C. 2022), citing Hobson v. Wilson, 737 F.2d 1, 51 (D.C. Cir. 1984). “It is enough that

members of the conspiracy in some way or manner, or through some contrivance, positively or

tacitly[,] came to a mutual understanding to try to accomplish a common and unlawful plan.”

Thompson v. Trump, 590 F. Supp. 3d 46 (D.C. 2022). “All co-conspirators must share in the

general conspiratorial objective, though they need not know all the details of the plan or even

possess the same motives.” Hobson, 737 F.2d at 51. “They need not know the identities of other

co-conspirators. In short, a civil conspiracy requires a showing that there was a single plan, the

essential nature and general scope of which were known to each person who is to be held

responsible for its consequences.”    “And, to be actionable, there must be an overt act in

furtherance of the conspiracy that results in injury.” Thompson at 52. “A civil conspiracy

requires (1) an agreement between two or more persons; (2) to participate in an unlawful act, or a

lawful act in an unlawful manner.” See Vindman v. Trump, Civil Action No. 22-257 (JEB) (D.C.

                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 316 of 429




Nov. 8, 2022); see also Halberstam v. Welch, 705 F.2d 472, 486 (D.C. Cir 1983). There was a

single plan, coordinated primarily by defendants Jonathon Moore and Joe Reeder, the essential

unlawful nature and general scope of which were known to the defendants, and to their foreign

sponsors, and there were overt acts in furtherance of the conspiracy – providing substantial

resources to enable defendants to injure Plaintiffs.

641. Defendants, as part of the scheme and artifice, did knowingly and willfully engage in the

transportation, transmission and transfer of monetary instruments from and through a place

outside of the United States to and within the United States with the intent to promote the

carrying on of illegal activities, that is knowing that the monetary instruments and funds

involved in the transportation, transmission and transfer represented the proceeds from some

form of unlawful activity and knowing that such transportation, transmission and transfer was

designed in whole or in part to conceal and disguise the nature, the location, the source, the

ownership, and the control of the proceeds of unlawful activity.

642. The Barzani Continuing Criminal Enterprise (BCCE), aided and abetted by defendants and

other co-conspirators, named and unnamed, constitutes an ongoing organization or enterprise, as

defined in Title 18, United States Code, §1961(4), whose members including Defendants

Masrour Barzani, Mustafa Barzani, Waysi Barzani, Jeyra Mohamad Khaled, Katja Vrecar

Barzani, Sarwar Pedawi, Laween Pedawi, Hamela Gardi, Jonathon R. Moore, Joe R. Reeder,

Julie Mai Sanford, Laura Geho Harris, Valarie Cupp, Rubar Sandi, and other Barzani family

members and family members by marriage, and others known and unknown, functioned as a

continuing unit for a common purpose of achieving the objectives of the enterprise and knowing

that the transactions were designed in whole and in part and the property involved in the

financial transactions represented the proceeds of some form of unlawful activity, which

                                                 48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 317 of 429




transactions in fact involved the proceeds of specified unlawful activity, and other acts as

opportunities arose. “When men enter into an agreement for an unlawful end, they become ad

hoc agents for one another. What one does pursuant to their common purpose, all do.” See Van

Riper v. United States, 13 F.2d 961, 967 (2d Cir. 1926) (Learned Hand, 3.).

643. Defendants Masrour Barzani, Mustafa Barzani, Waysi Barzani, Jeyra Mohamad Khaled,

Katja Vrecar Barzani, Sarwar Pedawi, Laween Pedawi, Hamela Gardi, Jonathon R. Moore, Joe

R. Reeder, Julie Mai Sanford, Laura Geho Harris, Valeris Cupp, Haval Dosky and Rubar Sandi,

and others, knew that the transaction or transactions were designed in whole or in part to conceal

or disguise the nature, location, course, ownership, or control of the proceeds, in whole or in part

of that unlawful activity in federal or foreign law, and in violation of Title 18, United States

Code, Section 1956(a)(1)(B)(i), and to avoid reporting requirements, and to evade, inter alia,

U.S. regulations and tax laws by establishing sham or front corporations and opaque structures in

order to conceal in records, documents and tangible objects their clients’ true beneficial

ownership from United States taxes. Defendants also knowingly, willfully, deliberately, and

fraudulently treated sizable expenses for purported “client reimbursable” to pay expenses of

client investments and properties.        Money movement was knowingly, deliberately, and

frequently falsely declared as “loans” papered with promissory notes, agreements, etc.

Defendants did knowingly and willfully conspire and collude to defraud the United States by

impeding, impairing, influencing, obstructing and defeating the lawful governmental functions of

the Internal Revenue Service (“IRS”) in the ascertainment, computation, assessment and

collection of revenue, thereby enriching the Barzani Continuing Criminal Enterprise. The

monetary gains achieved provided a major source of resources enabling the BCCE to harm

plaintiffs and continue their reign in Iraqi Kurdistan upheld by violence, theft, and fear.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 318 of 429




644. Defendant Moore, and Defendant Reeder, acting together, are both subject to a range of

ethical obligations and the Code of Professional Responsibility of the District of Columbia Bar

and, in the words of the Supreme Court, each has a “solemn duty to comply with the law and

standards of professional conduct.” See Nix v. Whiteside, 475 U.S. 157, 169, 106 S. Ct. 988, 89

L. Ed. 2d 123 (1986). The Supreme Court further declared,

        “Although counsel must take all reasonable lawful means to attain the objectives of the
        client, counsel is precluded from taking steps or in any way assisting the client in
        presenting false evidence or otherwise violating the law. This principle has consistently
        been recognized in most unequivocal terms by expositors of the norms of professional
        conduct since the first Canons of Professional Ethics were adopted by the American Bar
        Association in 1908. The 1908 Canon 32 provided:

        “No client, corporate or individual, however powerful, nor any cause, civil or political,
        however important, is entitled to receive nor should any lawyer render any service or
        advice involving disloyalty to the law whose ministers we are, or disrespect of the
        judicial office, which we are bound to uphold, or corruption of any person or persons
        exercising a public office or private trust, or deception or betrayal of the public. . . . He
        must . . . observe and advise his client to observe the statute law . . . .“These principles
        have been carried through to contemporary codifications[4] of an attorney’s professional
        responsibility. Disciplinary Rule 7-102 of the Model Code of Professional Responsibility
        (1980), entitled “Representing a Client Within the Bounds of the Law,” provides:
        In his representation of a client, a lawyer shall not:

           4. Knowingly make a false statement of law or fact.

           5. Counsel or assist his client in conduct that the lawyer knows to be illegal or
           fraudulent.
            8. Knowingly engage in other illegal conduct or conduct contrary to a Disciplinary

        Rule.      (See Nix v. Whiteside, 475 U.S. 157, 166, 106 S. Ct. 988, 89 L. Ed. 2d 123

        (1986).”

        Disciplinary Rule 1-102: “A lawyer shall not engage in conduct involving dishonesty,
        fraud, deceit, or misrepresentation.”
644.    Each betrayed the law as they, with colleagues, explicitly declared in written

communications to Defendant members of the BCCE and others that the purpose of the

transactions and structuring scheme and course of conduct they intended to devise and did devise
                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 319 of 429




to circumvent federal laws, transmitted by means of wire communications in interstate and

foreign commerce, writings, signs, signals, and sounds for the purpose of executing such scheme

and course of conduct and artifice, was to conceal the ownership and source of proceeds of

unlawful activities and criminality, disguise the identities of those involved in unlawful

activities, and evade and violate U.S. securities and tax laws by establishing sham and front

Limited Liability Corporations layered to conceal their clients’ true beneficial ownership.

Defendant Jonathon R. Moore, aided and abetted by Defendant Joe R. Reeder, is an individual

engaged by and associated with the BCCE, primarily in Washington DC, where he oversaw

complicit administrative staff, each accomplices, for various shell and front corporations and

other opaque corporate ownership structures, as a tool to disguise and move illicit funds, the

structure of which he created, incorporated, oversaw, and was at various times a corporate officer

thereof, and served as an access point to the U.S. financial system. Acts of Defendants were

“purposefully directed” at this forum, and the litigation results from alleged injuries that “arise

out of or relate to those activities.” Mwani v. bin Laden, 417 F.3d 1, 12 (D.C.Cir.2005) (quoting

Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 774, 104 S.Ct. 1473, 79 L.Ed.2d 790 (1984);

Helicopteros, 466 U.S. at 414, 104 S.Ct. 1868).

645.    Defendant Moore managed financial accounts for, of, and on behalf of various shell

corporations and front corporations and trusts in the United States and in offshore banking

jurisdictions.   Defendants, by manipulative or deceptive device, with an emphasis on

concealment, intentionally concealed the scheme and course of conduct by entering into secret

agreements, laundering foreign money through bank accounts in the names of limited liability

corporations and trusts, and through the use of conduits, rather than in the name of the true




                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 320 of 429




foreign source and foreign ownership of funds. Agreements to conceal can factually be parts of

conspiracies to commit other crimes.

646.    Certain individuals employed by and associated with the BCCE, including defendant

Jonathon R. Moore, assisted by Defendant, Joe R. Reeder, defendants Julie Mae Sanford, Laura

Geho Harris, Valarie Cupp, and Rubar Sandi, each of whom are citizens of the United States, and

others, conspired and colluded with one another to use their positions within the BCCE to enrich

themselves through schemes and course of conduct involving undisclosed and illegal payments.

Though they also helped pursue the principal purpose of the BCCE, defendant Jonathon R.

Moore and his co-conspirators further corrupted the BCCE by engaging in various criminal

activities, including concealment and money laundering, in pursuit of personal gain. To further

the corrupt ends of the Barzani Continuing Criminal Enterprise (BCCE), Defendant Moore and

his co-conspirators facilitated the enterprise by providing each other with mutual assistance and

coordination. From the beginning the conspirators insisted on secrecy, and careful deliberate

steps, not ancillary but integral, were taken to sedulously keep hidden the identities of the

Barzani defendants, and a continuation of the overt conspiratorial acts of secrecy after the

accomplishment of the crime in furtherance of this conspiracy. The conspirators engaged in

conduct designed to prevent detection of their illegal activities, to conceal the location of

proceeds of those activities, and to promote the carrying on of those activities. That conduct

included, among other things: the use of contracts to create an appearance of legitimacy for illicit

payments; the use of various mechanisms, including trusted intermediaries, bankers, and

financial advisors, to make and facilitate the making of illicit payments; the creation and use of

shell and front companies and bank accounts in tax havens and key outposts in the offshore

financial system and other secretive banking jurisdictions; the active concealment including the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 321 of 429




execution of “secrecy agreements” with real estate brokers and agents, vendors, and real estate

sales contracts, of foreign ownership; the structuring of financial transactions to avoid reporting

requirements; the purchase of real property and other physical assets; and income tax evasion.

Within the United States, such conduct took place within the District of Columbia and elsewhere.

647.    Beginning at least by 2007 and continuing to the present time, members of the BCCE

caused millions of dollars associated with the fraudulent scheme or course of conduct to be wired

from banking institutions and other financial entities outside and inside the United States into

accounts controlled or overseen by defendant Jonathon Moore, Julie Mai Sanford, Laura Geho

Harris, and Valeria Cupp, and Barzani family members and family members by marriage, in

multiple electronic wire transfers. The payments were wired from accounts in U.S. and foreign

banks held in the name of various entities to disguise the source, ownership, and nature of the

funds. The payments were wired to entities defendants Jonathon S. Moore, Julie Mai Sanford,

Laura Geho Harris, and Valerie Cupp, and Barzani family members and family members by

marriage, and others, controlled, to further disguise the source and nature of the funds.

648. The pattern of unlawful activity through which the defendant Jonathon R. Moore, assisted

by Defendant Joe R. Reeder, together with others, agreed to conduct and participate, directly and

indirectly, in the conduct of financial affairs of the BCCE consisted of multiple acts unlawful

under: (a) Title 18, United States Code, Section 1343 (wire fraud, including honest-services wire

fraud) ; (b) Title 18, United States Code, Sections 1956 and 1957 (money laundering and money

laundering conspiracy) ; (c) Title 18, United States Code, Section 1952 (interstate and foreign

travel in-aid-of racketeering) ; and (d) Title 31, United States Code, Sections 5314 and 5322

(willful failure to file report of foreign bank and financial accounts). At all times relevant,

pursuant to Title 31, Code of Federal Regulations, Sections 103.24, 103.27(c), 103 . 27(d) and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 322 of 429




103.59(b), citizens and residents of the United States who had a financial interest in, or signature

authority over, a … financial account in a foreign country with an aggregate value of more than

$10,000 at any time during a particular year were required to file with the United States

Department of the Treasury a Report of Foreign Bank and Financial Accounts on Form TD-F 90-

22 (the “FBAR”). The FBAR for a given year was due by June 30 of the following year.

Defendant Jonathon R. Moore, then a resident of the District of Columbia, had signature and

other authority over one or more financial accounts, having an aggregate value exceeding

$10,000. Within the District of Columbia and elsewhere, defendants Johnathon R. Moore, Julie

Mai Sanford, Laura Geho Harris, and Valerie Cupp, Barzani family members and family

members by marriage, and others, did knowingly and willfully fail to file with the United States

Department of the Treasury a Report of Foreign Financial and Bank Accounts on Form TD-F 90-

22.1, disclosing that they had signature and other authority over one or more financial accounts

in foreign countries, which account(s) had an aggregate value of more than $10,000, while

violating another law of the United States, to wit: Title 26, United States Code, Section 7201.

649.    Defendants Masrour Barzani, Mustafa Barzani, Waysi Barzani, Mansour Barzani, Sarwar

Pedawi, Laween Pedawi, Johnathon R. Moore, with the assistance of Joe R. Reeder, Julie Mai

Sanford, Laura Geho Harris, Valerie Cupp, Barzani family members and family members by

marriage, and Rubar Sandi, and others, and their associates known and unknown, did

mastermind, orchestrate, and facilitate, primarily from the law offices of Defendant Moore, a

complex money-laundering and concealment scheme and course of conduct and did frequently

collaborate with Defendants Barzani, including Barzani family members and family members by

marriage, and did make representations and omissions about the Defendants’ assets and the




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 323 of 429




identity of the true owners and source of funds of the Barzani Continuing Criminal Enterprise, in

furtherance of criminal activity used to injure and harm plaintiffs.

650. Defendants met semi-annually or quarterly for two days in Washington D.C., usually at the

Moore law office or the Ritz Carlton Hotel in McLean, Virginia, with foreign sponsor money

source Sarwar Pedawi and/or his coconspirator Laween Pedawi. Defendants Sarwar Pedawi,

Laween Pedawi, and Hamela Gardi are “foreign persons” as defined in the Countering America’s

Adversaries Through Sanction Act, 22 U.S.C. 9401, Sec. 193(3): “The term ‘foreign person’

means a person that is not a United States person. Defendants Sarwar Pedawi, Laween Pedawi,

and Hamela Gardi directed and controlled by Defendant Masrour Barzani, are foreign persons

acting to harm Plaintiffs and the United States.

651.    Defendants Sarwar Pedawi, Laween Pedawi, and Hamela Gardi did knowingly and

intentionally transmit and cause to be transmitted monies by means of wire communications in

interstate and foreign commerce writings, signs, signals, pictures, and sounds for the purpose of

executing such scheme or course of conduct and artifice, and were actively complicit in the

crime. Defendants Sarwar Pedawi, Laween Pedawi, and Hamela Gardi, President, Region Trade

Bank for Investment and Finance (aka “RT Bank”), in Iraqi Kurdistan (and wife of BCCE

coconspirator Defendant Ghafoor Khoshnaw) and acting as an agent of a foreign bank, not an

agency or instrumentality of a foreign state, did over a multi-year period knowingly and

unlawfully combine, conspire, confederate, and agree together and with each other to devise and

intend to devise a scheme or course of conduct and artifice by means of material false and

fraudulent pretenses and representations and omissions to knowingly use the bank and other

banks, including U.S. financial institutions, to commit crimes in violation of international laws

and to accomplish its BCCE illicit purposes and did originate electronic wire dollar-denominated

                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 324 of 429




financial transmissions of dollar-denominated transactions in interstate commerce from Iraq,

Dubai, and elsewhere to the United States banks and financial institutions and knowing the

transactions were designed in whole and in part to conceal and disguise the nature, the location,

the source, the ownership, and the control of the proceeds of the specified unlawful activity, each

such transaction constituting a separate crime.

652.    Defendants Sarwar Pedawi, Laween Pedawi, and Hamela Gardi are not employees of

defendant Iraqi Kurdistan Regional Government or any government or foreign state or political

subdivision thereof nor an agent or instrumentality thereof, neither is a citizen of a State of the

United States, and are central co-conspirators, financial facilitators, international money

movement orchestrators (of large volumes of illicit cash proceeds), strategists, and major

moneymen and operatives of the Barzani Continuing Criminal Enterprise. Defendant Sarwar

Pedawi is the chief executive of STER Group, which communiques of the U.S. State Department

say is owned by members of the Barzani family. Defendants were often paid “gifts” of tens of

thousands of dollars. Defendant Jonathon Moore often maintained bank cash accounts in the

United States on behalf of defendants Barzani in the many millions of dollars. As part of the

pattern of illegal activity employed, Defendants used facilities of interstate or foreign commerce

with the intent to distribute the proceeds of unlawful activity and to conceal the source,

ownership, and control of the funds. The funds were ultimately passed through U.S. financial

institutions to then be used to acquire and invest in assets located in the United States and

overseas, titled not in defendants’ names but in the name of shell or front companies and trusts

and other legal arrangements formed and organized by Defendant Jonathon R. Moore and his

associates in complex ownership and control structures adding layers and chains of ownership

between an asset and the beneficial owner(s) in different jurisdictions and countries, and

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 325 of 429




different types of legal structures, for the purpose of enhanced anonymity and intentional

concealment and obscuring beneficial ownership information, to conceal material facts, to

protect their corrupt relationship with the beneficial owners and others, including concealing

assets of individuals who did support ISIS, a terrorist organization that has committed acts of

violence against Americans, to avoid detection by law enforcement, taxing authorities, and

national security officials including by using shell or front names and addresses when conducting

international electronic money transfers, and holding in whole or in part the proceeds of crime.

653.    Representative entities used to conceal are listed below; but are not limited to merely this

list, and the representative sample list is by all means not wholly inclusive:

           A. Hollow Oak, LLC
              A Delaware limited liability company
              Beneficial Owner: Muksi Barzani
              Manager: Julie Sanford


           B. Old Fireplace, LLC
              A Virginia limited liability company
              Sole Owner: Jocard Holdings Limited (BVI)
              Beneficial owner: Muksi Barzani

           C. 983 Washington SB, LLC
              A Florida limited liability company
              Beneficial owner: Masrour Barzani
              Manager: Masrour Barzani


           D. Old Stone LLC
              A Virginia limited liability company
              Beneficial owner: Muksi Barzani

        E. Great Bend Holdings, LLC
              A Virginia limited liability company
              Subsidiary of J. Sparrow Holdings Limited, a BVI company
              Sole Owner: Mustafa Barzani, 3883 Connecticut Avenue NW, Apt 613,
              Washington DC
                                                 48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 326 of 429




        Sole Member: Haval Dosky

 F. Hillcrest Farm, LLC
         A Virginia limited liability company
         Beneficial owner: Mustafa Barzani

 G. Hillcrest Racing Stables, LLC
         A Virginia limited liability company
         Beneficial owner: Mustafa Barzani

 H. One Park Crest Unit 1808, LLC
       A limited liability company
       Beneficial owner: Mustafa Barzani

 I. One Park Crest Unit 1816, LLC
        Name changed to Highland Path LLC, a Virginia limited liability company

 J. One Park Crest Unit 1812, LLC
        Owned by Teague Holding Limited (BVI)
        A Virginia limited liability company
        Sole beneficial owner: Mansour Barzani

 K. One Park Crest Unit 1816, LLC
       A Virginia limited liability company

 L. One Park Crest Unit 1404, LLC
        A Virginia limited liability company
        Name changed to Old Stone Path, LLC

 M. One Park Crest Unit 1906, LLC
      Owned by Chevalle Holdings Limited (BVI)
      A Virginia limited liability company
      Sole beneficial owner: Masrour Barzani

 N. One Park Crest Unit 1410, LLC
       Named changed to Old Fireplace, LLC

 O. Park Crest Lofts Unit 627, LLC
       A Virginia Limited Liability company

 P. RLFC, LLC
      A Delaware limited liability company
      Sole beneficial owner: Muksi Barzani
                                        48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 327 of 429




          Q. Grape Arbor, LLC
             A District of Columbia limited liability company
             Owned by J. Sparrow Holdings Limited (BVI)
             Beneficial Owner: Mustafa Barzani, Trustee of The M&K Living Trust
             Sole Member: Mustafa Barzani


          R. Bayberry Falls, LLC
             A limited liability company


          S. Monarch E2, LLC
             A limited liability company
             Sole beneficial owner: Mustafa Barzani

      T. Woodlea Holdings, LLC
           A limited liability company
            Sole beneficial owner: Mustafa Barzani

       U. 1224 Randolph LLC
             A limited liability company
              Beneficial owner: Muksi Barzani
             Acquired by GioGet LLC

V. .GioDet, LLC
       A Delaware limited liability company
       Sole owner: Muksi Barzani

W. 11900 Market Street, LLC
      A limited liability company
      Sole owner: Muksi Barzani

X. SBPB, LLC
      Office: 1130 Connecticut Avenue NW. Washington DC
      Manager: Johnathon S. Moore

Q. Angus Cross, LLC
      A limited liability company
      Single member LLC
      Sole Owner: Muksi Barzani

                                              48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 328 of 429




R. Cattle Cross, LLC
       A limited liability company
        Beneficial owner: Muksi Barzani

S. Highland Path, LLC
       A limited liability company
       Owned by Jocard Holdings Limited (BVI)
       Beneficial owner: Muksi Barzani
       Single member LLC

T. Lawson Lane, LLC
      A limited liability company
      Owned by Jocard Holdings Limited (BVI)
      Single member LLC
      Sole Owner: Muksi Barzani

U. Kurdistan Arabian Stud, LLC
      A limited liability company
      Sole Owner: Mustafa Barzani
      Office: 1 Wood Road, Wilmington, DE (Once residence of Jonathon Moore)

V. Sylvania Jermantown LLC
       A Virginia limited liability company
       Single member LLC
       Sole owner Muksi Barzani

W. Sylvania Fair Lakes, LLC
      A Virginia limited liability company
      Single member LLC
      Sole owner Muksi Barzani

X. Sylvania NC LLC
       A North Carolina limited liability company
       Sole owner: Muksi Barzani

Y. Golden Eagle Global, Inc. (GEG, Inc.)
       A Delaware corporation
       All shares sold to Mustafa Barzani for $1 to facilitate USG contracts
      President: Mustafa Barzani
       Director, Vice President and Secretary: Valerie Cup

AA. GEG Reklam (a division of GEG)
           Division of GEG
                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 329 of 429




BB. GEG Construction
           Same shareholders as parent Golden Eagle Global, Inc.

CC. GEG Management LLC
      A limited liability company
      Owned by Golden Eagle Global, Inc.
      All shares sold to Mustafa Barzani for $1 to facilitate USG contracts
      President: Mustafa Barzani
      Vice President and Secretary: Valerie Cupp

DD. GEGI Management, LLC
     A limited liability company
     5335 Wisconsin Ave, NW. Ste 440, Washington DC 20015
     Covered costs for Masrour, Mansour, Muksi, Mustafa, and Waysi Barzani

EE. GEG Kurdistan
      A shortened name for Golden Eagle Group, a Kurdish company

FF. 1150 K 1210 LLC
       A Washington DC limited liability company
       Owned by J. Sparrow Holdings Limited (BVI)
       Beneficial owner: Mustafa Barzani

GG. 1150 K 1410 LLC
      A Washington DC limited liability company

HH. MLS111 Legacy Foundation, Inc.
     A corporation
     Beneficial owner: Katja Vrecar Barzani (Mustafa Barzani’s wife)

II. Atlantic Noca, LLC
        A Delaware limited liability company
        Sole Owner: Muksi Barzani

JJ. 360° Swiss
       A Kurdistan company
       Division of Golden Eagle Global
       Beneficial owner: Mustafa Barzani

KK. 3883 Connecticut LLC
      A District of Columbia limited liability company
      Beneficial Owner: Mustafa M.Barzani
                                               48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 330 of 429




LL. Legacy Farm LLC
      A limited liability company
      Beneficial owner Muksi Barzani

MM. Great Bend Holdings, LLC
     A limited liability company
     Sole beneficial owner: Mustafa Barzani

NN. Pondview Revocable Trust
     Sole Owner: Muksi Barzani

OO. M&K Living Trust
     Beneficial owners: Mustafa Barzani, Katja Vrecar Barzani, Muksi Barzni
     Trustee: Mustafa Barzani

PP. KLNB, LLC
     A Virginia limited liability company
     Beneficial owner: Masrour Barzani

QQ. First Level Oak Shade LLC


(Plaintiffs have identified dozens – but only presently list herein 42 – shell or front corporations

and trusts owned by named Barzani defendants, Barzani family members and Barzani family

members by marriage, and organized, administered, and/or managed and facilitated by or in

course of conduct with Defendants Moore, Reeder, Sanford, Cupp, Geho, Sandi, Sarwar Pedawi,

Laween Pedawi, etc. Records show Jonathon R. Moore and IFS to be a registered agent and/or

officer of no less than 83 legal entities registered in New York, Delaware, Washington, DC,

Indiana, Michigan, North Carolina, and Florida. Moore is an officer of at least 49 entities – 36 in

Delaware, six in the District of Columbia, three in Florida, and one each in the remaining states.

IFS is a registered agent/officer of no less than 27 Delaware and seven District of Columbia

entities. Records show Defendant Moore’s subordinate, Defendant Julie Sanford, is either a

registered agent or officer, including CEO, of no less than 22 active or inactive entities – seven

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 331 of 429




in the District of Columbia, 11 in Virginia, two in North Carolina, and one each in Florida and

Texas. Her home address or her use of the Moore law firm address connects her to each entity.

654    Complex ownership structures are not, in and of themselves, unlawful. In this instance

these ownership structures were knowingly and willfully organized and created in a “convoluted

character associated with money laundering” “designed to disguise ownership and evade

transaction reporting requirements,”     See United States v. Adefehinti, 510 F.3d 319, 324

(D.C.Cir. 2007) and utilized “for the sole purpose of holding legal title to these properties,” “to

conceal ownership”, to “protect the family’s privacy”, to “keep Barzani brothers private”, to

“interpose a foreign corporation (and initially a trust) between the LLC’s and the beneficial

owners of each property,” to prevent “anyone from connecting the dots”, and to launder proceeds

of crime by the Barzani Continuing Criminal Enterprise. “Each piece of real property would be

owned by a separate LLC.” These anonymous shell companies used the U.S. financial system for

their anonymous owners’ benefits. For various limited liability companies and corporations,

millions of dollars of funds were periodically replenished by defendants foreign sponsors Sarwar

Pedawi and Laween Pedawi, most often for the purchase of U.S. assets and by means of

international wire transfers associated with the fraudulent scheme or course of conduct, for

which payment cleared through U.S. banks. It is not a defense that legitimate funds are also

involved, and there is no de minimis exception. See United States v. McGauley, 279 U.S. F.3d

62, 71 (1st Cir. 2002).

655. These shell and front limited liability entities were and are owned by holding companies

and trusts in the British Virgin Islands, a key outpost in the offshore financial system, formed by

defendant Jonathon R. Moore and his associates under the laws of a foreign jurisdiction to

disguise beneficial ownership of and launder illicit wealth, while specifically and purposefully

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 332 of 429




maintaining a level of complete anonymity for the true owner, and splitting company

incorporation and asset administration over different countries. For example, to conceal the true

ownership of property and create anonymity while laundering illicit proceeds, Defendant Muksi

Barzani owns a British Virgin Islands holding company which owns Sylvania Fair Lakes, LLC,

with a Washington, D.C. address. It in turn owns Sylvania NC, LLC, which in turn owns real

property in Mebane, North Carolina. Defendant Julie Mai Sanford is the manager of both

examples.

656.    Other British Virgin Islands holding companies and trusts owned and controlled by

Defendants Masrour Barzani, Mansour Barzani, Muksi Barzani, Waysi Barzani, Mustafa

Barzani, Sarwar Pedawi, Laween Pedawi, Rubar Sandi, and the BCCE, and administered and/or

facilitated and/or financially funded by Defendants Jonathon R. Moore, Julie Mai Sanford, Laura

Geho Harris, Valerie Cupp, Serwar Pedawi, Laween Pedawi, and Rubar Sandi, and others,

include but are not limited to:

            A. Teague Holdings Limited (“the holding company for Masrour”)
                  Incorporated British Virgin Islands February 1, 2008
                  British Virgin Islands corporation No. 1462498
                  Address; Law Office of Johnathon R. Moore, PLLC
                  5335 Wisconsin Avenue, NW, Suite 440

                   Washington, DC 20015-2079
                   Sole Director: Masrour Barzani
                   Reserve Director: Mustafa Barzani, 3883 Connecticut Avenue NW, #623,
                   Washington DC 2008
                   Secretary: Julie Sanford, 30 Saint Roberts Drive, Stafford, VA 22556
                   Sole shareholder: Masrour Barzani
                   Beneficial shareholder: Masrour Barzani, One Park Crest, Unit 1906,
                   McLean, VA 22102


            B. Chevalle Holdings Limited (“Mansour’s holding company”)
                  British Virgin Islands corporation No.1462500

                                               48
Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 333 of 429




           Sole Owner: Mansour Barzani, 8220 Crestwood Heights Drive, Apr 1812,
           McLean, VA 22102
           Sole Director: Mansour Barzani
           Reserve Director: Mustafa Barzani, 3883 Connecticut Avenue NW, #613,
           Washington DC 20008
           Address; Law Office of Johnathon R. Moore, PLLC
           5335 Wisconsin Avenue, NW, Suite 440
           Washington, DC 20015-2079
           Secretary: Julie Sanford, 30 Saint Roberts Drive, Safford, VA 22556

    C. Jocard Holdings Limited (“Muksi’s holding company”)
          British Virgin Islands corporation No. 1462499
          Address: 3076 Sir Francis Drake Highway, P. O. Box 3463, Road Town,
          Tortola, British Virgin Islands
          Mailing address: 1072 Thomas Jefferson St., NW, Washington DC 20037
          Sole Owner: Muksi Barzani, 3883 Connecticut Avenue NW, #613,
          Washington DC 20008
          Sole Director: Muksi Barzani
          Reserve Director: Mustafa Barzani
          Secretary: Laura Geho


    D. Barbossa Holdings Limited (”Waysi’s holding company”)
          British Virgin Islands corporation No. 1462492
          Sole owner: Waysi Barzani
          Sole director: Waysi Barzani


   E. J. Sparrow Holdings Limited (“Mustafa’s holding company)

           British Virgin Islands corporation No. 1462490
           Principal offices: 3383 Connecticut Ave., NW, #613, Washington DC 20008
           and 5335 Wisconsin Avenue NW, Suite 950, Washington DC 20015
           Sole owner: Mustafa Barzani
           Sole Director: Mustafa Barzani
           Reserve Director: Muksi Barzani and mother Jeyra Mohamad Khaled
           Secretary: Laura Geho, 4000 Tunlaw Road NW, Washington DC 20007

   F. Liberty 1947 Holdings Limited
       A successor holding company in British Virgin Islands

   G. TSG Global Holdings Inc.
                                      48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 334 of 429




               Corporate Address: 5335 Wisconsin Avenue, NW, Suite 950, Washington DC
               20015
               Rubar Sandi, Founder, Chairman, The Sandi Group
               Emine Sandi, President, The Sandi Group
               AKA “The Sandi Group Global Holdings (TSG GH)”
               Address: 2101 L Street NW, Ste 800, Washington DC
               TSG Holdings LLC


           H. 3B Worldwide Inc
              A British Virgin Islands company
              Shareholders: Sarwar Pedawi and Laween Pedawi‘
              Directors: Sarwar Pedawi and Laween Pedawi

           I. Varuna International Holdings Limited
              A British Virgin Islands company
              Beneficial owners: Sarwar Pedawi and Laween Pedawi
              Directors: Sarwar Pedawi and Laween Pedawi


           K. Leopard International Holdings Limited
              A British Virgin Islands company
              Director: Sarwar Padawi
              Law Office of Jonathon R. Moore, PLLC
              5335 Wisconsin Avenue, NW, Suite 440, Washington DC
              Jonathon R. Moore, Principal, Manager, and Sole Interest Holder


657. The various listed entities collectively constitute an “enterprise” as defined in Title 18,

United States Code, Section 1961(4), that is, a group of legal entities associated in fact

(hereinafter the “enterprise”, as part of the Barzani Continuing Criminal Enterprise).          The

enterprise constituted an ongoing organization whose members and coconspirators functioned as

a continuing unit for a common purpose of achieving the objectives of the enterprise. The

enterprise was engaged in, and its activities affected, interstate and foreign commerce using legal

entities by criminal actors to hold assets, purchase real estate, conduct wire transfers, burnish the

appearance of legitimacy when dealing with counterparties (including financial institutions and

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 335 of 429




contracting with the United States Government), and control legitimate businesses for ultimately

illicit ends.

658.    Companies doing business and contracting with the United States Government, including

in the instant case the Department of Defense, Defense Logistics Agency, and the Small

Business Administration, must properly identify any foreign ownership, control, or influence

(“FOCI”). In acts of blatant criminality on behalf of the BCCE and in furtherance of and as part

of its criminal conspiracy, Defendants knowingly, deliberately, voluntarily, and willfully

conspired and took proactive steps to conceal, for entity eligibility determination, the true

beneficial ownership of foreign financial accounts and entities, including, for example, Golden

Eagle Global, Inc. (“GEG”), purportedly owned by Defendant Valerie Cupp but not the true

beneficial owner, though certified by Defendant Jonathon Moore who created false bills of sale

and ownership transfer documents, and falsely certified with agencies of the U.S. Government as

Economically Disadvantaged Woman Owned Small Business, and violated 18 U.S.C. §

1001(a)(3), which makes it a felony to knowingly and willfully make false statements to

government agencies, and violated 18 U.S.C. § 371, the federal conspiracy statute.

659.    In furtherance of the conspiracy and to effect its illegal objects, in another fraudulent

money laundering scheme or course of conduct of the BCCE, Defendant Moore and his

defendant coconspirator associates unlawfully bring monies into the United States, knowingly

and willfully to conceal the true nature of the scheme or course of conduct by fabricating

multiple false or sham “contracts”, through a series of front companies and middlemen, which

subsequently always underperform or perform little or no legitimate work or are breached.

These corrupt or sham “contracts” and corrupt agreements usually take the place of the

Defendant Iraqi Kurdistan Regional Government or departmental agencies within that

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 336 of 429




government contracting for “goods” or other services. In one example, the Defendant KRG

sought the advice for a cybersecurity protocol to prevent “zero-clock attacks on cellular phones”.

They contracted with Ben Jamil, dba CCS International. Jamil is a notorious Office of Foreign

Assets violator who was indicted several times by the Department of Justice for customs

violations and other schemes, and has numerous lawsuits against him for money laundering.

Defendant KRG paid him approximately $300,000 for a sham contract for a demonstration in

Erbil which never occurred. Upon information and belief, Jamil did not provide service under

the contract. Rather, as described below, the contract was primarily or exclusively a mechanism

to route money to Defendant Moore for the enrichment of the beneficial owner, the members of

the Barzani Continuing Criminal Enterprise. Defendant KRG then sought Defendant Moore’s

advice on how to “sue” and Moore received another tranche of funds to engage an attorney to

sue Jamil. The embezzled $300,000 remained in Jamil’s possession and funds then are in

possession from another wire to Moore’s IOLTA accounts. No suit has been filed, and in reality

the contract was a sham used to disguise and legitimate the corrupt agreement. The purported

“contracts” were a cover for the true purpose of the agreement, which was furtherance of the

criminal objectives of the BCCE.      The activities of the enterprise provided the source of

substantial means to damage and harm plaintiffs.

660.    Each shell and front corporation had directors, and often a “sole director”, who acted in

concert with defendant Jonathon R. Moore, assisted by defendant Joe R. Reeder. Most, if not all

the shell and front corporations maintained an office address in Washington, D.C. where the

administrative officer and/or corporate secretary was located and where business was regularly

conducted.    This was the Washington, D.C. law office of defendant Jonathon R. Moore.

Knowing that the transactions were designed in whole or in part, and with the intent to defeat law

                                               48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 337 of 429




and regulation, defendants and defendants’ corporations knowingly and fraudulently transferred

and concealed origins, sources, ownership, and property of defendants or the property of

defendants’ corporations. Defendant Moore, as long-time, widely engaged, and well-informed

attorney, in Washington, D.C., and Defendant Reeder, as a long-time, widely engaged, well-

informed, attorney and former senior U.S. Government officer having a high degree of

awareness of Presidential Executive Orders, know that such Executive Orders of the President of

the United States are declarations with the force of law; and knew or should have reasonably

known the severity of these criminal actions, yet persisted. In 2017, the President of the United

States, invoking the International Emergency Economic Powers Act (50 U.S.C. 1701 et seq.)

(IEEPA), the National Emergencies Act (50 U.S.C. 1601 et seq.) (NEA), and the Global

Magnitsky Human Rights Accountability Act (Public Law 114-328) (the “Act”), in a publicized

Executive Order declared “serious human rights abuse and corruption around the world

constitute an unusual and extraordinary threat to the national security, foreign policy, and

economy of the United States, and I hereby declare a national emergency to deal with that

threat.” (Underlining added).

661    In testimony on May 21, 2019, before the U.S. Senate Banking, Housing and Urban

Affairs Committee, Steven M. D’Antuono, Acting Deputy Assistant Director, Criminal Division

of the Federal Bureau of Investigation, said:

       “For an illegal enterprise to succeed, criminals must be able to hide, move, and access
       these illicit proceeds—often resorting to money laundering and increasingly utilizing the
       anonymity of shell and front companies to obscure the true beneficial ownership of an
       entity. The pervasive use of shell companies, front companies, nominees, or other means
       to conceal the true beneficial owners of assets is a significant loophole in this country’s
       anti-money laundering (AML) regime. Under our existing regime, corporate structures
       are formed pursuant to state-level registration requirements, and while states require
       varying levels of information on the officers, directors, and managers, none require

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 338 of 429




        information regarding the identity of individuals who ultimately own or control legal
        entities upon formation of these entities.”

662.    The National Money Laundering Risk Assessment (NMLRA) and the National Terrorist

Financing Risk Assessment (NTFRA) listed “the most significant illicit finance threats facing the

United States'' are money laundering linked to fraud, drug trafficking, and transnational

organized crime, and public corruption – each a feature of the Barzani Continuing Criminal

Enterprise and the facilitating defendants and co-conspirators. The 2018 NMLRA, authored by

the U.S. Department of Treasury, noted that, “bad actors consistently use shell companies to

disguise criminal proceeds.” The severe criminality and extreme menace posed by Defendants’

conduct is grievously and treacherously contrary to the self-characterization by Defendant

Reeder in the instant case describing his client as a “strong and long standing ally” of the United

States. The danger of Defendants’ conduct has been amplified by the President of the United

States, who has declared the use of anonymous shell companies for illicit purposes “a core

United States National Security interest.” “Anonymous shell companies, opaque financial

systems, and professional service providers enable the movement and laundering of illicit wealth,

including in the United States and other rule-of-law-based democracies…. Corruption threatens

United States national security, economic equity, global anti-poverty and development efforts,

and democracy itself.” On April 6, 2024, U.S. Secretary of the Treasury Janet Yellen said, “It is

secrecy that enables criminals to flourish.”       Not only is defendants’ secret conspiracy of

criminality financing harm to Plaintiffs, it, like other criminal acts of Defendants enumerated

herein, “threatens United States national security.”

663.    This is precisely the method utilized by the Barzani Continuing Criminal Enterprise to

move illicit gains from their various criminal activities into the United States.   Many if not most

of these companies use the same Washington, D.C. address or a close variant thereof. These
                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 339 of 429




anonymous shell and front companies used the U.S. financial system for their anonymous

owners’ benefits and to provide resources and means to damage and harm plaintiffs.

664.    Millions of dollars were transferred by wire, check, draft, facsimile, or courier, using a

series of shell and front companies, from outside the United States and through financial

institutions located in Washington, D.C. and elsewhere to operate these numerous shell

corporations, originating principally by, through and from foreign sponsor defendants. Sarwar

Pedawi and Laween Pedawi, and others, frequently moved criminal proceeds from Iraqi

Kurdistan, often through Dubai, and then washed the proceeds through “holding companies” and

trusts incorporated in the British Virgin Islands. Funds were deposited to accounts noted as trusts

in British Virgin Islands, Jersey Channel Islands and Bahamas, which “holding companies”

owned a network of shell and front companies in the United States to conduct U.S. dollar

transactions in the United States and which concealed the name, true nature, and true ownership

and beneficiaries from U.S. banks and United States bank regulators and tax authorities.

665.    Washed criminally derived proceeds included funds derived from criminal activities in

violation of the Iranian Transactions and Sanctions Regulations (“ITSR”) issued by The

Secretary of the Treasury and its Office of Foreign Assets Control (“OFAC”), and the

International Emergency Economic Powers Act (“IEEPA”), Title 50, United States Code,

Section 1701-1706, as detailed herein above, authorizing the President of the United States to

impose economic sanctions in response to an extraordinary threat to the national security, foreign

policy, or economy of the United States. Defendants have knowingly and willfully evaded the

prohibitions of sanctions issued by the United States Government. Sources such as invoices,

emails, letters, wire transfer records, company records, and others, using business names of shell

and front corporations to conceal the beneficiaries of electronic wire transfers of funds, reveal

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 340 of 429




voluminous transactions over a period of years relevant hereto and which were conducted

through accounts at financial institutions in the United States or directed by United States

financial institutions.

666.    Every continuous, systematic, knowing, and voluntary act in furtherance of and to

purposefully and corruptly launder money by concealing and disguising the nature, location,

source, ownership, and control of millions of dollars of proceeds from various unlawful schemes

and courses of conduct of the Barzani Continuing Criminal Enterprise, a significant transnational

criminal organization, aided, abetted, strategized, facilitated, orchestrated, conducted and caused

to be conducted and attempted to conduct by Defendants Jonathon R. Moore, assisted by

Defendant Joe R. Reeder, Julie Mai Sanford, Laura Geho Harris, Valerie Rupp, Rubar Sandi,

Sarwar Pedawi, Laween Pedawi, Hamela Gardi, and others, a criminal association operating in a

culture of impunity, and wherein “at least one overt act took place in furtherance of the

conspiracy,” See United States v. Hemphill, 514 F.3d 1350, 1362 (D.C.Cir. 2008), has facilitated

acts of foreign corruption, harmed the national security interests of the United States, and

enriched Defendants – thereby enhancing their ability to harm Plaintiffs. The injury is “fairly

traceable to the defendant[s]’ allegedly unlawful conduct.” See Allen, 468 U.S. at 751, 104 S.Ct.

667.    The Defendant Iraqi Kurdistan Regional Government and its defendant principal officers

including its agents and representatives and Barzani family members and family members by

marriage, are subject to suit because Defendants acted not as state actors “but in the manner of a

private player within it.” See Republic of Argentina v. Weltover, Inc., 504 U.S. 607, 613 (1992).

It is also well established in the United States that attorney-client privilege and the work product

doctrine do not extend to criminal activity, “in furtherance of future illegal conduct – the so-

called ‘crime-fraud’ exception”, or to actions “in which an alleged illegal proposal is made in the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 341 of 429




context of a relationship which has an apparent legitimate end.” The crime-fraud exception

places communications made in furtherance of a crime or fraud outside the attorney-client

privilege and “does not extend to communications made for the purpose of getting advice for the

commission of a fraud or crime.” See United States v. Zolin, 491 U.S. 554, 563, 109 S.Ct. 2619,

2626 (1989).     Defendants Reeder and Moore “made or received the otherwise privileged

communication with the intent to further an unlawful or fraudulent act,” and actually “carried out

the crime or fraud.” See In re Sealed Case, 223 F.3d 775, 779 (D.C. Cir. 2000).

668.    With respect to Defendants Reeder and Moore, as Supreme Court Justice Bradly aptly

stated many years ago in Ex parte Wall(1882), 107 U. S. 265, 274, 2 Sup. Ct. 569, 27 L. Ed. 552:

        “Of all classes and professions, the lawyer is most sacredly bound to uphold the laws. He

        is their sworn servant; and for him, of all men in the world, to repudiate and override the

        laws, . . . argues recreancy to his position and office, and sets a pernicious example to the

        insubordinate and dangerous elements of the body politic. It manifests a want of fidelity

        to the system of lawful government which he has sworn to uphold and preserve.”

669.    The Republic of Iraq, of which the defendant Iraqi Kurdistan Regional Government is

part, is since 2008 a participating nation, as is the United States, of the United Nations

Convention Against Corruption. Defendants have knowingly, deliberately, and willfully aided

and abetted the defendant Iraqi Kurdistan Regional Government and its principal officers and

agents in committing violations of the law of nations and violated and breached the provisions of

this treaty and international law in numerous ways, including but not limited to:

        Article 23: The conversion or transfer of property, knowing that such property is the

        proceeds of crime, for the purpose of concealing or disguising the illicit origin of the

        property or of helping any person who is involved in the commission of the predicate

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 342 of 429




        offence to evade the legal consequences of his or her action; (ii) The concealment or

        disguise of the true nature, source, location, disposition, movement or ownership of or

        rights with respect to property, knowing that such property is the proceeds of crime;



        Article 24:   The concealment or continued retention of property when the person

        involved knows that such property is the result of any of the offences established in

        accordance with this Convention.



670.    The Republic of Iraq is also a participating nation, as is the United States, of the

International Convention for the Suppression of the Financing of Terrorism, which Defendants

have knowingly, deliberately, and willfully violated. “The Court is bound by the law of nations

which is a part of the law of the land.” THE NEREIDE, BENNETT, MASTER, 13 U.S. 388, 3 L.

Ed. 769 (1815). Also Ali v. Rumsfeld, 649 F.3d 762 (D.C. Cir. 2011). The Supreme Court has

declared, “For two centuries we have affirmed that the domestic law of the United States

recognizes the law of nations.” See Sosa v. Alvafez-Jachain, 542 US 692 SCOTUS. Treaties are

binding agreements between nations that govern the rights and obligations of participating

countries. The use of international conventions, i.e., treaties, was codified in the 1969 Vienna

Convention on the Law of Treaties, and the treaty text is legally binding on the Defendants. As a

ratified treaty, the Vienna Convention has the status of federal law. “[T]reaties are recognized by

our Constitution as the supreme law of the land.” See Breard v. Greene, 523 U.S. 371, 118 S.

Ct. 1352, 140 L. Ed. 2d 529 (1998).



         Counterfeiting of Pharmaceuticals and Cigarettes, Production and Distribution of
Illicit Drugs
                                             48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 343 of 429




671.       The extensive and financially significant international counterfeiting component of the

Barzani Continuing Criminal Enterprise (BCCE), which is a substantial component of financing

the BCCE harm to Plaintiffs, and is directed by Defendants Masoud Barzani and Masrour

Barzani.      Defendant Masrour Barzani is in partnership with co-conspiratorconspirators

Defendants Nizar Hanna Nasri, Shimal Jawhar Salin, Sarwar Pedawi, and Ghafoor Khoshnaw

who manage, oversee, profit, and money launder proceeds from counterfeiting operations of the

Barzani Continuing Criminal Enterprise. Additionally, Defendant Sarwar Pedawi, a major co-

conspirator with Defendants Masrour Barzani and Waysi Barzani, acting as a co-conspirator for

Defendant Masrour Barzani, is a principal representative of Defendant Masrour Barzani in

business transactions, directs Defendant Masrour Barzani’s illicit oil trades, and directs uses of

illicit proceeds to purchase properties in the United States and elsewhere for Defendant Masrour

Barzani and his shell companies and other camoflagedcamouflaged entities. Defendants Saad

Alduski and Blend Aldoski manage and partner in manufacturing counterfeit cigarettes. These

Defendants, in managing this financially significant criminal enterprise element, with the intent

to deceive and defraud the rightful owners of the companies whose products are being

counterfeited, report directly to the Prime Minister of Defendant Iraqi Kurdistan Regional

Government, Defendant Masrour Barzani.

672.        All of these willful and knowing counterfeiting of pharmaceuticals and cigarettes

violations occurred and do occur at a time Defendant Masrour Barzani was and is Prime Minister

of Defendant Iraqi Kurdistan Regional Government, the presiding and actual head of government

and head of the executive power.

673.    Defendants, directed by Masrour Barzani, knowingly engaged, attempted to engage, and

aided, abetted, and caused others to engage and attempt to engage in transactions, dealings, the

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 344 of 429




felonious manufacture, importation, receiving, concealment, buying, selling, or otherwise

dealing of illicit drugs and narcotics, and with one or more foreign persons designated by the

U.S. Secretary of the Treasury as foreign terrorists or foreign terrorist organizations and willfully

evaded and avoided, and do evade and avoid, the provisions of law prohibiting activity and

dealings with such individuals.

674.     The illicit drug operation, including cocaine trafficking, punishable by death or life

imprisonment under Iraq law, is headed by co-conspirator Defendant Nihad Barzani, brother of

Defendant Masoud Barzani. Defendant Nihad Barzani reports this criminal operation directly to

Defendant Masrour Barzani. Co-conspirator Defendant Ghafoor Khoshraw assists Defendant

Nihad Barzani (a major director of oil smuggling and construction) and directs the highly

profitable smuggling of cigarettes to Iran and the counterfeiting of U.S. brand cigarettes, along

with electronic and technology product smuggling to Iran. Revenue received by the Barzani

Continuing Criminal Enterprise from this illicit drug operation is used directly to finance Barzani

Continuing Criminal Enterprise’s actions against Plaintiffs including attempted murder, murder,

and torture, and other atrocity crimes.

675.      The core of the Barzani Continuing Criminal Enterprise counterfeiting, piracy, and

smuggling operations is its partnering with U.S.-designated anti-American terrorist

organizations. The products the Barzani Continuing Criminal Enterprise counterfeits include

primarily U.S. registered and trademarked brands, thereby knowingly and intentionally creating a

negative economic impact on the United States economy and on U.S. commercial interests. By

simultaneously channeling substantial financial resources to the Barzani Continuing Criminal

Enterprise and its criminal networks which disrupt and corrupt Kurdistan society and knowingly,

and lacking all moral integrity as leaders of the Defendant Iraqi Kurdistan Regional Government,

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 345 of 429




Defendants Masoud Barzani, MasrouroMasrour Barzani, and Waysi Barzani, and their associate

co-conspirators, imperil the physical health of the citizenry, which they govern, through inferior

product quality, hazardous material, and substandard and uninspected manufacturing standards,

and with wanton disregard for human life potentially killing innocent consumers. In addition to

the established link between counterfeiting and piracy and organized crime, Interpol has

highlighted a disturbing relationship of counterfeiting and piracy with terrorist financing, with

intellectual property crime becoming the preferred method of financing for a number of terrorist

groups, including those partnering and/or collaborating with the Barzani Continuing Criminal

Enterprise.

676.    The Barzani Continuing Criminal Enterprise counterfeiting operations, in pursuit of illicit

profits, continually, knowingly, and intentionally violates numerous international treaties and

conventions to which the controlling superior federal Government of the Republic of Iraq is a

signatory nation, including the Paris Convention for the Protection of Industrial Property, to

which the Government of the Republic of Iraq confirmed its accession on January 24, 1976.

677.    The Barzani Continuing Criminal Enterprise, in pursuit of illicit profits, also continually,

knowingly, and intentionally violates the established protocols of the World Intellectual Property

Organization (WIPO).

678.    The Barzani Continuing Criminal Enterprise, in pursuit of illicit profits, also continually,

knowingly, and intentionally violates and infringes on registrations issued by the U.S. Patent and

Trademark Office (“USPTO”), an agency of the United States Government.

679.     While the overall magnitude of counterfeiting and piracy cannot be easily measured,

counterfeiting and piracy are illicit activities in which the organized crime of the Barzani

Continuing Criminal Enterprise networks thrive and with which revenue they finance their

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 346 of 429




BCCE and make possible the damages inflicted upon Plaintiffs. Confidential Human Sources #1

and #8, who have direct clandestine access to senior ranking officials of Defendant Iraqi

Kurdistan Regional Government, estimate that the financial revenue from various counterfeiting

operations of the Barzani Continuing Criminal Enterprise exceeds U.S. twenty million dollars

per month – thus totaling billions of dollars to date as the Barzani Continuing Criminal

Enterprise continues unabated and unhampered.

680.      The counterfeit items produced by the Barzani Continuing Criminal Enterprise are

substandard or even dangerous, lack compliance with basic safety standards, are manufactured in

manufacturing facilities not compliant with universally accepted industry Good Manufacturing

Practice (GMP) standards, and possess no licenses from the trademark owner(s) to manufacture

specific products. Evidence documents several Kurd cases of blindness resulting from illicit and

unlawful activities of the Barzani Continuing Criminal Enterprise.

681.     With the knowing and willful authorization of Defendants Masrour Barzani and Waysi

Barzani, counterfeit items and illicit items produced by the Barzani Continuing Criminal

Enterprise are transported in trucks along the route used to transport illicit drugs. The trucks

were unlawfully diverted and provided by the Barzani’s from Hummer vehicles issued to the

Defendant Iraqi Kurdistan Regional Government by the United States Government under foreign

aid and defense aid agreements for official use by the Defendant Iraqi Kurdistan Regional

Government Peshmerga military and Parastin intelligence agents in furtherance of U.S. national

security and foreign policy purposes. Use of trucks and other equipment and materiel, provided

by the United State Government through its foreign assistance programs and Defense

agreements, for transportation of counterfeit pharmaceuticals and illicit drugs violates U.S. law

and directly provides funds to enable Defendants to harm Plaintiffs.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 347 of 429




682.     Counterfeit items produced by the Barzani Continuing Criminal Enterprise, with the

knowing and willful authorization of Defendants Masrour Barzani and Waysi Barzani,

knowingly pose substantial health and safety risks to consumers, including U.S. citizens residing

in or visiting the areas of Defendant Iraqi Kurdistan Regional Government in Iraq.

683.     In its report The Economic Impact of Counterfeiting and Piracy, the Organisation for

Economic Co-operation and Development, an intergovernmental organization of which the

United States is a member nation, emphasized the potential mortal danger of counterfeit

pharmaceuticals, willfully and knowingly ignored by the Barzani Continuing Criminal

Enterprise:

               “In the case of pharmaceuticals, trademark-infringing products
               may include correct ingredients in incorrect quantities or may be
               composed according to a wrong formula. Products can
               furthermore contain non-active or even toxic ingredients. Ailments
               which could be remedied by genuine products may go untreated or
               worsen; in some cases, this may lead to death.”

684.     The unlawful Barzani Continuing Criminal Enterprise illegal activities, directed and

controlled by Defendants Masrour Barzani and Waysi Barzani, undermine American enterprise

innovation, which is key to American economic growth, and which negatively affects United

States relations with legitimate trading partners and the economy of the United States. Revenue

derived from Barzani Continuing Criminal Enterprise illegal activities provided theprovides

means for the Barzani Continuing Criminal Enterprise to harm Plaintiffs.

685.    This illegal counterfeiting and trafficking, directed and controlled by Defendants Masrour

Barzani and Waysi Barzani, harm American commercial interests that comply with law, and

thus those of American citizen shareowners, including American public employee and union

pension plans, investors, employees, contractors, suppliers, lenders, banks, and rights holders

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 348 of 429




because of the impact that they have on (i) sales and licensing, (ii) brand value and firm

reputation, and (iii) the ability of firms to benefit from the breakthroughs they make in

developing new products. Revenue derived by illegal counterfeiting and trafficking provides

substantial revenue to the Barzani Continuing Criminal Enterprise enabling the Barzani

Continuing Criminal Enterprise to harm Plaintiffs.




        Counterfeiting of United States Brand Alcohol

686.     In the small Kurdistan village of Kalak, operating under the protective direction of co-

conspirators Defendants Masrour Barzani, Shimal Jawhar Salih, and Sarwar Pedawi (as head of

the STER’s Jack Daniels™ operation), with the intent to deceive and defraud, Sarwar Pedawi

manages the counterfeiting of industry-leading and internationally trademark-protected whiskey

brand Jack Daniels™. The ownership of STER is purposefully hidden and concealed, but a

United States Department of State internal cable from the Baghdad U.S. Embassy reveals

Defendant Masrour Barzani as majority owner of STER. STER is part of the Barzani Continuing

Criminal Enterprise.

687.      The Barzani-owned STER Group, through its officers, employees, and agents, and

Defendants Saad Aldoski and Blend Aldoski, knowingly and willfully manage and operate its

alcohol counterfeiting operations. Alcoholic beverage counterfeiting comprises a substantial part

of the Barzani Continuing Criminal Enterprise counterfeiting revenue, and provideprovides

substantial means for the Barzani Continuing Criminal Enterprise to harm Plaintiffs.

688.     Jack Daniels™ is a brand of Tennessee whiskey. It is legally produced in Lynchburg,

Tennessee, by the Jack Daniels Distillery, which is owned by the Brown–Forman Corporation, a

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 349 of 429




major American business enterprise operating worldwide with licensed products and

representatives. STER and its criminal whiskey counterfeiting operation are not licensed by Jack

Daniels, its parent company, or any related entity thereof.

689.      The counterfeit whiskey alcohol product produced by the Barzani Continuing Criminal

Enterprise – illegally and deceptively and fraudulently packaged, branded, marketed, and

distributed as Jack Daniels™ – is sold to consumers and local marketers in Iraq, and illegally

exported to Turkey and beyond, all in direct financial harm to Brown-Forman and its millions of

individual shareowners, to the trade detriment of the United States of America and its balance of

trade, to the pecuniary detriment of U.S. financial capital and financial transfers, and to the

criminal and unjust enrichment of the Barzani Continuing Criminal Enterprise, thus enabling

Defendants to damage and injure Plaintiffs.




          Smuggling of Counterfeit United States Brand Products and U.S. Currency

690.      Co-conspirator Defendant Sihad Barzani is the Barzani Continuing Criminal Enterprise

go-between with government officials of the government of Iran and its anti-American terrorist

operatives and the smuggling operation operated by the Barzani Continuing Criminal Enterprise.

Defendant Sihad Barzani is Defendant Masoud Barzani’s brother and under the direction of

Defendant Masoud Barzani and Defendant Masrour Barzani, Defendant Sihad Barzani manages

all Barzani Continuing Criminal Enterprise counterfeiting and money laundering operations. He

has offices in Haji Umran, Iraqi Kurdistan, a known smugglers’ border post near the Iran-Iraq

border.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 350 of 429




691.    Defendant Sihad Barzani holds the titular rank of General in the Kurdish Peshmerga (the

military force of Defendant Iraqi Kurdistan Regional Government), and acting under the

command of Defendant Masrour Barzani, unlawfully diverts Peshmerga personnel and resources

– very substantially funded by the United States Government – to the Barzani Continuing

Criminal Enterprise to provide security and armed force for the Barzani Continuing Criminal

Enterprise, and provide a part of the means to use violence against Plaintiffs and further the

Barzani Continuing Criminal Enterprise.

692.     Under the direction of Defendants Masoud Barzani and Masrour Barzani, and with the

intent to deceive and defraud, Defendant Sihad Barzani also supervises the Barzani Continuing

Criminal Enterprise money laundering. The Barzani Continuing Criminal Enterprise is engaged

in the unlawful sale of oil to Iran. Sales of oil and diesel to Iran, much of which is directed by

co-conspirator Defendant Nihad Barzani for Defendant Masrour Barzani, very significant.

Significant amounts of which hasoil and diesel have been resold by Defendant Nihad Barzani to

U.S. military installations in the area of Defendant Iraqi Kurdistan Regional Government as

falsely labeled Iraq product, are contrary to and in circumvention of U.S. trade law and sanctions

imposed by the Government of the United States. By knowingly and purposely taking advantage

of illegal exchange rate manipulation, Confidential Human Source #8, having clandestine access

to those in the Barzani inner circle, reports that every unlawful US$1million sale of oil to Iran

nets the Barzani Continuing Criminal Enterprise US$200,000 on the exchange rate, diverted

through German and Dubai banks and elsewhere and back to the Iraqi Kurdistan region,

providing means for the Barzani Continuing Criminal Enterprise to damage and harm Plaintiffs.

693.     Confidential Human Source #8 reports that every day the Barzani Continuing Criminal

Enterprise unlawfully receives an estimated US$100mm U.S. currency through its oil sales.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 351 of 429




Until March 2023, Confidential Human Source #1, who has direct clandestine access to senior

ranking officials of Defendant Iraqi Kurdistan Regional Government, estimated that the Barzani

Continuing Criminal Enterprise was selling 450,000 barrels per day – that number has since been

reduced by the Iraq central government to an estimated 150,000 barrels per day. Currency

derived from illegal oil sales is transported inside oil tankers to the Islamic Revolutionary Guard

Corps (“IRGC”), which is short of currency. The United States Treasury Department has

verified Iran then transfers these proceeds to Hezbollah, an organization designated by the

United States as a Foreign Terrorist Organization. Defendants knew and currently know that

Hezbollah wasis a designated Foreign Terrorist Organization. Revenue from its unlawful trade

with Iran enables the Barzani Continuing Criminal Enterprise to harm and damage Plaintiffs.

694.    As part of its criminal conspiracy to disguise its true criminal activity, and with the intent

to deceive and defraud, the Barzani Continuing Criminal Enterprise, acting through the

Defendant Iraqi Kurdistan Regional Government which it controls in its entirety, has issued

numerous well-documented intentionally and calculated misleading and deceptive statements,

including communiques to and filings with the United States Government, often by its

Washington representatives, agents, and advisors, including to          the White House and the

Executive Office of the President of the United States, condemning the Islamic Revolutionary

Guard Corps (IRGC).

695.     The United States Government placed the IRGC on its Foreign Terrorist Organizations

list in 2019, at a time Defendant Masrour Barzani was and is the Prime Minister. Despite the

IRGC being designated a Foreign Terrorist Organization, the Barzani Continuing Criminal

Enterprise has continued unrestrained its unlawful trade with the IRGC, providing the means to

continue its criminal enterprise to harm and damage Plaintiffs.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 352 of 429




696.      The International Emergency Economic Powers Act authorized the President of the

United States (the “President”) to impose economic sanctions on a foreign country in response to

an unusual or extraordinary threat to the national security, foreign policy, or economy of the

United States when the President declared a national emergency with respect to that threat.

697.    Beginning with Executive Order No. 12,170, issued on November 14, 1979, the President

found that “the situation in Iran constitutes an unusual and extraordinary threat to the national

security, foreign policy and economy of the United States and declare[d] a national emergency to

deal with that threat.”

698.     On March 15 and May 6, 1995, the President issued Executive Orders Nos. 12,957,

finding that “the actions and policies of the Government of Iran constitute an unusual and

extraordinary threat to the national security, foreign policy, and economy of the United States,”

and declaring “a national emergency to deal with that threat,” and 12,959, prohibiting, among

other things, the exportation, re-exportation, sale, or supply, directly or indirectly, to Iran of any

goods, technology, and/or services from the United States or by a United States person; and on

August 19, 1997, issued Executive Order No. 13,059 clarifying the previous orders (collectively,

the “Executive Orders”). This included persons in a foreign country with knowledge or reason to

know that such goods, technology, or services were intended specifically for supply,

transshipment, or re-exportation, directly or indirectly, to the Islamic Republic of Iran or the

Government of the Islamic Republic of Iran.           On August 19, 1997, the President issued

Executive Order No. 13059, consolidating and clarifying Executive Order Nos. 12957 and 12959

(collectively, the “Executive Orders”).     The Executive Orders authorized the United States

Secretary of the Treasury to promulgate rules and regulations necessary to carry out the

Executive Orders. Pursuant to this authority, the Secretary of the Treasury promulgated the

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 353 of 429




Iranian Transactions Regulations (renamed in 2012, the Iranian Transactions and Sanctions

Regulations, the “ITSR”) implementing the sanctions imposed by the Executive Orders.

699.     The most recent continuation of this national emergency was executed on March 12,

2020. 85 Fed. Reg. 14731 (Mar. 13, 2020), at a time Defendant Masrour Barzani was Prime

Minister of Defendant Iraqi Kurdistan Regional Government, the presiding and actual head of

government and head of the executive power. Pursuant to this authority, the U.S. Secretary of

the Treasury promulgated the Iranian Transaction Regulations, 31 C.F.R. Part 560, implementing

the sanctions imposed by the Executive Orders. Effective October 22, 2012, the U.S. Department

of the Treasury renamed and reissued the Iranian Transaction Regulations as the Iranian

Transactions and Sanctions Regulations (“ITSRs”).

700.    The ITSR also prohibits the supply of services where the benefit of such services is

otherwise received in Iran, if such services are performed in the United States or provided

outside the United States by a United States person. See 31 C.F.R. § 560.410.

701.    The ITSR provides that the transfer of funds, directly or indirectly, from the United States

or by a U.S. person to the Islamic Republic of Iran or the Government of the Islamic Republic of

Iran is a prohibited export, re-export, sale, or supply of services to Iran or the Government of

Iran. See 31 C.F.R. § 560.427(a).

702.    The ITSR further prohibits transactions that evade or avoid, have the purpose of evading

or avoiding, cause a violation of, or attempt to violate the ITSR. 31 C.F.R. § 560.203.

703.     On October 25, 2007, the U.S. Department of the Treasury designated the IRGC-Qods

Force (“IRGC-QF”) pursuant to Executive Order No. 13224 for providing lethal support to

multiple terrorist organizations.




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 354 of 429




704.    According to the U.S. Department of the Treasury, the IRGC and its major holdings have

a dominant presence in Iran’s commercial and financial sectors, controlling multi-billion -dollar

businesses and maintaining extensive economic interests in the oil industry and the profits.

Profits from these activities support the IRGC’s full range of nefarious activities, including the

proliferation of weapons of mass destruction (“WMD”) and their means of delivery, support for

terrorism, and a variety of human rights abuses, at home and abroad.

705.     On November 5, 2018, providing lethal support to multiple terrorist organizations the

U.S. Department of the Treasury designated the National Iranian Oil Company (“NIOC”) as a

prohibited entity. Public documents noted that NIOC is owned by the Government of the Islamic

Republic of Iran through the Iranian Ministry of Petroleum. and is responsible for the

exploration, production, refining, and export of oil and petroleum products in Iran. It further

noted the close relationship between the IRGC, which OFAC designated in 2007 because of its

ties to Iran’s ballistic missile program, and NIOC.

706.    On November 5, 2018, the U.S. Department of the Treasury designated National Iranian

Tanker Company (“NITC”) for providing lethal support to multiple terrorist organizations.

Public documents noted that NITC was a Government of Iran entity which employed various

front companies.

707.     On April 8, 2019, the President of the United States designated the IRGC as a Foreign

Terrorist Organization. The designation noted that the IRGC actively finances and promotes

terrorism.

708.    On January 23, 2020, the U.S. Department of the Treasury described NIOC as “an entity

instrumental in Iran’s petroleum and petrochemical industries, which helps to finance Iran’s

[IRGC-QF] and its terrorist proxies.”

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 355 of 429




709.     Pursuant to 50 U.S.C. § 1705, it was a crime to willfully violate, attempt to violate,

conspire to violate, or cause a violation of any license, order, regulation or prohibition issued

under IEEPA.     The Defendants, and others known and unknown, knowingly and willfully

combined, conspired, confederated, and agreed together and with each other to violate, and to

cause a violation of, licenses, orders, regulations, and prohibitions issued under the IEEPA.

710.    At all times relevant to this complaint, Defendant Masrour Barzani was and is, a United

States person, knowingly and willfully combined, conspired, confederated, and agreed, with

persons including the IRGC, an entity of the Government of the Islamic Republic of Iran,

without a U.S. government license, to deceive and defraud the United States and to commit

offenses against the United States, more particularly by, among other things:

                      (a)      being complicit in or engaging in actions that materially assist,
                      sponsor, or provide financial, materiel, or technological support for, or
                      goods or services to, individuals or organizations so designated; and

                      (b)    defrauding the United States, including the U.S. Department of the
                      Treasury, by knowingly and willfully, directly and indirectly, interfering
                      with and obstructing lawful government functions, that is, the enforcement
                      of laws and regulations prohibiting the export and supply of goods from
                      and to Iran, without authorization or a license, by deceit, craft, trickery,
                      and dishonest means, in violation of Title 18, United States Code, Section
                      371; and

                      (c)      committing offenses against the United States, by knowingly and
                      willfully. directly and indirectly, exporting, attempting to export,
                      conspiring to export, or causing to be exported, oil to Iran, without
                      obtaining the required license or other written authorization from the U.S.
                      Department of the Treasury, in violation 18 U.S.C. § 371 (conspiracy to
                      defraud the United States, including the U.S. Department of the Treasury),
                      50 U.S.C. §§ 1701-1706 (the International Emergency Economic Powers
                      Act, or “JEEP A”), and 31 C.F.R. Part 560 (the Iranian Transactions and
                      Sanctions Regulations, or “ITSRs”).



                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 356 of 429




711.        The goals of the conspiracy by Defendant Masrour Barzani, his agents and

representatives and their co-conspirators were:

                       (a)     conduct oil sales transactions with the IRGC, an entity of the
                       Government of Iran, without a required license from OFAC;

                       (b)     conduct sales of spare parts and other materials to entities in Iran,
                       without a required license from OFAC;


                       (c)      to receive financial profits and other benefits without the required
                       license from OFAC;

                       (d)      to conceal from U.S. persons and mislead the U.S. government,
                       including OFAC, regarding the end user, use, and destination of oil and oil
                       revenues shipped to or from Iran without the required license from OFAC;
                       and

                       (e)        to evade and cause others to evade or violate the regulations,
                       prohibitions, and licensing requirements of IEEPA and the ITSRs.

Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani and their agents and

representatives, and Barzani family members including those by marriage, by violatinugviolating

U.S. anti-terrorism laws and sanctions, and conspiring with Iranian sponsors of terrorism, have

significantly enriched themslvbesthemselves and obtained substantial resources enabling them to

harm Plaintiffs.

712.     It was a calculated part of the conspiracy and scheme of Defendants Masoud Barzani

Masrour Barzani, and Waysi Barzani, and their subordinate agents and representatives, including

Barzani family members and family members by marriage, to knowingly and willfully conspire,

deceive, defraud, and violate IEEPA to enrich the earnings of the Barzani Continuing Criminal

Enterprise, all to the harm, detriment, and injury of Plaintiffs and the people of Iraqi Kurdistan.

713.       Prior to the U.S. State Department designating the IRGC as a foreign terrorist

organization (FTO) in April 2019, the U.S. Department of the Treasury, a department within the
                                             48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 357 of 429




Executive Branch of the United States government, designated the IRGC-QF as an FTO and

designated former IRGC-QF Commander Qassim Soleimani as a Specially Designated Global

Terrorist, in October 2007; and the U.S. Department of the Treasury also sanctioned current

IRGC-QF Commander Esmail Ghani as a Specially Designated Global Terrorist in March 2012.

The Barzani Continuing Criminal Enterprise was doing business with, and receiving substantial

money, from unlawful trade with the IRGC long before U.S. State Department FTO designation

in April, 2019 – providing illicit resources for the Barzani Continuing Criminal Enterprise to

damage and harm Plaintiffs.




        Production and Distribution of Counterfeit United States Pharmaceuticals

714.     The Barzani Continuing Criminal Enterprise, with the intent to deceive and defraud,

operates an unlawful network trading in counterfeiting of pharmaceuticals and medications

owned by corporations licensed in the United States.

715.      In its Counterfeit Pharmaceutical Inter-Agency Working Group Report to the Vice

President of the United States and to Congress, the Inter-Agency Working Group reported:

               “Counterfeit medicines use a falsified mark in connection with a
               genuine medication with the intent to deceive consumers.
               Subsequently, counterfeit medicines have not undergone
               regulatory review and thus must be considered substandard.
               …They pose a significant and growing threat to health at both the
               individual and the community levels, potentially causing treatment
               failure or death and contribution to increased anti-microbial
               resistance. …they are a global health problem.”

716.    The Barzani Continuing Criminal Enterprise counterfeit medications, dangerous to public

health, have not been tested by any government agency for safety, efficacy, content, or quality.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 358 of 429




717.        The pharmaceutical counterfeiting by the Barzani Continuing Criminal Enterprise,

including Defendant Jawhau Salin who manages counterfeiting of pharmaceuticals, knowingly

violates U.S. trade laws, regulations, agreements, and intellectual property rights, and

undermines and impairs trusted medicine supply chains, and knowingly and intentionally thereby

defrauds and deprives U.S. license holders and product manufacturers of substantial revenue,

earnings, and profits for shareowners – profit that has been diverted to the Barzani Continuing

Criminal Enterprise to fund its operations that damage and harm Plaintiffs.

718.         Counterfeit pharmaceuticals, with active pharmaceutical and drug formulation

ingredients, are substandard and unapproved medicines and present significant health and safety

concerns.

719.    Iraq has been a member nation of the World Customs Organization (“WCO”) since June

6, 1990. Its mission includes “to develop international standards and to protect society and to

secure a fair revenue collection.” The Barzani criminal counterfeiting operation, operating under

the command and control of Defendants Masoud Barzani, Mansour Barzani, and Waysi Barzani,

is in clear and knowing and purposeful contravention of each of these principles and standards.

720.     The Barzani Continuing Criminal Enterprise produces, markets, and distributes a large

volume of counterfeit U.S. pharmaceuticals and medications that, according to Confidential

Human Source #8, who has direct clandestine access to senior ranking Defendant Iraqi Kurdistan

Regional Government officials, comprise a substantial part of the minimum U.S. $20,000,000

per month pharmaceutical counterfeiting revenue that funds the Barzani Continuing Criminal

Enterprise operations that damage and harm Plaintiffs.

721.        The principal pharmaceuticals, counterfeited by the Barzani Continuing Criminal

Enterprise are only legally manufactured by Pfizer Inc., an American multinational

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 359 of 429




pharmaceutical and biotechnology corporation headquartered in New York City, and publicly

owned by millions of shareowners – each of whom are financially damaged by the Barzani

Continuing Criminal Enterprise.

722.    Legitimate Pfizer pharmaceuticals are manufactured for distribution and prescribed use in

Turkey and cannot legally be exported from Turkey. In addition to its own counterfeit Pfizer

products, the Barzani Continuing Criminal Enterprise, directed by Defendant Masrour Barzani

and operated by Defendants Shimal Jawhar Salin and Sarwar Pedawi, illegally and without

license exports legitimate Pfizer pharmaceuticals from Turkey to Erbil, Kurdistan, Iraq where it

markets and distributes them – with intent to deceive and defraud and with knowledge that Pfizer

products are prohibited for sale outside of Turkey. These unlawful actions by the Barzani

Continuing Criminal Enterprise deprives Pfizer of sales revenue.         The Barzani Continuing

Criminal Enterprise actions deprive Pfizer shareowners of earnings and share value, and provide

the Barzani Continuing Criminal Enterprise with the means to fund its operations that damage

and harm Plaintiffs, including paying the costs of hit men to murder and sow fear, which is not

imaginary nor wholly speculative, in anyone in partisan or political opposition to the Barzani

Continuing Criminal Enterprise.

723.      Defendants Masrour Barzani, Waysi Barzani, and their agents and representatives,

including Barzani family members, know and have full knowledge that no entity or person of the

Barzani Continuing Criminal Enterprise is licensed by Pfizer, Inc. or any subsidiary or any

related entity thereof.

724.       Another U.S. pharmaceutical counterfeited by the Barzani Continuing Criminal

Enterprise, with the intent to deceive and defraud, is Eli Lilly medicines. The procedure to profit

from counterfeiting Lilly medicines is essentially the same as that for Pfizer. These unlawful

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 360 of 429




activities also fund the Barzani Continuing Criminal Enterprise to provide the means to damage

and harm Plaintiffs.

725.      Defendants Masrour Barzani, Waysi Barzani, and their agents and representatives,

including Barzani family members and family members by marriage, know and have full

knowledge that no entity or person of the Barzani Continuing Criminal Enterprise is licensed by

Eli Lilly and Company or any subsidiary or any related entity thereof.

726.      The largest source of illegal drug revenue for the Barzani Continuing Criminal

Enterprise, according to Confidential Human Source #8, who has direct clandestine access to

senior ranking officials of the Defendant Iraqi Kurdistan Regional Government, is crystal meth

and cocaine. The cocaine is unlawfully imported and distributed principally to Europe and Asia.

The Barzani Continuing Criminal Enterprise partners with international drug cartels and the

IRGC to obtain cocaine, and manufacture crystal meth. In the business association with the

IRGC and international drug cartels, the IRGC is the lead member because of Iran’s desperate

need for cash. Defendant Masrour Barzani manages the illegal drug operation through the

intelligence agency of the Defendant Iraqi Kurdistan Regional Government, which is controlled

by the Barzani Continuing Criminal Enterprise. Raw material of Sudafed is imported from

China and India in blister packaging. In Erbil, the capital city of the Defendant Iraqi Kurdistan

Regional Government, the Sudafed is taken out of the blister packs and shipped in bulk to Iran

for chemical processing. The product comes back to Erbil as meth and is then distributed to

world markets, principally Europe and Asia.         Under the direct control and command of

Defendant Masrour Barzani, Defendant Sihad Barzani manages the crystal meth and cocaine

operation for the Barzani Continuing Criminal Enterprise. Profits from the crystal meth and




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 361 of 429




cocaine operation provide a substantial part of the revenue that enables the Barzani Continuing

Criminal Enterprise to damage and harm Plaintiffs.




        Production and Distribution of Counterfeit U.S. Brand Cigarettes

727.    Counterfeiting of U.S. brand cigarettes is a substantial financial component of the

Barzani/STER counterfeiting business, directed principally by Defendant Masrour Barzani, with

intent to deceive and defraud, frequently in partnership with Defendant Nizar Hanna Nasri, and

managed by Defendants Shimal Jawhar Salin, Sarwar Pedawi and, Ghafoor Knosnaw, Saad

Aldoski, Blend Aldoski, and others. The largest volume product is counterfeit Marlboro

cigarettes, a U.S. cigarette brand owned and manufactured by Philip Morris USA (a branch of

Altria) within the United States and by Philip Morris International (now separate from Altria)

outside the United States.

728.     The counterfeiting scheme operated by the Barzani Continuing Criminal Enterprise had

and has a direct, substantial, and reasonably foreseeable effect on U.S. export trade and

commerce, and to the harm of American national economic interests, to shareowners, corporate

earnings, and harms the Plaintiffs by providing substantial funds to the BCCE to support its

worldwide regime of murder, torture, and terror.

729.    Cigarette counterfeiting as part of the Barzani Continuing Criminal Enterprise, according

to Confidential Human Source #8, who has direct clandestine access to senior ranking Defendant

Iraqi Kurdistan Regional Government officials,. The counterfeiting is operated from a covert

production facility in the marketplace city of Zakho, at the center of the eponymous Zakho

District of the Duhok Governorate, located a few kilometers from the Iraq–Turkey border. The

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 362 of 429




Barzani Continuing Criminal Enterprise controls the entire operation and counterfeit cigarettes

are then sold throughout Iraq, providing substantial means to the Barzani Continuing Criminal

Enterprise to harm Plaintiffs.

730.    The raw material tobacco used by the Barzani Continuing Criminal Enterprise is sourced

globally and meets no U.S. tobacco production or health standards and no standards of Philip

Morris USA and/or Philip Morris International.

731.     Defendants Masrour Barzani, Waysi Barzani, Ghafoor Khoshnaw, and their agents and

representatives, including Barzani family members and family members by marriage, know and

have full knowledge that no entity or person of the Barzani Continuing Criminal Enterprise is

licensed by Philip Morris USA or Philip Morris International or Altria Group Inc. or any

subsidiary or any related entity thereof.

732.    Through the Barzani Continuing Criminal Enterprise and its illegal terrorist organization

collaborators, the Barzani Continuing Criminal Enterprise is funding terrorists directly and

indirectly. This collaboration with terrorists facilitates the harm to Plaintiffs and others. In

testimony to the U.S. Congress, the U.S. Department of Justice, in the section “Narcotics

Trafficking, Gun Running and Terrorism are Supported by Cigarette Smuggling”, declared:

               “Current investigations have identified instances of terrorist
               groups forming alliances with tobacco traffickers to generate
               monies used to support their organizations and activities.”

733.    Key findings of the U.S. Government Accounting Office, an agency of the United States

Government, in its report Terrorist Financing – U.S. Agencies Should Systematically Assess

Terrorists’ Use of Alternative Financing Mechanisms include:

               “Cigarette Smuggling Finances Terrorism.”

               “Terrorists have earned assets through the highly profitable illicit
               trade in cigarettes. According to officials from the ATF, Hizballah,
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 363 of 429




              HAMAS, and al Qaeda have earned assets through trafficking in
              contraband cigarettes or counterfeit cigarette tax stamps.”

              “Terrorist Groups Receive Substantial Funds from Smuggling
              Cigarettes.” “[T]obacco smuggling also provides a lucrative
              source of funding for terrorists and other criminal organizations.”

The Barzani Continuing Criminal Enterprise is part of the terrorism being

financed.

734.     Though the Islamic Republic of IraqIran is not a member nation of the World Trade

Organization, it uses counterfeiting and piracy as terms used to describe a range of illicit

activities linked to intellectual property rights (IPR) infringement. The Barzani Continuing

Criminal Enterprise counterfeiting constitutes infringement and willful infringement of IPRs

described in the WTO Agreement on Trade-Related Aspects of Intellectual Property Rights

(TRIPS); including trademarks, copyrights, patents, design rights, as well as a number of related

rights – all of which are infringed by the Barzani Continuing Criminal Enterprise, are large in

scope and magnitude, and fund in substantial part the Barzani Continuing Criminal Enterprise

activities that have damaged and harmed Plaintiffs.




        Financial Payments, Bribes, and Inducements



735.     The United States Supreme Court recognized that “No trustee has more sacred duties

than a public official and any scheme to obtain an advantage by corrupting such an one must in

the federal law be considered a scheme to defraud.” “A scheme to get a public contract on more

favorable terms than would likely be got otherwise by bribing a public official would not only be


                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 364 of 429




a plan to commit the crime of bribery, but would also be a scheme to defraud the public.” See

Hammerschmidt v. United States, 265 U.S. 182, 188, 44 S.Ct. 511, 512, 68 L.Ed 968 (1924).

Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, their agents and representatives,

and Barzani family members and family members by marriage, have knowingly, willfully,

wantonly, and repeatedly violated and besmirched their “sacred duties” as public officials and

corruptly schemed to obtain advantage from U.S. officials and solicited violation of oath by

public officers, thereby defrauding the American public to enrich themselves and harm Plaintiffs.

736.     To harm Plaintiffs, the Barzani Continuing Criminal Enterprise violates the Foreign

Extortion Prevention Act (FEPA) which prohibits conferring any improper advantage in

connection with obtaining or retaining business for or with, or directing business to, any person.

“Foreign official” is defined broadly to mean (1) any official or employee of a foreign

government or any department, agency, or instrumentality thereof; (2) any senior foreign

political figure; (3) any official or employee of a public international organization; or (4) any

person acting in an official or unofficial capacity for or on behalf of a government, department,

agency, instrumentality, or a public international organization. FEPA includes people acting in

an “unofficial capacity” and “any senior foreign political figure” including an official’s close

associates and immediate family members. Defendants U.S. Public Official #1 and US. Public

Official #2 and other employees and representatives of the United States which substantially

benefited from knowing and willful violations of the FEPA by Defendants.

737.     Concurrently according to Confidential Human Sources #1 and #5, who have direct

clandestine access to senior ranking Defendant Iraqi Kurdistan Regional Government officials,

with respect to U.S. contracts and decisions and to improperly pressure and induce and influence

U.S. officials, for corrupt purposes, to breach their official duties, and under color of official

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 365 of 429




right, to deprive the American public of their intangible right to Public Officials’ honest services,

in furtherance of the conspiracy and to effect its illegal object, the following illegal acts, among

others, were committed and caused to be committed: Bribes and other inducements and favors of

value, directly or indirectly, are and were paid to Defendants U.S. Public Official #1 and Public

Official #2,. They were two of many U.S. officials who were bribed and co-opted by the Barzani

Continuing Criminal Enterprise, and who each and jointly possessed non-public information and

substantial influence over U.S. Government and Coalition Provisional Authority decisions,

including contracts, in the strategically important relationship between the United States and the

Republic of Iraq.

738.    The U.S. officials bribed by the Barzani Continuing Criminal Enterprise were assigned to

and possessed influence over the Coalition Provisional Authority, an instrumentality of the

United States and having U.S. Government authority for procurement services, including but not

limited to, acquisition planning, contract negotiations, cost and price analysis, and contract

administration and possessing influence over, among other things, and including providing

truthful analytical counsel and recommendations to the President of the United States, the U.S.

national security hierarchy, and the U.S. Congress, regarding decisions to provide foreign

military sales, foreign military financing, and other United States and allied aid or support to or

for the benefit of the Iraqi Kurdistan Regional Government.

739.      U.S. federal regulations prohibit executive branch employees from accepting gifts.

Pursuant to Title 5, Section 2635.202 of the Code of Federal Regulations and to other titles,

federal employees shall not directly or indirectly solicit or accept a gift that is either (1) from a

prohibited source or (2) given because of the employee's position. A “gift” includes any gratuity,




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 366 of 429




favor, discount, entertainment, hospitality, loan, forbearance, or other item having monetary

value.

740.     Under 5 U.S.C. § 7342, federal employees are prohibited from receiving gifts above a

“minimal value” as prescribed by regulations, from a “foreign government”, a term that includes

“any agent or representative” thereof. Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani are officials of a “foreign government” for purposes of 5 U.S.C. § 7342.

741.     Defendants U.S. Public Officials #1 and #2 conspired with Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani to fraudulently hide their close and continuing financial

connections, as well as gifts, monies, and services provided to Defendants U.S. Public Officials

#1 and #2 as part of and in furtherance of the scheme to financially benefit the co-conspirators of

the Barzani Continuing Criminal Enterprise and their own personal enrichment and gratification,

and to harm Plaintiffs.

742.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani did enter into a

conspiracy and did engage in a corrupt relationship to commit bribery and honest services fraud,

and corruptly give, offer, and promise something of value to Defendants U.S. Public Officials #1

and #2, with intent to influence an official act, and induce the employees to do acts in violation

and breach of the lawful duty of such employees, in violation of Title 18, United States Code,

Section 201(b)(l)(A) & (C) and 2.). The purpose of the conspiracy was for Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani and their co-conspirators, agents, and

representatives, to enrich themselves by paying bribes in the form of a complex series of cash

payments, lucrative real property concessions, oil and gas concessions, and other non-cash

inducements, favors, and favoritism, privilege and improper advantage, and other things of

value, to Defendants U.S. Public Officials #1 and #2, who intended to be influenced and

                                                48
      Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 367 of 429




rewarded in connection with a business, transaction, and series of transactions, in exchange for

Defendants U.S. Public Officials #l’s and #2’s agreement, assistance, and use of their official

positions and official authority and influence to make false and misleading representations and

grant favorable and discriminatory treatment of and special consideration to, including but not

limited to, their business and energy interests and transactions with agencies and

instrumentalities of the United States Government.      Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, assisted by their co-conspirator agents and representatives and

Barzani family members and family members by marriage, carried out the conspiracy through

the following manner and means, among others, in pursuit of their private illicit financial

interests:

                      (a)     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani
                      coordinated in preparing and submitting inflated bids for U.S. Government
                      contracts to create a false appearance of competitive bidding.

                      (b)     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani
                      paid bribes for the contracts that Defendants U.S. Public Officials #1 and
                      #2 awarded to their commercial interests.

                      (c)    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani
                      met with Defendants U.S. Public Official #1 and paid him a bribe in
                      exchange for receiving a specific contract for which Barzani interests had
                      submitted inflated bids.

                      (d)     Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani
                      concealed the conspiracy by, among other things, demanding Defendants
                      U.S. Public Officials #1 and #2 conceal and keep secret their payment of
                      bribes and inducements, and Defendants U.S. Public Officials #1 and #2
                      did conceal the nature and purpose of the scheme and artifice to defraud.




                                              48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 368 of 429




      Corruption of U.S. Public Officials to Further Schemes of Barzani Continuing
Criminal Enterprise

743.      In furtherance of the conspiracy, and to effect its objects and purposes, Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani, assisted by their co-conspirator agents

and representatives and Barzani family members and family members by marriage, committed

the following overt acts, in furtherance of the Barzani Continuing Criminal Enterprise, among

others, and Defendants U.S. Public Official #1 and U.S. Public Official #2 acting in willful and

knowing concert with them, while each a public official of the United States military and

government, did corruptly give, offer, scheme, and promise something of value to public

officials, directly or indirectly, with intent to influence an official act, in violation of Title 18,

United States Code, Section 201(b)(l)(A) & (C); these actions by Defendants aided and abetted

the harm which was done to Plaintiffs.

744.     Defendants U.S. Public Official #1 and U.S. Public Official #2, were and are, as are all

employees of the United States Government, prohibited from soliciting or accepting anything of

value from a person . . . whose interests may be substantially affected by the performance or

nonperformance of the individual’s official duties.” 5 U. S. C. § 7353(a)(2). Further, at the

times relevant, Defendants U.S. Public Official #1 and U.S. Public Official #2 each received

periodic intelligence and counterintelligence training and briefings that detailed their obligations

to, among other things, complete a Foreign Contact Report after any contact with a person he or

she “knows or suspects is a member of a foreign intelligence agency.” Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani were “member(s) of a foreign intelligence

agency,” a fact known to Defendants U.S. Public Officials#1 and #2 who failed to submit such

mandatory reports.


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 369 of 429




745.      Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani and their agents and

representatives both known and unknown, including Barzani family members and family

members by marriage, did knowingly and willfully conspire and corruptly give, offer, and

promise something of value to and did engage in a corrupt relationship with Defendants U.S.

Public Officials #1 and #2 with the intent to influence official acts and to induce Defendants U.S.

Public Officials #1 and #2 to do and to omit acts in violation of Defendants U.S. Public Official

#1’s and #2’s lawful and official dutyduties, and the conspirators would and did conceal

Defendants U.S. Public Officials #1’s and #2’s        involvement; that is, Defendants Masoud

Barzani, Masrour Barzani, Waysi BarzzaniBarzani, and their agents and representatives, did

corruptly commit acts in furtherance of an offer, payment, promise to pay, and authorize the

payment of any money, offer, gift, promise to give, and authorize of the giving of anything of

value, and offered and gave Defendants U.S. Public OfficialOfficials #1 and #2, directly and

indirectly, money, concessions, real property oil and gas rights, and interests in real property oil

and gas rights, and residential housing, and other things of value, for influencing acts and

decisions of Defendants U.S. Public Officials #1 and #2 in the performance of official acts and to

induce Defendants U.S. Public Officials #1 and #2 to do and omit to do acts in violation of the

lawful duty of such officials and to violate lawful and official duties to the United States

Government in awarding contracts and favors to the Barzani Continuing Criminal Enterprise and

their partners and co-conspirators – all of which acts provided means for Defendants to damage

and harm Plaintiffs.

746.     Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their agents and

representatives, known and unknown, including Barzani family members and family members

by marriage, and Defendants U.S. Public Officials #1 and #2, being senior public officials of the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 370 of 429




United States Government who compromised to act against the United States Government’s best

interests, directly and indirectly, knowingly and corruptly did combine, conspire, confederate,

and agree together and with each other to engage in bribery, and did demand, seek, receive,

accept, and agree to receive and accept anything of value personally and for any other person and

entity, in return for being influenced in the performance of an official act(s), in violation of 18

U.S.C. § 201(b)(2), and did devise and intend to devise a scheme and artifice to defraud and

deprive the United States Government and the citizens of the United States of their intangible

right to the honest services of Defendants U.S. Public Officials #1 and #2 through bribery, and to

cause wire communications to be transmitted in interstate and foreign commerce for the purpose

of executing such scheme, in violation of 18 U.S.C. §§ 1343 and 1346 – all of which acts

contributed to the success of the Barzani Continuing Criminal Enterprise to the damage and harm

of Plaintiffs.

747.     Defendants Masoud Barzani, Mansour Barzani, Waysi Barzani, and their co-conspirator

agents and representatives, known and unknown, including Barzani family members and family

members by marriage, willfully conspired and agreed with others and did engage in a corrupt

relationship to corruptly provide millions of dollars in payments or real property, mineral, and

energy concessions of very high value worth millions of dollars, to, and for the benefit of,

Defendants U.S. Public Officials #1 and #2, and others, to secure an improper advantage and to

influence those public officials in order to obtain and retain unlawful financial, policy, and

contractual favoritism.

748.     Under the command and control of Defendants Masoud Barzani, Mansour Barzani, and

Waysi Barzani, and their agents and representatives, including Barzani family members and

family members by marriage, enormous amounts of American taxpayer dollars disappeared into

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 371 of 429




this web of corrupt contractors and subcontractors, which permitted Defendants to harm

Plaintiffs.

749.     Under the command and control of Defendants Masoud Barzani, Mansour Barzani, and

Waysi Barzani, and their co-conspirator agents and representatives, including Barzani family

members and family members by marriage, and facilitated by Defendants U.S. Public Official #1

and U.S. Public Official #2, and others known and unknown, the Barzani Continuing Criminal

Enterprise global scheme relied on a litany of criminal tactics, including but not limited to: (a)

fraudulent reports that concealed corrupt relationships; (b) sham contracts used to corruptly route

value to illicit recipients; (c) fake invoices used to further conceal corrupt payments; (d). the

creation, maintenance, and use of off-the-books slush funds to make corrupt payments; (e)

deliberate mischaracterization of corruption-related expenses including as being related to

“travel,” “consulting,” “supply costs,” “material consumption,” “customer service,” “cost of

sales,” “entitlements,” “settlements,” and “marketing and sales support”; (f) willful failure to

implement internal controls necessary to prevent corrupt payments; and (g) the improper

recording of corrupt payments on books and records, which were frequently submitted to

agencies of the U.S. Government and the Coalition Provisional Authority.

750.     The purpose of the conspiracy was: (a) to engage in a corrupt relationship with and use

Defendants U.S. Public Officials #1’s and #2 official position as senior United States military

officers to benefit and enrich the Barzani Continuing Criminal Enterprise; (b) to defraud the

United States Government and the citizens of the United States and senior Coalition Provisional

Authority – Iraq officers and specialists; (c) to conceal the nature and purpose of the scheme and

artifice to defraud; and (d) to induce and convince Defendants U.S. Public Officials #1 and #2




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 372 of 429




and others to misuse their public offices for personal gain, to the harm of U.S. taxpayers, with

the desired and successful result of providing the means to harm and damage Plaintiffs.

751.    During the multi-year period when Defendants U.S. Public Officials #1 and #2 and others

were aiding and abetting in furtherance of unlawful activity and receiving cash payments and no-

cash grants and concessions of significant value from the Barzani Continuing Criminal

Enterprise, Defendants U.S. Public Officials #1 and #2 supervised, negotiated, administered, and

made decisions and recommendations on United States Government and Defendant Iraqi

Kurdistan Regional Government contracts and benefits awarded to the Barzani Continuing

Criminal Enterprise and its business partners. Defendants U.S. Public Officials #1 and #2, and

others, purportedly acting in their official capacities but actually acting ultra vires, routinely

communicated and met with Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and

co-conspirator representatives of Barzani Continuing Criminal Enterprise’s business partners and

associates, including BasrzaniBarzani family members and family members by marriage, and

signed, recommended, administered, authorized, and supervised numerous contract awards and

contract modifications and policy positions, which awarded millions of dollars to the Barzani

Continuing Criminal Enterprise and its business partners.

752.     Defendants U.S. Public Officials #1 and #2, being public officials of the United States,

directly and indirectly, knowingly, corruptly, and as part of the criminal conspiracy conduct, did

demand, seek, receive, and accept, and agree to receive and accept anything of value personally

or for another person and entity – specifically a stream of cash payments from the Barzani

Continuing Criminal Enterprise and substantial oil drilling concessions and plats of real property

land oil and gas rights and interest in real property oil and gas rights and residential housing “on

the Hill” [the elite residential area where the Barzani Defendants live in Erbil, Kurdistan, Iraq] –

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 373 of 429




in return for Defendants U.S. Public Officials #1 and #2 and others being influenced in the

performance of official acts or for being induced to do an act and omit to do an act in violation of

his/their official duties, specifically a series of official acts relating to procurements and contracts

for the purpose of benefiting the Barzani Continuing Criminal Enterprise and its business

interests – all of which enabling actions to the Barzani Continuing Criminal Enterprise provided

means for Defendants to damage and harm Plaintiffs.

753.     In reports to superior officers and officials of the United State Government, each of

Defendants U.S. Public Officials #1 and #2, and others, each had a duty and were required by

Policy Directives and policy generally, and as holders of U.S. national security clearances, to

report accurate and complete information of financial assets, liabilities, and income, and did

falsely, conceal, and cover-up conceal by trick, scheme, and device material facts and

consistently hid aspects and nature of their corrupt relationship with Defendants Masoud

Barzani, Masrour Barzani, Waysi Barzani, and their co-conspirator agents and representatives,

and their private interests, and. They knowingly (a) did not report any unexplained sources of

income; (b) declared they had not engaged in any deceptive, illegal, or irresponsible financial

practices; (c) had not been involved in any crime, and had not associated with anyone involved

in illegal activities to his knowledge; (d) had not deliberately omitted, concealed, or falsified

relevant and material facts from any personnel security questionnaire, personal history statement,

or similar form used to conduct investigations, determine employment qualifications, award

benefits or status, determine security clearance eligibility or trustworthiness or award fiduciary

responsibilities; (e) had not deliberately provided false or misleading information concerning

relevant and material matters to an investigator in connection with a personnel security or

trustworthiness determination; (f) had not engaged in personal conduct or concealment of

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 374 of 429




information that may increase vulnerability to coercion, exploitation or duress such as engaging

in activities which, if known, may affect their personal, profession, or community standing or

render them to be susceptible to blackmail; and (g) has not had association with any person,

group or business venture that could be used, even unfairly, to criticize, impugn, or attack their

character or qualifications for a government position. These statements and representations were

materially false because, as Defendants U.S. Public Officials #1 and #2 and others then and there

knew, they were receiving cash payments and valuable oil and real property concessions from

Defendants Masoud Barzani, Masrour Barzani, their representatives, and the Barzani Continuing

Criminal Enterprise in exchange for preferential treatment concerning United States Government

contracts awarded to Barzani’s companies and business partners, contemporaneous with the time

period of the Barzani Continuing Criminal Enterprise.

754.     Defendants U.S. Public Official #1, in his official duties, charged with the safekeeping,

transfer, or disbursement of public money, free from deceit, craft, trickery, corruption and

dishonest means, who without authority of law further engaged in criminal misconduct in

apparent and actual conflict with his official and lawful duties, by impairing, impeding, and

obstructing the lawful functions of the United States Army and the United States Department of

Defense and U.S. foreign military assistance programs free from deceit, craft, trickery,

corruption and dishonest means, in concert with Defendants Masoud Barzani, Masrour Barzani,

Waysi Barzani, known officials of a foreign government, and co-conspirator agents and

representatives of the Barzani Continuing Criminal Enterprise, including Barzani family

members and family members by marriage, by knowingly, willingly, and unlawfully disguising

the bribes in the form of facially legitimate transactions. Defendant U.S. Public Official #1

committed the overt illegal acts of soliciting and accepting kickbacks by charging fees of as

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 375 of 429




much as $10,000 to numerous American and international businesses to obtain appointments,

meetings, and conferences with representatives of the Defendant Iraqi Kurdistan Regional

Government and the Barzani regime, and to secure improper advantage and to influence acts and

decisions of such government and agencies and instrumentalities.          Defendant U.S. Public

Official #1 corruptly accepted and agreed to accept cash payments and things of value, and did

perform and attempt to perform acts to carry on and facilitate the promotion and carrying on of

said unlawful activities, and concealed criminal conduct, corrupt payments, and evidence, and

failed to disclose such income as required, and misrepresented and concealed facts from his

superiors and subordinates, all in breach of the official’s fiduciary duty, by means of materially

false and fraudulent pretenses, representations, and promises, and by means of omission and

concealment of material facts of facially legitimate transactions. In violation of Title 18, United

States Code, Section 371.

755.      Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their co-

conspirator agents and representatives, including Barzani family members and family members

by marriage, knew the United States Government operated and operates in Iraqi Kurdistan with a

limited number of qualified contracting officers who had a vast network of contracts to

supervise. DefentantsDefendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and

their co-conspirator agents and representatives, including Barzani family members and family

members by marriage, knew the United States government lacked the resources to investigate

every payment made by Defendants or their subcontractors. Defendants were thereby able to

exploit those resource constraints to conceal their unlawful and illegitimate conduct from U.S.

government personnel, when Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 376 of 429




should have been the ones to flag such issues for the agencies funding their projects with U.S.

taxpayer money.

756.    Defendants, as recipients and beneficiaries of U.S. monetary and resource assistance, had

and have a duty to ensure that funds acquired from the U.S. Government do not end up

supporting terrorist activity, and the resources, expertise, and obligation to ensure that their

practices did not materially support al-Qaeda, al-Qaeda-in-Iraq, or Islamic State. Defendants did

just the opposite as they enriched themselves through the Barzani Continuing Criminal

Enterprise, allowing them to the harm of the Plaintiffs.

757.     Defendants actively and fraudulently concealed these violations to cloak their illegal

activities. Defendants fraudulently concealed their illegal activities, as alleged herein, by, inter

alia, making false and misleading entries on their books and records, fashioning deliberately

deficient internal controls and accounting systems, filing false and/or misleading documents with

the U.S. government, and issuing false press releases, reports, and other statements concerning,

inter alia, their compliance program, all of which actions made and makes possible the

continuing operation of the Barzani Continuing Criminal Enterprise to harm Plaintiffs.

758.     Defendants’ affirmative actions as alleged herein, including by their Washington, D.C.

agents, representatives, and advisors, were wrongfully concealed and carried out in a manner that

was intended to, and did, preclude detection; allowing the Barzani Continuing Criminal

Enterprise to harm Plaintiffs in the past and to continue to harm Plaintiffs to the present time.



        IX.

        THEFT CONCERNING PROGRAMS RECEIVING U.S. FEDERAL FUNDS




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 377 of 429




759.       Theft concerning programs receiving U.S. Federal Funds is yet another criminal scheme

and conspiracy of extraordinary monetary magnitude, and in direct criminal opposition to the

interests and national security of the United States. To enrich themselves and fund their criminal

acts against Plaintiffs, Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their

co-conspirator agents and representatives known and unknown, including Barzani family

members and family members by marriage, with the intent to deceive and defraud, entered into

an agreement to defraud the United States and to obstruct the lawful functions of its agencies by

deceitful and dishonest means, have willfully, knowingly, and voluntarily perpetuated a theft

structure, plan, and scheme, and did knowingly and willfully, directly and indirectly, commit and

cause to be committed offenses and acts, against the United States Government and its agencies

including but not limited to the U.S. Agency for International Development, the U.S. Department

of State, and the U.S. Department of Defense and its military service branches, and knowingly

obtained or attempted to obtain a benefit from the United States Government by means of false

and fraudulent pretenses, representations, promises, or material omissions and with the intent to

deprive the United States Government of such services with an aggregate value of more than $1

billion.

760.       It was a purpose of the conspiracy for Defendants Masoud Barzani, Masrour Barzani, and

Waysi Barzani to enrich themselves by embezzling, stealing, obtaining by fraud, and otherwise

without authority knowingly converting to the use of any person other than the rightful owner

and intentionally misapplying property and money that was owned by the United States

Government or the Defendant Iraqi Kurdistan Regional Government. This property and money

was under the care, custody, and control of Defendants Masoud Barzani, Masrour Barzani,

Waysi Barzani in their official positions, and was stolen by them to enrich the Barzani

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 378 of 429




Continuing Criminal Enterprise, which actions provided the means and enabled the Barzani

Continuing Criminal Enterprise to harm Plaintiffs.

761.      As integral and indispensable to the Barzani Continuing Criminal Enterprise, the

Defendant Iraqi Kurdistan Regional Government Peshmerga (military), formally under the

command of the Defendant Iraqi Kurdistan Regional Government’s Ministry of Peshmerga

Affairs Ministry of Peshmerga Affairs and its subordinate employees and agents, but while in

reality the Peshmerga force itself, has become the armed unofficial standing army of the

Defendant Iraqi Kurdistan Regional Government, commanded by Defendant Masrour Barzani.

Confidential Human Source #1, who has direct clandestine access to senior ranking Defendant

Iraqi Kurdistan Regional Government officials, states that Defendants Masrour Barzani and

Waysi Waysi Barzani treat the Peshmerga as personal enforcers; and have engaged the services

of Azhi Amin, a former member of an Al Qaeda affiliate, a designated foreign terrorist

organization, a fact well known to Defendants Masrour Barzani and Waysi Barzani. Aziz Amin

now holds a Peshmerga command position directed by Defendants Masrour Barzani and Waysi

Barzani to direct a substantial part of their criminally violent acts against Plaintiffs.

762.       During the period of operation of the Barzani Continuing Criminal Enterprise, the

Defendant Iraqi Kurdistan Regional Government has received in excess of two billion dollars

through the U.S. Government’s Agency for International Development and its American Foreign

Military Sales (FMS) and Foreign Military Assistance (FMA) programs, and other programs of

the United States of America. The Defendant Iraqi Kurdistan Regional Government has been

supplied by the United States with thousands of M16 rifles, dozens of .50-caliber machine guns,

more than 100 Humvees and armored vehicles, and dozens of 105 mm howitzers, along with

other equipment and spare parts, ammunition, food, pay and medical equipment, among other

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 379 of 429




resources and materiel. All of these resources have been used by the Barzani Continuing

Criminal Enterprise and Defendants to further their criminal and tortious intent and to harm the

Plaintiffs.

763.     The 2022 National Defense Authorization Act included $260 million for the Defendant

Iraqi Kurdish Regional Government Peshmerga, a wholly subordinate agency of the Defendant

Iraqi Kurdistan Regional Government commanded and directed by Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani and their co-conspirator agents and representatives. The

White House has signaledThe White House has signaled its intention to continue its financial

support for the Kurdish militia (the Defendant Iraqi Kurdistan Regional Government

Peshmerga).    H.R.5232, the Iraqi and Kurdish Peshmerga Forces Defense Act of 2023, is

presently before Congress.

764.    From these funds, the United States government has paid monthly stipends ranging from

$100 to $400 per Peshmerga soldier.

765.     Confidential Human Sources #1 and #5, who have direct clandestine access to senior

ranking officials of the Defendant IragiIraqi Kurdistan Rregional Government, disclosed

Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, aided and abetted by their

co-conspirator agents and representatives, including Barzani family members and family

members by marriage, and others known and unknown to Plaintiffs, as central and integral to the

funding of the Barzani Continuing Criminal Enterprise and its calculated injury to Plaintiffs, and

to enriching themselves and others by fraudulently obtaining money from the United States and

the agencies thereof, did knowingly conspire and devise and intended to devise a scheme and

artifice to defraud and deprive the United States Government, to endanger United States national

and economic security, to knowingly and willfully, directly and indirectly, endanger the lives and

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 380 of 429




wellbeing of American military, diplomatic, and intelligence personnel in Iraqi Kurdistan, and to

knowingly and willfully, directly and indirectly, commit the following offenses against the

United States Government, which enables and furthers the objectives of the Barzani Continuing

Criminal Enterprise: Theft concerning programs receiving Federal Funds, by corruptly and

fraudulently obtaining money from the United States Government by knowingly falsifying

invoices, records, documents, reports, representations, pretenses, and promises, and by

knowingly making materially false, fictitious, fraudulent, and misleading statements, and

knowingly failing to disclose material facts with a duty to disclose, including fictitious and false

names, and knowingly transmitted and caused to be transmitted by means of wire

communications writings, for services of Peshmerga personnel, designed in whole or in part to

conceal and disguise the falsity of specified unlawful activity, and falsely state the number of

Peshmerga soldiers and the amounts of their payment and willfully conceal true numbers and

amounts, and retaining substantial portions of the fraudulently secured proceeds, and that while

conducting and attempting to conduct such financial transactions knowing that the funds

involved in the financial transactions represented the proceeds of unlawful activity, and

continuing to present time – which activity continues to the present time and makes possible the

continuing harm to the Plaintiffs.

766.     Confidential Human Sources #1, #2, #3, #4, #5, and #8, who have direct clandestine

access to senior ranking officials of the Defendant Iraqi Kurdistan Regional Government, assert,

affirm, and declare the means and methods of enacting the criminal acts, and the scheme was

carried out, in substance, generally, by something called “ghost” or “alien” employees. These

are employees on paper who either do not really exist or do not show up for work or do not

perform the work for which the United States was billed – and for which the Barzani Continuing

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 381 of 429




Criminal Enterprise criminally, knowingly, and fraudulently caused one or more inflated

materially false invoices or otherwise communicated accounts, and falsified oral and written

certifications, statements, and accounting records regarding the reliability of financial reporting,

with the United States Government for payment, and failed to disclose, among other things, the

existence of false documents and fabricated accounting records related to the payments, and

knowingly and repeatedly accepted bloated improper payments from the United States

Government, their affirmative legal obligation requiring true and correct accounting

notwithstanding. Those involved in the scheme have diverted and are diverting millions of

dollars of U.S. financial assistance to the Barzani Continuing Criminal Enterprise criminal

purposes, which enables the Defendants and the Barzani Continuing Criminal Enterprise to

continue to harm Plaintiffs.

767.     Confidential Human Sources #1, #2, #3, #4, #5, and #8, who have direct clandestine

access to senior ranking officials of the Defendant Iraqi Kurdistan Regional Government, have

identified Peshmerga commanders under the command and control of Defendants Masrour

Barzani and Waysi Barzani who, with their agents and representatives, including Barzani family

members and family members by marriage, are thereby amassing enormous fraudulently

obtained personal wealth. Peshmerga commanders, in return for this substantial illicit wealth,

have served the Barzani Continuing Criminal Enterprise to harm and continue to harm Plaintiffs.

768.    In an effort to legitimize fraudulent financial transactions of Defendants and the Barzani

Continuing Criminal Enterprise, Defendants were and are layering funds through multiple levels

of offshore entities and bank accounts throughout the world, often transferring the illicit proceeds

through up to four levels of offshore bank accounts before reaching the final recipient. Members

of the Barzani Continuing Criminal Enterprise conspiracy, led by Defendant Jonathan Moore,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 382 of 429




have sought to distance the origin of the funds from the final beneficiaries and disguise the

nature, location, source, ownership, and control of the proceeds of said unlawful activity,

knowing that the proceeds represented the proceeds of unlawful activity.

769.    The fraudulently obtained funds were also disbursed by financial operators who acted on

behalf of Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and their co-conspirator

agents and representatives, including Barzani family members and family members by marriage,

known and unknown, including but not limited to the beneficial owners of the accounts, who

delivered the payments in cash in Iraqi Kurdistan or in foreign countries, in packages or suitcases

at locations predetermined by the beneficiary of the funds; or made the payments to members via

wire transfer through one or more of the camouflaged offshore entities.

770.      Additionally, it was part of the conspiracy that, for the purpose of establishing

relationships that could further the interests and objects of the Defendant Iraqi Kurdistan

Regional Government and the Barzani Continuing Criminal Enterprise, including advocacy to

the United States Government for funding of Peshmerga military forces of Defendant Iraqi

Kurdistan Regional Government, DefendantDefendants Masrour Barzani, and hisJonathan

Moore, and their co-conspirator agents and representatives, would and did recruit and induce

representatives within the United States and elsewhere, not herein named as Defendants, who

did willfully and knowingly, directly and indirectly, combine, conspire, confederate, and agree

together and with each other to commit an offense against the United States to wit, willingly and

knowingly act as an agent of a foreign principal, namely of Defendant Masrour Barzani and the

Defendant Iraqi Kurdistan Regional Government, without registering with the United States

Attorney General. These unregistered representatives of Defendant Masrour Barzani engaged in

direct actions, and were compensated indirectly and primarily through oil and energy

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 383 of 429




concessions and other concealed arrangements.        At no time did co-conspirators notify the

National Security Division’s Foreign Agent Registration Act Unit (“FARA Unit”) within the

U.S. Department of Justice that they would and did act in the United States as an agent of a

foreign government and official, and under the direction of Defendant Masrour Barzani, a United

States person for the period of the conspiracy, would and did and do unlawfully perform acts and

make statements to further Defendant Iraqi Kurdistan Regional Government interests in the

United States and influence the acts and decisions of such U.S. government, agencies, and

instrumentalities including its foreign policy and expenditures, who did and do and cause to be

misrepresented, hidden, and concealed, the purpose of the conspiracy and the criminal acts

committed in furtherance thereof, all in violation of 18 U.S.C. § 371. These hidden actions by

named defendants and unnamed co-conspiratorspersons have enabled the Barzani Continuing

Criminal Enterprise to have substantial means to harm Plaintiffs.

771.      Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and Barzani family

members and family members by marriage, and their agents and representatives, in furtherance

of the conspiracy and to effect the illegal object thereof, committed and caused to be committed,

among others, the following overt acts, in furtherance of the Barzani Continuing Criminal

Enterprise.   Defendants have participated by deceitful and dishonest means in, facilitated,

furthered, controlled, organized, and profited from the violent Barzani Continuing Criminal

Enterprise, and enjoy the proceeds, fruits, and instrumentalities of its crimes including properties

in the United States and elsewhere derived from or obtained, directly or indirectly, through the

commission of the offenses, and whose members and associates conspired and engaged in acts,

in furtherance of the Barzani Continuing Criminal Enterprise, and the manner and methods used

by the Defendants and other members and associates of the enterprise to further the goals of the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 384 of 429




enterprise and to achieve its purposes included, but were not limited to, involving murder and

attempted murder, extrajudicial execution, enforced disappearances, torture, intimidation,

narcotics trafficking, counterfeiting, money laundering, fraud, obstruction of justice, tax fraud,

immigration fraud, fraud against the United States Government, illicit sale and delivery of

defense articles between sanctioned foreign countries without having received a license or

approval from the United States Department of State, engaged in commercial trade with nations

sanctions by the United States and prohibited by the Directorate of Defense Trade Controls

(“DDTC”), conduct with designated terrorist organizations against the interests of the United

States, and committed other crimes against the United States and its citizens and its national

security interests, and the citizens of Iraqi Kurdistan, and thereby benefitting by receiving

billions of illicit dollars.    Defendants have hidden and attempted to hide under the false,

deceptive, and legally unmerited cloak of anonymity and/or officialdom. None of their criminal

actions are legitimate official, permissible, or lawful acts of a foreign sovereign or any

subordinate governate, subdivision, or instrumentality thereof. And each and every criminal act

committed by Defendants engaged in the Barzani Continuing Criminal Enterprise has provided

the means to harm Plaintiffs.

772.     In another illustrative example of an overt act in furtherance of the Barzani Continuing

Criminal Enterprise, financial transaction records in the possession of Confidential Human

Source #1 document removal of US$832 million from Iraqi Kurdistan to South Korea to

Germany by Barzani subordinate Defendant Ashti Hawrami, the then Defendant Iraqi Kurdistan

Regional Government Minister of Oil.

773.      To harm Plaintiffs and exceedingly enrich themselves, Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, and their subordinate criminal co-conspirators, as part of

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 385 of 429




the Barzani Continuing Criminal Enterprise, have willfully, recklessly, knowingly, purposefully,

and with wanton disregard ignored and violated, at a minimum, international treaties,

agreements, and conventions to which the Republic of Iraq is a signatory nation despite being

obligated to follow each and every provision of said treaties, agreements, and conventions.



            IX.     UNITED STATES TAX CRIMES IN FURTHERANCE OF

                  THE BARZANI CONTINUING CRIMINAL ENTERPRISE

774.     In order to provide means to harm Plaintiffs and exceedingly enrich themselves, and

elude, evade, and circumvent requisite disclosure requirements and tax obligations of the U.S.

Department of the Treasury and its Internal Revenue Service, Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barzani, and their subordinate criminal co-conspirators, including

Barani family members and family members by marriage, and others known and unknown, as

part of the Barzani Continuing Criminal Enterprise through abusive criminal tax schemes and

fraudulent and deceptive practices, did voluntarily, intentionally, and knowingly conspire,

combine, confederate, and agree together and with each other, and with individuals both known

and unknown, and with wanton disregard for and as part of a pattern of illegal activity, ignored

and violated, at a minimum, multiple federal tax laws and federal tax regulations having force of

law of the United States, thereby interfering with the proper administration of the Internal

Revenue Laws and harming Plaintiffs, in “a conscious course of deliberate ignorance, i.e., of

purposeful blinding while knowing that a crime was likely in progress...." United States v.

Masse, 816 F.2d 805, 812 (1st Cir.1987).

755.     Defendants acted with the object of criminally enriching themselves and to provide

means to harm Plaintiffs, by committing and causing to be committed various corrupt acts,

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 386 of 429




including but not limited to: (a) providing false documents in connection with tax matters and (b)

making false statements in connection with tax matters of the United States government, and (c)

knowingly and willfully not paying taxes due the United States, all in violation of 26 U.S.C.

7212(a).

756.     As part of the Barzani Continuing Criminal Enterprise to provide the means to damage

Plaintiffs, the defendant[s] knowingly and wilfully concealed material facts from the Internal

Revenue Service in matters under its jurisdiction by making false or fraudulent representations to

a federal agency or department, which were sufficiently repeated and related to form a "pattern

of illegal activity". The illegal activities alleged herein were "within the jurisdiction of [a]

department or agency of the United States." 18 U.S.C. § 1001.

777.       To provide the means to harm plaintiffs and criminally enrich themselves, Defendants

Masrour Barzani, Entifadh Kamal Qanbar, and Omar Barzani, and others did unlawfully,

voluntarily, intentionally, and knowingly conspire, combine, confederate, and agree together and

with each other, and with other individuals to defraud the United States by impeding, impairing,

obstructing, and defeating the lawful government functions of the Internal Revenue Service

(IRS) in the ascertainment, computation, assessment, and collection of revenue, that is, U.S.

individual income taxes.

778.    The extreme amount of revenue raised by evasion and financial harm to the United States

provides the means to harm Plaintiffs as set forth herein.




Defendant Entifadh Kamal Qanbar

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 387 of 429




779.     As part of the Barzani Continuing Criminal Enterprise and according to the respective

documents submitted by Defendant Entifadh Qanbar to the Internal Revenue Service, the

Kurdish Protection Action Committee was purportedly organized for charitable purposes and

“approved by Kurdish Prime Minister [Defendant] Masrour Barzani.” Defendant Entifadh

Qanbar submitted a Form 1023, Application for Recognition of Exemption Under Section

501(c)(3) of the Internal Revenue Code (“Tax Exempt Status Application”), on behalf of the

Kurdish Protection Action Committee (KPAC).

780.     Specifically, the IRS granted 501(c)(3) charity tax exempt status to KPAC on the Tax-

Exempt Status Applications based on the false documents prepared and submitted by Defendant

Entifadh Qanbar.

781.      As part of the Barzani Continuing Criminal Enterprise and to further its object,

Defendants Masrour Barzani and Aziz Ahmed, purportedly on behalf of the Council of Ministers

of Defendant Iraqi Kurdistan Regional Government controlled by Defendant Masrour Barzani, in

2023 engaged Defendant Entifdh Qanbar for the sole purpose of filing false documents to obtain

tax exempt status and to operate through a United States-incorporated Internal Revenue Service-

issued non-profit 501(c)(3) tax exempt political, economic, and educational action committee

named Kurdish Protection Action Committee incorporated in the State of Virginia.

782.    Defendant Entifdh Qanbar is the architect of this fraudulent charitable giving tax scheme

in furtherance of the Barzani Continuing Criminal Enterprise. He promotes, organizes, and

executes every material aspect of the scheme that gives rise to the participants’ bogus charitable

status – from the creation of the bogus charity and the incorporation thereof to the completion

and submission of the necessary tax documents.




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 388 of 429




783.     Defendant Entifdh Qanbar formed the entity, secured tax identification numbers for the

entity, drafted or directed the drafting of all fraudulent documents necessary to create and

operate the entity, and filed or directed the filing of all necessary paperwork with state and local

authorities.

784.     The purpose of said Kurdish Protection Action Committee self-declared in documents

filed by Defendant Entifdh Qanbar with the U.S. Government is to “meet with American

representatives and staff to educate them” on Kurdistan and “ask the Congress for support of the

Kurdish American alliance… by focusing on certain acts and legislation…” Defendant Entifdh

Qanbar “will also prepare and disseminate informational materials and may engage in lobbying,

promotion, perception management, and public relations.”

785.     Contrary to this declaration submitted under oath by Defendant Entifadh Qanbar to the

U.S. Department of Justice made pursuant to the Foreign Agents Registration Act, the Articles of

Incorporation for the Kurdish Protection Action Committee (“KPAC”), filed with the State of

Virginia in 2022 by Defendant Entifdh Qanbar, declare under oath “the corporation is organized

exclusively for charitable, religious, education, and scientific purposes, including, for such

purposes, the making of distributions to organization that qualify as exempt organization under

section 501(c)(3) of the Internal Revenue Code, or the corresponding section of any future

federal tax code.”

786.      Defendant Entifadh Qanbar, as the Incorporator of said corporation, in direct and

purposeful contravention of the above sworn federal declaration, further declared to the State

Corporation Commission of the Commonwealth of Virginia: “No substantial part of the activities

of the corporation shall be the carrying on of propaganda, or otherwise attempting to influence

legislation…”     Further, the By-Laws submitted by Defendant Entifadh Qanbar to the

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 389 of 429




Commonwealth of Virginia declare, “The organization is organized exclusively for purposes

pursuant to section 501(c)(4) of the Internal Revenue Code.”

787.    Defendant Entifdh Qanbar knew and had reason to know that these statements were false

or fraudulent. Specifically, Defendant Qanbar made many false statements regarding the validity

of his scheme; the tax-exempt status of KPAC; and the propriety of the scheme participant’s

donations and resulting charitable contribution deductions. Defendant Qanbar prepared and

presented, or assisted others in preparing and presenting, documents and portions of documents

that they know (or had reason to know) would be used in connection with material matters

arising under the internal revenue laws. Defendant Entifdh Qanbar knew and had reason to

know the statutory purposes and permissible functions and activities of a 501(c)(3) and a

501(c)(4) organization are significantly different, and that the primary activities in which he and

KPAC engage are explicitly prohibited within a 501(c)(3) tax example organization. All these

fraudulent actions were taken to hide income from the United States and provide means to

damage the Plaintiffs.

788.     In furtherance of and aiding and abetting the concealment by trick, scheme or device of

material facts from the IRS, this scheme “approved by Kurdish Prime Minister [Defendant]

Masrour Barzani,” Defendant Entifdh Qanbar did knowingly and willfully falsify, conceal, and

coverup by a trick, scheme, and device, a material fact, and the defendant made materially false,

fictitious, and fraudulent statements and representations, and the defendant made and used a false

writing and document knowing the same to contain a materially false, fictitious, and fraudulent

statement and entry, in a matter within the jurisdiction of the executive branch of the

Government of the United States. Under the banner of KPAC, a 501(c)(3) tax exempt charitable

organization, he has falsely, publicly, purposefully, knowingly, and maliciously accused former

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 390 of 429




United States Ambassador Ryan Crocker and American Enterprise Institute scholars Danielle

Pletka and Michael Rubin of being party to an Iranian information operations scheme after

attending an ordinary conference in Baghdad, Iraq during which the Prime Minister of Iraq

spoke.

789.     To aid the Barzani Continuing Criminal Enterprise in committing harm to Plaintiffs, in

serious yet knowing violation of the legally permissible activities of a tax-exempt 501(c)(3)

organization, Defendant Entifdh Qanbar coordinated with a foreign entity or foreign official,

working together as a cohesive structure, over time, to manipulate the legislative process, obtain

and retain political power on behalf of Defendants Masoud Barzani and Masrour Barzani, benefit

financially, obfuscate the nature of their activities, and with longevity sufficient to pursue the

Barzani Continuing Criminal Enterprise’s purpose, thus providing substantial means to enable

Defendants to damage Plaintiffs. These fraudulent activities enabled Defendants to use the

KPAC as a vehicle, directly and indirectly, to provide means to damage Plaintiffs.

790.     Defendant Entifadh Qanbar prepared and submitted documents to the U.S. Department

of the Treasury through its Internal Revenue Service, and to the State Corporation Commission

of the Commonwealth of Virginia which documents are materially, substantively, and factually

different from each other. Defendant Qanbar’s media appearance and X (formerly Twitter) feed,

unreservedly available to a worldwide audience, appear only to promote Defendant Masrour

Barzani’s propaganda, attack his political opponents, dismiss human rights concerns, and

generally act to amplify partisan media in a manner that often crosses into libel and slander and

remains functionally, wholly, and impermissibly different from the activities for which

Defendant Qanbar registered with the Department of the Treasury. These activities were false

and fraudulent and were taken with the object and means to damage Plaintiffs.

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 391 of 429




791.     The long-time, continuing, and cumulative pattern of criminal conduct by Defendant

Masoud Barzani, his agents and representatives including family members and family members

by marriage, and the Barzani Continuing Criminal Enterprise, aided and abetted by Defendant

Entifdh Qanbar, has been and is one of purposeful, willing, knowing, and continual

misrepresentation, fabrication, deceit, and falsification, which fraudulent activities substantially

contributed to providing means to damage and harm Plaintiffs.

792.        As a co-conspirator with and representative of the Barzani Continuing Criminal

Enterprise, and to perpetuate the Barzani Continuing Criminal Enterprise to provide the means to

harm Plaintiffs, Defendant Entifdh Qanbar made a willful concealment of material facts to

officials of agencies of federal and state governments of the United States.

793.    In order to maintain its tax exemption, and use the charitable organization as a means to

provide means to harm Plaintiffs, KPAC was required to file annually IRS Form 990, truthfully

disclosing the earnings and activities of the organization. To continue to use KPAC's tax-exempt

status, and Defendant Entifdh Qanbar and others directed by Defendant Entifdh Qanbar filed

IRS Forms 990 which intentionally omitted their transactions with persons and entities in Iraq

and elsewhere and failed to disclose relevant requested information regarding the control.

history and affiliations of the KPAC. Defendant Entifdh Qanbar made knowingly false public

statements and knowingly false statements to officials of the United States Government, and

used funds to harm Plaintiffs which acts were not in furtherance of the KPAC’s purported

charitable mission authorized by the Internal Revenue Service.

794.     To be a sponsoring organization, the KPAC is required to report certain information on

the annual “tax return” for tax exempt entities – Form 990, Return of Organization Exempt from

Tax (“Form 990”). Defendant Entifdh Qanbar completed the bogus charity’s Tax-Exempt Status

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 392 of 429




Applications and Forms 990 and knew that the bogus charity did not truthfully report the

required information, which fraudulent forms enable KPAC to continue to operate and damage

Plaintiffs.

795.     At all times, Defendant Qanbar controlled the bogus charity, KPAC, which was formed

to further the object of the Barzani Continuing Criminal Enterprise and to damage Plaintiffs.



Defendant Omar S. Barzani:

796.    Defendant Omar Barzani is the self-declared principal officer of the Texas-based Barzani

Charitable Foundation.

797.     Defendant Masrour Barzani, a U.S. person, is listed on documents filed by Defendant

Omar S. Barzani with the Internal Revenue Service as chairman of the Barzani Charity

Foundation.

798.      As part of the criminal scheme of Defendants and the Barzani Continuing Criminal

Enterprise to use the Barzani Charity Foundation to harm Plaintiffs, Defendant Omar Barzani as

the Fund’s principal officer, who acting under direction of Defendant Masrour Barzani as Fund

chairman, committed or caused to be committed perjury on submitted Internal Revenue Service

forms, as described in more detail below, conspired to fraudulently obstruct the federal tax

function, and with premeditated deceit, fraudulently or unlawfully obtained, as a benefit to the

Barzani Continuing Criminal Enterprise to avoid U.S. taxes, a charitable non-profit tax

designation and treatment in that he/they knowingly and with deliberate disregard of the clearly

delineated requirements of law falsely declared or caused to be falsely declared to the Internal

Revenue Service.




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 393 of 429




799.       Defendants Masrour Barzani and Omar Barzani conspired and knowingly and

purposefully failed to disclose the defendants noncompliance with a statutory, regulatory, or

contractual requirement, while omitting critical qualifying information, including making

actionable misrepresentation and providing materially false information by knowingly and

purposefully answering NO to at least the following qualifying questions: (a) Did the

organization maintain an office, employees, or agents outside of the United States?; (b) Did the

organization have aggregate revenues or expenses of more than $10,000 from grantmaking,

fundraising, business, investment, and program service activities outside the United States, or

aggregate foreign Investments valued at $100,000 or more?; (c) Did the organization report on

Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or for any foreign

organization?; (d) Did the organization report on Part IX, column (A), line 3, more than $5,000

of aggregate grants or other assistance to or for foreign individuals?; (e) At any time during the

calendar year, did the organization have an interest in, or a signature or other authority over, a

financial account in a foreign country (such as a bank account, securities account, or other

financial account)?; and knowingly and willfully failed to disclose officers, directors, and

trustees. See Universal Health Servs. Inc. v. U.S. ex rel. Escobar, 136 S. Ct. 1989, 2001 (2016).

Defendants Masrour Barzani and Omar Barzani knew and had reason to know that these

statements were false or fraudulent, and if answered truthfully would result in IRS denial of the

application for tax exempt status.

800.    Defendant Omar Barzani formed the entity, the Barzani Charity Foundation, secured tax

identification numbers for the Barzani Charity Foundation, drafted or directed the drafting of all

documents necessary to create and operate the Barzani Charity Foundation, and filed or directed




                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 394 of 429




the filing of all necessary paperwork with state and local authorities for the formation and

continuance of the Barzani Charity Foundation.

801.     Defendant Omar Barzani knew and had reason to know the statutory requirements of a

501(c)(3) organization, yet made false statements as set forth herein regarding the validity of his

scheme, to wit: The lawful tax-exempt status of the Barzani Charity Foundation, thereby aiding

and abetting Defendants and the Barzani Continuing Criminal Enterprises’ concealment by trick,

scheme or device of material facts from the IRS.          Defendant Omar Barzani made false

representations of a material fact knowing that the representations were false, and with the intent

to mislead, obfuscate the nature of their activities, and with longevity sufficient to pursue the

Barzani Continuing Criminal Enterprise’s purpose of evading taxes to provide substantial means

to damage Plaintiffs.    As co-conspirators with and representative of the Barzani Continuing

Criminal Enterprise, and to perpetuate the Barzani Continuing Criminal Enterprise to provide the

means to harm Plaintiffs, Defendants Masrour Barzani and Omar Barzani made a willful

concealment of material facts to officials of agencies of federal and state governments of the

United States.

802.    The Barzani Charity Foundation was incorporated in the State of Texas in 2015, operated

in the intervening years, and has been forfeited by the Texas Comptroller of Public Accounts in

2024. At all times, Defendants Masrour Barzani and Omar Barzani controlled the bogus charity,

which was formed to further the object of the Barzani Continuing Criminal Enterprise and to

damage Plaintiffs.



        Defendant Masrour Barzani




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 395 of 429




803.     Defendant Masrour Barzani, as a U.S. person resident alien (a green card holder), is

required by statute, as a term of such granted immigration status, to follow the same tax laws as

U.S. citizens and must report worldwide income from all sources, that is, income from both

within and outside the United States, must report financial assets outside the United States, and

must disclose foreign bank accounts and other offshore international assets & investments.

804.    Defendant Masrour Barzani, as the head of the Barzani Continuing Criminal Enterprise,

willfully and criminally, and to further the criminal object of the enterprise and harm Plaintiffs,

conspired with others unnamed to impede, impair, obstruct and defeat the lawful governmental

functions of the Internal Revenue Service in the ascertainment, computation, assessment and

collection of revenue, specifically, failing to comply with the Foreign Account Tax Compliance

Act (FATCA), in an effort to defraud the United States, increase illicit wealth, and use wealth to

injure Plaintiffs.

805.     For numerous tax years, Defendant Masrour Barzani grossly, knowingly, and willingly

evaded or defeated any tax imposed by or due and owing the United States, and signed, filed, and

caused to be filed false and fraudulent or elected to not file U.S. tax documents, U.S. Individual

Income Tax Returns, Form 1040, and other forms, knowing it/them to be false and fraudulent,

and failed to properly and honestly comply with his legal and substantial tax obligations as a

United States person, knowing the returns and/or omissions to be false and fraudulent. By these

criminal acts, Defendant Masrour Barzani failed to declare and pay proper taxes in very

significant amounts, thereby enriching the criminal enterprise which directly provided the means

for Defendants to commit brutal criminal and tortious acts to harm Plaintiffs.



                      HIDING FRUITS OF THE BARZANI CRIMINAL ENTERPRISE



                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 396 of 429




806.      Defendants willfully and knowingly, directly and indirectly, combined, conspired,

confederated, and agreed together, and with other individuals and groups known and unknown,

including Barzani family members and family members by marriage, to engage in fraudulent

schemes and organized, established, and operated front corporations as a part and object of the

conspiracy, a personal and private action and the type of actions by which a private party

engages in trade and traffic or commerce, holding and increasing its monopolistic market share

and continuing to generate enormous profits, and to which defendants diverted the proceeds of

unlawful activity of the Barzani Continuing Criminal Enterprise, traceable to the commission of

their offenses, including but not limited to a sum of money in United States currency, knowing

that the transactions were designed in whole and in part to conceal and disguise the nature, the

location, the source, the ownership, and the control of the proceeds of unlawful activity, to wit:

received proceeds from various criminal and tortious schemes or artifice, which have been

comingled with other illicit proceeds, and transferred and directed others, including those named

herein, to transfer those proceeds among the shell companies, investments, holdings, and

offshore bank accounts, in such locales as Dubai, British Virgin Islands, the United States, and

elsewhere, controlled by participants in the schemes in order to conceal and disguise the source,

location, ownership and control of the funds. (Title 18, United States Code, Section 1956 (h).)

807.      With multiple illicit schemes, Defendant Masrour Barzani and his co-conspirators

created and did structure a complex network of co-conspirator front corporations, subsidiaries,

and affiliates in multiple countries, including but not limited to STER Group and its multiple

subsidiary entities, Daline Group, Sardar Holdings, and Falcon Group, through which the

conspirators, executives, employees, and nominees, with the intent to deceive and defraud, and

by means of false and fraudulent pretenses and representations, coordinated the fraud activity

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 397 of 429




around the globe including knowingly and willfully, directly and indirectly, concealing the

ongoing criminal schemes.

808.      Defendants’ collected and aggregated cash in the United States and elsewhere, and

laundered the proceeds of the criminal enterprise in order to promote and conceal their

transnational criminal schemes, and caused false statements to be made to, and to destroy and

conceal documents and records to evade detection from, regulatory and law enforcement

authorities in the United States, Iraq, and elsewhere, and transmitted said proceeds throughout

the world. Through a network of limited liability corporations and other concealing entities

utilizing the skill of Defendant attorneys Jonathan Moore and Joe Reeder, Defendants also

purchased and aggregated commercial, rental, and residential real property in the United States

and elsewhere that were and are in fact the proceeds of Barzani transnational criminal activity.

809.    Defendant Lina Barzani, possibly a fictitious person but represented to be the 29-year-old

daughter of another Barzani family member, Defendant Sirwan Barzani, and an American citizen

born in Virginia in 1994, is the alleged owner of record of U.S.-based Lina Holdings and its

many properties, allegedly including 526 residential units and a Hard Rock Cafe, that are

estimated by Confidential Human #15, who has direct clandestine access to senior ranking

officials of the Defendant Iraqi Kurdistan Regional Government, to exceed US$1 billion.

Defendant Lina Barzani allegedly administers a disguised repository, in the United States, of

substantial illicit criminal earnings of the Barzani Continuing Criminal Enterprise. Documents

allegedly reveal that Lina Holdings owns 26 different companies, 14 hotels, six factories, 286

cafes, 540 apartments, 48 restaurants, 8 diverse centers, two tourism projects, one hospital, and

one bank. Defendant Lina Barzani presents herself online as a Vice President of J.P. Morgan.

However, J.P. Morgan does not list her in its global employee directory. Earnings from assets

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 398 of 429




managed and “owned” by Defendant Lina Barzani and entities she “controls” flow to the Barzani

Continuing Criminal Enterprise and are substantially used to harm Plaintiffs.

810.      All Barzani family members named and unnamed herein, including Barzani family

members and family members related to the tortfeasors by marriage, as individuals, have enjoyed

the trappings of profuse illicit wealth and benefited from and are used in and/or intended to be

used in facilitating and/or committing the subject offenses of the Barzani Continuing Criminal

Enterprise, including willfully concealing the proceeds derived from it, often through a series of

transactions and shell companies located in the United States and abroad, with full knowledge,

support and participation in Barzani family criminal activities.

811.     It was a part and object of the conspiracy that all Barzani family members named and

unnamed herein, including Barzani family members related by marriage, and others known and

unknown, as individuals, knowing that the property or money involved represented the proceeds

of some form of illegal activity, would and did conduct and attempt to conduct financial

transactions, which in fact involved proceeds of unlawful activity including violations of IEEPA

and multiple U.S. statutes, knowing that their involvement was designed in whole and in part to

conceal and disguise the nature, the location, the source, the ownership, and the control of the

proceeds of unlawful activity.

812.    “It defies credulity that” family members and family members by marriage “did not know

that something illegal was afoot.” See Halberstam v. Welch, 705 F.2d 472, 486 (D.C. Cir. 1983).

Family members knew and know full well the purpose of the forays and the means by which

Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani, and Barzani family members and

family members by marriage, and other co-conspirators, had risen from "rags to riches" in a

relatively short period of time. Family members were compliant, but neither dumb nor duped,

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 399 of 429




so long as their personal comfort and fortune were assured. Each was a willing partner in these

criminal activities. (See Halberstam v. Welch, No. 81-0903, mem. op. at 5 (D.D.C. Mar. 24,

1982) [herein cited as District Court Opinion]).

813.      “Secondary liability for aiding and abetting ‘reaches persons who do not engage in the

proscribed activities at all, but who give a degree of aid to those who do.’” (See Atchley v.

AstraZeneca UK Ltd., 22 F.4th 204, 208 (D.C. Cir. 2022). Cent. Bank of Denver, N.A. v. First

Interstate Bank of Denver, N.A., 511 U.S. 164, 176, 114 S.Ct. 1439, 128 L.Ed.2d 119 (1994)

Cent. Bank of Denver, N.A. v. First Interstate Bank of Denver, N.A., 511 U.S. 164, 176, 114 S.Ct.

1439, 128 L.Ed.2d 119 (1994).

814.      The support of all named and unnamed Barzani family members and family members by

marriage in the Barzani Continuing Criminal Enterprise, from which each has substantially,

luxuriously, and illicitly financially benefited and does benefit from proceeds traceable to

violations of the subject offenses, has made it possible for the Barzani Continuing Criminal

Enterprise to have the means, management, dominance, and absolute control necessary to enable

it to damage and otherwise injure Plaintiffs.

815.      The Court of Appeals for the District of Columbia Circuit held that “accountability does

not depend inexorably upon personal performance of the acts comprising an offense. He who

assists the perpetrator of crime in its commission is as much answerable as if he had engaged in

all of its essential aspects himself.” (See United States v. Staten, 581 F.2d at 886 (D.C. Cir.

1978)).    Through assistance, facilitation, enablement, abetment, collaboration, concealment,

disguise, dissimulation, duplicity, deception, endorsement, misrepresentation, commercial

advantage, and financial participation, inclusion, and benefit, and other means, the co-conspirator

Barzani family and family members by marriage, and their agents, representatives, employees,


                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 400 of 429




and contractors, are equally accountable for the prodigious criminal and tortious acts of the

transnational Barzani Continuing Criminal Enterprise conducted over many years and in many

nations to enrich and empower Defendants and to enable Defendants to relentlessly harm

Plaintiffs.


                   KURDISH VICTIMS FUND, A NON-PROFIT 501(C)(3) FOUNDATION

816.      Documentary evidence confirms the Barzani Continuing Criminal Enterprise, often

acting under the false and intentionally misleading cloak of officialdom, has been responsible for

the deliberated extrajudicial murder of in excess of five thousand men, women, and children

during the decades of its continuing criminal activity. John Doe victims have surviving families

and dependents that deserve compensation for the loss of their loved ones.           Members of

surviving families fear reprisals and imminent threats, which are not imaginary nor wholly

speculative, and are afraid to come forward and seek redress because in their autocratic control

of the Kurdistan judicial system Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani,

and their co-conspirator agents and representatives, including Barzani family members and

family members by marriage, and others known and unknown, have purposefully limited all

avenues and access for victims and their families, including the impossibility of safely

conducting investigation and discovery in provincial Iraqi Kurdistan, to obtain justice and

redress. These victims and their families have no realistic hope to obtain justice in the Republic

of Iraq or Defendant Iraqi Kurdistan Regional Government or from any court of Defendant Iraqi

Kurdistan Regional Government controlled and directed by Defendants Masoud Barzani,

Masrour Barzani, and Waysi Barani, and lacking protection from reprisals or other intimidation

and retributive measures, they severely fear, which is not imaginary nor wholly speculative,


                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 401 of 429




Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani and the Barzani Continuing

Criminal Enterprise.

817.      Plaintiffs have established and incorporated a United States non-profit 501(c)(3)

charitable Foundation, the “Kurdish Victims Fund”, an entity with grave responsibility on behalf

of victims and permitted to hold an interest in property under federal and state law, to

compensate from any recovery in the instant case the John Doe victims and their families; (who

have a significant privacy interest in avoiding being identified as targets for murder or enforced

disappearance or other non-trivial harm by the Barzani Continuing Criminal Enterprise); and

have included the Kurdish Victims Fund as an additional plaintiff.

818.    The United States District Court for the District of Columbia held in Beer “that foreign

sovereigns cannot use the constitutional constraints of the Fifth Amendment due process clause

to shield themselves from large punitive damages awards.” Oveissi v. Islamic Republic of

Iran, 879 F.Supp.2d at 56 (D.D.C.2012) Oveissi v. Islamic Republic of Iran, 879 F.Supp.2d at 56

(D.D.C.2012), citing Beer v. Islamic Republic of Iran, 789 F.Supp.2d 14, 16-26 (D.D.C.2011)

(Lamberth, C.J.). Beer v. Islamic Republic of Iran, 789 F.Supp.2d 14, 16-26 (D.D.C.2011)

(Lamberth, C.J.). Defendant Iraqi Kurdistan Regional Government is not a foreign sovereign,

and even if it waswere it could not shield itself from punitive damages awards.

819.     Moreover, punitive damages – a type of civil remedy – are by definition intended to

punish. The United States Supreme Court has declared, punitive damages “are not compensation

for injury. Instead, they are private fines levied by civil juries to punish reprehensible conduct

and to deter its future occurrence.” See Gertz v. Robert Welch, Inc., 418 U.S. 323, 350 (1974)

Previous decisions of this Court have provided compensation for the extreme fear and distress a

victim experiences knowing his death is imminent. See Baker v. Socialist People’s Libyan Arab

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 402 of 429




Jamahirya, 775 F. Supp. 2d 48, 81–82 (D.D.C. 2011) (“Courts have been influenced not only by

the length of time that the victim endured physical suffering, but by the victim’s mental anguish

stemming from the knowledge that death was imminent.”); Kilburn v. Islamic Republic of Iran,

699 F. Supp. 2d 136, 157 (D.D.C. 2010); Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d

78, 89 (D.D.C. 2002). Prior decisions of this Court have considered “the duration of the pain and

suffering, the nature and extent of the injuries, the fear and terror experienced by the victim, and

the circumstances surrounding the death.” Id.Robert Welch, Inc., 418 U.S. 323, 350 (1974)

820.    The United States District Court for the District of Columbia noted in Oveissi that Iran is

a foreign state “with substantial wealth and has expended significant resources sponsoring

terrorism.” Though Iraqi Kurdistan is not a foreign state but merely a political subdivision

thereof, the same characterization and description is germane, relevant, material, and applicable

to the Barzani Continuing Criminal Enterprise, “with its substantial wealth”, and Defendant Iraqi

Kurdistan Regional Government, both of which Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani control absolutely. See Oveissi v. Islamic Republic of Iran, 879 F. Supp. 2d

44, at 56 (D.C. 2012).



                                COUNT I
           (TORTURE VICTIMS PROTECTION ACT OF 1991, 28 U.S.C. §1350)

821.    Plaintiffs reallege and incorporate by reference the allegations and preceding paragraphs

as if fully stated herein.

822.    When Congress enacted the Torture Victim Protection Act (TVPA) in 1991, it explicitly

created a new cause of action against individuals who commit torture or deliberated extrajudicial

killing in violation of international law “under actual or apparent authority, or color of law”, of

any foreign nation. See 28 U.S.C. § 1350 note § 2(a). (Torture Victim Protection); Nestlé USA,
                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 403 of 429




Inc. v. Doe, 141 S. Ct. 1931, 1937-38 (2021) (opinion of Thomas, J.)           “28 U.S.C. § 1350 );

Nestlé USA, Inc. v. Doe, 141 S. Ct. 1931, 1937-38 (2021) (opinion of Thomas, J.) “28 U.S.C. §

1350 provides that a district court shall have original jurisdiction over civil actions ‘by an alien

for a tort only, committed in violation of the law of nations or a treaty of the United States.’”

Tel-Oren v. Libyan Arab Republic, 726 F.2d 774,777 (D.C. Cir. 1984).

823.    In its 2023 opinion Doe v. Cisco Systems, Inc., No. 15-16909 (9th Cir. July 7, 2023), the

9th Circuit stated:

               “Congress enacted the TVPA in 1992 to “establish[ ] a civil action
               for recovery of damages from an individual who engages in torture
               or extrajudicial killing.” Pub. L. No. 102-256, 106 Stat. 73 (1992)
               (codified at 28 U.S.C. § 1350 note). The statute provides that
               “[a]n individual who, under actual or apparent authority, or color
               of law, of any foreign nation . . . subjects an individual to torture
               shall, in a civil action, be liable for damages to that individual.”
               28 U.S.C. § 1350 note § 2(a).”

824.    The statute provides liability for an individual who “subjects an individual to torture.” 28

U.S.C. § 1350 note § 2(a). It does not specify that an individual must directly “torture” another.

The statute defines “torture” as the “intentional[ ] inflict[ion]” of any act causing “severe pain or

suffering.” 28 U.S.C. § 1350 note § 3(b). Defendant's intentional infliction of severe pain and

suffering on Plaintiffs was done for the purpose of discrimination, intimidation, or punishment.

If Congress had intended to restrict TVPA liability to those who themselves intentionally commit

acts causing severe pain or suffering, it could have used the term “tortures” or “inflicts torture”

in section 2(a), the liability provision. Instead, the term used was “subjects an individual to

torture.” The dictionary definition of the verb “subject” includes “to cause or force to undergo or

endure (something unpleasant, inconvenient, or trying).’ Subject, Merriam-Webster,

https://www.merriam-webster.com/dictionary/subject (last visited Feb. 24, 2023); see also

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 404 of 429




Subject, American Heritage Dictionary,

https://www.ahdictionary.com/word/search.html?q=subject (last visited Feb. 24, 2023) (defining

the verb “subject” as “[t]o cause to experience, undergo, or be acted upon”). “Subjects . . . to

torture” thus encompasses not only individuals who directly torture another but also those who in

some respect cause another to undergo torture.

825.     Cruel, inhuman or degrading treatment constitutes acts that "“inflict mental or physical

suffering, anguish, humiliation, fear and debasement, which do not rise to the level of torture or

do not have the same purposes as torture." Chiminya Tachiona v. Mugabe, 216 F. Supp. 2d 262,

281 (S.D.N.Y. 2002)..” Chiminya Tachiona v. Mugabe, 216 F. Supp. 2d 262, 281 (S.D.N.Y.

2002). The dividing line between the two violations "“derives principally from a difference in the

intensity of the suffering inflicted." In re S. Afr. Apartheid Litig., 617 F. Supp. 2d 228, 254

(S.D.N.Y. 2009) .” In re S. Afr. Apartheid Litig., 617 F. Supp. 2d 228, 254 (S.D.N.Y. 2009)

(citing Restatement (Third) of Foreign Relations Law § 702 Reporter's Note 5 (1987)). The

Defendants actions as set forth herein constituted extreme infliction of mental and physical

suffering, anguish, humiliation, fear and debasement upon Plaintiffs. and were torture.

826.    The TVPA extended the Alien Tort Claims Act (ATCA), 28 U.S.C. § 1350 (1991), See

H. R. Rep. No. 102-367, at 3 (1991), reprinted in 1992 U.S.C.C.A.N. 84, 86. Additionally,

other international agreements impose liability for torture, killing, and mistreatment. See e.g.,

Universal Declaration of Human Rights, U.N. General Assembly Res. 217(III)(A) (1948);

International Covenant on Civil and Political Rights, U.N. General Assembly Res. 2200(XXI)A,

U.N. Doc. A/6316 (1966); European Convention for the Protection of Human Rights and

Fundamental Freedoms, Art. 3, Council of Europe, European Treaty Series No. 5 (1968). See

Cabello v. Fernandez-Larios, 402 F.3d 1148 (11th Cir. 2005).

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 405 of 429




827.     The TVPA encompasses claims against those who aid and abet torture and deliberated

extrajudicial killing and other acts of atrocity crimes.

828.      Defendants Masoud Barzani, Masrour Barzani, Waysi Barzani and the other named

defendants, and others acting under their command, as individuals acting deceitfully under actual

or apparent authority, or color of law, of the Republic of Iraq and the subordinate Defendant

Iraqi Kurdistan Regional Government thereof have directly and indirectly subjected Plaintiffs to

torture, enforced disappearances, extrajudicial killing, summary executions, and other tortious

acts. These deliberated killings were not authorized through any kind of judicial judgment or

court authorization falling within the TVPA's exception. 28 U.S.C. § 1350 note § 3(a).

829.    The District Court of the District of Columbia has held that "“summary executions"” and

"“a course of indiscriminate brutality, known to result in deaths",”, such as those committed by

Defendants, can be "“extrajudicial killings"” under the TVPA. See Flatow v. Islamic Republic of

Iran, 999 F. Supp. 1, 17 (D.D.C. 1998), Flatow v. Islamic Republic of Iran, 999 F. Supp. 1, 17

(D.D.C. 1998), abrogated on other grounds as recognized in Christie v. Islamic Republic of

Iran, No. CV 19-1289 (BAH), 2020 WL 3606273, at *21 (D.D.C. July 2, 2020) Christie v. Islamic

Republic of Iran, No. CV 19-1289 (BAH), 2020 WL 3606273, at *21 (D.D.C. July 2, 2020).

830.     Defendants have created a regime of pervasive fear, which is not imaginary nor wholly

speculative, and Plaintiffs and others have reasonable fear of retributive reprisals against

themselves or members of their families, coupled with the impossibility of safely conducting

investigation and discovery in geographical areas and government agencies controlled by

Defendant Iraqi Kurdistan Regional Government that prevents the personal representatives of the

five thousand murder victims and most victims of torture from stepping forward to seek redress

in United States Courts pursuant to the provisions of the Torture Victim Protection Act of 1991.

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 406 of 429




For that reason, Plaintiffs have established the Kurdish Victims Fund that will provide a means

to provide aid to the families of murder and torture victims and who will continue to suffer from

the emotional and psychological scars of these acts of torture for years to come. Plaintiffs are

still grappling with the trauma: entire families murdered, tortured and mutilated, children and

elderly people ripped from the arms of their loved ones and disappeared. All these atrocities are

well documented. The injuries are directly traceable to actions of the defendants.

831.    As a direct and proximate result of the Defendant’s tortious conduct, the estate of Jihan

Taha Abdulrahman suffered severe, substantial, and continuing damages. Plaintiff Shakhwan

Abdulrahman, as representative of Jihan Taha Abdulrahman, deceased, demands judgment

against all Defendants of the Barzani Continuing Criminal Enterprise for her kidnapping,

imprisonment, torture, murder, and wrongful death, an act of international terrorism directly and

proximately caused by defendant’s actions, in retaliation for Jihan’s speech and television

interviews against the Barzani regime and to prevent her further public statements, in an amount

sufficient to compensate her family for her loss, and for punitive damages in an amount

sufficient to punish Defendants for her inhumane torture and murder. Based on the immense

illicit wealth of the Barzani Continuing Criminal Enterprise, much of which wealth is hidden

under false names and shell and front corporations in the United States, punitive damages for the

torture and murder of Jihan should be at least one billion dollars.


                                COUNT II
                DEPRIVATION OF CONSTITUTIONAL RIGHTS,
       HATE CRIMES, AND ASSAULT AND BATTERY OF AMERICAN CITIZEN


832.    Plaintiff Shakhwan Abdulrahman demands judgment against Defendant Arfan Salih Omer

Sherwani, Defendant Hamza Salim, Defendant Masrour Barzani, Defendant Hikmet Bamerni,

                                                 48
     Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 407 of 429




Defendant Dasko Shirwani, Defendant Hayman Quassi, and all other Defendants who comprise

the Barzani Continuing Criminal Enterprise for deprivation of constitutional rights secured by

the First Amendment, indelibly scarred if ever compromised, and for personal cumulative

injuries suffered, in Defendants’ efforts to restrain free speech that was wholly political in nature,

as a direct causative result of the assault and battery against him, with bodily injuries, without

probable cause, on February 29, 2024, in Washington, D.C. in an amount sufficient to

compensate him for the injuries he has suffered. Plaintiff Shakhwan Abdulrahman also demands

punitive damages against Defendants because of the willful and wanton assault and battery that

deprived him of his guaranteed Constitutional right, enshrined in the Bill Of Rights, to peaceably

assemble and express his views. The Supreme Court said in Elrod v. Burns, 427 US 347 (1976),

“The loss of First Amendment freedoms, for even minimal periods of time, unquestionably

constitutes irreparable injury.” Elrod at 373. See also Roman Catholic Diocese of Brooklyn v.

Cuomo, 141 S. Ct. 63, 592 U.S., 208 L. Ed. 2d 206 (2020). The Supreme Court is loath to ever

validate a prior restraint on free speech. “Any prior restraint on expression comes to this Court

with a 'heavy presumption' against its constitutional validity.” Carroll v. Princess Anne, 393 U.

S. 175, 393 U. S. 181 (1968); Bantam Books, Inc. v. Sullivan, 372 U. S. 58, 372 U. S. 70 (1963).”

Nebraska Press Assn. v. Stuart, 427 U.S. 539 at 558 (1976).

833. Defendants did with malicious intent commit assault, battery, intentional infliction of

emotional distress, hate crimes, hate crimes under D.C. Code § 22-3704, and civil rights

violations pursuant to 42 U.S.C. § 1985, and did intentionally “cause a harmful or offensive

contact with the plaintiff”, and “intentionally caused the plaintiff to be placed in apprehension of

such conduct.” See Acosta Orellana v. CropLife International , 711 F.Supp.2d 81, 92 (D.D.C.

2010). An assault is “‘an intentional and unlawful attempt or threat, either by words or acts, to

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 408 of 429




do physical harm to the victim.’” Hall v. District of Columbia , 867 F.3d 138, 158 (D.C. Cir.

2017) (quoting Evans-Reid v. District of Columbia , 930 A.2d 930, 937 (D.C. 2007)). Plaintiff

Shakhwan Abdurahman “suffered apprehension of harmful or offensive contact” and a

“reasonable person in his position would have experienced such apprehension.” Collier v.

District of Columbia , 46 F.Supp.3d 6, 14 (D.D.C. 2014). Plaintiff’s emotional distress resulted

from “(1) extreme and outrageous conduct on the part of the defendant which (2) intentionally or

recklessly (3) causes the plaintiff [to suffer] severe emotional distress.” Ortberg v. Goldman

Sachs Grp. , 64 A.3d 158, 163 (D.C. 2013) (internal quotation marks omitted).

834.    Few principles are more basic to the First Amendment than the fundamental precept that

words are presumptively protected, regardless of their content.           Defendant Shakhwan

Abdulrahman has an unquestioned right, as does any American citizen entitled to First

Amendment protection, to expression of views, without regard to its substantive content,

ideological valence, or particular viewpoint, in safety, peace, and dignity, and without fear of

molestation. Pure speech is a category of expression that receives “comprehensive protection

under the First Amendment,” See Tinker v. Des Moines Indep. Cmty. Sch. Dist., 393 U.S. 503,

506 (1969); 303 Creative, 143 S.Ct. 2312.

835.    Defendant Arfan Salih Omer Sherwani, Defendant Masrour Barzani, Defendant Hamza

Salim, Defendant Hikmet Bamerni, Defendant Dasko Shirwani, Defendant Hayman Quassi, and

all other Defendants who comprise the Barzani Continuing Criminal Enterprise unlawfully and

purposefully used a degree and nature of force and intimidation and violence to stifle freedom of

speech and legitimate political expression, cavalierly offensive to fundamental American rights

and values, and the lawful recording thereof, in an unrestricted public place in the national

capital city of the United States of America.        Plaintiff Shakhwan Abdulrahman’s First

                                               48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 409 of 429




Amendment interests were threatened and in fact were impaired by these unlawful acts to

suppress speech.

836.     Moreover, awarding damages also serves United States national security interests by

deterring foreign actors who sponsor terrorism and torture.

837.     In the instant case, remedies for Plaintiffs theoretically offered by Kurdistan courts are

ineffective, unobtainable, unduly prolonged, inadequate, and obviously and patently futile, and

Plaintiffs would suffer retaliation for bringing claims in Kurdistan. See Jean v. Dorelien, 431

F.3d 776, 783 (11th Cir. 2005) See Jean v. Dorelien, 431 F.3d 776, 783 (11th Cir. 2005) There

has been no criminal or civil accountability for crimes or human rights violations by Defendant

Iraqi Kurdistan Regional Government or its leaders Defendants Masoud Barzani, Masrour

Barzani, and Waysi Barzani, and their agents and representatives.           The Defendant Iraqi

Kurdistan Regional Government Peshmerga military justice system, operated under and directed

by Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani, and their agents and

representatives, did not discipline anyone involved in the crimes. The Defendant Iraqi Kurdistan

Regional Government judiciary, directed and controlled by Defendants MawoudMasoud Barzani,

Masrour Barzani, and Waysi Barzani, and their agents and representatives, appears unable or

unwilling to provide an adequate forum for the pursuit of claims rooted in these violations. The

Defendant Iraqi Kurdistan Regional Government judiciary does not function in a manner that

allows Plaintiffs to reasonably pursue their claims. See, e.g., Ahmed v. Magan, No. 2:10-CV-

342, 2011 WL 13160129, at *5 (S.D. Ohio Nov. 7, 2011). It is well and publicly documented by

agencies of the United States and the United Nations that the Defendant Iraqi Kurdistan Regional

Government judiciary suffers from corruption and a lack of due process, political independence,

and opacity, and corruption.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 410 of 429




838.     Under the TVPA, "[“[a] court shall decline to hear a claim under [the TVPA] if the

claimant has not exhausted adequate and available remedies in the place in which the conduct

giving rise to the claim occurred.".” 28 U.S.C. § 1350, note, sec.2(c). Where local remedies are

not "“adequate"” or "“available"” then a TVPA claimant need not first attempt to exhaust such

remedies before suing. " “The legal remedies offered by the [local] courts were [ ] ineffective,

unobtainable, unduly prolonged, inadequate or obviously futile." Enahoro v. Abubakar, 408 F.3d

877, 892 (7th Cir. 2005). .” Enahoro v. Abubakar, 408 F.3d 877, 892 (7th Cir. 2005). The

District Court of the District of Columbia has likewise acknowledged that plaintiffs need not

meet the exhaustion requirement under certain circumstances. For example, plaintiffs need not

exhaust their local remedies if the plaintiffs would suffer retaliation for bringing their claims

locally. See, e.g., Doe v. Exxon Mobil Corp., 393 F.Supp.2d 20, 25 (D.D.C. 2005). See e.g.,

Doe v. Exxon Mobil Corp., 393 F.Supp.2d 20, 25 (D.D.C. 2005).

839.    The perpetrators of atrocity crimes, torture, extrajudicial killing, and human rights abuses

detailed herein remain ensconced in positions of power and authority in the Defendant Iraqi

Kurdistan Regional Government, coupled with the fact that the Defendant Iraqi Kurdistan

Regional Government has taken no action against any accused offenders, Plaintiffs' had and

have reasonable, justified, substantial, and persistent fear of violent reprisal for bringing claims

of such violations. See Jane W. v. Thomas, Civil Action No. 18-0569 (E.D. Pa. Nov. 14, 2018).

Jane W. v. Thomas, 560 F. Supp. 3d 855 (E.D. Pa. 2021).

840.    Plaintiffs have established Defendant's liability under the Torture Victim Protection Act,

28 U.S.C. § 1350 note, for the acts of extrajudicial killing of Plaintiffs' decedents, attempted

extrajudicial killings, and torture. These are acts for which the TVPA creates an "“unambiguous

and modern basis"” for liability. See Sosa v. Alvarez-Machain, 542 U.S. 692, 728, 124 S.Ct.

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 411 of 429




2739, 159 L.Ed.2d 718 (2004) Sosa v. Alvarez-Machain, 542 U.S. 692, 728, 124 S.Ct. 2739, 159

L.Ed.2d 718 (2004) (citing H.R. Rep. No. 102-367, at 3 (1991)).

841.      The District Court of the District of Columbia has interpreted the TVPA to allow liability

for attempted extrajudicial killings, such as the attempts on Plaintiff Maki Revend, "“even if no

one died as a result of [the] attempt." Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 99

(D.D.C. 2017) .” Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 99 (D.D.C. 2017)

(citing Warfaa v. Ali, 33 F. Supp. 3d 653, 666 (E.D. Va. 2014) Warfaa v. Ali, 33 F. Supp. 3d 653,

666 (E.D. Va. 2014)) aff'd, 811 F.3d 653 (4th Cir. 2016) 811 F.3d 653 (4th Cir. 2016).

842.       The United States Supreme Court expressly held that Plaintiffs in a federal cause of

action under §1605A(c) may seek retroactive punitive damages for pre-enactment conduct and

explicitly made a new cause of action available to remedy certain past acts of terrorism and

related actions. See Opati v. Republic of Sudan, 140 S. Ct. 1601, 590 U.S., 206 L. Ed. 2d 904

(2020).

843.      The private right of action in 28 U.S.C. § 1605A(c) also authorizes “punitive damages,”

which “serve to punish and deter the actions for which they are awarded.” Valore v. Islamic

Republic of Iran, 700 F. Supp. 2d at 87. (D.C. 2010). Courts balance four factors to determine

the appropriate amounts of punitive damages: “(1) the character of the defendants’ act; (2) the

nature and extent of harm to the plaintiffs that the defendants caused or intended to cause, (3) the

need for deterrence, and (4) the wealth of the defendants.” See Cabrera v. Islamic Republic of

Iran, Civil Action No. 19-3835 (JDB) (D.C. Jan. 27, 2023), (quoting              Oveissi v. Islamic

Republic of Iran, 879 F.Supp.2d at 56 (D.D.C.2012)27, 2023), (quoting Oveissi v. Islamic

Republic of Iran, 879 F.Supp.2d at 56 (D.D.C.2012) and Acosta v. The Islamic Republic of Iran,

574 F. Supp. 2d at 30 (D.C. 2008) citing Acosta, 574 F.Supp.2d at 30 Acosta, 574 F.Supp.2d at

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 412 of 429




30 (citing Flatow v. Islamic Republic of Iran, 999 F.Supp. 1, 32 (D.D.C.1998) Flatow v. Islamic

Republic of Iran, 999 F.Supp. 1, 32 (D.D.C.1998)).

844.     Defendants’ individual conduct of torture and other associated gross criminal violations

is "“part of a longstanding pattern and policy, making the need for deterrence clear.".” See

Abedini v. Government of Islamic Republic of Iran, 422 F. Supp. 3d 118, at 141 (D.C. 2019).

845.    In the instant case, all four factors weigh overwhelmingly in favor of awarding significant

punitive damages. Wherefore, Plaintiffs demand judgment against Defendants, recognizing their

massive illicit wealth, for compensatory damages, including solatium, in an amount sufficient to

compensate them for injuries perpetrated by Defendants and for solace; and for punitive damages

sufficient to punish Defendants, acting as individuals, for the willful torture and extra judicial

killings and associated criminal acts and atrocity crimes, and sufficient to “yield the desired

deterrent effect.” See Valore v. Islamic Republic of Iran, 700 F. Supp. 2d at 88 (D.C. 2010).

The injuries are directly traceable to the challenged action of the defendants. “The state-

sponsored terrorism exception to the FSIA expressly contemplates the award of solatium

damages to the close relatives of terrorism victims.” See 28 U.S.C. § 1605A(c). An award of

solatium is intended to compensate for the “the mental anguish, bereavement and grief that those

with a close personal relationship to a decedent experience as the result of the decedent’s death,

as well as the harm caused by the loss of the decedent.” See Fritz v. Islamic Republic of Iran,

Civil Action No. 2015-0456 (D.D.C. 2018) , citing Belkin v. Islamic Republic of Iran, 667 F.

Supp. 2d 8, 22 (D.D.C. 2009).



                                           COUNT III

                                     COUNT II
                          (ANTI-TERRORISM ACT – 18 USC 2333)
                                        48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 413 of 429




               [All Defendants: Aiding-And-Abetting Liability, Attack Predicate]

846.    Plaintiffs reallege and incorporate by reference the allegations and preceding paragraphs

as if fully stated herein.

847.    The Anti-Terrorism Act (ATA) is an exercise in universal civil jurisdiction, as it extends

domestic judicial jurisdiction over actions that occurred abroad to foreign plaintiffs; it has

historically been a means for non-U.S. citizens to seek redress for serious human rights

violations committed outside of the U.S. It provides in full: “The district courts shall have

original jurisdiction of any civil action by an alien for a tort only, committed in violation of the

law of nations or a treaty of the United States.” 28 U.S.C. § 1350.28 U.S.C. § 1350. The Alien

Tort Statute (“ATS”) confers district courts with “original jurisdiction of any civil action by an

alien for a tort only, committed in violation of the law of nations or a treaty of the United States.”

28 U.S.C. § 1350. A defendant may be liable for conduct that is “either a direct violation of the

law of nations or the aiding and abetting of another's violation of the law of nations.” Balintulo

v. Ford Motor Co., 796 F.3d 160, 166 (2d Cir. 2015); accord Licci by Licci v. Lebanese

Canadian Bank, SAL (Licci II), 834 F.3d 201, 213 (2d Cir. 2016). Before the ratification of the

Constitution and the passage of the Judiciary Act of 1789 to implement its provisions, several

international scandals had resulted from the “inability to provide judicial relief to foreign

officials injured in the United States.” Kiobel, 569 U.S. at 123; see also Jesner, 138 S. Ct. at

1396-97 Kiobel, 569 U.S. at 123; see also Jesner, 138 S. Ct. at 1396-97 (majority op.). Noting

the problems caused by the lack of a forum in which aggrieved foreigners – in particular,

ambassadors – could find an appropriate remedy, the Supreme Court in Jesner concluded that the

First Congress of the United States enacted the ATS as part of the Judiciary Act of 1789 to

“promote harmony in international relations by ensuring foreign plaintiffs a remedy for

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 414 of 429




international-law violations in circumstances where the absence of such a remedy might provoke

foreign nations to hold the United States accountable.” 138 S. Ct. at 1396-97, 1406 (majority

op.); see also Kiobel, 569 U.S. at 123, and Doe v. 138 S. Ct. at 1396-97, 1406 (majority op.);

see also Kiobel, 569 U.S. at 123, and Doe v. Cisco Systems, Inc., No. 15-16909 (9th Cir. July 7,

2023).

848.     Plaintiffs are entitled to recover for their injuries under the federal Anti-Terrorism Act

(“ATA”), through which Defendants are liable because they aided and abetted terrorist acts in

Iraqi Kurdistan and elsewhere. 18 U.S.C. § 2333(d)(2). Plaintiffs accordingly seek justice under

the ATA’s aiding-and-abetting provision, which Congress enacted “to provide civil litigants with

the broadest possible basis, consistent with the Constitution of the United States, to seek relief

against persons, entities, and foreign countries, wherever acting and wherever they may be

found, that have provided material support, directly or indirectly, to foreign organizations or

persons that engage in terrorist activities against the United States.” Justice Against Sponsors of

Terrorism Act (“JASTA”) § 2(b), Pub. L. No. 114-222, 130 Stat. 852, 853 (2016). See Owens v.

BNP PARIBAS, SA, 897 F.3d 266, 277 (D.C. Cir. 2018).

849.     (On January 4, 2022, the United States Court of Appeals for the D.C. Circuit decisively

rejected every core legal argument advanced by the defendants in Atchley v. AstraZeneca UK

Ltd., 22 F.4th 204 (D.C. Cir. 2022), broadly ruling that corrupt payments to terrorists in Iraq,

which includes Defendant Iraqi Kurdistan Regional Government, including protection payments,

supported liability under the ATA. The D. C. Circuit Court further held the ATA “authorizes

victims of terrorism to recover against anyone shown to have played a primary (direct) or

secondary (aiding-and-abetting) role.” (See Atchley v. AstraZeneca UK Ltd., 22 F.4th 204, 208

(D.C. Cir. 2022). Defendants, through their Washington, D.C. representatives and attorneys and

                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 415 of 429




other advisors, knew or should have known about the D.C. Circuit’s Atchley ruling, which

received significant media coverage, and further incentivized Defendants to continue concealing

their corrupt payments and transferal of materiel and transferal of sensitive and classified U.S.

national defense information, gathered and owned by the United States government, including

information from agencies that comprise the United States Intelligence Community and the

United States Department of Defense, received by Defendants in their official capacities with the

Defendant Iraqi Kurdistan Regional Government, to al-Qaeda, al-Qaeda-in-Iraq, and Islamic

State.   The corrupt payments and transfers of materiel and intelligence information have

materially provided means to operate and perpetuate the criminal enterprise that has harmed

Plaintiffs.

850.     There are reasonable grounds and sufficient evidence to prove that Defendants Masoud

Barzani, Masrour Barzani, and Waysi Barzani, their agents and representatives including Barzani

family members and family members by marriage, are jointly and severally liable for the

aforementioned acts which harmed Plaintiffs, and continue to harm Plaintiffs, none of which

were permitted, sanctioned, or authorized by international law, international treaty or convention,

Iraq law, or Defendant Iraqi Kurdistan Regional Government law, (i) for having committed or

caused to be committed the acts, in furtherance of the Barzani Continuing Criminal Enterprise,

directly, jointly with others and/or through others, and (ii) for his/their failure to exercise control

properly over civilian, police, custodial, and military subordinates who committed the acts, or

allowed for their commission, and who operated under his/their effective authority and control,

pursuant to superior responsibility.

851.     As a result of theirDefendants’ torture and abuse, Plaintiffs, in their individual capacities,

have suffered damages and will continue to suffer from the emotional and psychological scars

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 416 of 429




and lack of sense of safety, protection, and security of these acts of terror for years to come. The

injuries are directly traceable to the actions of the defendants.

852.    The character of the acts and omissions of Defendants Masoud Barzani, Masrour Barzani,

and Waysi Barzani, their agents, representatives, servants, and Barzani family members and

family members by marriage, were deliberate, willful, knowing, intentional, wanton, malicious

and oppressive, and should be punished by an award of punitive damages.

853.    The private right of action in 28 U.S.C. § 1605A(c) also authorizes “punitive damages,”

which “serve to punish and deter the actions for which they are awarded.” Valore v. Islamic

Republic of Iran, 700 F. Supp. 2d at 87. (D.C. 2010). Courts balance four factors to determine

the appropriate amounts of punitive damages: “(1) the character of the defendants’ act; (2) the

nature and extent of harm to the plaintiffs that the defendants caused or intended to cause, (3) the

need for deterrence, and (4) the wealth of the defendants.” See Cabrera v. Islamic Republic of

Iran, Civil Action No. 19-3835 (JDB) (D.C. Jan. 27, 2023), (quoting              Oveissi v. Islamic

Republic of Iran, 879 F.Supp.2d at 56 (D.D.C.2012) and Acosta v.27, 2023), (quoting Oveissi v.

Islamic Republic of Iran, 879 F.Supp.2d at 56 (D.D.C.2012) and Acosta v. The Islamic Republic

of Iran, 574 F. Supp. 2d at 30 (D.C. 2008).

854.      In the instant case, all four factors weigh strongly in favor of awarding significant

punitive damages. Wherefore, Plaintiffs Maki Revend, Shakhwan Abdulrahman, and Shakhwan

Abdulrahman as representative of his tortured and murdered sister, Jihan Taha Abdulrahman,

and 5,000 John Does, merit judgment against Defendants in an amount sufficient to compensate

them for injuries perpetrated and continuing injuries and threatened future injury, and it is

absolutely clear the alleged wrongful behavior could reasonably be expected to recur, by

Defendants and for significant losses and damages suffered from their plan, scheme, conspiracy,

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 417 of 429




and course of conduct, and the fruits of their multitudinous crimes, in which each of the

Defendants participated directly or indirectly, and willfully, directly and indirectly, intentionally,

knowingly, and repeatedly in violation of the law of nations and willfully, intentionally,

knowingly, and repeatedly, directly and indirectly, ignored laws and international treaties and

conventions governing malum in se offenses, which dictate civilized and lawful behavior, of the

sovereign Republic of Iraq, the provincial Defendant Iraqi Kurdistan Regional Government, and

the United States of America; and by reason of the acts, transactions, and omissions alleged

herein; and solatium damages; and for treble damages as provided by law, sufficient to “yield the

desired deterrent effect,” (See Valore v. Islamic Republic of Iran, 700 F. Supp. 2d at 88 (D.C.

2010)) along with costs of suit, including attorney’s fees.

855.    Solatium is “the mental anguish, bereavement[,] and grief that those with a close personal

relationship to a decedent experience as the result of the decedent’s death, as well as the harm

caused by the loss of the decedent[’s] society and comfort.” See Belkin v. Islamic Republic of

Iran, 667 F. Supp. 2d 8 at 22 (D.C. 2009). It also includes mental suffering as a result of injury

to a loved one. E.g., Valore v. Islamic Republic of Iran, 700 F. Supp. 2d at 85 (D.C. 2010). A

solatium claim under § 1605A(c) is “indistinguishable” from a claim for intentional infliction of

emotional distress, Estate of Hirshfeld v. Islamic Republic of Iran, 330 F. Supp. 3d 1at 140

(D.C. 2018), and courts have applied elements of intentional infliction of emotional distress from

the Second Restatement of Torts to FSIA solatium claims, (see, e.g., Selig v. Islamic Republic

of Iran, 2021 WL 5446870 at 12 (D.D.C. Nov. 22, 2021)). Although, in a traditional tort

context, a family member must generally be present at the time of an attack to recover for

intentional infliction of emotional distress, Restatement (Second) of Torts § 46(2)(a) (Am. Law

Inst. 1965), FSIA claimants need not meet this requirement because “a terrorist attack – by its

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 418 of 429




nature – is directed not only at the victims but also at the victims’ families,” Salazar v. Islamic

Republic of Iran, 370 F. Supp. 2d 105, 115 n.12 (D.D.C. 2005); accord, e.g., Valore, 700 F.

Supp. 2d at 80 (“[T]errorism [is] unique among the types of tortious activities in both its extreme

methods and aims . . . . One . . . need not be present at the time of a terrorist attack upon a third

person to recover for severe emotional injuries suffered as a result.” (citation omitted). Cabrera

v. Islamic Republic of Iran, Civil Action No. 19-3835, at 93 (JDB) (D.C. Jan. 27, 2023).

Plaintiffs’ injuries are directly traceable to the challenged actions of the defendants.

856.     Courts may “presume that those in direct lineal relationships with victims of terrorism

suffer compensable mental anguish” … as sufficient for entitlement to solatium damages. See

Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379, 403 (D.D.C. 2015).

857.     Defendants conduct of terrorism and other associated gross criminal violations is "“part

of a longstanding pattern and policy, making the need for deterrence clear.".” See Abedini v.

Government of Islamic Republic of Iran, 422 F. Supp. 3d 118, at 141 (D.C. 2019).

858.     Wherefore, Plaintiffs demand judgment against Defendants, recognizing their massive

illicit wealth, for compensatory damages, including solatium, in an amount sufficient to

compensate them for injuries perpetrated by Defendants and for solace; and for punitive damages

sufficient to punish Defendants, acting as individuals, for the willful torture and extra judicial

killings and associated criminal acts and atrocity crimes, and sufficient to yield the desired

deterrent effect. See Valore v. Islamic Republic of Iran, 700 F. Supp. 2d at 88 (D.C. 2010).



                                            COUNT III
(

                                        COUNT IV
                                ( EXTRAJUDICIAL KILLING)

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 419 of 429




859.    Plaintiffs reallege and incorporate by reference the allegations set forth herein.

860.     The killings of Plaintiffs’ Decedents by Defendants constitute deliberated extrajudicial

killings as defined by the Torture Victim Protection Act, Pub. L. No. 102-256, 106 Stat. 73

(1992) (codified at 28 U.S.C. §1350 Note). Additionally, the killings constitute “tort[s] ...

committed in violation of the law of nations or a treaty of the United States” under the Alien Tort

Statute, 28 U.S.C. §1350, in that they were in violation of customary international law

prohibiting extrajudicial killings as reflected, expressed, defined and codified in multilateral

treaties and other international instruments, international and domestic judicial decisions, and

other authorities.

861.    The deliberated killings, committed by Defendants as individuals, were not authorized by

a judgment pronounced by a regularly constituted court affording all the judicial guarantees

which are recognized as indispensable by civilized peoples.

862.    Defendants are also liable for crimes against humanity under the ATS. These crimes are

inhumane acts that include "“murder, enslavement, deportation or forcible transfer, [or] torture"”

and are "“committed as part of a widespread [or] systematic attack directed against a civilian

population." Talisman Energy, 582 F.3d at 257.” Talisman Energy, 582 F.3d at 257; ICC

Elements of Crimes, Art. 7 ("(“These elements clarify the requisite participation in and

knowledge of a widespread or systematic attack against a civilian population.")..”). Persecution

and extermination, the crimes against humanity under which Plaintiffs seek liability, are

actionable under the ATS. See, e.g. Khulumani v. Barclay Nat. Bank Ltd., 504 F.3d 254, 286-

287, n.1(2d Cir.2007) Hall, J . concurring) (acknowledging extermination as a crime against

humanity cognizable under the ATS); Sexual Minorities Uganda v. Lively, 960 F. Supp. 2d 304,

316-17 (D. Mass. 2013) (" Sexual Minorities Uganda v. Lively, 960 F. Supp. 2d 304, 316-17 (D.


                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 420 of 429




Mass. 2013) (“persecution that rises to the level of a crime against humanity has repeatedly been

held to be actionable under the ATS").”). All crimes against humanity require Plaintiffs to

demonstrate the crimes were (1) part of a widespread or systematic attack against civilians, and

(2) the defendant "“intended to further such an attack.".” ICC Elements of Crimes, Art. 7. These

elements exist here. Plaintiffs also claim Defendant's liability for the crime against humanity of

persecution under the ATS. This crime requires: (1) "“denial of fundamental rights"” and (2)

"“the intentional targeting of an identifiable group." Lively, 960 F. Supp. 2d at 317.” Lively, 960

F. Supp. 2d at 317; see also ICC Elements of Crimes, Art. 7(1)(h).

863.     Plaintiffs have demonstrated Defendant's liability for the crime against humanity of

extermination under the ATS. This crime requires that (1) one or more persons were killed; (2)

as part of "“a mass killing of members of a civilian population";”; and (3) "[“[t]he perpetrator

knew that the conduct was part of or intended the conduct to be part of a widespread or

systematic attack directed against a civilian population.".” See ICC Elements of Crimes, Art.

7(1)(b). Plaintiffs' decedents and hundreds of others were killed in the Yazidi Massacre, a mass

killing that was pure terror targeting Iraqi Kurdistan’s most innocent and part of a systematic

assault on non-combatant civilians of Yazidi ethnicity, and where violence against women and

children is characteristic, even doctrinal, leaving women to recoil in horror, disgust, and anguish.

864.     The law of nations sets worldwide norms of conduct, prohibiting certain universally

condemned heinous acts. That body of law, however, takes no position on whether its norms

may be enforced by civil actions for compensatory damages. It leaves that decision to be

separately decided by each nation. The ATS confers on the U.S. courts jurisdiction to entertain

civil suits for violations of the law of nations. In the United States, if a plaintiff in a suit under

the ATS shows that she is the victim of a tort committed in violation of the norms of the law of

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 421 of 429




nations, the court has jurisdiction to hear the case and to award compensatory damages against

the tortfeasor. That is what the Supreme Court explained in Sosa.” See Kiobel v. Royal Dutch

Petroleum Co., 621 F.3d 111 (2d Cir. 2010). Sosa v. Alvarez-Machain, 542 U.S. 692, 124 S.Ct.

2739, 159 L.Ed.2s 718 (2004).

865.    Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani are directly liable for

the killings. Defendants Masoud Barzani, Masrour Barzani, and Waysi Barzani also directly and

indirectly exercised command responsibility over subordinates in the Defendant Iraqi Kurdistan

Regional Government Peshmerga, the Defendant Iraqi Kurdistan Regional Government, the

Defendant Iraqi Kurdistan Regional Government’s Asayish security forces, and KDP personnel

who participated in the killings. Defendants Masoud Barzani, Masrour Barzani, and Waysi

Barzani also engaged in a joint criminal enterprise with, conspired with, and/or aided and abetted

their subordinates, as well as officers in the Peshmerga, the Defendant Iraqi Kurdistan Regional

Government, Asayish security forces, ISIS and IRGC and their affiliates, and KDP who planned

and/or carried out commands and plans to commit the killings.           Furthermore, Defendants

Masoud Barzani, Masrour Barzani, and Waysi Barzani knew or should have known that their

subordinates had committed, were committing, or were about to commit human rights abuses,

and they failed to prevent the abuses or to punish those responsible.

866.    Acts or omissions of Defendants Masoud Barzani, Mansour Barzani, and Waysi Barzani

described above, and the acts committed by their subordinates and officers in the Defendant Iraqi

Kurdistan Regional Government’s Peshmerga, the Defendant Iraqi Kurdistan Regional

Government, Defendant Iraqi Kurdistan Regional Government’s Asayish security forces, and

KDP, and Barzani family members and family members by marriage, who planned and/or




                                                48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 422 of 429




carried out or participated in said plans, caused the killings, and caused Plaintiffs to suffer severe

mental pain and suffering.

867.       Defendants Masoud Barzani’s, Mansour Barzani’s, and Waysi Barzani’s acts or

omissions described above, and the acts committed by their subordinates and officers in the

Defendant Iraqi Kurdistan Regional Government’s Peshmerga, the Defendant Iraqi Kurdistan

Regional Government, Defendant Iraqi Kurdistan Regional Government’s Asayish security

forces, and KDP, and Barzani family members and family members by marriage, who planned

and/or carried out said plans, were committed under apparent or feigned or falsified authority or

color of law of the government of provincial Defendant Iraqi Kurdistan Regional Government.

These Defendants directed or ordered these illegal tortious acts in an existing superior-

subordinate relationship, knowing that their orders would result in the substantial likelihood that

human rights abuses will follow. Defendants were in a position of authority that would compel

one to commit human rights abuses at their order. See Jane W. v. Thomas, 560 F. Supp. 3d 855

(E.D. Pa. 2021). at 212; see also Abebe-Jiri v. Negewo, No. 1:90-CV-2010-GET, 1993 WL

814304, at *4 (N.D. Ga. Aug. 20, 1993), aff'd sub nom. Abebe-Jira v. Negewo, 72 F.3d 844

(11th Cir. 1996) (" See Jane W. v. Thomas, 560 F. Supp. 3d 855 (E.D. Pa. 2021). at 212; see also

Abebe-Jiri v. Negewo, No. 1:90-CV-2010-GET, 1993 WL 814304, at *4 (N.D. Ga. Aug. 20,

1993), aff'd sub nom. Abebe-Jira v. Negewo, 72 F.3d 844 (11th Cir. 1996) (“Defendant is

responsible under international law for his own acts, for acts which he directed, ordered, aided,

abetted or participated in, and for acts committed by forces under his command which he

authorized."). .”).




                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 423 of 429




868.        As a result of these killings, Plaintiffs, in their individual capacities, have suffered

damages and will continue to suffer from the emotional and psychological scars of these killings

for years to come. The injuries are directly traceable to the challenged action of the defendants.

869.        Plaintiffs’ claims are based on primary and secondary theories of liability and are

recognized under the ATS and TVPA. See, e.g., TVPA, S. Rep. No. 102-249, at 8-9 (1991)

(explaining that "[“[a] higher official need not have personally performed or ordered the abuses

in order to be held liable"); Mohamad v. Palestinian Auth., 566 U.S. 449, 458, 132 S.Ct. 1702,

182 L.Ed.2d 720 (2012) ("”); Mohamad v. Palestinian Auth., 566 U.S. 449, 458, 132 S.Ct. 1702,

182 L.Ed.2d 720 (2012) (“the TVPA contemplates liability against officers who do not

personally execute the torture or extrajudicial killing"); Hilao v. Estate of Marcos, 103 F.3d 767,

777 (9th Cir. 1996) ”); Hilao v. Estate of Marcos, 103 F.3d 767, 777 (9th Cir. 1996) (recognizing

command responsibility under the TVPA and ATS, and citing the TVPA Senate Report in

support).

870.     Defendants conduct of targeted extrajudicial killing and other associated gross criminal

violations is "“part of a longstanding pattern and policy, making the need for deterrence clear.".”

See Abedini v. Government of Islamic Republic of Iran, 422 F. Supp. 3d 118, at 141 (D.C. 2019).

Wherefore, Plaintiffs demand judgment against Defendants in an amount sufficient to

compensate them for the damages suffered and damages Plaintiffs continue to suffer as a result

of the extrajudicial killings as set forth above in amounts to be determined at trial.

871.    The character of Defendants Masoud Barzani’s, Masrour Barzani’s, and Waysi Barzani’s

acts or omissions, and those of their associates and collaborators, including Barzani family

members and family members by marriage, were deliberate, targeted, willful, intentional,

wanton, malicious, oppressive, and knowingly unlawful, the harm to the Plaintiffs that the

                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 424 of 429




Defendants caused or intended to cause was extreme and monstrous, the need for deterrence

from future criminal acts is paramount and essential, and the illicit massive wealth of the

defendants is excessive affluence and stolen riches in the billions of illicit dollars, and should be

punished by an award of punitive damages sufficient to punish Defendants for their extrajudicial

killings and other atrocity crimes and crimes against humanity to “yield the desired deterrent

effect” to deter future extrajudicial killings and associated criminal conduct and atrocity crimes.

(See Valore v. Islamic Republic of Iran, 700 F. Supp. 2d at 88 (D.C. 2010)). Moreover,

awarding damages also serves national security interests by deterring those foreign actors that

sponsor extrajudicial killings.

                                             COUNT V

    LIBEL AND DEFAMATION OF CHARACTER OF PLAINTIFF MAKI REVEND

872.    Plaintiff repeats and realleges each of the foregoing paragraphs as if set forth fully herein.

873.    This defamation action arises from false and defamatory and libelous statements by Mr.

Reeder in court filings and published online by the Court, available to readers in Washington,

D.C., across the nation, and around the world, and likely to be subsequently reiterated in the

press for years. Mr. Reeder is a recognized former public official with access to government

records, giving credibility to his categorically and demonstrably false statements presented as an

unassailable truth and as a centerpiece of Mr. Reeder’s attention-seeking motion to this Court.

874. The substantial danger of injury to Plaintiff Maki Revend’s reputation from Mr. Reeder’s

false statements, greater than that suffered by the public at large, is readily apparent. Such

statements, and which Mr. Reeder knew or should have known, would harm the reputation of

another as to lower him in the estimation of his journalism audience and the community or to

deter third persons from associating with him.

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 425 of 429




875. By publishing the false statements, Mr. Reeder caused harm and cognizable injury to Mr.

Revend’s reputation.

876. At the time of the publication, Mr. Reeder knew or reasonably should have known these

statements were false, and were part of no privileged category. Mr. Reeder’s statements meet the

threshold requirements of defamation, that they were statements not of opinion, but that could be

proved to be accurate or false.

877.    Mr. Reeder’s false statements are defamatory and libelous per se because they impute to

Mr. Revend the commission of crimes and criminal record which were untrue. Mr. Reeder’s

false statements prejudice Mr. Revend in his profession as a journalist. Mr. Revend is therefore

entitled to presumed damages.

878. As a direct and proximate result of these false statements by Mr. Reeder, Mr. Revend has

suffered immediate and incalculable damages, including, inter alia, injury to his reputation as a

trusted journalist, harm to his ability to carry on in his profession and career, embarrassment,

humiliation, and emotional distress, in an amount to be determined at trial.

879.    Mr. Reeder’s actions were malicious, willful, and wanton, and evidence a conscious

disregard for Mr. Revend’s rights. The injury is directly traceable to the challenged action of the

defendant. Accordingly, punitive damages are appropriate.

880.    Venue is proper in this Court because the causes of action asserted herein arose in this

District and caused tortious injury by his act.

881.    WHEREFORE, Plaintiff respectfully requests that the Court enter an award in Plaintiff’s

favor and against Defendant Joe Reeder, as follows:




                                                  48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 426 of 429




                   (1) Awarding Mr. Revend compensatory damages of not less than

                   $3,000,000, or in such additional amount to be proven at trial;

                   (2) Awarding Mr. Revend punitive damages to the maximum extent

                   permitted by law, but not less than $10,000,000;

                   (3) Awarding Mr. Revend all of his expenses and costs, including attorney’s

                   fees; and

                   (4) Granting such other and further relief as the Court deems appropriate.



                                    COUNT VI
                              ASSAULT AND BATTERY
                      AND INFLICTION OF EMOTIONAL DISTRESS


882.    Plaintiff repeats and realleges each of the foregoing paragraphs as if set forth fully herein.

883.    Defendants Arfan Salih Omer Sherwani, Hamza Salim, Hikmet Bamerni, Hayman

Quassi, and Dasko Shirwani attempted and did effect an unprovoked, intentional, unlawful offer

of corporal injury by force, or force unlawfully directed, under such circumstances as to create a

well-founded fear of imminent peril, coupled with the apparent present ability to effectuate the

attempt if not prevented.

884.     Defendants Arfan Salih Omer Sherwani, Hamza Salim, Hikmet Bamerni, Hayman

Quassi, and Dasko Shirwani’s voluntary and purposeful actions were not in self-defense, there

was no evidence of intoxication, and no evidence of actual impairment of physical or mental

capabilities so as to diminish the defendant's ability to act with due care, and they acted with no

lawful or police authority.

885.     Defendants Arfan Salih Omer Sherwani, Hamza Salim, Hikmet Bamerni and Dasko

Shirwani, in a successful attempt to commit violence on the person of Plaintiff Shakhwan
                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 427 of 429




Abdulrahman, wilfully touched Plaintiff Shakhwan Abdulrahman and did cause and occasion

harmful, offensive, and violent physical contact with Plaintiff Shakhwan Abdulrahman. As a

direct result of Defendants’ intentional actions of assault and physical harm as alleged in this

complaint, Plaintiff Shakhwan Abdulrahman experienced injuries and harm, all of which were

reasonably foreseeable, and some of which may be permanent, the full extent of which are still

not known, and due in whole or part to the acts of Defendants Arfan Salih Omer Sherwani,

Hamza Salim, Hikmet Bamerni, Hayman Quassi, and Dasko Shirwani including (a) physical

pain and discomfort and suffering; (b) emotional harm; and (c) inconvenience and interference

with usual and everyday activities. The injuries are directly traceable to the challenged action of

the defendants.

886.    Venue is proper in this Court because the causes of action asserted herein arose in this

District and caused tortious injury by this act.

887.    WHEREFORE, Plaintiff Shakhwan Abdulrahman respectfully requests that the Court

enter an award in Plaintiff’s favor and against Defendants, as follows:



                   (1) Awarding Mr. Abdulrahmancompensatory damages of not less than

                   $100,000, or in such additional amount to be proven at trial;

                   (2) Awarding Mr. Abdulrahman punitive damages to the maximum extent

                   permitted by law, but not less than $1,000,000;

                   (3) Awarding Mr. Abdulrahman all of his expenses and costs, present and

                   unknown in the future, of not less than $25,000; and

                   (4) Granting such other and further relief as the Court deems appropriate.




                                                   48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 428 of 429




                                      PRAYER OF RELIEF

888.    Plaintiffs’ allegations state a claim of violation of clearly established law. See Mitchell v.

Forsyth, 472 U.S. 511, 526 (1985).

889.    Plaintiffs request that the Court:

               (a)     Enter judgment against Defendants in the amount of Nine Billion Dollars

               ($9,000,000,000.00), finding them jointly and severally liable under the Torture

               Victims Protection Act of 1991, 28 U.S.C. § 1350;

               (b)     Award Plaintiffs compensatory, consequential, and punitive damages to

               the maximum extent permitted by law, and treble any compensatory damages

               awarded under the Torture Victims Protection Act of 1991 pursuant to 28 U.S.C.

               § 1350;

               (c)     Award Plaintiffs their attorney’s fees and costs and expenses incurred in

               this action, pursuant to 28 U.S.C. § 1350);

               (d)     Enter judgment against Defendants in the amount of Nine Billion Dollars

               ($9,000,000,000.00) finding them jointly and severally liable under the Anti-

               Terrorism Act, 18 U.S.C. § 2333;

               (e)     Award Plaintiffs compensatory, consequential, and punitive damages to

               the maximum extent permitted by law, and treble any compensatory damages

               awarded under the Anti-Terrorism Act, pursuant to 18 U.S.C. § 2333;

               (j)     Award Plaintiffs prejudgment interest; and

               (k)     Award Plaintiffs any such further relief the Court deems just and proper.



               JURY DEMAND

                                                 48
       Case 1:24-cv-00278-RDM Document 20-1 Filed 05/13/24 Page 429 of 429




890.      In accordance with Federal Rules of Civil Procedure 38(b), Plaintiffs demand a trial by

jury on all issues so triable.

Dated: January 30May 13, 2024




      Counsel for Plaintiffs Kurdistan Victims Fund, et. al.
      TATE BYWATER PLC
By:          _/s/ Paul Mickelsen___________________________
             Tate Bywater
             Paul Mickelsen (D.C. Bar Number 500750)
             Benjamin Ader (D.C. Bar Number 1616990)
             2740 Chain Bridge Road
             Vienna, VA 22181
             Tel: 703-938-5100
             Email: pmickelsen@tatebywater.com


             Email: pmickelsen@tatebywater.com


             _/s/ James R. Tate_______________________
                               Tate Bywater
                               James R. Tate, pro hac vice
                               2740 Chain Bridge Road
                               Vienna, VA 22181
                 Tel: 703-938-5100
                               Email: jtate@tatebywater.com

                                       Certificate of Service




                                                 48
